Case 2:14-cv-06456-GW-E Document 1067-1 Filed 05/02/22 Page 1 of 87 Page ID
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14   BASF Corporation et al.
15
                                UNITED STATES DISTRICT COURT
16
                            CENTRAL DISTRICT OF CALIFORNIA
17
18    BASF CORPORATION, et al.,                Case No. 2:14-cv-06456 GW (Ex.)
19          Plaintiffs,                        UPDATED STATEMENT OF
20    v.                                       UNCONTROVERTED FACTS IN
                                               SUPPORT OF MOTION FOR
21    APC INVESTMENT CO., et al.,              PARTIAL SUMMARY JUDGMENT
22          Defendants.                        AGAINST KEKROPIA, INC. AS TO
                                               CERTAIN ELEMENTS OF CERCLA
23                                             LIABILITY AND IN OPPOSITION TO
24                                             PATSOURAS PROPERTY
                                               DEFENDANTS’ MOTION FOR
25                                             SUMMARY JUDGMENT
26
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28
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Case ÿ~;i:14-cv-06456-GW-E
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   2ÿ
   1
                             ÿ          ÿ
                    MOVING
              ÿMATERIAL
   3ÿ UNCONTROVERTED
                                    PLAINTIFFS'
                                                     ÿRESPONSE          ÿ
                                                                            OPPOSING          DEFENDANTS'                 ÿ
                                           ÿ SUPPORTING           ÿTOÿ           ÿÿ           ÿ
   2

   4ÿ FACTS      ÿÿ   AND     SUPPORTING
                                                                                               CITED
                                                                               ÿEVIDENCE
                                                                                                             FACT AND
                                                                                                            ÿ
   3

   5ÿ
                                  ÿ
                              EVIDENCE
   4
                        !"#ÿ"of$ÿ"ownership
                        period           %&'(!ÿ)actually *+,)--.ÿentered
                                                                     &+#ÿ'soil
                                                                              "!-ÿor"ÿ/groundwater.
                                                                                         ",&#%)+0ÿÿ
   6ÿ
   5                ÿ
   1ÿ (3)               4-'05ÿ&6ÿ7
                142ÿ Pis.'         Def.  $0ÿ4Palmtree
                                               )-8+ÿ9*       :,!'!+!"&ÿCorp.'s
                                                           Acquisition    ;"05'ÿ<Stipulation
                                                                                      +!,-)+!"&ÿ"of$ÿUndisputed
                                                                                                           =&#!',+#ÿ
   6
                        >)*+'ÿre:?ÿ@Liability
                        Facts            !)A!-!+.ÿ,under&#ÿ;BC;@9ÿ        <*+!"&ÿ113,
                                                              CERCLA Section         224Dÿ5423ÿ=0    <0;0ÿ§Eÿ99613,
                                                                                                 U.S.C.        124DÿFHFÿ9,9Dÿ
   7ÿ
   7                    2ÿ1(undisputed
                       10     ,&#!',+#ÿ"releases"
                                                 G-)''Hÿof"$ÿ(hazardous
                                                                     )I)#",'ÿ'substances
                                                                                 ,A'+)&*'ÿ$from   "8ÿcar *)ÿ"operations
                                                                                                               )+!"&'ÿ
   8ÿ
   8                    )+ÿ;(
                        at       .'-ÿ4Property
                             Chrysler         "+.ÿ+to"ÿOU-2J=K3ÿGroundwater).
                                                                    L",&#%)+20ÿ
   9ÿ
   9
                                                    Mÿ Patsouras
                                                    F.       OPQRSTOQÿProperty
                                                                           TRUVTPWÿ
 2ÿ
            XXMÿ Kekropia
                    YZ"!)ÿInc., [&*0Dÿ)aÿ;)    -!$"&!)ÿ 33.           XXMÿ Admit.
                                                                               9#8!+0ÿ
 10

 2^2ÿ 33.   *"")+!"&Dÿ(has)'ÿ"owned
            corporation,            %&#ÿthe
                                              California
                                               +(ÿreal
                                                      )-ÿ
            "+.ÿ)at+ÿ211630
 23ÿ property
 12                           214ÿ-\ÿ11700
                                         227 ÿ],    Burke ZÿStreet
                                                              <++ÿ
            !&ÿSanta
 24ÿ "Patsouras
            in <)&+)ÿ>Feÿ<Springs,
                              !&/'DÿCalifornia
                                          ;)-!$"&!)ÿ(the   1+(ÿ
            G4)+'",)'ÿ4Property")
                               "+.H2ÿ$from    "8ÿ1995
                                                     2996ÿto+"ÿthe
                                                                 +(ÿ
            '&+0ÿÿ
 25ÿ present.
 14
 26ÿ 
 15           SUURTP^_`ÿa
            Supporting           ^bV_cVdÿ
                              Evidence:
 21ÿ Answer
 16
            9&'%ÿ"of$ÿY      Z"!)DÿInc.
                           Kekropia,        [&*0ÿ+to"ÿ>Fifth
                                                         !$+(ÿAm.
                                                              980ÿ
 27ÿ ;"
 17             8-0ÿ1(Docket
            Compl.     7"*Z+ÿe"   No.0  ÿ6563)
                                             142ÿFFÿ93, 94Dÿ4342
                                                              53ÿ
 28ÿ Lintecum
 18         @!&+*,8ÿ7       *-0DÿEx.
                          Decl.,   Bf0ÿ772,3Dÿ)at+ÿpp.0ÿ4,170,
                                                          5D27Dÿ
 29ÿ 4,182, 5D283Dÿ54,182,4,186,
                      D283Dÿ5D281Dÿ4,188  5D288ÿ(L. 1@0ÿ
 19
            4)+'",)'ÿ7
 3ÿ Patsouras            Dep. 0ÿgTr.0ÿ77:13-20,
                                          ?24K3Dÿ19:20-24,
                                                     29?3K35Dÿ
 20         34?23K29Dÿ325:4-8)
            23:12-19,       6?5K82ÿ
 32ÿ
 21

 33ÿ 34.    XhMÿ J& One  ÿ"orÿ8"
                               more ÿ(hazardous
                                           )I)#",'ÿ                     XhMÿ Not
                                                                        34.    e"+ÿdisputed.
                                                                                     #!',+#0ÿ
 22
            ',A'+)&*'Dÿ!including
            substances,      &*-,#!&/ÿchromium,
                                            *("8!,8Dÿ4PCE,     ;BDÿ
 34ÿ and
 23         )&#ÿg;BD
                 TCE,ÿ   (have
                            )iÿbeen
                                 A&ÿ#detected
                                             +*+#ÿin!&ÿ+the
                                                             (ÿsoil
                                                                 '"!-ÿ
 35ÿ at)+ÿ+
 24             (ÿ4Patsouras
               the   )+'",)'ÿ4Property.
                                      "+.0ÿ
 36ÿ 
 25           SUURTP^_`ÿa
            Supporting           ^bV_cVdÿ
                              Evidence:

            jklkmlnopqÿninpÿqsoil
 31ÿ Detections
 26                             onsÿtabove
                                        uovkÿqsoil
                                                 onsÿscreening
                                                       qmwkkpnpxÿ
 37ÿ levels
 27         skvksqÿ
 38ÿ
 28
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  13ÿ                              ÿ             ÿ
                          MOVING
                ÿMATERIAL
   4ÿ UNCONTROVERTED
                                             PLAINTIFFS'
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                                                                                      OPPOSING         DEFENDANTS'                 ÿ
                                                   ÿ SUPPORTING             ÿTOÿ          ÿÿ           ÿ
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   5ÿ FACTS          ÿÿ     AND       SUPPORTING
                                                                                                        CITED
                                                                                         ÿEVIDENCE
                                                                                                                       FACT AND
                                                                                                                     ÿ
   3

   6ÿ
   4
                                           
                                     EVIDENCEÿ
             
   7ÿ (Professional !"#$%ÿ&"
             Lintecum               #'()ÿ274,6)ÿ*at!ÿp.+(ÿ64,334-36
                                 Decl.,                     )556,51ÿ
             -./01"220*'ÿ3Service      "/4#"ÿ5Industries,
                                                        6$2!/"2)ÿPhase
                                                                     .7*2"ÿ
    5



   1ÿ II55ÿ.
    6               /"'%*/8ÿ90
                  Preliminary                  !*%*!0ÿ
                                        Contamination
             :22"22%"!ÿ-(Aug.
   2ÿ Assessment                     :$;(ÿ318,8)ÿ1994),
                                                    3996<)ÿ*at!ÿ3135ÿ=ÿ &
             >*?'"ÿ53),<)ÿ278,8)ÿ*at!ÿpp.++(ÿ64,352-55
                                                  )574,77ÿ
    7



   8ÿ Table
   8         -@ 4/0%"!*'ÿ:$
            (Environmental                Audit,6!)ÿ3Summary
                                                         $%%*/8ÿ0of1ÿ
   9ÿ Site   3!"ÿ:2       2"22%"!2ÿ-(Mar.
                      Assessments             A*/(ÿ42009)9<ÿTable  >*?'"ÿ31),<)ÿ
  9

 3ÿ Audit,   279,9)ÿ*at!ÿ+pp.+(ÿ4,363-68
                                6)515,18ÿ(Environmental
                                                -@ 4/0%"!*'ÿ
 10           :$6!)ÿB/        0$6ÿC*
                           Ground        Water!"/ÿ3Samples,
                                                      *%+'"2)ÿ
 33ÿ 90              1/%*!0ÿSoil
              Confirmation             30'ÿ3Samples
                                                 *%+'"2ÿ-(Aug. :$;(ÿ1)ÿ
              435<ÿ>*          ?'"ÿ1);
                                    3<DÿEseeFFÿalso
                                                 HIEJÿA$      !#7ÿK"   +0/!)ÿ
   11                                                          6,

            2013)         Table                          Mutch      Report,
 34ÿ Tables
 12           >*?'"2ÿ53-1,    ,3)ÿ27-4,6ÿ
 35ÿ Other
 13
              LMNFOÿdetections
                          PFMFQMRJSEÿRinSÿEsoil   JRIÿ
 36ÿ
 14

 37ÿ 29,4,331     !"#$%ÿ&"
              Lintecum              #'()ÿ@T
                                 Decl.,     Ex.( ÿ73,
                                                  25)ÿ*at!ÿ+pp.+(ÿ4,328­
                                                                   6)548,
 15           49)ÿ6)553ÿ-(AIG,   :5B)ÿPhase .7*2"ÿ5IÿEnvironmental
                                                        @ 4/0%"!*'ÿ
 31ÿ Site     3!"ÿ:2      2"22%"!ÿ-(Jun.
                      Assessment             U$(ÿ530,)ÿ1994),
                                                            3996<)ÿ*at!ÿ312­4,
 16
              35)ÿ423),
 32ÿ Subsurface
            13,        5<)ÿ76,21)ÿ*at!ÿ+pp.+(ÿ4,339-42
                                              6)559,64ÿ(EAI,  -@:5)ÿ
 17           3$?2$/1*#"ÿ5Investigation4"2!;*!0ÿK"          +0/!ÿ-(Dec.
                                                          Report      &"#(ÿ
 38ÿ 18,1995),
 18           38)ÿ3997<)ÿ*at!ÿ8-9,   8,9)ÿ311-12).
                                               3,34<(ÿ
              VFMFQMRJSEÿRinSÿEsoil
 39ÿ Detections
 19                                     JRIÿWgasHEÿ
 4ÿ 
 20
                    !"#$%ÿ&"
              Lintecum              #'()ÿEx.
                                 Decl.,     @T(ÿ278,8)ÿ*at!ÿ+pp.+(ÿ4,350,
                                                                   6)57)ÿ
 43ÿ 4,356-60 6)571,1ÿ@Environmental
                                   4/0%"!*'ÿ:$               6!)ÿ
                                                          Audit,
              3$%%*/8ÿ0of1ÿ3Site       !"ÿAssessments
                                             :22"22%"!2ÿ(Mar.      -A*/(ÿ
 21

 44ÿ Summary
 22
              4 9<)ÿat*!ÿ3113ÿ=ÿ
            2009),                      >*?'"2ÿ88,)ÿ99)<ÿ
                                    & Tables
 45ÿ 40
 23
              6ÿ9(      X(K(ÿY§ÿ302.4
                   C.F.R.          54(6ÿ
 46ÿ
 24

 47ÿ 35.      Z[\ÿ ]One"ÿ0or/ÿ%0       more /"ÿ7hazardous
                                                  *^*/60$2ÿ                       Z[\ÿ Not
                                                                                  35.    a0!ÿ6disputed
                                                                                                2+$!"6ÿ!that7*!ÿone0"ÿ0or/ÿ%0   /"ÿ
                                                                                                                              more
              2$?2!*#"2)ÿincluding    #'$6;ÿchromium,
                                                   #7/0%$%)ÿ.PCE,                7*^*/60$2ÿ2substances,
                                                                       9@)ÿ hazardous          $?2!*#"2)ÿincluding #'$6;ÿ
 25

 41ÿ substances,
 26
            *and6ÿ>9@)
                     TCE,ÿ      7have
                                  *4"ÿbeen
                                         ?""ÿ6detected
                                                    "!"#!"6ÿinÿ]_,  OU-2         #7/0%$%)ÿ.PCE,
                                                                          4ÿ chromium,           9@)ÿ*and6ÿTCE,
                                                                                                              >9@)ÿ7have *4"ÿ?been
                                                                                                                                 ""ÿ
              B/0$6`*!"/ÿ?below
 42ÿ Groundwater
 27                                     "'0`ÿor0/ÿdowngradient
                                                     60` ;/*6"!ÿ0of1ÿdetected    6"!"#!"6ÿinÿÿOU-2
                                                                                                ]_,4ÿB/       0$6`*!"/ÿ?below
                                                                                                         Groundwater            "'0`ÿ
 48ÿ the
 28
            !7"ÿ.Patsouras
                       *!20$/*2ÿProperty.
                                       ./0+"/!8(ÿ                                 0/ÿdowngradient
                                                                                  or 60` ;/*6"!ÿ0of1ÿthe   !7"ÿ.Patsouras
                                                                                                                     *!20$/*2ÿ
                                                                               12ÿ
                                                                               67
}~Case
Case   ÿ;i:14-cv-06456-GW-E
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    1 3ÿ                      ÿ             ÿ
                     MOVING
               ÿMATERIAL
      4ÿ UNCONTROVERTED
                                      PLAINTIFFS'
                                                         ÿRESPONSE              ÿ
                                                                                   OPPOSING                 DEFENDANTS'                    ÿ
                                            ÿ SUPPORTING                  ÿTOÿ                 ÿÿ             ÿ
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      5ÿ FACTS    ÿÿ   AND      SUPPORTING
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                                                                                                             CITED          FACT AND
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      6ÿ
                                    ÿ
                               EVIDENCE

     5
      7ÿ      !"#$%ÿ&
             Supporting           #'($)(*ÿ
                               Evidence:                                      X>?:/>.Y5ÿ3,
                                                                              Property.           M:1./Aÿ.that
                                                                                             Disputed
                                                                              C9[9>A?1MÿMsubstances
                                                                                                                 C9.ÿ9any
                                                                                                1LM.9-0/Mÿ,in-ÿJ\;
                                                                                                                         -Yÿof?Zÿ.those
                                                                                                                               4ÿ
                                                                                                                                     C?M/ÿ
    61ÿ +,      -./012ÿ3/      0456ÿ78
                                     Ex.5 ÿ80,
                                            26ÿ9at.ÿ:pp.:5ÿ4,373-78
                                                              66585;82ÿhazardous                                         OU-2
             Lintecum
             <7- = ,>?  -2/
                            Decl.,
                              -.94ÿ @1   A , . 6ÿBC   ,>A ÿD1   9  > ./>ÿ     E>?1-A]9./>ÿ2,
                                                                              Groundwater                H>9./AÿZfrom
                                                                                                     migrated           >?2ÿ.theC/ÿ
      8ÿ 2013(Environmental
             435ÿGround
                    E>?1-AÿF9
                                    Audit,
                                     ./>ÿG?
                                                 Third     Quarter
                                                   -,.?>,-HÿReport            X9.M?1>9MÿXProperty
                                                                I/:?>.ÿgroundwater.
                                                                              Patsouras         >?:/>.Yÿsoil    M?,4ÿ,into
                                                                                                                        -.?ÿthe
                                                                                                                              .C/ÿ
                                                                    SOTÿ H>?1-A]9./>5ÿ
     7
                                Water       Monitoring
             <J0.5ÿ423,56ÿ42013)
     82ÿ (Oct.                35KÿB9   L4/Mÿ2,46ÿ53);KNÿOseePPÿRalso
                                   Tables
    9
             G1.0CÿI/
      9ÿ Mutch             :?>.6ÿB9
                      Report,         L4/ÿ7-5
                                  Table      8;7ÿ
 3J Oÿ 40    6ÿU5   V5I5ÿW§ÿ302.4
                 C.F.R.       5456ÿ
 33ÿ
 11

 34ÿ 35.
 12
             ^_ÿ̀ Moving   &#$%ÿa    b#$"#ccdÿ(
                                  Plaintiffs'             ae*ÿ\f3g
                                                       Reply:               hX\B73ÿÿ
                                                                    UNDISPUTED

 35ÿ PCE,    X49,-.,ZZMiÿRSUMF
             Plaintiffs'    Ih\GVÿ5357ÿ,isMÿ4limited  ,2,./Aÿto.?ÿChazardous
                                                                       9[9>A?1MÿMsubstances,
                                                                                     1LM.9-0/M6ÿincluding,-041A,-Hÿ0chromium,C>?2,126ÿ
             XU76ÿ9and
                     -AÿBU76TCE,ÿ  .that
                                     C9.ÿhave
                                           C9=/ÿLbeen  //-ÿAdetected
                                                                /./0./Aÿin,-ÿJ\;     4ÿE>    ?1-A]9./>ÿLbelow      /4?]ÿor?>ÿ
   13
                                                                               OU-2     Groundwater
 3
 14   6ÿ     A?]-H>9A,/-.ÿ?ofZÿthe
             downgradient            .C/ÿXPatsouras
                                               9.M?1>9MÿXProperty.
                                                                >?:/>.Y5ÿKekropia
                                                                            j/k>?:,9ÿAdoes    ?/Mÿ-not?.ÿdispute
                                                                                                            A,M:1./ÿ.this   C,Mÿ:part9>.ÿof?Zÿ
 37ÿ RSUMF
 15
             Ih\GVÿ535.75ÿÿÿ
 31ÿ 36.
 16          ^lÿ̀ There
                     BC/>/ÿChas9MÿLbeen//-ÿ9aÿplausible,
                                                   :491M,L4/6ÿ,ifZÿ-not?.ÿ36. ^lÿ̀ Disputed.
                                                                                       3,M:1./A5ÿ
             0?2:4/./A6ÿ2,
 38ÿ completed,                 H>9.,?-ÿ:pathway
                              migration          9.C]9Yÿbetween
                                                              L/.]//-ÿFact    V90.ÿf?No.5  ÿ5361ÿis,Mÿ,irrelevant
                                                                                                        >>/4/=9-.ÿZfor?>ÿthe  .C/ÿ
 17
             .C/ÿXPatsouras
             the   9.M?1>9MÿProperty
                                X>?:/>.Yÿ9and      -AÿJ\;
                                                        OU-2   4ÿ following   Z?44?],-Hÿ>reasons:
                                                                                                /9M?-Mzÿ
 32ÿ E>
 18             ?1-A]9./>5ÿ
             Groundwater.
 39ÿ 
 19            !"#$%ÿ&        #'($)(*ÿ                                    BC/ÿZfact
                                                                              The    90.ÿ,isMÿ,irrelevant
                                                                                                 >>/4/=9-.ÿto.?ÿ.this    C,Mÿ:phase
                                                                                                                                C9M/ÿof?Zÿ
 4ÿ Mutch
             Supporting        Evidence:
                                                                              .C/ÿ4litigation.
                                                                              the   ,.,H9.,?-5ÿÿÿ
 20
             G1.0CÿReport,
                      I/:?>.6ÿ9at.ÿ42-4;6ÿto.?ÿ42-8, ;26ÿ53-3;5ÿ.to?ÿ3-7
                                                                      5;86ÿPlaintiffs'
                                                                              X49,-.,ZZMiÿcited0,./AÿfactZ90.ÿ,isMÿ9actually
                                                                                                                       0.1944Yÿ9aÿlegal4/H94ÿ
 43ÿ Section
 21          h/0.,?-ÿ87ÿ                                                      0?-041M,?-ÿwhich  ]C,0CÿMstems   ./2MÿZfrom >?2ÿsection
                                                                                                                                M/0.,?-ÿ53ÿ
 44ÿ Soil
 22          mTnSÿocontamination
                    TpqRrnpRqnTpÿshasROÿPexceeded   toPPuPuÿsoil
                                                                              conclusion
                                                                  OTnSÿ of?ZÿU9       M.9,0ÿ+9
                                                                                  Castaic      Lake k/ÿF9Water  ./>ÿ@H
                                                                                                                     Agency/-0Yÿv.=5ÿ
             OovPPpnpwÿSlevels
 45ÿ screening               PxPSOÿ                                           FC,..9k/>ÿU?
                                                                              Whittaker        Corp.,>:56ÿ427284ÿVF.5ÿSupp.
                                                                                                                        h1::5ÿ42dAÿ
 23

 46ÿ +,         -./012ÿ3/      0456ÿ874,66ÿ9at.ÿp.:5ÿ64,334-36
                                                       6556;51ÿ 1053,         3756ÿ31062-6814;12ÿ<(C.D.  U535ÿU9   Cal. 45ÿ42003)5Kÿ
 24          Lintecum
             <X >?Z /MM ,?
                            Decl.,
                            -94ÿh/  >= , 0/  ÿg -  A 1 M.>,/  M6ÿX   C9M /ÿ   /-.,.4/Aÿ{"Did
                                                                              entitled      3,Aÿthe  .C/ÿI/      4/9M/ÿ...
                                                                                                            Release       5ÿ5ÿ5ÿCause
                                                                                                                                U91M/ÿ
 47ÿ IIggÿX  (Professional
                 >/4,2,-9>YÿU?
                                Service        Industries,
                                      -.92,-9.,?-ÿ
                                                                 Phase        X49,-.,ZZMÿ.to?ÿgIncur
                                                                              Plaintiffs            -01>ÿResponse
                                                                                                             I/M:?-M/ÿU?             M.M6|ÿ
                                                                                                                               Costs,"
 25

 41ÿ Assessment
                Preliminary
             @MM/MM2/-.ÿ<(Aug.
                                 Contamination
                               @1H5ÿ318,26ÿ1994),
                                                3996K6ÿ9at.ÿ3135ÿyÿ           ]C,0Cÿpertains
                                                                              which    :/>.9,-Mÿ.to?ÿthe    .C/ÿ"response
                                                                                                                   {>/M:?-M/ÿ0cost     ?M.ÿ
 26
             B9 L 4/ÿ5K 6ÿ 82 6ÿ
                               9.ÿ:  : 5 ÿ
                                         6  65  7  4 ;7 7ÿ
                                                                      &       /4/2/-.|ÿthat
                                                                              element"       .C9.ÿ.theC/ÿ:parties
                                                                                                               9>.,/Mÿagreed
                                                                                                                         9H>//Aÿ],       44ÿ
                                                                                                                                      will
 48ÿ (Environmental
             Table
             <7- = ,>
                     3),
                     ?  -2/
                           78,
                              -
                               at
                               .94
                                  pp.
                                  ÿ @1   A
                                          4,352-55
                                           , . 6ÿh  1 229     >Y ÿ ?
                                                                   ofZÿ       -?.ÿLbe/ÿ4litigated
                                                                              not        ,.,H9./Aÿin,-ÿ.this   C,Mÿ:phase
                                                                                                                       C9M/ÿof?Zÿ.theC/ÿ
                                                                              4,.,H9.,?-5ÿÿ(Dkt.
                                                                                               <3k.5ÿ1615)   37Kÿ
 27
                                    Audit,       Summary
 42ÿ Site
 28          h,./ÿ@M  M/MM2/-.Mÿ<(Mar.
                   Assessments          G9>5ÿ2009) 4 9KÿB9        L4/ÿ1),
                                                              Table    3K6ÿlitigation.
                                                                           12ÿ
                                                                           68
xyz{Case
Case  ÿ};i:14-cv-06456-GW-E
           ~2:14-cv-06456-GW-E
                  ÿÿÿ                 Document
                                               Document {ÿ974ÿ#:33786
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                                                                      Filed
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                                                                                           Page{ÿ72}Page
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                                                                                                                         87{
                                                                                                                         Page   ÿIDÿ#:32323
                                                                                                                              Page    ~ID}}
           ÿ
   13ÿ                              ÿ           ÿ
                         MOVING
                ÿMATERIAL
    4ÿ UNCONTROVERTED
                                             PLAINTIFFS'
                                                              ÿRESPONSE          ÿ
                                                                                    OPPOSING              DEFENDANTS'                    ÿ
                                                  ÿ SUPPORTING            ÿTOÿ                ÿÿ             ÿ
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    5ÿ FACTS         ÿÿ      AND     SUPPORTING
                                                                                        ÿEVIDENCE
                                                                                                           CITED           FACT AND
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   4
    3

    6ÿ
                                         
                                     EVIDENCEÿ
    7ÿ Audit,879,2ÿatÿ!pp.!"ÿ4,363-68
                               6515#19ÿ$(Environmental
                                                %&'()*&+,&-ÿ Defendant        Z,6,&0&ÿf,         g)*!(ÿ+
                                                                                              Kekropia            made 0,ÿan&ÿ
              ./0(ÿ1)         */&0ÿ2         ,)ÿ3Samples,
                                                      +!-,4ÿ                 66()+(',ÿ4showing
                                                                                                 D*`(&7ÿthat      DÿthereD,),ÿis(4ÿ&no*ÿ
     5

                          Ground        Water                                  affirmative
    1ÿ 5*
     6             &6()+(*&ÿSoil
              Confirmation             3*(-ÿ3Samples
                                                +!-,4ÿ$(Aug. ./7"ÿ16,ÿ migration
                                                                               +(7)(*&ÿ!pathway
                                                                                               D`aÿ$(actual   C/-ÿor*)ÿ!plausible)
                                                                                                                                 -/4(:-,8ÿ
    8ÿ 2013)  4358ÿ9    Table:-,ÿ1);
                                    38;ÿ<see==ÿalso
                                                ?@<AÿB/ Mutch CDÿE,  !*)ÿbetween
                                                                  Report,      :,`,,&ÿtheD,ÿ4soil  *(-ÿatÿtheD,ÿdPatsouras
                                                                                                                        4*/)4ÿ
              9:-,4ÿ53-1,   #3ÿ87-4#6ÿ                                       d)*!,)aÿand  &0ÿtheD,ÿgroundwater
                                                                                                         7)*/&0`,)ÿ:below.         ,-*`"ÿÿÿ
     7


    9ÿ Tables
    8
                                                                               Property

    2ÿ Known  FGAHGÿIhistorical
                              J<KALJM?@ÿAoperations
                                              N=L?KJAG<ÿ?atKÿ                  Supporting
                                                                                  hiijklmnoÿp        mqrnsrtÿ
                                                                                                 Evidence:
   9
              O?K<APL?<ÿOL
             Patsouras               AN=LKQÿJinvolving
                                 Property        GRA@RJGSÿ                     f/--ÿ%[    !,)ÿE,      !*)ÿatÿpp.    !!"1-8,
                                                                                                                           3#9ÿ9     :-,4ÿ
  3ÿ I         ?T?LUAP<ÿ<substancesPV<K?GM=<ÿ                                  Kulla   Expert      Report,                          Tables
 10

  33ÿ W@
              hazardous
                                                                               3#7ÿbFigure
                                                                               1-5,    (7/),ÿ42-8A,
                                                                                                  #9.ÿ%[  Ex."   ÿKfÿto*ÿtheD,ÿZ,
                                                                                                                                 Decl.C-"ÿ*of6ÿ
 11               AV=ÿXJ
              Globe      Oil@  ÿ                                               e(C*)ÿ]Otten.
                                                                               Victor        ,&"ÿÿ
  34ÿ Y(
 12
                  &,C/+ÿZ,
              Lintecum               C-"ÿ%[
                                Decl.,    Ex."  ÿ77,
                                                 88ÿatÿ!p."ÿ4,345
                                                               6567ÿ Kulla    f/--ÿE,    :/-ÿ%Expert
                                                                                       Rebuttal         [!,)ÿReport,E,!*)ÿatÿ!pp.!"ÿ1­3#
  35ÿ (EAI,
 13           $%.\ÿ3Supplemental
                          /!!-,+,&-ÿ3Subsurface    /:4/)6C,ÿ                 34ÿ%[
                                                                               12,  Ex."ÿ3Sÿto*ÿthe
                                                                                                  D,ÿDecl.
                                                                                                       Z,C-"ÿ*of6ÿVictor e(C*)ÿ]Otten.  ,&"ÿÿ
              \&',4(7(*&ÿ(Mar.
  36ÿ Investigation                   $B)"ÿ53,ÿ31997),
                                                       2288ÿatÿ35ÿ Letter    Y,,)ÿto*ÿY      ))aÿdPatsouras
                                                                                                        4*/)4ÿof*6ÿf,             g)*!(ÿ
 14
              $1-*:,ÿ](
             (Globe       Oil-  ÿ+    &/6C/)(&7ÿoperations),
                                  manufacturing           *!,)(*&48ÿ Inc.    \&C"ÿ6from
                                                                                           Larry
                                                                                      )*+ÿthe D,ÿ%[    ,C/(',ÿ]6
                                                                                                                             Kekropia,
                                                                                                                           6(C,)ÿ*of6ÿthe D,ÿ
  37ÿ 75,
 15           87ÿatÿ!p."ÿ4,337
                             6558ÿ$(Grancich,
                                         1)&C(CDÿ^J.B.,   "_"ÿY,   ,)ÿto*ÿLos
                                                                 Letter
                                                                               Y*4ÿ.&    7,-,4ÿE,
                                                                                                   Executive
                                                                                                      7(*&-ÿWater
                                                                                                                        Officer
                                                                                                                    2,)ÿQuality
                                                                                                                              u/-(aÿ
  31ÿ (Apr.   1-*:,ÿ](
             Globe       Oil-  ÿ9*
                                Tools*-4ÿ5*
                                          Co."  ÿ)re,ÿ\Investigation
                                                        &',4(7(*&ÿ Control          Angeles
                                                                               5*&)*-ÿ_*
                                                                                                  Regional
                                                                                               )0ÿ0dated
                                                                                                        ,0ÿJanuary^&/)aÿ64,ÿ42017,  38ÿ
 16
              $.!)"ÿ315,7ÿ31970),
                                 288ÿatÿ31)8ÿ$(sewer
                                                     4,`,)ÿsystem
                                                               4a4,+ÿ (No                 Board,
                                                                               $c*ÿbFurther
                                                                                       /)D,)ÿ.C        (*&ÿletter
                                                                                                               -,,)ÿto*ÿf,          g)*!(ÿ
 1378ÿ not    &*ÿcomplete
                     C*+!-,,ÿ!prior     )(*)ÿto*ÿ31970)
                                                     288ÿ                      C*&C-/0(&7ÿthat
                                                                                                 Action
                                                                                                 Dÿthe D,ÿcleanup
                                                                                                               C-,&/!ÿ̀
                                                                                                                             Kekropia,
                                                                                                                             was4    ÿ
  39ÿ RFJN,
 18           Eb^cÿ%[    Ex."  ÿ9857ÿ$(LACE,
                                        Y.5%ÿIndustrial
                                                     \&0/4)(-ÿ2
                                                                               concluding
                                                                               C*+!-,,ÿto*ÿ"assure
                                                                       4,ÿcomplete
                                                                   Waste                         v44/),ÿ!protection
                                                                                                                  )*,C(*&ÿ*of6ÿ
  32ÿ Survey  3/)',aÿ$(Jun.  ^/&"ÿ19,32ÿ31970))
                                             2888ÿ$(Globe1-*:,ÿ]( Oil-ÿ human  D/+&ÿhealth
                                                                                         D,-Dÿand  &0ÿ̀  waters ,)4ÿ*of6ÿtheD,ÿ3State
                                                                                                                                       ,ÿatÿ
 19
              +&/6C/)(&7ÿ*operations,
  4ÿ containing
             manufacturing                !,)(*&4ÿ̀    waste 4,ÿ and        &0ÿ&near
                                                                                      ,)ÿtheD,ÿ3Site
                                                                                                    (,ÿfor6*)ÿtheir
                                                                                                                  D,()ÿ:beneficial
                                                                                                                            ,&,6(C(-ÿ
  20
              C*&(&(&7ÿDhexavalent ,['-,&ÿCchromium,D)*+(/+ÿ/use4,ÿ uses.) /4,4"8ÿ%[Ex."ÿ_ÿ
                                                                                              B to*ÿthe
                                                                                                      D,ÿDecl.
                                                                                                             Z,C-"ÿ*of6ÿe(      C*)ÿ
                                                                                                                            Victor
  43ÿ of*6ÿ0         ,7),4,)8ÿ2935ÿatÿ1207-1208
                  degreaser),                  348#349ÿ$(City                  ] ,&"ÿÿ
                                                                  5(aÿ*of6ÿ Otten.
              3b3ÿ\IWDP2Zdÿ.!           !-(C(*&ÿ$(May  Baÿ18, 39ÿ Phase
  21

  44ÿ 1970),
  22
             SFS
              3288ÿatÿ31-2)
                                   Application
                                #48ÿ(wastewater
                                       $`4,`,)ÿcontaining                    dD4,ÿ\Iÿ%&
                                                          C*&(&(&7ÿ Assessment,              '()*&+,&-ÿSite
                                                                                          Environmental              3(,ÿ
              D,['-,&ÿCchromium),
  45ÿ hexavalent                    D)*+(/+8ÿ2946ÿatÿ1209    342ÿ June       .44,44+,&ÿ.\      AIG 1ÿ5*        &4/-&4ÿ\Inc.,
                                                                                                           Consultants,              &C"ÿ
  23
              $.!!-(C(*&ÿfor        6*)ÿ.!    !)*'-ÿ*of6ÿtheD,ÿ Decl.        ^/&,ÿ530,ÿ31994,
                                                                                             226ÿatÿ!p."ÿ2216,
                                                                                                               44ÿwÿ1ÿEx.  %["ÿ5ÿ     *ÿthe
                                                                                                                                    C to    D,ÿ
  46ÿ Proposed                                            Z(4!*4-ÿ Z,C-"ÿ*of6ÿe(              C*)ÿ]Otten.   ,&"ÿ
             (Application                 Approval
  24
              d)*!*4,0ÿ\Industrial
                                &0/4)(-ÿ2     Waste 4,ÿDisposal                          Victor
  47ÿ System, 3a4,+ÿLetter  Y,,)ÿto*ÿZ,         !)+,&ÿof*6ÿ Soil
                                             Department
                                                                               3*(-ÿE,   +,0((*&ÿE,             !*)ÿof*6ÿbFindings
                                                                                                                              (&0(&74ÿ
             5*    / &  a ÿ%&   7  (& , , )ÿ
                                           $ B    ) "
                                                     ÿ 4 6
                                                          ÿ  32 8  8
                                                                   ÿ
                                                                     atÿ3
                                                                        1)8ÿ
  25
                                                                                     Remediation           Report
  41ÿ (same), County       Engineer
             $4+,8ÿ9889ÿ$(LACE   Y.5%ÿc*
                                           (Mar.       24,   1970),
                                                     (C,ÿof*6ÿe( *-(*&ÿ for   6*)ÿ%-
                                                                                    Elÿ 1) ,C*ÿ\Inc.,
                                                                                        Greco,      &C"ÿBiophysics
                                                                                                             _(*!Da4(C4ÿ
                                                                               %&'()*&+,&-ÿ.4             4,44+,&4ÿ\Inc.,      &C"ÿ
  26
                                              Notice           Violation
  48ÿ (Mar.  $B)"ÿ420,ÿ31970))  2888ÿ$(sewer
                                             4,`,)ÿsystem
                                                        4a4,+ÿ&not*ÿ Environmental                    Assessments,
                                                                               3,!"ÿ314,6ÿ420061ÿ$(It\ÿis(4ÿCconcluded
                                                                                                                  *&C-/0,0ÿthat      Dÿ&no*ÿ
             C *  +!   - , ,  ÿ! ) (* )ÿ * ÿ 32 8    8 ;ÿ
                                                        <=  =ÿ? @<Aÿ
  27
                                                                               Sept.
  49ÿ Mutch
  28
             complete
             B/CDÿReport,
                               prior    to
                          E,!*)ÿatÿ87-3,
                                             1970);
                                              #5ÿ7-18
                                                        see   also
                                                                 #44ÿ threat
                                                    8#39ÿto*ÿ87-22               D),ÿ,exists
                                                                                         [(44ÿto*ÿ7groundwater
                                                                                                        )*/&0`,)ÿfrom       6)*+ÿ
                                                                            12ÿ
                                                                            69
opqrCase
Case ÿt;i:14-cv-06456-GW-E
          uvw2:14-cv-06456-GW-E
              xyzx{|w}|x~xÿÿÿ          yDocument
                                       Documentr ÿ974wÿ#:33787
                                                               ÿÿrÿ04/29/21
                                                                 Filed
                                                               1067-1  {wFiled
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                                                                                 vÿÿÿp
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                                                                                                                   87r
                                                                                                                   Page   ÿIDÿ#:32324
                                                                                                                         Page    uIDttw
          ÿ
  13ÿ                        ÿ        ÿ
                    MOVING
              ÿMATERIAL
   4ÿ UNCONTROVERTED
                                    PLAINTIFFS'
                                                    ÿRESPONSE              ÿ
                                                                              OPPOSING               DEFENDANTS'                    ÿ
                                         ÿ SUPPORTING               ÿTOÿ                ÿÿ              ÿ
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   5ÿ FACTS      ÿÿ   AND    SUPPORTING
                                                                                  ÿEVIDENCE
                                                                                                      CITED          FACT AND
                                                                                                                   ÿ
   3

   6ÿ
   4
                                  ÿ
                              EVIDENCE

            !"#ÿ"extensive
   7ÿ (likely         $%"&'("ÿ)use'"ÿ*of+ÿlagoons
                                             ,-**&'ÿ+for*.ÿ metals,     0"%,'Bÿ'solvents
                                                                                     *("&%'ÿ,and    &Kÿtotal
                                                                                                           %*%,ÿDpetroleum
                                                                                                                      "%.*")0ÿ
            /,'%"ÿ0,     &,-"0"&%1ÿ                                      L#K.*?,.S*&'BÿSbased     ,'"Kÿ)upon  D*&ÿ%theL"ÿlow
                                                                                                                           */ÿ
    5

            waste   management)                                          hydrocarbons,
   8ÿ
   6                                                                     "("ÿ,and
                                                                                  &Kÿisolated
                                                                                         '*,%"Kÿlow   */ÿ(volume
                                                                                                                 *)0"ÿof*+ÿ,allÿ
   1ÿ       23 445
            Palley 6ÿ89  :
                     Supply: 46ÿ;<
                                Co.= ÿ                                   level
                                                                         D*%"&%,#ÿLhazardous
                                                                         potentially        ,h,.K*)'ÿ0,            %".,'ÿ
                                                                                                             materials
                                                                          K"&%+"Kÿin&ÿinitial&%,ÿ%testing"'%&-ÿbyS#ÿCFG  EAIÿ      &ÿ
    7


   9ÿ >        &%"?)0ÿ@"
            Lintecum          ?ABÿC$
                          Decl.,   Exs.'Aÿ78,
                                          19Bÿ,at%ÿDpp.DAÿ4,348­
                                                          6B569E 1994.)  identified
                                                                         3 6A1ÿDpp.DAÿ31-7,E1BÿTables
                                                                                                 N,S"'ÿ1-3,  3E5BÿC$ Ex.A ÿQÿG%
                                                                                                                                  in
                                                                                                                                  *ÿthe
                                                                                                                                      %L"ÿ
   8

  9ÿ (Mar.
            6
            49 ÿCFG
                (EAI, Bÿ H ) 00,
                         Summary   .# ÿ*
                                       of+ ÿ
                                           H  %
                                           Site "ÿ F'  '"  ' '
                                                   Assessments 0"  &%'ÿ  @"?Aÿ*of+ÿiVictor
                                                                                          ?%*.ÿX%     %"&AÿÿThis
                                                                                                               NL'ÿ+fact
                                                                                                                                 to
                                                                                                                         ,?%ÿ,alone
                                                                                                                                 *&"ÿ
            I,.Aÿ42009),
                     221Bÿ,at%ÿ31-2)
                                   E41ÿ(Palley
                                        J,"#ÿHSupply)DD#ÿ Decl.       'ÿ"evidence
                                                                              (K"&?"ÿ%that
                                                                                                 Otten.
                                                                                           L,%ÿthere
                                                                                                  %L"."ÿis'ÿ&no*ÿactual
                                                                                                                      ,?%),ÿ*or.ÿ
            *D".,%*&'BÿKdischarges
 32ÿ operations,               '?L,.-"'ÿ,and &Kÿ(violations).
                                                     *,%*&'1Bÿ isplausible
                                                                         D,)'S"ÿ0migration
                                                                                           -.,%*&ÿDpathway  ,%L/,#ÿbetween
                                                                                                                         S"%/""&ÿ
 10

 33ÿ Dep.   95
            83,Bÿ,
                 at%
                   ÿDD
                    pp.Aÿ6  B
                            8 2 2
                         4,600-01,E23 Bÿ6B 86
                                        4,649    ÿ
                                                 
                                                 (W.MA  ÿJ ,
                                                        Palley"# ÿ     %L"ÿJPatsouras
                                                                                ,%'*).,'ÿProperty
                                                                                              J.*D".%#ÿ,and       &KÿXjE      4ÿ
   11       @"DAÿN.Tr.A
                      ÿ420:9
                          2Oÿto%*ÿ421:5,
                                     3O7Bÿ869:19-23)
                                               O3E451ÿ the               Q.*)&K/,%".Aÿ
                                                                                                                      OU-2
            *D".,%*&ÿof*+ÿJPalley
 34ÿ (operation
 12                              ,"#ÿSupply
                                        H)DD#ÿP*   Co.A  ÿ+from
                                                              .*0ÿ Groundwater.
 35ÿ 1973   315ÿ%to*ÿ,at%ÿleast
                            ",'%ÿ1986),
                                  3981Bÿ173,5Bÿ,at%ÿDp.Aÿ4,6Bÿ See       855ÿ3also
                                                                                4]<ÿSUMF
                                                                                     HjIUÿV*             'Aÿ526-531.
                                                                                                            748E753Aÿ
   13       FGQBÿJPhase
            (AIG,     L,'"ÿGIÿC&    (.*&0"&%,ÿ
                                Environmental
                                                                                                   Nos.

            F''"''0"&%ÿ(Jun.
 36ÿ Assessment               R)&Aÿ530,2Bÿ31994),
                                                61Bÿat,%ÿ318)91ÿ Updated jDK,%"KÿHSite%"ÿP*        &?"D%),ÿModel
                                                                                             Conceptual             I*K"ÿ,and   &Kÿ
            )'"Kÿ*of+ÿ'subsurface
                         )S').+,?"ÿclarifiers)
                                        ?,.+".'1ÿ                       T"k)"'%ÿ+for*.ÿ>*     /ÿTRisk'!ÿP        *')."Bÿ
   14


 37ÿ (used
 15
                                                                         Request
                                                                         C&(.*&0"&%,ÿF)
                                                                                           Low                Closure,
                                                                                                       K%BÿGInc.,
                                                                                                               &?ABÿRJune
                                                                                                                        )&"ÿ16, 38Bÿ
            TU
 38ÿ Springs,   RVA
            RFJN.,  BÿC$
                      Exs.' Aÿ98
                              86 ÿP  %
                                  (City# ÿ*
                                          of+ÿH ,
                                              Santa&%, ÿU
                                                        Fe " ÿ           Environmental
                                                                         4232Bÿ("Chlorinated
                                                                                                 Audit,
                                                                                  lPL*.&,%"Kÿ?compounds     *0D*)&K'ÿ,are."ÿ
 16
            HD.&-'BÿFD       D?,%*&ÿ+for*.ÿW)
                        Application                 '&"''ÿ 2010,
                                               Business                  &*%ÿ-generally
                                                                                "&".,#ÿidentified
                                                                                               K"&%+"Kÿin&ÿsoil      '*ÿ,at%ÿ%the
                                                                                                                                 L"ÿ
 31ÿ XD
 17             ".,%*&ÿTax
            Operation     N,$ÿP"     .%+?,%"ÿ(Aug.
                                 Certificate       F)-Aÿ20,  42Bÿ Site   not
                                                                         H%"ÿSbut)%ÿ,are."ÿpresent
                                                                                           D."'"&%ÿin&ÿ-ground .*)&Kÿwater/,%".ÿat,%ÿ
 39ÿ (L.A.  3  1 5
            1973)) 1
                   1ÿ*  D" .,
                     (operation% *& ÿ*
                                     of+ÿJ , 
                                         Palley" # ÿH)  D D
                                                    Supply),  #1Bÿ9
                                                                   871ÿ  ?*&?"&%.,%*&'ÿ%that     L,%ÿ,are."ÿ?consistent
                                                                                                                  *&''%"&%ÿwith  /%Lÿ
 18
            >AFAÿP*    )&%#ÿ@YH
                   County      DHSÿ    >"  %%".ÿto%*ÿPA
                                       Letter        C.ÿ  HSjoberg
                                                             Z*S".-ÿconcentrations
                                                                         %L"ÿ.regional
                                                                               "-*&,ÿimpact 0D,?%ÿto%*ÿ-ground  .*)&Kÿ/,       %".ÿ
 3ÿ (Aug.
 19         F)-Aÿ318,1988))
                     9Bÿ39911ÿ(use  )'"ÿ*of+ÿclarifiers)
                                               ?,.+".'1ÿ the            '""ÿHSection
                                                                         (see    "?%*&ÿ53.0)).A211AÿGIn&ÿCFGEAI's
                                                                                                                           water
                                                                                                                    m'ÿ*opinion
                                                                                                                         D&*&ÿ%the     L"ÿ
 42ÿ Discharges
            [\]^_3`a5]ÿ<ofbÿ_hazardous
                                  3c3`d<9]ÿ]substances
                                                   9e]f3g^5]ÿ chlorinated?L*.&,%"Kÿ?compounds
                                                                                            *0D*)&K'ÿdetected    K"%"?%"Kÿin&ÿ
                                                                         -.*)&Kÿ/,       %".ÿ,at%ÿ%the
                                                                                                    L"ÿSite
                                                                                                          H%"ÿ,are."ÿ&not*%ÿ%theL"ÿ
 20

 43ÿ >
 21
               &%" ?)0ÿ   @"  ? 
                                ABÿC$
                                   Ex.A ÿ1 1 B
                                             ÿ ,
                                               at%
                                                 ÿ D
                                                   p.A
                                                     ÿ 6B 5  6 7 ÿ
                                                                         ground
                                                                         result
                                                                                   water
                                                                         ."')%ÿ*of+ÿ+former
                                                                                       *.0".ÿ'site%"ÿ,activities."
                                                                                                            ?%(%"'Anÿ,at%ÿpp.     DDAÿ
 44ÿ (EAI,
            Lintecum      Decl.,
            CFGBÿHSupplemental
                                         77,
                     )DD"0"&%,ÿHSubsurface
                                           )S').+,?"ÿ
                                                       4,345
                                                                         5E37Bÿ421,3BÿN,
                                                                         3-15,             S"'ÿ1-7
                                                                                       Tables       3E1ÿ,and &Kÿ310,2BÿC$
                                                                                                                        Ex.A   ÿ@ÿ
                                                                                                                                D to%*ÿ
                                                                         %L"ÿ@"   ?Aÿ*of+ÿVictor
                                                                                           i?%*.ÿX%          %"&AÿÿThis
                                                                                                                     NL'ÿis'ÿ
 22
            G&("'%-,%*&ÿ(Mar.
 45ÿ Investigation             I,.Aÿ53,Bÿ31997),11Bÿ,at%ÿ3)51ÿ the           Decl.
                                                                         +).%L".ÿ"evidence
                                                                                     (K"&?"ÿ%that
                                                                                                         Otten.
                                                                                                     L,%ÿ%there
                                                                                                             L"."ÿis'ÿ&no*ÿ,actual
                                                                                                                                 ?%),ÿ
 23
            /,  '
            (waste%"ÿ'" &
                     sent % ÿ
                            %*
                            to ÿ?, . + "
                                clarifiers.'ÿ, &
                                              andK  ÿ
                                                    '"  /"
                                                    sewer),  . 1Bÿ15
                                                                  73 ÿ   further
                                                                         *.ÿDplausible
                                                                              ,)'S"ÿ0migration
                                                                                               -.,%*&ÿDpathway   ,%L/,#ÿ
 46ÿ (AIG,
 24         FGQBÿJPhase
                      L,'"ÿGIÿC&    (.*&0"&%,ÿ
                                Environmental                            or
                                                                         S"%/""&ÿ%theL"ÿJPatsouras
                                                                                              ,%'*).,'ÿProperty
                                                                                                              J.*D".%#ÿ,and     &Kÿ
            F''"''0"&%ÿ(Jun.
 47ÿ Assessment               R)&Aÿ530,2Bÿ31994),
                                                61Bÿat,%ÿ318)91ÿ between XjE4ÿQ.     *)&K/,%".Aÿ
 25

 48ÿ Q
            ', 0"
            (same),1Bÿ1 7
                      75, B ÿ
                            ,
                            at%ÿD
                                p.A
                                  ÿ6 B55
                                   4,337 1 ÿÿQ.   ,&
                                             (Grancich,?  ? L  B
                                                               ÿ         OU-2     Groundwater.
 26            *S"ÿXOilÿN*
            Globe             *'BÿMemo
                          Tools,    I"0*ÿ(Apr. FD.Aÿ315,7Bÿ Remedial    T"0"K,ÿF?          %*&ÿJPlan, ,&Bÿ311630-11700
                                                                                                                  3852E33122ÿ
 41ÿ 1970), 3121Bÿ178,9Bÿ,at%ÿpp.
                              DDAÿ64,348-49
                                     B569E6ÿ                             W).!"ÿHStreet,
                                                                                         Action
                                                                                    %.""%BÿC&      (.*&0"&%,ÿF)               K%Bÿ
 27
            C&  ( .*&  0"
            (Environmental   &%, ÿ
                                  F)  K
                                  Audit, % Bÿ
                                            H  ) 00,
                                             Summary     .#  ÿ*of+
                                                                 ÿ       Burke                Environmental              Audit,
 49ÿ Site
 28         H%"ÿF'   '"''0"&%'ÿ(Mar.
                  Assessments         I,.Aÿ42009),
                                                221Bÿ,at%ÿ1-2  3E4ÿ
                                                                      12ÿ
                                                                      70
qrstCase
Case ÿv;i:14-cv-06456-GW-E
          wxy2:14-cv-06456-GW-E
              z{|z}~y~zzÿÿÿ                 {Document
                                                     tÿ974
                                              Document         yÿ#:33788
                                                                    ÿÿtÿ04/29/21
                                                                      Filed
                                                                    1067-1   }yFiled
                                                                                vv05/02/22
                                                                                        xÿÿÿr tÿ74
                                                                                            Page    yPage
                                                                                                        ÿofÿv277
                                                                                                                7ofÿÿÿr87t
                                                                                                                        Page      ÿIDÿ#:32325
                                                                                                                                 Page   wIDvv
          ÿ
  12ÿ                            ÿ           ÿ
                      MOVING
              ÿMATERIAL
   3ÿ UNCONTROVERTED
                                           PLAINTIFFS'
                                                           ÿRESPONSE              ÿ
                                                                                     OPPOSING             DEFENDANTS'                      ÿ
                                                 ÿ SUPPORTING               ÿTOÿ             ÿÿ                ÿ
   2

   4ÿ FACTS        ÿÿ     AND       SUPPORTING
                                                                                         ÿEVIDENCE
                                                                                                           CITED            FACT AND
                                                                                                                        ÿ
   3

   5ÿ
   4
                                        
                                  EVIDENCE ÿ
            !"#$ÿ%various
   6ÿ (listing              &'()!ÿ*discharges
                                           !+,&'$-!ÿ&and   #*ÿ                 B#+63ÿJune
                                                                               Inc.,   1)#-ÿ216,73ÿ21997.,
                                                                                                      99163ÿEx. 456ÿ<ÿ  H to "(ÿ"the,-ÿDecl.
                                                                                                                                         ;-+6ÿ
            %(&"(#!.ÿ                                                         (@ÿDVictor
                                                                                       +"('ÿh"   "-#6ÿ
     5

            violations)                                                        of            Otten.
   7ÿ
   6

   1ÿ RFJN, /0123ÿ45   Exs.  !6ÿ887,13ÿ&at"ÿ1,194
                                            23295ÿ(L.A.
                                                      7686ÿ9(      )#":ÿ Covenant
                                                                County         9(%-#&#"ÿand   &#*ÿ4#     %'(#J-#"&ÿ
                                                                                                     Environmental
            ;<=ÿ7-
            DHS     Letter""-'ÿ"to(ÿ96C.ÿ  =>(?-'$ÿ(Aug.
                                           Sjoberg       8)$6ÿ218,83ÿ Restriction
                                                                               /-!"'+"(#ÿon     (#ÿIProperty,
                                                                                                       '(C-'":3ÿ211630-11700
                                                                                                                          274H221 ÿ
   8ÿ 1988),
   8        2988.3ÿ&at"ÿ21).ÿ(use)!-ÿ(of@ÿdeteriorating
                                              *-"-'('&"#$ÿ Burke               G)'U-ÿ=Street,
                                                                                           "'--"3ÿ=Santa
                                                                                                      &#"&ÿFe  0-ÿ=Springs,
                                                                                                                       C'#$!3ÿ983      CA,ÿ
            +&'@-'!ÿinstalled
   9ÿ p.clarifiers           #!"&-*ÿ?before -@('-ÿAABWWII),   B.3ÿ88,
                                                                    883ÿ&at"ÿrecorded
                                                                               '-+('*-*ÿ(on#ÿh+       "(?-'ÿ212,33ÿ2016,
                                                                                                  October               3273ÿin#ÿ"the,-ÿ
  9
            C6ÿ21,196
                  3297ÿ(LACE7894ÿ2(          "+-ÿ(of@ÿDViolation
                                         Notice               (&"(#ÿ Los      7(!ÿ8#     $--!ÿ9(
                                                                                      Angeles          )#":ÿ/-
                                                                                                  County              +('*-'i!ÿ
                                                                                                                 Recorder's
 2ÿ (Mar.
 10         E&'6ÿ320,3ÿ21970))91..ÿ(discharge
                                            *!+,&'$-ÿto"(ÿ$ground),
                                                                 '()#*.3ÿOffice,
                                                                               h@@+-3ÿEx. 456ÿIBÿ"to(ÿthe
                                                                                                      ",-ÿ;-      +6ÿof(@ÿDVictor
                                                                                                              Decl.                +"('ÿ
 22ÿ 91,    923ÿ&at"ÿCpp.C6ÿ1,200,
                             233 3ÿ21,202   333ÿ(RWQCB-LA,
                                                    /AF9GH783ÿ Otten.          h""-#6ÿ
            7-  ""-'ÿ"to(ÿ76L.ÿ I&"!()'&!ÿ're-ÿ20          8HA ",ÿ Excerpts
   n
            Letter
            4#%'(#J-#"&ÿ/-
 23ÿ Environmental
                                Patsouras            NFA-With
                                            !"'+"(#ÿ(Jan.                     45+-'C"!ÿfrom
                                                           1&#6ÿ54,3ÿ Investigation          @'(Jÿthe",-ÿ0Final #&ÿRemedial
                                                                                                                       /-J-*&ÿ
 12

 24ÿ 2017), 321.3ÿat&"ÿ21,3ÿ43),.3ÿ90
                                      Restriction
                                      9ÿ(County
                                              9()#":ÿ(of@ÿ7(   Los!            B#%-!"$&"(#ÿReport,
                                                                    ÿ Corporation                  /-C('"3ÿhJ-    Omega    $&ÿ9,       -J+&ÿ
                                                                                                                                 Chemical
   13
            8#$--!ÿDepartment
                           ;-C&'"J-#"ÿ(of@ÿCounty   9()#":ÿ                    9('C('&"(#ÿSuperfund
                                                                                                  =)C-'@)#*ÿ=Site,"-3ÿ9<3        CH2M    Eÿ
                                                                       213ÿ <      3ÿAugust
                                                                                       8)$)!"ÿ32010,  23ÿ45  Ex.6  ÿ1Jÿto"(ÿ"the,-ÿDecl.
                                                                                                                                      ;-+6ÿ(of@ÿ
            Angeles
 14         4#$#--'3ÿ9,
 25ÿ Engineer,                    -J+&ÿ8#
                             Chemical               &:!!ÿ(Mar.
                                                Analysis        E&'6ÿ17,       D+"('ÿh"      "-#6ÿ
            291.3ÿ9934ÿ(Inspection
 26ÿ Plastics
            1970),            B#!C-+"(#ÿ/-           +('*ÿ@for('ÿTalco
                                                 Record            K&+(ÿ Victor         Otten.
 15
            I&!"+!ÿ(May   E&:ÿ218,83ÿ1988)2988.ÿ(clogged
                                                      +($$-*ÿ See             WOOÿQalso
                                                                                       RNSÿSUMF
                                                                                            =XE0ÿ2(           !6ÿ501-504,
                                                                                                                 62H653ÿ6519,          293ÿ
 16         +&'@-'!ÿ(overflowing
 27ÿ clarifiers               %-'@(L#$ÿto"(ÿ!street)  "'--".ÿÿ                632H6333ÿ6524-570.
                                                                               521-522,        35H616ÿ
                                                                                                       Nos.

 21ÿ Mutch  E)"+,ÿReport,
                       /-C('"3ÿ&at"ÿ5-9    6H9ÿ"to(ÿ65-11
                                                      H22ÿ(noting
                                                              #("#$ÿ WSoil
                                                                     RNSÿ SdRÿacontamination
                                                                                         S`_Qjd̀Q_dS`ÿbhasQNÿexceeded   OkaOO\O\ÿNsoil      SdRÿ
 17
            C-'J-&?":ÿ(of@ÿ!sewer
 28ÿ permeability                        -L-'ÿlines);
                                                  #-!.MÿNseeOOÿQalso                           Na[OO`d̀lÿRlevels  OcORNÿ
 18

 29ÿ (noting *6
            id.,3ÿ&
                  at"
                    ÿ 1 H
                      7-7 1  ÿ
                             "(
                             to  ÿ1H
                                  7-88  ÿTÿ
                                         &K     &? 
                                              Tables- !ÿ1  H
                                                         7-23  ÿ&#*
                                                                and ÿ 1H4
                                                                      7-3 ÿ                     screening
 19         #("#$ÿCpoor    (('ÿ,housekeeping,
                                     ()!-U--C#$3ÿ'reported   -C('"-*ÿ Irrelevant.
                                                                               B''--%&#"6ÿm"TheK,-ÿpresence
                                                                                                        C'-!-#+-ÿ(of@ÿ&aÿchemical  +,-J+&ÿ
            %(&"(#!ÿ&and
 3ÿ violations
 20                            #*ÿUknown#(L#ÿ'releases)
                                                   --&!-!.ÿ                   &"ÿ+concentrations
                                                                               at   (#+-#"'&"(#!ÿ-exceeding  5+--*#$ÿ&an#ÿ4=          ESL7ÿ
 32ÿ 40     5ÿ96    06/6ÿV§ÿ4302.4   365ÿ                                      *(-!ÿ#not("ÿ#necessarily
                                                                               does           -+-!!&':ÿindicate #*+&"-ÿ&adverse   *%-'!-ÿ
 21              C.F.R.
                                                                               -@@-+"!ÿ(on#ÿ,human
                                                                               effects          )J&#ÿhealth,-&",ÿ(or'ÿ"the,-ÿ
 33ÿ See
 22
            WOOÿQalso
                    RNSÿ=SUMFXE0ÿ34     45ÿ                                    -#%'(#J-#"3ÿ'rather
                                                                               environment,          &",-'ÿ"that ,&"ÿ&additional
                                                                                                                          **"(#&ÿ
 34ÿ Hazardous                                                                 -%&)&"(#ÿis!ÿL&
                                                                               evaluation              ''&#"-*6nÿThe
                                                                                                  warranted."             K,-ÿX!        -'i!ÿ
                                                                                                                                   User's
 23
            YQZQ[\S]NÿNsubstances]^N_Q`aONÿbhave     QcOÿ^beenOO`ÿ Guide:      o)*-pÿ;-       '%&"(#ÿ&and
                                                                                          Derivation           #*ÿ8C       C+&"(#ÿ(of@ÿ
                                                                                                                    Application
            \O_Oa_O\ÿd̀ÿ
 35ÿ detected
 24                         in N bQRRSeÿsoils
                               shallow        NSdRNÿQallRRÿ_the
                                                              bOÿeQ
                                                                 way  fÿ Environmental
                                                                               4#%'(#J-#"&ÿ=Screening  +'--##$ÿ7-             %-!ÿ
                                                                                                                           Levels
 36ÿ down   \Se`ÿ_toSÿthe  _bOÿeQwater_O[ÿ_table
                                             Q^ROÿ                             4=7!.ÿIPrepared
                                                                               (ESLs)       '-C&'-*ÿ?by::pÿSan   =&#ÿ0Francisco
                                                                                                                            '&#+!+(ÿ
 25

 37ÿ 7         #"-+)Jÿ;-          +63ÿ45Ex.6  ÿ82,
                                                833ÿ&at"ÿCpp.C6ÿ4,453,
                                                                535643ÿ Bay    G&:ÿ/-     $(#&ÿA&
                                                                                      Regional      Water "-'ÿQuality
                                                                                                                 F)&":ÿ9(             #"'(ÿ
                                                                                                                                 Control
 26         Lintecum
            535  8  3 ÿ5 3 5
                             Decl.,
                             8 7 ÿ48B      3ÿXC  * &"- *  ÿ=   "-ÿ            G(&'*ÿBINTERIM
                                                                               Board      2K4/BEÿ0FINAL      B287ÿ32019       29ÿ
 31ÿ Conceptual
            4,480,4,486
            9(#+-C")&ÿModel
                                  (EAI,
                                E(*-ÿ(Jun.
                                              Updated
                                              1)#6ÿ17,
                                                            Site
                                                     213ÿ32010),               /-%!(#ÿ21,3ÿCp.6ÿii).ÿ45
                                                                2.3ÿ&at"ÿ45ÿ p.(Revision                   Ex.6  ÿ=Sÿto"(ÿh"Otten"-#ÿ;-     +63ÿ
                                                                                                                                        Decl.,

                                                                       "-'ÿ C6ÿ54.6ÿ
 27

 38ÿ Tÿ
 28         & K&    ?-!ÿ21ÿ4/7,
                Tables         5g13ÿ43).ÿ(detections
                                             *-"-+"(#!ÿ"to(ÿL&    water
                                                                            12ÿ
                                                                            71
yz{|Case
Case ÿ~;i:14-cv-06456-GW-E
          2:14-cv-06456-GW-E
               ÿÿÿ                   Document
                                               Document|ÿ974  ÿ#:33789
                                                                       ÿÿ |ÿ04/29/21
                                                                          Filed
                                                                       1067-1    Filed
                                                                                   ~~05/02/22
                                                                                          ÿÿÿz
                                                                                              Page|ÿ75  Page
                                                                                                            ÿofÿ~277
                                                                                                                    8ofÿÿÿz
                                                                                                                            87|
                                                                                                                            Page  ÿIDÿ#:32326
                                                                                                                                  Page    ID~~
          ÿ
  13ÿ                              ÿ           ÿ
                         MOVING
               ÿMATERIAL
   2ÿ UNCONTROVERTED
                                             PLAINTIFFS'
                                                              ÿRESPONSE             ÿ
                                                                                       OPPOSING               DEFENDANTS'                     ÿ
                                                  ÿ SUPPORTING               ÿTOÿ                ÿÿ              ÿ
   2

   4ÿ FACTS         ÿÿ        AND     SUPPORTING
                                                                                           ÿEVIDENCE
                                                                                                               CITED          FACT AND
                                                                                                                            ÿ
   3

   5ÿ
   4
                                           ÿ
                                      EVIDENCE

   6ÿ table,!"#ÿ"estimated
                          $%&"'ÿatÿ4322ÿto(ÿ4388ÿ)feet  ""ÿbgs),
                                                                      *$+#ÿ Known      kU@^UÿWhistorical
                                                                                                     T;R@YTS>?ÿ@operations
                                                                                                                       h<Y>RT@U;ÿ>atRÿ
            178,8#ÿatÿ,pp.,-ÿ4,352-55
                               5#462.66ÿ(EAI,  /012#ÿ3Summary
                                                            4&&56ÿof()ÿ Patsouras      g>R;@[Y>;ÿgY           @h<YRiÿTinvolving
                                                                                                                             U_@?_TU]ÿ
     5

                                                                                                           Property
   7ÿ Site
     6      3%"ÿ1$       $"$$&"7$ÿ/(Mar.
                     Assessments              85-ÿ22009)9+ÿTable 9!"ÿ31);+:ÿ                W>X>YZ@[;ÿ;substances
                                                                                              hazardous             [\;R>US<;ÿ
   1ÿ see
     7      ;<<ÿ>also ?;@ÿMutch
                             84ABÿC"         ,(5#ÿatÿ17-10
                                          Report,           .3ÿto(ÿ17-11 .33ÿ Globe
                                                                                  l?@\<ÿmT Oil?ÿ
   8ÿ RFJN,
   8        CDEF#ÿ0G      Ex.-  ÿ992,2#ÿatÿpp.
                                             ,,-ÿ31,204-05
                                                    #25.6ÿ/(LACFD   H1IDJÿThere   9B"5"ÿ%is$ÿ7no(ÿ"evidence
                                                                                                     `%'"7A"ÿthat    BÿtheB"ÿ'degreaser
                                                                                                                                    "*5"$"5ÿ
            8"&(57'4&ÿ5re"ÿPalley
   9ÿ Memorandum                             K!!"6ÿKProperty
                                                         5(,"56ÿ/(Jan.  E7-ÿ used
                                                                                  4$"'ÿby6ÿP!     ("ÿand  7'ÿtheB"ÿsteam
                                                                                                                       $"&ÿAcleaning
                                                                                                                                    !"7%7*ÿ
  9
            9#ÿ31996),
            9,     997+#ÿatÿ31-2.2ÿ(contamination
                                          /A(7&%7%(7ÿ7near        "5ÿ operations         Globe
                                                                                  (,"5%(7$ÿutilized
                                                                                                  4%!%n"'ÿchlorinated
                                                                                                                 AB!(5%7"'ÿ(organic   5*7%Aÿ
            A!5%)%"5ÿarea
 3ÿ clarifier
 10                            5"ÿLMI$
                                      VOCsÿ     "extend
                                                  G"7'ÿall!!ÿtheB"ÿN way6ÿ compounds
                                                                                  A(&,(47'$ÿlike    !%o"ÿtetrachloroethene
                                                                                                             "5AB!(5("B"7"ÿ
 33ÿ down
    jj      '(N7ÿto(ÿMO.    OU-2     2ÿP5   (47'N"5+ÿ
                                         Groundwater)
                                                                                  /KI0+ÿand
                                                                                  (PCE)      7'ÿtrichloroethene
                                                                                                   5%AB!(5("B"7"ÿ/(TCE).       9I0+-ÿÿÿ
             Q<R<SRT@U;ÿ@ofVÿWhazardous
 32ÿ Detections                          >X>YZ@[;ÿ;substances
                                                         [\;R>US<;ÿinTUÿ However, p(N"`"5#ÿtheB"ÿAcontemporaneous
                                                                                                          (7"&,(57"(4$ÿ
 12

 34ÿ soil    ;@T?ÿ>and UZÿ]groundwater
                               Y@[UZ^>R<Yÿhave     W>_<ÿ>aligned
                                                               ?T]U<Zÿ evidence   "`%'"7A"ÿ%is$ÿto(ÿthe B"ÿAcontrary.
                                                                                                                 (7556-ÿ0G    Ex.-  ÿE0ÿto(ÿ
 13          ^TRWÿ@onsite
             with       U;TR<ÿ;sources
                                   @[YS<;ÿ                                        M "7ÿDecl.,
                                                                                  Otten   J"A!-#ÿ,p.-ÿPTSF00022291
                                                                                                          K93D 22293ÿ/(City              I%6ÿ(of)ÿ
 35ÿ LintecumH%7"A4&ÿJ"              A!-#ÿExs.
                                            0G$-ÿ881,3#ÿatÿ,pp.,-ÿ4,385
                                                                    5#486ÿ Santa  37ÿDFe"ÿ3Springs,
                                                                                                  ,5%7*$#ÿ1970.391-ÿ2Industrial
                                                                                                                            7'4$5%!ÿ
 14

 36ÿ (EAI,   /012#ÿC"
                                Decl.,
                              &(`!ÿof()ÿI!       5%)%"5ÿO7      %ÿ76ÿ Waste    a$"ÿ3Survey
                                                                                             45`"6ÿ)for(5ÿP!   Globe("ÿOil  M%!ÿ9(
                                                                                                                                 Tool  (!ÿI(
                                                                                                                                           Co.-   ÿ
 15
             /8    5 -ÿ
                         Removal
                         9
                         9,#
                           ÿ 2    3    +ÿ9
                                              Clarifier
                                              !"  ÿ
                                                  2  +#ÿ
                                                       1  9 #
                                                             Unit
                                                             ÿatÿ, , - ÿ        E47"ÿ319,9#ÿ1970.)
                                                                                  June        391-+ÿ0G     Ex.-   ÿ9ÿ (ÿM
                                                                                                                   T to        "7ÿJ"
                                                                                                                            Otten          A!-#ÿ
                                                                                                                                      Decl.,
 37ÿ 4,369-70
            (Mar.
             5#479.1ÿ/(EAI,
                             2010)
                                012#ÿP5
                                         Table     2),
                                              (47'ÿa
                                                        79,
                                                            "5ÿ
                                                                   pp.            84ABÿDep.,
                                                                                  Mutch     J",-#ÿ,p.-ÿ1707,1#ÿIns. !7$-ÿ312:18:
                                                                                                                              2q38qÿ"I'mr2s&ÿ
 16

 31ÿ Samples,3&,!"$#ÿI(
                                          Ground
                                   7)%5&%(7ÿ3Soil
                                                       Water
                                                        (%!ÿ3Samples
                                                                 &,!"$ÿ degreaser7(ÿ$seeing
                                                                                  not   ""%7*ÿany 76ÿindication
                                                                                                          %7'%A%(7ÿthat    BÿtheB"ÿ
 17
             /14    * -ÿ 7 # ÿ
                             2
                               Confirmation
                                  34   +ÿ9    !" ÿ2 +#ÿ8   # ÿ ÿ, -ÿ5  #
                                                                          4 18 ÿ  '"*5"$"5ÿ(or5ÿ'degreasing
                                                                                                         "*5"$%7*ÿactivities
                                                                                                                            A%̀%%"$ÿ
 38ÿ (EAI,  (Aug.
             /012#ÿ9B
                         6,   2013)
                              %5'ÿb4
                                         Table     2),
                                         5"5ÿ22013
                                                        80,
                                                     34ÿP5
                                                               at  p.  4,378
                                                               (47'ÿ necessarily  7"A"$$5%!6ÿcontain
                                                                                                   A(7%7ÿAchlorinated
                                                                                                                    B!(5%7"'ÿ
 18

 39ÿ Water   a"5ÿ8(
                         Third     Quarter
                                7%(5%7*ÿC"
                                                          Ground
                                                  ,(5ÿ(Oct.
                                                          /MA-ÿ223,4#ÿ solvents. $(!`"7$-ÿ2Iÿdon't
                                                                                                  '(7sÿ.~.ÿ2I'ms&ÿ7not(ÿsure$45"ÿN" weÿ    Bhad'ÿ
 19
             2   3 4  +ÿ
                         Monitoring
                         9     !" ÿ4  #ÿ  ÿ
                                             4
                                              Report
                                              +ÿ ;< < ÿ>? ; @ ÿ84    A  Bÿ       Bÿ'definitive
                                                                                  that   ")%7%%̀"ÿ%information."
                                                                                                          7)(5&%(7-tÿ
 2ÿ Report,
 20
            2013)        Table
             C",(5#ÿatÿ17-14
                                    3,   at  3)
                                  .35ÿto(ÿ17-18
                                                 see   also
                                               .38ÿ&cÿ9  Table
                                                               Mutch
                                                                 !"ÿ17-5.6ÿ See   u<<ÿ>also
                                                                                         ?;@ÿSUMF
                                                                                              3O8Dÿ6568.      78-ÿ
 23ÿ
 21

 22ÿ RFJN,   CDEF#ÿ0G     Ex.-  ÿ992,2#ÿatÿpp.
                                             ,,-ÿ31,204-05
                                                    #25.6ÿ(LACFD  /H1IDJÿPalley   g>??<iÿuSupply
                                                                                             [hh?iÿv@    Co.w  ÿ
 22
             8"&(57'4&ÿ5re"ÿKPalley
            Memorandum                        !!"6ÿProperty
                                                       K5(,"56ÿ/(Jan.   E7-ÿ There
                                                                                  9B"5"ÿ%is$ÿ7no(ÿ"evidence
                                                                                                     `%'"7A"ÿthat    BÿtheB"ÿN     $"ÿoil(%!ÿ
 24ÿ 9,9#ÿ3        997+#ÿatÿ1-2
                 1996),            3.2ÿ(contamination
                                          /A(7&%7%(7ÿ7near        "5ÿ possessed
                                                                                  ,($$"$$"'ÿby6ÿKPally    !!6ÿSupply
                                                                                                                  34,,!6ÿ(or5ÿ9
                                                                                                                                  waste
                                                                                                                                         !A(ÿ
             A!5%)%"5ÿarea   5"ÿ"extends
                                       G"7'$ÿall!!ÿthe
                                                        B"ÿN      6ÿdown
                                                                      '(N7ÿ contained
 23
                                                                                                                                  Talco
 25ÿ clarifier
 24
             (ÿMO.       2ÿP5    (47'N"5+ÿ
                                                              way
                                                                                  A(7%7"'ÿAchlorinated
                                                                                                   B!(5%7"'ÿorganic (5*7%Aÿ
 26ÿ The
            to   OU-2        Groundwater)
                                                                                  A(&,(47'$ÿlike
                                                                                  compounds         !%o"ÿtetrachloroethene
                                                                                                             "5AB!(5("B"7"ÿ
 25
             dW<ÿTinvestigation
                      U_<;RT]>RT@Uÿ@ofVÿthe      RW<ÿ<extent
                                                        eR<URÿ>and  UZÿ (PCE)     /KI0+ÿand 7'ÿtrichloroethene
                                                                                                   5%AB!(5("B"7"ÿ/(TCE).       9I0+-ÿÿ
 27ÿ nature
 26          U>R[Y<ÿ@ofVÿScontamination
                                 @UR>fTU>RT@Uÿat>RÿRtheW<ÿ                        84ABÿExpert
                                                                                  Mutch     0G,"5ÿC"        ,(5#ÿatÿx§7-4.
                                                                                                         Report,              1.5-ÿMr.
                                                                                                                                    85-ÿ
             g>R;@[Y>;ÿgY
 21ÿ Patsouras                        @h<YRiÿWhas>;ÿ\been
                                 Property                <<Uÿ                     84AB#ÿ(opines
                                                                                  Mutch,      ,%7"$ÿon(7ÿthe   B"ÿ,presence
                                                                                                                       5"$"7A"ÿof()ÿ
 27
             TU>Z<j[>R<ÿ
            inadequate                                                            AB!(5%7"'ÿ(organic
                                                                                  chlorinated         5*7%AÿAcompounds
                                                                                                                     (&,(47'$ÿin%7ÿ
 28ÿ
 28                                                                               N$"ÿ(oil%!ÿon(7ÿtheB"ÿKPatsouras
                                                                                  waste                        $(45$ÿProperty
                                                                                                                              K5(,"56ÿ
                                                                               12ÿ
                                                                               72
NOPQCase
Case ÿS;i:14-cv-06456-GW-E
          TUV2:14-cv-06456-GW-E
             WXYWZ[V\[W]^W_ÿÿÿ̀a   XbDocument
                                       cQdeÿ974
                                 Document    fgVÿ#:33790
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          ÿ
  13ÿ                   ÿ      ÿ
                  MOVING
   4ÿ UNCONTROVERTED
                               PLAINTIFFS'
              ÿMATERIAL          ÿRESPONSE         ÿ
                                                                  OPPOSING              DEFENDANTS'                   ÿ
                                   ÿ SUPPORTING         ÿTOÿ              ÿÿ              ÿ
   2

   2ÿ FACTS     ÿÿ
                         AND   SUPPORTING
                                                                     ÿEVIDENCE
                                                                                         CITED         FACT AND
                                                                                                     ÿ
   3

   5ÿ
   4
                             ÿ
                         EVIDENCE

   6ÿ Mutch !"ÿReport,
                   #$%&'(ÿ)atÿ17-11
                                *33ÿto&ÿ17-12
                                          *34ÿ             +,-.ÿ&only
                                                           using      -/0ÿ)aÿgeneral
                                                                               .$-$')/ÿ31984   985ÿ12  EPA 3ÿcitation
                                                                                                                 !,),&-ÿ
                                                           ')"$'ÿthan ")-ÿ)any-0ÿ$evidence
                                                                                     4,5$-!$ÿ'relating$/),-.ÿto&ÿthe"$ÿ
    5

                                                           rather
   7ÿ
   6                                                       2)+&')+ÿProperty
                                                           Patsouras      2'&%$'0ÿ,itself.   +$/67ÿEx.187ÿ9ÿ
                                                                                                           T to   &ÿ
   1ÿ                                                      :Otten$-ÿDecl.,
                                                                    ;$!/7(ÿ  Mutch  !"ÿ;$     %7(ÿp.%7ÿ1713,
                                                                                            Dep.,          32(ÿ/Ins.-+7ÿ
   7

   8ÿ                                                      36<38<ÿ="Q:
                                                           15:18:      ><ÿDid
                                                                            ;,5ÿyou0&ÿ'research
                                                                                             $+$)'!"ÿthe   "$ÿ
   8                                                       ",+&',!ÿ&operational
                                                           historic      %$'),&-)/ÿdata     5))ÿto&ÿ)assess
                                                                                                         ++$++ÿthe   "$ÿ
   9ÿ                                                      !&?%&+,,&-ÿof&6ÿ9)
                                                           composition                   /!&@+ÿA)
                                                                                   Talco's       waste +$ÿoil?
                                                                                                           &,/Bÿ3<  A:ÿ  CIÿ
  9

 3ÿ                                                        5&-@ÿDbelieve
                                                           don't     $/,$4$ÿA$ weÿ    "had
                                                                                         )5ÿthe"$ÿ,information
                                                                                                     -6&'?),&-ÿto&ÿ
 10                                                        D$ÿ)able
                                                           be     D/$ÿto&ÿdo
                                                                          5&ÿthat."
                                                                                 ")7Eÿ
 33ÿ
 11
                                                           187ÿ9ÿ
                                                           Ex.       &ÿ:Otten$-ÿ;$
                                                                  T to            Decl., !/7(ÿ
                                                                                               Mutch  !"ÿDep.,
                                                                                                          ;$%7(ÿ%p.7ÿ
 34ÿ
 12                                                        19(ÿCIns.
                                                           709,     -+7ÿ311-14:
                                                                          3*35<ÿ"Q   =>ÿ;,  Did 5ÿyour
                                                                                                    0&'ÿ'research
                                                                                                             $+$)'!"ÿ
 32ÿ                                                       &6ÿthe"$ÿ"historic
                                                           of         ,+&',!ÿoperational
                                                                                 &%$'),&-)/ÿ5data       ))ÿfor  6&'ÿ
 13
                                                           2)//$0ÿFSupply
                                                           Palley      %%/0ÿ,indicate
                                                                                  -5,!)$ÿthat      ")ÿ!chlorinated
                                                                                                          "/&',-)$5ÿ
 35ÿ
 14                                                        G:H+ÿA$
                                                           VOCs      were'$ÿused
                                                                                +$5ÿ,in-ÿthe"$ÿ+steam$)?ÿcleaning
                                                                                                            !/$)-,-.ÿ
 36ÿ
 15
                                                           %'&!$++Bÿ3ÿ
                                                           process?      AIC  ÿdon't
                                                                               5&-@ÿDbelieve$/,$4$ÿso, +&(ÿ-no."&7Eÿÿÿ
 37ÿ                                                       187ÿ9ÿ
                                                           Ex.       &ÿ:Otten$-ÿ;$
                                                                  T to            Decl., !/7(ÿ
                                                                                               Mutch  !"ÿDep.,
                                                                                                          ;$%7(ÿ%p.7ÿ
 16

 31ÿ                                                       134(ÿCIns:
                                                           712,     -+<14-21,
                                                                        35*43(ÿ424:25; 5<46Iÿ1713:1:
                                                                                                   32<3<ÿ"Q=>ÿ'   Mr.7  ÿ
 17                                                        !"(ÿCI'm@?ÿ.going
                                                           Mutch,              &,-.ÿto&ÿtry'0ÿto&ÿphrase
                                                                                                       %"')+$ÿ?0   myÿ
 38ÿ                                                       J$+,&-ÿa)ÿlittle
                                                           question        /,/$ÿ5differently,
                                                                                       ,66$'$-/0(ÿbecause
                                                                                                        D$!)+$ÿ
 18

 39ÿ                                                       0&@'$ÿ-not&ÿ)answering
                                                           you're           -+A$',-.ÿ?0        myÿ   J$+,&-7ÿ
                                                                                                     question.
 19                                                        3+,5$ÿ6from
                                                           Aside      '&?ÿyour
                                                                             0&'ÿ.general
                                                                                         $-$')/ÿ+suspicions
                                                                                                      +%,!,&-+ÿ
 4ÿ                                                        )D&ÿwhat
                                                           about    A")ÿA)  was+   ÿ5done
                                                                                       &-$ÿduring
                                                                                               5',-.ÿthat ")ÿ$era, ')(ÿ
                                                           ?0ÿJquestion
                                                                   $+,&-ÿ,is:+<ÿWhat
                                                                                    K")ÿ$evidence,
                                                                                                 4,5$-!$(ÿ,if6ÿ)any,  -0(ÿ
 20

 43ÿ
 21
                                                           my
                                                           5,5ÿ0you
                                                           did     &ÿ6find
                                                                        ,-5ÿthat")ÿcontradicts
                                                                                       !&-')5,!+ÿthe"$ÿ
 44ÿ                                                       +)$?$-+ÿ?)
                                                           statements       made 5$ÿDby0ÿPalley
                                                                                             2)//$0ÿFSupply
                                                                                                          %%/0ÿ
                                                           )D&ÿwhatA")ÿthey  "$0ÿused +$5ÿin,-ÿtheir
                                                                                                     "$,'ÿ+steam$)?ÿ
 22

 42ÿ
 23
                                                           about
                                                           !/$)-,-.ÿ&operation?
                                                           cleaning       %$'),&-BÿÿTHE      9L1ÿKC        9M1FF<ÿCIÿ
                                                                                                       WITNESS:
 45ÿ                                                       5&-@ÿDbelieve
                                                           don't     $/,$4$ÿthere"$'$ÿis,+ÿ)any -0ÿ$evidence
                                                                                                       4,5$-!$ÿ
                                                           6from
                                                             '&?ÿ1978
                                                                   3918ÿas)+ÿto&ÿthe"$ÿ!contents
                                                                                              &-$-+ÿof&6ÿ
 24

 46ÿ
 25
                                                           5,66$'$-ÿ!cleaning
                                                           different      /$)-,-.ÿ?)           $',)/+ÿthat
                                                                                          materials       ")ÿ2Palley
                                                                                                                   )//$0ÿ
 47ÿ
 26                                                        F%%/0ÿA)
                                                           Supply     was+  ÿusing.
                                                                                +,-.7ÿÿÿ
 41ÿ
 27                                                        187ÿ9ÿ
                                                           Ex.       &ÿ:Otten$-ÿ;$
                                                                  T to            Decl., !/7(ÿ
                                                                                               Mutch      ;$%7(ÿ%p.7ÿ
                                                                                                      !"ÿDep.,
 48ÿ
 28                                                        132ÿCIns.
                                                           713           *1<ÿ"Q
                                                                   -+7ÿ23-7:   =>ÿ;,   Did 5ÿyour
                                                                                              0&'ÿresearch
                                                                                                       '$+$)'!"ÿ&of6ÿ
                                                        12ÿ
                                                        73
bcdCase
   eÿg;i:14-cv-06456-GW-E
Case     hij2:14-cv-06456-GW-E
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                                          ÿ#:33791
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                                                                                       10      87eÿ
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                                                                                                      Page   hIDgg
         ÿ
   3ÿ
   1
                       ÿ   ÿ
                  MOVING
   4ÿ UNCONTROVERTED
                           PLAINTIFFS'
             ÿMATERIAL    ÿRESPONSE          ÿ
                                                          OPPOSING               DEFENDANTS'                  ÿ
                                ÿ SUPPORTING     ÿTOÿ               ÿÿ            ÿ
   2

   5ÿ FACTS     ÿÿ
                        AND SUPPORTING
                                                               ÿEVIDENCE
                                                                                   CITED        FACT AND
                                                                                              ÿ
   3

   2ÿ
   4
                          
                           ÿ
                        EVIDENCE

   6ÿ                                                ÿhistoric
                                                     the    !"#$!%ÿoperational
                                                                       #&$'!#(')ÿ*data       ''ÿ!indicate
                                                                                                     (*!%'ÿ
   5

   7ÿ
                                                     'ÿ+'
                                                     that  Talco)%#ÿ,used
                                                                       "*ÿany '(-ÿ%chlorinated
                                                                                        )#$!('*ÿ
   6                                                 #$.'(!%ÿ"solvents
                                                     organic      #)/("ÿ'atÿthe    ÿ&property
                                                                                             $#&$-ÿ*during
                                                                                                          ,$!(.ÿ
   1ÿ                                                !"ÿtenure?
                                                     its (,$0ÿ1ÿ     AI2   ÿdon't
                                                                             *#(3ÿ$recall%'))ÿ%coming
                                                                                                   #4!(.ÿto#ÿ
   7

   8ÿ
   8
                                                     'ÿ%conclusion.
                                                     that    #(%),"!#(5ÿ2Iÿdon't   *#(3ÿthink
                                                                                            !(6ÿ"so."#57ÿ
   9ÿ
   9
                                                     899ÿ;also
                                                     See     <=>ÿSUMF
                                                                  ?@ABÿ6568     78ÿ'and   (*ÿ569.
                                                                                              6795ÿ
 3ÿ                                                  +ÿCPlaintiffs
                                                     The      )'!(!DD"ÿhave '/ÿpresented
                                                                                      &$"(*ÿ"scant    %'(ÿ
 10

 33ÿ                                                   /!*(%ÿthat
                                                     evidence       'ÿ'any (-ÿhazardous
                                                                                     'E'$*#,"ÿ
 11                                                  ",F"'(%"ÿGwere$ÿ,used
                                                     substances                    "*ÿ'and/or
                                                                                           (*H#$ÿ$released
                                                                                                        )'"*ÿ
 34ÿ                                                 #(ÿthe
                                                     on   ÿPatsouras
                                                               C'"#,$'"ÿCProperty,$#&$-IÿG   which !%ÿ!is"ÿ
 12

 35ÿ                                                 %#("!"(ÿG!
                                                     consistent      withÿtheÿ)low#Gÿconcentrations
                                                                                            %#(%($'!#("ÿ
 13                                                  '(*ÿ!isolated
                                                     and    "#)'*ÿ*detections
                                                                             %!#("ÿDfound #,(*ÿin!(ÿtheÿ
 32ÿ
 14                                                  "#!)5ÿ
                                                     soil.

 36ÿ
 15                                                  JK=LM;NO9=ÿ>ofPÿMhazardous
                                                     Discharges               ;Q;NR>S=ÿ=substances
                                                                                                ST=U;VL9=ÿ
 37ÿ
 16                                                  +$ÿ!is"ÿ(no#ÿevidence
                                                     There               /!*(%ÿthat      'ÿtheÿ%clarifiers
                                                                                                       )'$!D!$"ÿ
 31ÿ                                                 #(ÿtheÿPatsouras
                                                     on        C'"#,$'"ÿ%contained#('!(*ÿ%chlorinated
                                                                                                    )#$!('*ÿ
 17

 38ÿ                                                 #$.'(!%ÿ%compounds
                                                     organic      #4&#,(*"ÿ)like        !6ÿ
 18                                                  $'%)#$#(ÿW(PCE)
                                                     tetrachloroethene              CXYZÿ'and  (*ÿ
 39ÿ                                                 $!%)#$#(ÿW(TCE).
                                                     trichloroethene           +XYZ5ÿY[    Ex.5 ÿT+ÿto#ÿ\  (ÿ
                                                                                                         Otten
 19

 4ÿ                                                  ] %)5IÿA,
                                                     Decl.,    Mutch%ÿ]Dep., &5Iÿp.&5ÿ1715,
                                                                                           36Iÿ16:18:
                                                                                                  37^38^ÿ_"Q. `5ÿ
 20
                                                     1(*ÿ*did!*ÿthe
                                                     And           ÿhistorical
                                                                        !"#$!%')ÿ#operational
                                                                                           &$'!#(')ÿdata   *''ÿ
 43ÿ                                                 -#,ÿ$reviewed
                                                     you       /!G *ÿDfor#$ÿ&purposes
                                                                                    ,$&#""ÿof#Dÿ-your   #,$ÿ
 21

 44ÿ                                                 $&#$ÿ!identify
                                                     report     *(!D-ÿG    what  'ÿsubstances
                                                                                       ",F"'(%"ÿtheÿ
 22
                                                     %)'$!D!$"ÿ%contained?"
                                                     clarifiers      #('!(*07ÿEx.        Y[5ÿ+ÿ
                                                                                               T to#ÿ\  (ÿ
                                                                                                        Otten
 45ÿ                                                 ] %)5IÿA,
                                                     Decl.,    Mutch%ÿ]Dep., &5Iÿp.&5ÿ1716,
                                                                                           37Iÿ)Ins.
                                                                                                   ("5ÿ2:6:
                                                                                                        4^7^ÿ
                                                     _15ÿ\(     )-ÿa~aÿI2ÿthink
                                                                            !(6ÿonly
                                                                                    #()-ÿ!in(ÿtheÿ.general
                                                                                                          ($')ÿ
 23

 42ÿ
 24
                                                    "A.
                                                     sense
                                                          Only
                                                     "("ÿthat 'ÿit!ÿG#
                                                                        would ,)*ÿhave'/ÿincluded
                                                                                             !(%),**ÿ
 46ÿ                                                 G'"G'$ÿDfrom,
                                                     wastewater          $#4Iÿ-you  #,ÿ6know,
                                                                                           (#GIÿthese"ÿ
                                                     %)'(!(.ÿ#operations
                                                                     &$'!#("ÿthat    'ÿGwere$ÿ.going#!(.ÿ#on,(Iÿ
 25

 47ÿ
 26
                                                     cleaning
                                                     G!%ÿ4'
                                                     which     may -ÿ#or$ÿ4'may              '/ÿ!included
                                                                                -ÿ(not#ÿhave       (%),**ÿ
 41ÿ
 27                                                  %)#$!('*ÿ"solvents."
                                                     chlorinated         #)/("57ÿ
 48ÿ
 28
                                                  12ÿ
                                                  74
defCase
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                                                                 Page gÿ78
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         ÿ
   3ÿ
   1
                       ÿ   ÿ
                  MOVING
   4ÿ UNCONTROVERTED
                           PLAINTIFFS'
             ÿMATERIAL    ÿRESPONSE         ÿ
                                                          OPPOSING              DEFENDANTS'                  ÿ
                                ÿ SUPPORTING    ÿTOÿ               ÿÿ             ÿ
   2

   5ÿ FACTS     ÿÿ
                        AND SUPPORTING
                                                              ÿEVIDENCE
                                                                                 CITED         FACT AND
                                                                                             ÿ
   3

   6ÿ
   4
                          
                           ÿ
                        EVIDENCE

   2ÿ                                                !ÿ"is#ÿ$no%ÿevidence
                                                     There               &"'$(ÿthat    )*)ÿ)theÿ&various
                                                                                                       *!"%+#ÿ
   5

   7ÿ
                                                     '"#(*!,#ÿand
                                                     discharges       *$'ÿ&violations
                                                                              "%-*)"%$#ÿ"involved
                                                                                               $&%-&'ÿ
   6                                                 (-%!"$*)'ÿ%organic
                                                     chlorinated         !,*$"(ÿ(compounds
                                                                                      %./%+$'#ÿlike      -"0ÿ
   1ÿ                                                ))!*(-%!%)$ÿ1(PCE)
                                                     tetrachloroethene             2345ÿ*and  $'ÿ
   7

   8ÿ                                                )!"(-%!%)$ÿ1(TCE).
                                                     trichloroethene          3456ÿ1(Dark-stained
                                                                                          7*!08#)*"$'ÿ
   8                                                 #%"-#ÿwere
                                                     soils 9 !ÿ/present!#$)ÿ*at)ÿthe  )ÿ:Southwest
                                                                                              %+)9 #)ÿ
   9ÿ                                                (%!$!ÿ%of;ÿthe
                                                     comer        )ÿ:Site ")ÿ'during
                                                                                   +!"$,ÿthe )ÿ:Site ")ÿ
 3ÿ
   9
                                                     "$#/()"%$6ÿ<In$ÿ*addition,"
                                                     inspection.            ''")"%$=>ÿ/ponded %$''ÿ%or!ÿ
 10                                                  '"#(*!,'ÿ-liquids
                                                     discharged         "?+"'#ÿ9were!ÿ%observed
                                                                                              @#!&'ÿ
 33ÿ                                                 "#)%!"(*--Aÿ"in$ÿ)theÿvicinity
                                                     historically                &"("$")Aÿ%of;ÿ>"Bay  B*Aÿ
 11

 34ÿ                                                 !*/#Cÿand
                                                     Traps"     *$'ÿ"in$ÿ)theÿcentral
                                                                                 ($)!*-ÿ/part  *!)ÿ%of;ÿthe
                                                                                                          )ÿ
 12                                                  #%+)!$ÿ.*
                                                     southern     margin!,"$ÿof%;ÿ)theÿSite.
                                                                                         :")6ÿ<It)ÿ"is#ÿ
 35ÿ                                                 !(%.. $''ÿ)that
                                                     recommended            *)ÿ#soils
                                                                                     %"-#ÿ"in$ÿ)these
                                                                                                 #ÿareas *!*#ÿ
 13

 36ÿ                                                 @ÿ#sampled
                                                     be   *./-'ÿ*and     $'ÿ*analyzed
                                                                                $*-AD'ÿto)%ÿevaluate
                                                                                                   &*-+*)ÿ
 14                                                  /%)$)"*-ÿ"impact
                                                     potential     ./*()ÿ)to%ÿsoil  #%"-ÿ%or!ÿ,ground
                                                                                                 !%+$'ÿ
 32ÿ
 15                                                  9*)!65ÿ4E
                                                     water.)    Ex.6  ÿ3ÿ
                                                                       C)  %ÿF)
                                                                          to  Otten)$ÿ7Decl., (-6=ÿp./6ÿ53ÿ
 37ÿ
 16                                                  GHHÿJalso
                                                     See    KLMÿSUMF
                                                                 :NOPÿ2512,     34=ÿ513,
                                                                                       235=ÿ2532,54=ÿ2533,55=ÿ
 31ÿ                                                 256=ÿ2545,
                                                     534,    62=ÿ2546,67=ÿ547,
                                                                           261=ÿ2548,  68=ÿ549,
                                                                                             269=ÿ2550, 2=ÿ2551,
                                                                                                               23=ÿ
 17
                                                     224=ÿ2553
                                                     552,    25ÿ*and $'ÿ2570.
                                                                           16ÿ
 38ÿ
 18

 39ÿ                                                   QJRJSTMULÿLsubstances
                                                       Hazardous          UVLWJXYHLÿZhave     J[HÿXnotMWÿVbeen
                                                                                                            HHXÿ
 19                                                    THWHYWHTÿ\inXÿLshallow
                                                       detected           ZJKKM]ÿLsoils M\KLÿallJKKÿWtheZHÿ]J
                                                                                                           way  ^ÿ
 4ÿ
 20                                                             TM]XÿWtoMÿWthe
                                                                down           ZHÿ]J     WHSÿtable
                                                                                      water    WJVKHÿ
 43ÿ
 21                                                  _*D*!'%+#ÿ#substances
                                                     Hazardous          +@#)*$(#ÿhave    *&ÿnot  $%)ÿ@been$ÿ
 44ÿ                                                 ')()'ÿ"in$ÿ#shallow
                                                     detected           *--%9ÿ#soils %"-#ÿ*all--ÿthe
                                                                                                  )ÿ9*  way Aÿ
 22
                                                     '%9$ÿto)%ÿ)theÿ9*
                                                     down                   )!ÿtable
                                                                         water    )*@-ÿ*at)ÿ)theÿ
 45ÿ
 23                                                  2*)#%+!*#ÿProperty.
                                                     Patsouras      2!%/!)A6ÿ      Theÿ   ' /#)ÿ
                                                                                            deepest
 46ÿ                                                 #*./-#ÿ(containing
                                                     samples      %$)*"$"$,ÿ-low      %9ÿconcentrations
                                                                                          (%$($)!*)"%$#ÿ
 24
                                                     %;ÿ2PCE
                                                     of   34ÿ9*  was#  ÿfound
                                                                        ;%+$'ÿ*at)ÿ4252ÿft;)ÿbgs
                                                                                               @,#ÿin"$ÿB-7B81ÿ
 42ÿ
 25                                                  *$'ÿ*at)ÿ530ÿft;)ÿbgs
                                                     and               @,#ÿin"$ÿE-9.
                                                                                  4896ÿO+ Mutch )(ÿ4E     /!)ÿ
                                                                                                       Expert
 47ÿ                                                 ` /%!)=ÿ/pp./6ÿ17-10,
                                                     Report,             83=ÿ7-11.
                                                                                18336ÿa"[BJoring
                                                                                            bBc%!"$,ÿE9    49ÿ
 26
                                                     *'ÿ-levels
                                                     had     &-#ÿ%of;ÿPCE234ÿextending
                                                                                     E)$'"$,ÿ;from  !%.ÿ8~8ÿ
 41ÿ
 27                                                  )ÿ#shallow
                                                     the   *--%9ÿ9*    was# ÿten
                                                                              )$ÿfeet,; )=ÿ*and$'ÿ*at)ÿ8~8ÿ
 48ÿ
 28                                                  *//*!#ÿto)%ÿ@beÿ15
                                                     appears              32ÿ;feet,)=ÿ420ÿ;feet,)=ÿ25 42ÿ;feet.)=ÿ
                                                  12ÿ
                                                  75
ijkCase
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   3ÿ
   1
                       ÿ   ÿ
                  MOVING
   4ÿ UNCONTROVERTED
                           PLAINTIFFS'
             ÿMATERIAL    ÿRESPONSE           ÿ
                                                            OPPOSING               DEFENDANTS'                    ÿ
                                ÿ SUPPORTING      ÿTOÿ                ÿÿ               ÿ
   2

   5ÿ FACTS     ÿÿ
                        AND SUPPORTING
                                                                ÿEVIDENCE
                                                                                    CITED           FACT AND
                                                                                                ÿ
   3

   6ÿ
   4
                          
                           ÿ
                        EVIDENCE

   7ÿ                                                ÿ530ÿ!feet.
                                                     and            ""#$ÿ%So&ÿthat
                                                                                #'#ÿ(&     )*ÿ'have
                                                                                         would        +"ÿbeen
                                                                                                            ,""ÿ
   5

   2ÿ
                                                     (-#'-.ÿ/you
                                                     within,         &)ÿ0know,
                                                                             &(.ÿ!five -+"ÿor&1ÿ2six-3ÿ!feet
                                                                                                          ""#ÿof&!ÿ
   6                                                 #'"ÿ(
                                                     the    water#"1ÿ#table."
                                                                         ,*"$4ÿEx.
                                                                                  53$ÿ6ÿ  T#  &ÿ7#
                                                                                             to       #"ÿDecl.,
                                                                                                  Otten     8"9*$.ÿ
   1ÿ                                                :)#9'ÿDep.,
                                                     Mutch        8";$.ÿ;p.$ÿ1739,59.ÿ21:25.
                                                                                         43<47$ÿ=2    Asÿ  :1
                                                                                                           Mr.$   ÿ
   7

   8ÿ                                                :)#9'ÿ2shows
                                                     Mutch          '&(2ÿ-inÿTable
                                                                                  6,*"ÿ17.4,  $6.ÿ>PCE ?5ÿ(was2    ÿ
   8                                                 !&)ÿ-inÿ2soil
                                                     found             &-*ÿboring
                                                                             ,&1-@ÿAB   B-71ÿC(in-ÿ1994)
                                                                                                      3996Dÿat#ÿaÿ
   9ÿ                                                9&9"#1#-&ÿof&!ÿ0.510
                                                     concentration                  $73ÿE@   mg/kg F0@ÿat#ÿaÿ
 3ÿ
   9
                                                         ";#'ÿof&!ÿ4257ÿft!#ÿ,bgs.
                                                     depth                      @2$ÿÿÿThe6'"ÿ>PCE ?5ÿin-ÿ#this
                                                                                                             '-2ÿ
 10                                                  2&-*ÿ,boring
                                                     soil     &1-@ÿ-is2ÿnot  &#ÿ!found
                                                                                    &)ÿ9contacting
                                                                                                &#9#-@ÿthe     #'"ÿ
 33ÿ                                                 @1&)(#"1ÿ#table.
                                                     groundwater              ,*"$ÿGId.H$ÿat#ÿ;p.$ÿ17-9,
                                                                                                        B9.ÿTable
                                                                                                            6,*"ÿ
 11

 34ÿ                                                 6Iÿ;p,.ÿ1710.
                                                     4;         3$ÿThe 6'"ÿ2soil&-*ÿsample
                                                                                      2E;*"ÿ#taken 0"ÿat#ÿ5357ÿ
 12                                                  !ft#ÿbgs
                                                          ,@2ÿin-ÿsoil
                                                                     2&-*ÿ,boring
                                                                              &1-@ÿB-7  AB1ÿ( was2   ÿJ"non-
                                                                                                          &B
 35ÿ                                                     "#"9#4K-#ÿ'hadÿno&ÿPCE
                                                     detect"—it                       >?5ÿ-inÿ-it.#$ÿId.GH$ÿat#ÿ;p.$ÿ
 13

 36ÿ                                                 1B3$ÿ6'
                                                     7-10.     The   "ÿgroundwater
                                                                         @1&)(#"1ÿ#table,    ,*".ÿat#ÿ#the
                                                                                                             '"ÿ
 14                                                  #-E"ÿ&of!ÿ#the
                                                     time           '"ÿinvestigation
                                                                          -+"2#-@#-&ÿC(in-ÿ*late    #"ÿ31994)
                                                                                                                996Dÿ
 37ÿ                                                 (2ÿ"estimated
                                                     was      2#-E#"ÿat#ÿ5357ÿ!ft#ÿ,bgs@2ÿ&or1ÿ@greater 1"#"1ÿat#ÿ
 15

 32ÿ                                                 #'"ÿ*location
                                                     the    &9#-&ÿof&!ÿ#the'"ÿborings,
                                                                                     ,&1-@2.ÿaccording
                                                                                                       99&1-@ÿ
 16                                                  #&ÿ5=L
                                                     to   EAIÿ    C(EAI
                                                                    5=Lÿ1995).
                                                                             3997D$ÿ53   Ex.$ÿ%Sÿto#&ÿ7#   #"ÿ
                                                                                                        Otten
 31ÿ                                                 8"9*$.ÿ;p.$ÿ26.$ÿÿThis
                                                     Decl.,                 6'-2ÿ-is2ÿ"evidence
                                                                                         +-"9"ÿthat    #'#ÿ
 17

 38ÿ                                                 'M1&)2ÿ2substances
                                                     hazardous            ),2#9"2ÿ'have    +"ÿnot&#ÿbeen
                                                                                                           ,""ÿ
 18
                                                         "#"9#"ÿ-inÿ2shallow
                                                     detected               '**&(ÿ2soils&-*2ÿall**ÿthe
                                                                                                      #'"ÿ(way   /ÿ
 39ÿ
 19                                                  down&(ÿto#&ÿ#the'"ÿ(    #"1ÿtable.
                                                                            water    #,*"$ÿ
 4ÿ
 20                                                    NOPOQPRSTUÿSofWÿXhazardous
                                                       Detections               YZY[HS\UÿUsubstances
                                                                                                   \]UPYTQOUÿinRTÿ
 43ÿ                                                  USR^ÿYand
                                                      soil     THÿ_groundwater
                                                                         [S\TH`YPO[ÿXhave    YaOÿTnotSPÿYaligned
                                                                                                             ^R_TOHÿ
 21

 44ÿ
                                                                         `RPXÿonsite
                                                                         with  STURPOÿUsources
                                                                                            S\[QOUÿ
                                                     b)**ÿ53        ;"1#ÿc"     ;&1#.ÿat#ÿpp.
                                                                                              ;;$1-8,
                                                                                                    3B8.ÿ6      ,*"2ÿ
 22

 45ÿ
 23
                                                     Kulla
                                                     1-5,
                                                               Expert
                                                     3B7.ÿdFigure
                                                               -@)1"ÿ42-8A,
                                                                              Report,
                                                                             B8=.ÿ53Ex.$
                                                                                                            Tables
                                                                                          ÿKbÿ#to&ÿ#the'"ÿDecl.
                                                                                                           8"9*$ÿ&of!ÿ
 46ÿ
 24                                                  e-9#&1ÿ7#
                                                     Victor           #"$ÿÿ
                                                                  Otten.
 47ÿ
 25                                                  b)**ÿc"
                                                     Kulla           ,)##*ÿ5Expert
                                                               Rebuttal           3;"1#ÿReport,
                                                                                            c";&1#.ÿat#ÿ;pp.;$ÿ1­3B
 42ÿ
 26                                                  34.ÿ53
                                                     12,    Ex.$  ÿ%Sÿto#&ÿ#the
                                                                             '"ÿDecl.
                                                                                 8"9*$ÿ&of!ÿVictor
                                                                                                e-9#&1ÿ7#        #"$ÿÿ
                                                                                                            Otten.

 41ÿ                                                 f"##"1ÿ#to&ÿf
                                                     Letter           Larry11/ÿ>Patsouras
                                                                                  #2&)12ÿof&!ÿb"         01&;-.ÿ
                                                                                                      Kekropia,
                                                     L9$ÿ!from
                                                              1&Eÿthe  #'"ÿ53    "9)#-+"ÿ7!         !-9"1ÿof&!ÿ#the'"ÿ
 27

 48ÿ
 28
                                                     Inc.
                                                     f&2ÿ=
                                                     Los    Angeles@"*"2ÿc"
                                                                              Executive
                                                                                 @-&*ÿWater
                                                                             Regional
                                                                                               Officer
                                                                                            g#"1ÿQualityh)*-#/ÿ
                                                  12ÿ
                                                  76
STUCase
   VÿX;i:14-cv-06456-GW-E
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   2ÿ
   1
                       ÿ   ÿ
                  MOVING
   3ÿ UNCONTROVERTED
                           PLAINTIFFS'
             ÿMATERIAL    ÿRESPONSE         ÿ
                                                           OPPOSING              DEFENDANTS'                 ÿ
                                ÿ SUPPORTING     ÿTOÿ              ÿÿ            ÿ
   2

   4ÿ FACTS     ÿÿ
                        AND SUPPORTING
                                                              ÿEVIDENCE
                                                                                 CITED         FACT AND
                                                                                             ÿ
   3

   5ÿ
   4
                          
                           ÿ
                        EVIDENCE

   6ÿ                                                !"#ÿ$
                                                     Control     Board,%"&'ÿ&dated
                                                                               %!(&ÿJanuary
                                                                                       )%*%"+ÿ54,'ÿ32017,     21'ÿ
   5

   7ÿ
                                                     ,-ÿ.Further
                                                     (No     *"!/("ÿ01       !2ÿletter
                                                                         Action      #(!!("ÿto!ÿ3(  4"52%'ÿ
                                                                                                 Kekropia,
   6                                                 11#*&26ÿ!that
                                                     concluding         /%!ÿ!the
                                                                               /(ÿcleanup
                                                                                     1#(%*5ÿ7%   was8  ÿ
   1ÿ                                                195#(!(ÿ!toÿ"assure
                                                     complete           :%88*"(ÿ5protection
                                                                                       "!(1!2ÿof;ÿ
   7

   8ÿ                                                /*9%ÿhealth
                                                     human      /(%#!/ÿ%and&ÿ7%        !("8ÿof;ÿthe
                                                                                   waters        !/(ÿ<State
                                                                                                          !%!(ÿ%at!ÿ
   8                                                 %&ÿnear
                                                     and     (%"ÿ!the/(ÿ<Site
                                                                           2!(ÿfor
                                                                                ;"ÿ!their
                                                                                       /(2"ÿ=beneficial
                                                                                                ((;212%#ÿ
   9ÿ                                                *8(8>?ÿ@A
                                                     uses.)   Ex.> ÿ$ÿ   !ÿ!the
                                                                      B to    /(ÿDecl.
                                                                                   B(1#>ÿof;ÿC2   1!"ÿ
                                                                                                 Victor

 2ÿ
 10
   9
                                                     D!!(>ÿÿ
                                                     Otten.

 22ÿ                                                 E/%8(ÿFIÿ@Environmental
                                                     Phase            G2"9(!%#ÿSite      <2!(ÿ
 11
                                                     088(889(!'ÿ0F
                                                     Assessment,          AIG Hÿ      8*#!%!8'ÿFInc.,1>'ÿ
                                                                                 Consultants,
 23ÿ
 12                                                  )*(ÿ430,'ÿ21994,
                                                     June             995'ÿat%!ÿ5p.>ÿ2216,
                                                                                     33ÿIÿ7'ÿEx.@A>ÿÿC!   toÿ!the
                                                                                                                 /(ÿ
 24ÿ
 13
                                                     B(1#>ÿof;ÿC2
                                                     Decl.             1!"ÿD!
                                                                  Victor         !(>ÿ
                                                                              Otten.

 25ÿ                                                 <2#ÿJ(
                                                     Soil       9(&2%!2ÿJ(
                                                            Remediation               5"!ÿof;ÿ.Findings
                                                                                 Report            2&268ÿ
 14

 26ÿ                                                 ;"ÿ@#
                                                     for  Elÿ H"  (1'ÿFInc.,1>'ÿBiophysics
                                                              Greco,               $25/+8218ÿ
 15                                                  @ G2"9(!%#ÿ08
                                                     Environmental               8(889(!8'ÿFInc.,1>'ÿ
                                                                             Assessments,
 27ÿ                                                 <(5!>ÿ214,5'ÿ320067ÿ,(ItF!ÿis28ÿ1concluded
                                                     Sept.                             1#*&(&ÿ!that   /%!ÿnoÿ
 16

 21ÿ                                                 !/"(%!ÿ(exists
                                                     threat     A28!8ÿ!toÿ6groundwater
                                                                               "*&7%!("ÿfrom    ;"9ÿ
 17                                                  9(!%#8'ÿ8solvents
                                                     metals,      #G(!8ÿ%and&ÿtotal  !!%#ÿ5petroleum
                                                                                                (!"#(*9ÿ
 28ÿ                                                 /+&"1%"=8'ÿ=based
                                                     hydrocarbons,            %8(&ÿ*upon 5ÿ!the/(ÿlow
                                                                                                    #7ÿ
 18

 29ÿ                                                 #(G(#ÿ%and&ÿ2isolated
                                                     level            8#%!(&ÿ#low 7ÿGvolume
                                                                                          #*9(ÿof;ÿ%all##ÿ
 19                                                  5!(!2%##+ÿ/hazardous
                                                     potentially         %K%"&*8ÿ9%         !("2%#8ÿ
                                                                                        materials
 3ÿ                                                  2&(!2;2(&ÿ2inÿ2initial
                                                     identified             2!2%#ÿ!testing
                                                                                     (8!26ÿby=+ÿ@0FEAIÿ     2inÿ
 20

 32ÿ                                                 2995>?ÿ5pp.5>ÿ21-7,
                                                     1994.)             L1'ÿTables
                                                                             M%=#(8ÿ1-3, 2L4'ÿ@AEx.>ÿHÿ
                                                                                                      G!    ÿthe
                                                                                                           to  !/(ÿ
 21
                                                     B(1#>ÿof;ÿC2
                                                     Decl.             1!"ÿD!
                                                                  Victor         !(>ÿ
                                                                              Otten.
 33ÿ
 22
                                                     N5&%!(&ÿ<Site
                                                     Updated          2!(ÿ     1(5!*%#ÿO
                                                                          Conceptual              &(#ÿand
                                                                                              Model     %&ÿ
 34ÿ
 23                                                  J(P*(8!ÿ;for"ÿQ
                                                     Request            Low 7ÿJ2Risk 84ÿ#   8*"('ÿ
                                                                                         Closure,
 35ÿ                                                 @ G2"9(!%#ÿAudit,
                                                     Environmental           0*&2!'ÿFInc.,1>'ÿ)June
                                                                                                 *(ÿ16, 27'ÿ
 24
                                                     32'ÿ,("Chlorinated
                                                     2010,     :/#"2%!(&ÿ1compounds   95*&8ÿ%are"(ÿ
 36ÿ
 25                                                    !ÿ6generally
                                                     not    (("%##+ÿ2identified
                                                                           &(!2;2(&ÿin2ÿsoil   82#ÿ%at!ÿ!the
                                                                                                           /(ÿ
 37ÿ                                                 <2!(ÿ=but*!ÿ%are"(ÿpresent
                                                     Site               5"(8(!ÿ2inÿ6ground"*&ÿ7%  water !("ÿ%at!ÿ
 26
                                                     11(!"%!28ÿthat
                                                     concentrations          !/%!ÿ%are"(ÿ1consistent
                                                                                            828!(!ÿwith   72!/ÿ
 31ÿ
 27                                                  !/(ÿ"regional
                                                     the    (62%#ÿ2impact95%1!ÿto!ÿ6ground
                                                                                          "*&ÿ7%  water !("ÿ
 38ÿ
 28                                                  ,8((ÿ<Section
                                                     (see     (1!2ÿ43.0). >?>ÿFInÿ@0FEAI's  R8ÿopinion
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   5ÿ FACTS     ÿÿ
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                                                     ground           &'"ÿ%at&ÿ&the
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   6                                                 "',+&ÿ!of0ÿ0former
                                                     result          !")'"ÿsite,#&'ÿ%activities."
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   1ÿ                                                54375ÿ421,35ÿ6%
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   7

   2ÿ                                                &'ÿ:'
                                                     the  Decl.  2ÿ!of0ÿVictor
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                                                                                     Otten.       6#,ÿ#is,ÿ
   8                                                 '1#('$'ÿ&that
                                                     evidence         %&ÿhazardous
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   9ÿ                                                &'ÿ,soil
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                                                                              %&,!+"%,ÿ>Property"!*'"&?ÿhave %1'ÿ
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                                                     $!&ÿ#impacted
                                                     not      )*%&'(ÿ-groundwater.
                                                                             "!+$(.%&'"2ÿ
 33ÿ                                                 @')'(#%ÿA
                                                     Remedial             &#!$ÿ>Plan,
                                                                      Action         %$5ÿ311630-11700
                                                                                             3854331 ÿ
 11
                                                     B+"C'ÿ/Street,
                                                     Burke         &"''&5ÿ8$    1#"!$)'$&%ÿA+
                                                                            Environmental            Audit,(#&5ÿ
 34ÿ
 12                                                  D$25ÿJune
                                                     Inc.,    E+$'ÿ316,85ÿ31997.,
                                                                              99125ÿEx.
                                                                                      892ÿFÿ  H to&!ÿ&the'ÿDecl.
                                                                                                             :'2ÿ
 35ÿ
 13
                                                     !0ÿ;#
                                                     of  Victor&!"ÿ<&   &'$2ÿ
                                                                     Otten.

 36ÿ                                                 G!1'$%$&ÿ%and
                                                     Covenant          $(ÿ8$     1#"!$)'$&%ÿ
                                                                             Environmental
 14

 37ÿ                                                 @',&"#&#!$ÿon
                                                     Restriction        !$ÿ>Property,
                                                                               "!*'"&?5ÿ311630-11700
                                                                                                3854331 ÿ
 15                                                  B+"C'ÿ/Street,
                                                     Burke         &"''&5ÿ/Santa
                                                                              %$&%ÿFeH'ÿ/Springs,
                                                                                             *"#$-,5ÿGA5  CA,ÿ
 38ÿ                                                 "'!"('(ÿ!on$ÿ<
                                                     recorded                 &!7'"ÿ312,45ÿ2016,
                                                                          October             4385ÿin#$ÿ&the'ÿ
 16

 31ÿ                                                 I!,ÿA$
                                                     Los   Angeles-'',ÿG!      +$&?ÿ@'
                                                                          County            !"('"J,ÿ
                                                                                       Recorder's
 17                                                  <00#'5ÿEx.
                                                     Office,      892ÿIDÿ&to!ÿthe
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                                                                                     Decl.             &!"ÿ
                                                                                                   Victor
 32ÿ
 18                                                  <&&'$2ÿ
                                                     Otten.

 39ÿ
 19                                                  89'"*&,ÿfrom
                                                     Excerpts        0"!)ÿthe&'ÿHFinal
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 4ÿ                                                  D$1',&#-%&#!$ÿReport,
                                                     Investigation         @'*!"&5ÿ<)'  Omega    -%ÿG     ')#%ÿ
                                                                                                     Chemical
 20
                                                     G!"*!"%&#!$ÿSuperfund
                                                     Corporation          /+*'"0+$(ÿ/Site,    #&'5ÿGF4
                                                                                                    CH2M     Kÿ
 43ÿ
 21                                                  F#5ÿA+
                                                     Hill,         -+,&ÿ42010,
                                                              August          35ÿ89  Ex.2ÿIDÿ&to!ÿthe
                                                                                                  &'ÿ:'Decl. 2ÿ!of0ÿ
 44ÿ
 22
                                                     ;#&!"ÿ<&
                                                     Victor          &'$2ÿ
                                                                 Otten.

 45ÿ                                                    LTheMNÿPinvestigation
                                                                  QRNSTPUVTPWQÿWofXÿthe   TMNÿNextent
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                                                             Qnature
                                                                VT[\NÿWofXÿ]contamination
                                                                              WQTV^PQVTPWQÿVatTÿthe       TMNÿ
 23

 46ÿ
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                                                              _V  TSW[\VSÿ_\
                                                              Patsouras            W`N\TaÿMhasVSÿbbeen
                                                                               Property                NNQÿ
 47ÿ
 25                                                                         PQVZNc[VTNÿ
                                                                            inadequate
 48ÿ
 26                                                  6'ÿ#investigation
                                                     The       $1',&#-%&#!$ÿ%and    $(ÿ"remediation
                                                                                          ')'(#%&#!$ÿ!of0ÿ
 41ÿ                                                 &'ÿ'environmental
                                                     the      $1#"!$)'$&%ÿconditions!$(#&#!$,ÿat%&ÿ&the'ÿ
 27
                                                     >%&,!+"%,ÿwas
                                                     Patsouras        .%,ÿ*performed
                                                                               '"0!")'(ÿ.#         &ÿ&the
                                                                                                with      'ÿ
 42ÿ
 28                                                  "'-+%&!"?ÿ!oversight
                                                     regulatory          1'",#-&ÿ%and  $(ÿ%approval
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    4ÿ UNCONTROVERTED
                     MOVING       PLAINTIFFS'
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    7ÿ                                                                  ÿ!"#$%&'(
                                                                        the  LARWQCB,ÿ           )
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    8ÿ
                                                                        3-44ÿAction"
                                                                        Further    "+*256ÿletter
                                                                                               74ÿto2ÿthe    ÿPatsouras
                                                                                                                      8/,2-4/,ÿ
    6                                                                   84294:ÿ2owner.
                                                                        Property      )54;ÿ<=  Ex.;    ÿL!ÿto2ÿ>   5ÿDecl.
                                                                                                                  Otten    ? +7;ÿ
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    7                                                                   /5.ÿ<=
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                                                                                           Otten           +7;ÿ
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    2ÿ 36.
    9
             @ABÿ Moving
                      CDEFGÿH   IEFJEKKLÿM
                               Plaintiffs'      NHOPÿQ1?R
                                             Reply:       UNDISPUTED S8QT<?ÿ
 3ÿ There
 10
             T4ÿ*is,ÿ5no2ÿ"genuine"
                           0U5-*56ÿVfactual
                                        /+-/7ÿdispute.
                                                 .*,9-;ÿ8Plaintiffs7/*5*VV,ÿ/address
                                                                                  ..4,,ÿWKekropia's
                                                                                                 X429*/Y,ÿstatements:
                                                                                                                  ,/Z 5,[ÿ
             \]^_]àÿcLake
 3\ 3iÿ Castaic         ]deÿ\f   ]ggehieÿÿ
                              Challenge
 34ÿ (1)
 12              j3kÿ Immaterial.
                       RZZ/4*/7;ÿWKekropia
                                          X429*/ÿ,states
                                                      /,ÿ/an5ÿincorrect
                                                                      *5+244+ÿ7legal U/7ÿconclusion
                                                                                           +25+7-,*25ÿin*5ÿ11.       mÿ3;ÿ
 35ÿ                   87/*5*VV,ÿ.do2ÿnot
                       Plaintiffs      52ÿhave
                                              /nÿto2ÿ,show2)ÿ/aÿ4release 7/,ÿor24ÿthreatened
                                                                                       4/5.ÿ4release       7/,ÿ2ofVÿ
 13
                       /o/4.2-,ÿ,substances
                       hazardous      -p,/5+,ÿto2ÿ>Qq  OU-2     4ÿr4    2-5.)/4ÿ2or4ÿtrace
                                                                     Groundwater              4/+ÿ/aÿrelease
                                                                                                           47/,ÿto2ÿ
 36ÿ
 14                    W X429*/ÿspecifically.
                       Kekropia    ,9+*V*+/77:;ÿ
 37ÿ Cited
 15          \`_esÿEvidence
                    tus̀ehaeÿvw    e^ÿxw
                                Does   Not_ ÿSupport
                                             yz{{w|_ÿ_the   feÿyStatement
                                                                     _]_e}eh_ÿ~f       e|eÿHas
                                                                                   There    ]^ÿe   Been  ehÿ]aÿg     ]z^`geÿ
                                                                                                                   Plausible,
 38ÿ `       if
               ÿxw
                Not_ÿ\w}{ge_esÿMigration
                     Completed       ì|]_ẁhÿ]     _f]ÿe
                                                Pathway                _eehÿ_the
                                                                   Between       feÿPatsouras
                                                                                     ]_^wz|]^ÿ|             w{e|_ÿ]and
                                                                                                         Property          hsÿ
                                                                                                                               OU-
 31ÿ 2ÿ|        wzhs]_e|ÿÿ
 16
                Groundwater.
 17

 39ÿ (2)         j4kÿ Kekropia
                       W X429*/ÿadmits
                                   /.Z*,ÿthat
                                             /ÿ+chromium,
                                                     42Z*-Z(ÿ8PCE         &<ÿ/and
                                                                                 5.ÿT&<ÿ
                                                                                     TCE /     4ÿ*in5ÿthe
                                                                                             are          ÿ,soils
                                                                                                                  2*7,ÿ/atÿthe
                                                                                                                              ÿ
 18
                       8/,2-4/,ÿ8Property.
                       Patsouras     4294:;ÿ#S  RSUMFQ3ÿ34.     56;ÿ
 32ÿ
 19                    ÿ
 4ÿ (3)          j5kÿ Kekropia
                       W X429*/ÿadmits
                                   /.Z*,ÿthat
                                             /ÿ+chromium,
                                                     42Z*-Z(ÿ8PCE         &<ÿ/and
                                                                                 5.ÿT&<ÿ
                                                                                     TCE /     4ÿ*in5ÿthe
                                                                                             are          ÿ>Qq OU-2   4ÿ
 20
                       r42-5.)/4ÿpbeneath
                       Groundwater         5/ÿthe  ÿPatsouras
                                                           8/,2-4/,ÿProperty.
                                                                             84294:;ÿ#S       Q3ÿ35.
                                                                                           RSUMF            57;ÿÿ
 43ÿ
 21                    ÿ
 44ÿ (4)         j6kÿ PCE,
                       8&<(ÿT&<ÿ
                               TCE /  5.ÿchromium
                                     and  +42Z*-Zÿ9present    4,5ÿin*5ÿ,soils2*7,ÿ/atÿthe
                                                                                         ÿ8Patsouras
                                                                                               /,2-4/,ÿ8Property  4294:ÿat/ÿ
 22
                       7n7,ÿabove
                       levels   /p2nÿ<S    !,;ÿ/
                                       ESLs.         75o-7/ÿOpp'n
                                                Valenzuela            >99Y5ÿ?Decl., +7;(ÿ<=  ,;ÿ57ÿj(Docket
                                                                                          Exs.         ?2+Xÿ12       No.; ÿ949­
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 45ÿ
 23                    54kÿ/atÿ43-45),
                       32)      65q67k(ÿ29ÿj(Docket
                                             ?2+Xÿ12     No.;   ÿ2949-36)
                                                                    62q58kÿat/ÿ98-103,
                                                                                  29q35(ÿ3157ÿ/atÿ167    381ÿj(Kulla
                                                                                                                   W-77/ÿ?Dep.9;ÿ
 46ÿ                   95[33q45kÿ-
                       83:11-23);        +ÿ#Report,
                                     Mutch        924(ÿT/  Tablesp7,ÿ53-1, q3(ÿ7-4
                                                                                1q6ÿj(Docket
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 24
                       R?ÿ#:25308-10,
                       ID    [4759q3(ÿ425422);
                                             7644kÿ/        75o-7/ÿ?Decl.,
                                                         Valenzuela              +7;(ÿEx.
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                                                                                                              322q4 ÿj(Kulla W-77/ÿ
 47ÿ
 25                    ? 9;ÿ3195:9-196:18,
                       Dep.     27[2q328[39(ÿ"9  Apr.  4;ÿ42,(ÿ42021)
                                                                    43kÿ(admitting
                                                                           j/.Z**5Uÿ.default
                                                                                             V/-7ÿ/assumption
                                                                                                         ,,-Z9*25ÿ*is,ÿ
 48ÿ                   +Z*+/7,ÿare
                       chemicals    /4ÿ7leaching
                                           /+*5Uÿto2ÿUgroundwater
                                                              42-5.)/4ÿwhen     )5ÿsoil ,2*7ÿ+concentrations
                                                                                                   25+54/*25,ÿexceed       =+ .ÿ
 26
                       ,2*7ÿ7leaching
                       soil    /+*5Uÿ<SESLs!,ÿ-until
                                                 5*7ÿdemonstrated
                                                         .Z25,4/.ÿ2otherwise    4)*,ÿvia   n*/ÿ,site-specific
                                                                                                         *q,9+*V*+ÿ
 41ÿ
 27                      n/7-/*25kÿPis.'
                       evaluation);    87,;Yÿ#3  1(ÿ<=
                                              RFJN,       Ex.;  ÿ2924ÿ(Los
                                                                       j!2,ÿAngeles
                                                                               "5U7,ÿ&2        -5:ÿ3Fire
                                                                                           County            *4ÿ?Dept.,9;(ÿ
 49ÿ
 28                     Z24/5.-Z(ÿJan.
                       Memorandum,          /5;ÿÿ9,2(ÿ31996,
                                                         228(ÿ/atÿ31-2) q4kÿj(concluding
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   5ÿ FACTS     ÿÿ AND     SUPPORTING
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                     and      "#$%&ÿ!shed
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   7ÿ
   5                 %$#.0"&$12ÿPis.'
                     groundwater);         3*!45ÿOpp'n
                                                    6((5ÿ78    RFJN,  9:;ÿ</
                                                                            Exs.!4ÿ22
                                                                                    44ÿ=(Docket
                                                                                         >#)?&"ÿ:#    No.4  ÿ949-24),
                                                                                                                6@461;ÿ19    3ÿ
   8ÿ
   6                 =>#)?&"ÿ:#
                     (Docket      No.4 ÿ949-21).
                                          6@4314ÿ
   9ÿ AB
   7          CDEFGHIJÿ"Affirmative"
           Kekropia's    LMNNGDOHPGQBRÿSQ           GTBUVBÿGisJÿFlawed
                                               Evidence               WXHYBTÿEorDÿZImmaterial
                                                                                       OOHPBDGHXÿÿÿ
   1ÿ (5)
   8           =71ÿ Flaws
                     \]^_ÿ̀inaÿb Dr.c ÿKulla's
                                         de\\]_ÿa           ]\f_`_gÿh.
                                                       Analysis:          Mutch")'ÿ7&   ,.""*ÿReport,
                                                                                     Rebuttal     7&(#$";ÿi§ÿ53.345ÿ=(Docket
                                                                                                                           >#)?&"ÿ
   9ÿ                :#4ÿ949-78)
                     No.       6@911ÿ=(groundwater
                                         %$#.0"&$ÿj#                 k"#$k%ÿwells
                                                                monitoring         0&**!ÿ#onÿ3Pilot
                                                                                                  k*#"ÿl'       &jk)*ÿproperty
                                                                                                          Chemical         ($#(&$"mÿ
                     )#!k&$&ÿ,bymÿ>$
                     considered           Dr.4  ÿKulla
                                                 n.**ÿare$&ÿnot#"ÿ.upgradient);
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                                                                                            Valenzuela                )*4;ÿExs.
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                                                                                                     Groundwater
 33ÿ                 l#"#.$ÿh
                     Contour      Map, (;ÿ8Fig.
                                            k%4ÿ3),51;ÿS,r;ÿat"ÿp.(4ÿ4226
                                                                        48ÿ=(Envtl.
                                                                              <+"*4ÿs. Audit,k";ÿInc.,
                                                                                                  u)4;ÿq( Updated  "&ÿ
 11

 34ÿ
                     l#)&(".*ÿh#
                     Conceptual        Model  &*ÿand
                                                    ÿRequest
                                                          7&v.&!"ÿ-for#$ÿwLow    #0ÿ7kRisk!?ÿClosure,
                                                                                              l*#!.$&;ÿ8Fig.    k%4ÿ97)1ÿ(showing
                                                                                                                         =!'#0k%ÿ
 12                  %$#.0"&$ÿ-flowing
                     groundwater         *#0k%ÿ!southwesterly,
                                                        #."'0&!"&$*m;ÿnot       #"ÿ"to#ÿ0&
                                                                                          west!"ÿas!ÿ>$
                                                                                                      Dr.4  ÿKulla
                                                                                                             n.**ÿcontends);
                                                                                                                        )#"&!12ÿ
 35ÿ                 h.")'ÿReport,
                     Mutch      7&(#$";ÿat"ÿ97-16@38ÿ=(Docket
                                                          >#)?&"ÿNo.     :#4ÿ903-204);
                                                                                 25@42612ÿ3Plaintiffs
                                                                                                *k"k--!ÿkincorporate
                                                                                                                 )#$(#$"&ÿ
 13

 36ÿ                 "'&k$ÿ$response
                     their     &!(#!&ÿ"to#ÿRSUMF
                                              7rqh8ÿ7544.        664ÿÿ
 14                  ÿ
 37ÿ (6)       =81ÿ Flaws
                     \]^_ÿ̀inaÿb Priorx̀bÿa    yb̀xaz{a|]\ÿx
                                            Environmental                      a_e\|]a|_ÿ{
                                                                          Consultants'              }xb|_gÿh.
                                                                                               Reports:          Mutch ")'ÿReport,
                                                                                                                            7&(#$";ÿ
 15

 38ÿ                 "ÿ97-10
                     at    @32ÿ"to#ÿ97-13
                                      @35ÿ~ÿ    8k%!4ÿ97-3,
                                            & Figs.          @5;ÿ97-7@9ÿ=(Docket
                                                                           >#)?&"ÿ:#  Nos. !4ÿ903-204
                                                                                                25@426ÿ~ÿ           25@4321ÿ
                                                                                                              & 903-210)
 16                  =k!.--k&"ÿ!sampling
                     (insuffient       j(*k%ÿ#of-ÿsoils !#k*!ÿand ÿ%groundwater);
                                                                            $#.0"&$12ÿ3Pis.'     *!45ÿ78RFJN, 9:;ÿEx.
                                                                                                                      </4ÿ924ÿ=(Losw#!ÿ
 39ÿ                 s%&*&!ÿCounty
                     Angeles      l#."mÿ8Fire   k$&ÿ>&     ($"j&"ÿMemorandum
                                                      Department            h&j#$.jÿ$re&ÿ3Palley       **&mÿProperty
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 17

 31ÿ                 =94ÿ31996))
                     (Jan.         811ÿ=(Docket
                                         >#)?&"ÿ:#    No.4   ÿ903-96)
                                                                25@81ÿ=(concluding
                                                                              )#)*.k%ÿo6l5   VOC's!      ÿkinÿeastern
                                                                                                                  &!"&$ÿ(portion
                                                                                                                               #$"k#ÿ
 18                  #-ÿ(property
                     of    $#(&$"mÿ&extend
                                        /"&ÿto"#ÿ%groundwater;
                                                        $#.0"&$2ÿclarifier   )*$k-k&$ÿkis!ÿ)contaminated
                                                                                                #"jk"&ÿto"#ÿ
 3ÿ                  %$#.0"&$ÿ0k
                     groundwater            "'ÿo6l5
                                         with    VOC's);    !12ÿ3Plaintiffs'
                                                                     *k"k--!5ÿkincorporate
                                                                                    )#$(#$"&ÿtheir "'&k$ÿ$responses
                                                                                                                &!(#!&!ÿ"to#ÿ
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 42ÿ                 7rqh8ÿ7527,
                     RSUMF           49;ÿ7531
                                           53ÿandÿ7546. 684ÿÿ
 20               ÿ
 43ÿ (7)       =91ÿ 6"   "&ÿDecl.,
                     Otten     >&)*4;ÿ</Ex.4 ÿÿ   =>#)?&"ÿ:#
                                              B (Docket          No.4    ÿ931-2
                                                                           53@4ÿ3Page%&ÿIDu>ÿ#26229-30)
                                                                                                  4844@521ÿ=(Los       w#!ÿ
 21
                     s%&*&!ÿRegional
                     Angeles      7&%k#*ÿ    Water"&$ÿ.      *k"mÿBoard
                                                              Quality      #$ÿw&       ""&$ÿ=(Jan.
                                                                                     Letter     94ÿ64,;ÿ2017)
                                                                                                            42391ÿat"ÿ31-2) @41ÿ
 44ÿ
 22                  =k!"#$k)*ÿrSite
                     ("Historical        k"&ÿ.use!&ÿfor
                                                     -#$ÿindustrial
                                                            k.!"$k*ÿactivities
                                                                               )"k+k"k&!ÿ$resulted
                                                                                            &!.*"&ÿinkÿdischarges
                                                                                                                 k!)'$%&!ÿ#of-ÿ
 45ÿ                 0!"&ÿ"to#ÿthe
                     waste        "'&ÿ!subsurface,
                                         .,!.$-)&;ÿkincluding
                                                             )*.k%ÿtotal   "#"*ÿ(petroleum
                                                                                      &"$#*&.jÿ'hydrocarbons
                                                                                                       m$#)$,#!ÿ(TPH),     =31;ÿ
 23
                     +#*"k*&ÿ#organic
                     volatile      $%k)ÿcompounds
                                             )#j(#.!ÿ(VOCs),       =o6l!1;ÿand   ÿj&     "*!ÿ*listed
                                                                                       metals       k!"&ÿinkÿTitle  k"*&ÿ4224ÿof#-ÿ"the'&ÿ
 46ÿ
 24                  l*k-#$kÿl#
                     California      Code&  ÿ#of-ÿ7&  %.*"k#!4ÿSpecifically,
                                                   Regulations.           r(&)k-k)**m;ÿ"the'&ÿ0        !"&!ÿdischarged
                                                                                                    wastes         k!)'$%&ÿ"to#ÿ
 47ÿ                 "'&ÿ!subsurface
                     the     .,!.$-)&ÿat"ÿthe"'&ÿrSite
                                                       k"&ÿhas'!ÿ,been &&ÿassociated
                                                                               !!#)k"&ÿ0k       "'ÿstorage
                                                                                              with    !"#$%&ÿand    ÿ.use!&ÿ#of-ÿ
 25
                     (&"$#*&.jÿ(products,
                     petroleum         $#.)"!;ÿsolvents,
                                                     !#*+&"!;ÿj&          "*ÿ(product
                                                                       metal     $#.)"ÿj       .-)".$k%-,$k)"k#;ÿ
                                                                                            manufacturing/fabrication,
 48ÿ
 26                  ÿ.use!&ÿ#of-ÿmultiple
                     and             j.*"k(*&ÿ)clarifiers.").
                                                     *$k-k&$!414ÿrSee&&ÿalso   *!#ÿMutch       7&,.""*ÿ7&
                                                                                       h.")'ÿRebuttal                  (#$";ÿi§ÿ3.5
                                                                                                                   Report,        547ÿ
 49ÿ
 27                  =>#)?&"ÿ:#
                     (Docket      No.4 ÿ949-78).
                                          6@9114ÿÿ
 41ÿ ÿ
 28
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 ÿÿÿÿÿ¦§ÿÿÿ         ¨ ÿ¡¡ÿÿÿ¢£ÿÿ¤ÿÿÿÿ¢£ÿ¥
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 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
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                                          Filed 05/02/22Page 20717ofof277
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                                  #:33798



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 1ÿ          OPPOSING     ÿPARTIES'
                                    ÿ
 2                  ÿ
                    ALLEGEDLY                                        ÿPLAINTIFFS'
                                                                    MOVING            ÿ
 5ÿ             ÿ
              UNCONTROVERTED                                     ÿÿ
                                                               RESPONSE                     ÿ
                                                                                 AND SUPPORTING
 3
           ÿ
           MATERIAL
 3ÿ SUPPORTING                 FACTSÿ        ÿ
                                             AND                             ÿ
                                                                             EVIDENCE
 4           ÿ           EVIDENCEÿ
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 7ÿ                                                         !"#$ÿof%ÿcontamination
                                                            source       #&'()*&('*&ÿ'toÿ+,-      OU-2 1ÿ
 6
                                                            ."!&/0('$"1ÿ2See33ÿBanks
                                                            Groundwater.            4(&5ÿ6$      #718ÿ9:
                                                                                              Decl.,   Ex.1 ÿ36,
                                                                                                             578ÿ
 8ÿ
 7                                                          ('ÿ1262
                                                            at   71ÿ;(Mutch
                                                                      <!'#=ÿ6$ Dep.>1ÿ73:2-22)
                                                                                      85?1-11@ÿ;(Mr.<"1ÿ
 9ÿ                                                         <!'#=ÿstating
                                                            Mutch      '('*&Aÿhe=$ÿ0(
                                                                                   wasÿ#confused
                                                                                            &%!$/ÿBbyCÿthe'=$ÿ
 8

 9ÿ
                                                            D!$'*&@1ÿÿ
                                                            question).

42ÿ                                                         <!'#=ÿReport,
                                                            Mutch    E$>"'8ÿ(at'ÿF(Table   1-4ÿ;(Docket
                                                                                      B7$ÿ2-1      6 #5$'ÿ
10
                                                            G 1ÿ903-204
                                                            No.    25-123ÿHPage
                                                                              (A$ÿIID6ÿ#25280-81).
                                                                                         J16192-94@1ÿ
44ÿ
11

41ÿ
12                                         Kÿ Patsouras
                                           E.       MNOPQRMOÿProperty
                                                                  RPSTRNUÿ
    VWWKÿ+&
45ÿ 500.
13          Onÿ   G X$)B$"ÿ1,48ÿ12016,
                  November               2478ÿPlaintiffs
                                               H7(*&'*%%ÿ500.
                                                            VWWKÿ,&      /*>!'$/1ÿÿ
                                                                    Undisputed.
    %*7$/ÿ(aÿYFifth
43ÿ filed      *%'=ÿZ)$
                     Amended &/$/ÿ[Complaint
                                          )>7(*&'ÿ ÿ
14
    ;\Y*%'=ÿZ[]
    ("Fifth   AC")@   ÿ(against
                         A(*&'ÿ6$     %$&/(&'ÿ
                                  Defendants
    ^(77*B!"'&ÿAffiliates,
46ÿ Halliburton
15                   Z%%*7*('$8ÿ__[ÿ̀LLC; a$    5">*(8ÿ
                                              Kekropia,
    I&#1̀ÿWilliam
47ÿ Inc.;  b*77*()ÿa1   K.ÿ  H(77$C8ÿ(an&ÿ*individual;
                             Palley,         &/*X*/!(7̀ÿ
16
    (&/ÿHPalley
    and    (77$CÿcSupply
                     !>>7CÿCompany
                               [ )>(&Cÿ;(the   '=$ÿ
    \H('!"(ÿHProperty
48ÿ "Patsouras
17                    ">$"'Cÿ6$       %$&/(&']@ÿ
                                 Defendants")
    (77$A*&Aÿ'that
49ÿ person"
    alleging     =('ÿ$each
                         (#=ÿ0(
                              was ÿa(ÿ\"covered
                                         #X$"$/ÿ
18
    >$"&]ÿ0*      '=*&ÿ'the
               within       =$ÿmeaning
                               )$(&*&Aÿof%ÿ3421ÿ
    ,1c1[1ÿd§ÿ9607(a)(l)-(4).
4ÿ U.S.C.
19                 728;(@;4@-;3@1ÿÿ
12ÿ Supporting
20
       QSSPRNefgÿh        eiTfjTkÿ
                      Evidence:
14ÿ FAC1398;
21
    YZ[ÿlÿ59ÿ̀9Ex.:1ÿZÿ        'ÿ'the=$ÿDeclaration
                            A to         6$#7("('*&ÿ
11ÿ of%ÿm*
22         #'"ÿ+'
         Victor      '$&ÿ
                  Otten
15ÿ
23
    VWnKÿ9H
13ÿ 501.    EPA  Zÿ#concluded
                         &#7!/$/ÿ'that=('ÿcertain
                                           #$"'(*&ÿ 501.    VWnKÿ,&      /*>!'$/ÿBbut!'ÿ*immaterial.
                                                                    Undisputed             ))('$"*(71ÿ
24
    >("'*$ÿ0$    "$ÿ>potentially
                          '$&'*(77Cÿresponsible
                                       "$>&*B7$ÿ Supporting
                                           &'()*&('*&ÿ QSSPRNefgÿh              eiTfjTkÿÿ
    parties   were
    >("'*$ÿ;("PRPs")
16ÿ parties
25             \HEH]@ÿ%for"ÿthe '=$ÿ#contamination                         Evidence:
       %ÿ+,-
17ÿ ofNotice
         OU-2 1ÿAgroundwater
                  "!&/0('$"ÿ(and      &/ÿsent
                                            $&'ÿSpecial
                                                c>$#*(7ÿ S.2oÿqr  stuvwxtrÿyr     z3wÿqv
                                                                                      Co.o ÿ{v.oÿAerojet-Gen.
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26
    G '*#$ÿ_$     ''$"ÿ'toÿ'them.
              Letters         =$)1ÿ                             California
                                                            qvwo8ÿNo.
                                                                     G 1ÿ[mÿ
                                                                             Water
                                                                           CV 2   1-7532Z4[E[8ÿ
18ÿ                                                         Corp.,
                                                            1225ÿb_ÿ
                                                                   WL 1
                                                                                 02-6340ABCRCX,
                                                                           66584758ÿ(at'ÿ*56ÿ;(C.D.
                                                                                                  [161ÿ[(    71ÿ
27
       QSSPRNefgÿh
19ÿ Supporting
28
                           eiTfjTkÿ
                      Evidence:                             2003
                                                            Apr.
                                                                          25537163,
                                                            Z>"1ÿ41,8ÿ12003)
                                                                        225@ÿ;(whether
                                                                               0=$'=$"ÿthe '=$ÿ9HEPA
                                                                                                        Cal.
                                                                                                    Zÿ=has(ÿ
                                                         123ÿ
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    defgÿijklmnompqlrqmstmuÿÿÿvwnxygz{ÿ|}jliÿÿlÿ~           r|gÿpli|ikÿÿÿegÿip ÿwÿi}}ÿÿÿegÿv
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 Case 2:14-cv-06456-GW-E Document
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   1ÿ           OPPOSING      ÿPARTIES' ÿ
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                        ALLEGEDLY                                           ÿPLAINTIFFS'
                                                                           MOVING           ÿ
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   7ÿ FAG            Ex.&  ÿAÿ'to(ÿthe
                                     ')*ÿ+*    ,-./.'0(1ÿ(of2ÿ named
                                          Declaration             1.5*6ÿ.aÿ7particular
                                                                               ./'0,8-./ÿ7party
                                                                                            ./'9ÿa.ÿ:PRP
                                                                                                      ;:ÿor(/ÿ
        30,'(/ÿ4'   '*1ÿ                                          <(8=)'ÿ/recovery
                                                                            *,(>*/9ÿ2from
                                                                                        /(5ÿa.ÿparty
                                                                                                7./'9ÿ0is<ÿ
 6
        Victor  Otten                                             sought
   8ÿ
   7                                                              055.'*/0.-ÿ'to(ÿ'the
                                                                  immaterial        )*ÿparty's
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                                                                                                            16*/ÿ
   9ÿ
   8                                                              !$;!@ A&ÿÿÿ
                                                                  CERCLA).

   9ÿ
        BCDEÿ$:
        502.   EPAÿ     )has.<ÿ1not('ÿ<sent
                                        *1'ÿa.ÿFSpecial
                                                 7*,0.-ÿ 502.     BCDEÿZ1    60<78'*6ÿ[but8'ÿ0immaterial.
                                                                          Undisputed           55.'*/0.-&ÿÿÿ
        G('0,*ÿ@*
42ÿ Notice
10                   ''*/ÿ'to(ÿ.any
                 Letter          19ÿ(of2ÿ'the
                                            )*ÿPatsouras
                                                 :.'<(8/.<ÿ Supporting
                                                                    HIIJKLMNOÿP     MQRNSRTÿÿ
        :/(7*/'9ÿ+*
4^ 4^ ÿ Property         2*16.1'<&ÿÿ
                    Defendants.                                                   Evidence:

          HIIJKLMNOÿP
4j21ÿ Supporting               MQRNSRTÿ                           :-.01'022<ÿ6do(ÿnot
                                                                  Plaintiffs      1('ÿ6dispute
                                                                                         0<78'*ÿEPA
                                                                                                 $: ÿ)has.<ÿ1not('ÿ
                          Evidence:
                                                                  <*1'ÿ.aÿFSpecial
                                                                  sent      7*,0.-ÿG(   '0,*ÿLetter
                                                                                    Notice   @*''*/ÿ'to(ÿ.any
                                                                                                           19ÿof(2ÿ
45ÿ FAG,
13       !Uÿ7p.&ÿ4189ÿV("Non-Notice
                          WG(1XG('0,*ÿLetter    @*''*/ÿ the       ')*ÿ:Patsouras
                                                                        .'<(8/.<ÿProperty
                                                                                   :/(7*/'9ÿ+*     2*16.1'<ÿ'to(ÿ
                                                                                               Defendants
        +*2*16.1'<ÿ:PRPS,"),
46ÿ Defendants             ;:FUYAUÿ"ÿ93-96;                       6.'*&ÿ+*
                                             5X7#ÿ$Ex.%&ÿAÿ'to(ÿdate.       ,-./.'0(1ÿ(of2ÿVictor
                                                                         Declaration        30,'(/ÿ4'   '*1ÿ
                                                                                                      Otten
14
        ')*ÿ+*
        the    ,-./.'0(1ÿ(of2ÿ30
            Declaration                  ,'(/ÿ4'
                                     Victor       '*1ÿ
                                               Otten              VW4''*1ÿDecl."),
                                                                  ("Otten   +*,-&YAUÿ$%
                                                                                      Ex.& ÿAÿV(Fifth
                                                                                                02')ÿAG,!Uÿ"H"ÿ
43ÿ
15                                                                79Uÿ93-96)
                                                                  68,   5X7AÿV(Docket
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47ÿ
16
                                                                  ^_17457Uÿ126145-46).
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48ÿ                                                               :-.01'022<ÿ0incorporate
                                                                  Plaintiffs   1,(/7(/.'*ÿ'their
                                                                                              )*0/ÿResponse
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49ÿ
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                                                                  RSUMF        24ÿherein
                                                                                   )*/*01ÿ[by9ÿ/reference.
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4ÿ 503.
19      BCaEÿ$:EPAÿ     ,concluded
                          (1,-86*6ÿ'that   ).'ÿcertain
                                                 ,*/'.01ÿ 503.    BCaEÿZ1    60<78'*6ÿ[but8'ÿ0immaterial.
                                                                          Undisputed           55.'*/0.-&ÿÿÿ
        7./'0*<ÿb*
12ÿ parties           /*ÿ7potentially
                             ('*1'0.--9ÿresponsible
                                            /*<7(1<0[-*ÿ Supporting
                                               (1'.501.'0(1ÿ HIIJKLMNOÿP            MQRNSRTÿÿ
                 were
20
        7./'0*<ÿV("PRPs")
        parties   W:;:<YAÿ2for(/ÿthe    ')*ÿ,contamination                        Evidence:
14ÿ of(2ÿ4ZX
21         OU-2 1ÿ=groundwater
                      /(816b.'*/ÿb.           //.1'01=ÿ Plaintiffs
                                          warranting
                                                                  :-.01'022<ÿ0incorporate
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11ÿ receipt                   1*/.-ÿG(
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                                        Notice      ''*/ÿ RSUMF
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        VWcG@Y
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15ÿ them.
23

16ÿ Supporting
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          HIIJKLMNOÿP         MQRNSRTÿ
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13ÿ FAG
25
         !ÿ"ÿ5;3#ÿ$%Ex.&  ÿAÿ'to(ÿthe
                                     ')*ÿ+*    ,-./.'0(1ÿ(of2ÿ
                                          Declaration
        30,'(/ÿ4'
17ÿ Victor
26                  '*1ÿ
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 Cnse 2:14-cv-06456-GW-E
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                       ALLEGEDLY                                               ÿPLAINTIFFS'
                                                                              MOVING           ÿ
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              UNCONTROVERTED                                            ÿÿ
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                                                                                         AND SUPPORTING
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           ÿ
           MATERIAL
 6ÿ SUPPORTING                    FACTSÿ        ÿ
                                                 AND                                   ÿ
                                                                                       EVIDENCE
 4           ÿ              EVIDENCEÿ
 7ÿ
 5
     !"ÿ#$
 3ÿ 504.    EPA  %ÿ&has'(ÿ)not*+ÿ(sent
                                   ,)+ÿa'ÿ-,     ),.'/ÿ 504.
                                             General               !"ÿW)         91(76+,9ÿXbut6+ÿ1immaterial.
                                                                              Undisputed            YY'+,.1'/:ÿÿÿ
 6
     0*+12,ÿ3,
    Notice         ++,.ÿ+to*ÿ'any
              Letter           )4ÿof*5ÿ+the&,ÿ$Patsouras
                                                '+(*6.'(ÿ Supporting  ;<<=>?@ABÿC       @DEAFEGÿÿ
 8
 7ÿ  $.*7,.+4ÿ8,
    Property           5,)9')+(:ÿÿ
                Defendants.                                                            Evidence:

 9ÿ Supporting
 8
       ;<<=>?@ABÿC         @DEAFEGÿ                               $/'1)+155(ÿ1incorporate
                                                                   Plaintiffs      )2*.7*.'+,ÿ+their
                                                                                                   &,1.ÿresponse
                                                                                                         .,(7*)(,ÿ+to*ÿ
 9ÿ
                        Evidence:
                                                                   NOWZHÿ7501
                                                                   RSUMF           24ÿherein.
                                                                                       &,.,1):ÿ
     H%IJÿ7p.:ÿ4189ÿK("Non-Notice
    FAG,                L0*)M0*+12,ÿLetter   3,++,.ÿ
     8,5,)9')+(ÿ$PRPS,"),
42ÿ Defendants
10                       N$OJPQJÿRÿ93-96;5M3Sÿ#Ex.T:ÿ%ÿ   A+   *ÿ
                                                              to
     +&,ÿ8,
44ÿ the
11           2/'.'+1*)ÿ*of5ÿU1
         Declaration                 2+*.ÿV+
                                Victor          +,)ÿ
                                            Otten

41ÿ 505.
12
     "ÿ[& The,    ÿ$Patsouras
                       '+(*6.'(ÿ$Property
                                      .*7,.+4ÿis1(ÿ 505.           "ÿW)         91(76+,9ÿXbut6+ÿ1immaterial.
                                                                              Undisputed            YY'+,.1'/:ÿÿ
     /*2'+,9ÿ'at+ÿ411630-11700
45ÿ located           4352M44822ÿBurke   \6.],ÿOStreet,
                                                      +.,,+Jÿ ÿ
     O')+'ÿHFe,ÿOSprings,
                     7.1)^(JÿI%:GA.ÿ   ÿ
13

46ÿ Santa
14
       ;<<=>?@ABÿC
47ÿ Supporting
15                          @DEAFEGÿ
                        Evidence:

     H%Iÿ1343,
43ÿ FAG
16         Rÿ565Jÿ
48ÿ Ex.
17   #T:ÿ%ÿ
          A+  *ÿthe
             to +&,ÿ8,      2/'.'+1*)ÿ*of5ÿVictor
                        Declaration            U12+*.ÿ
49ÿ V+
18      +,)ÿ
     Otten

4ÿ 506.
19
     _"ÿH     .*Yÿ41968
            From           39ÿ+to*ÿ1972,
                                   481Jÿ-/       *X,ÿV1
                                              Globe     Oil/  ÿ 506.
                                                                   _"ÿ81        (76+,9:ÿÿ
                                                                              Disputed.
     [**/(ÿCompany
12ÿ Tools   I*Y7')4ÿ*operated  7,.'+,9ÿ*on)ÿ+the  &,ÿ Supporting
                                                             )9ÿ ;<<=>?@ABÿC            @DEAFEGÿÿ
20
     $'+(*6.'(ÿProperty,
14ÿ Patsouras      $.*7,.+4JÿY'        )65'2+6.1)^ÿ'and
                                   manufacturing                                       Evidence:
21
     +.,'+1)^ÿ*oil1/ÿ̀,
    treating          well//ÿdrilling
                             9.1//1)^ÿ,equipment
                                            a617Y,)+ÿ'and     )9ÿGlobe
                                                                   -/*X,ÿV1   Oil/ÿ*operated        +&,ÿ$Property
                                                                                     7,.'+,9ÿ*on)ÿthe     .*7,.+4ÿ
22   +**/(:ÿÿÿ
11ÿ tools.                                                         5from
                                                                     .*Yÿat'+ÿ/least
                                                                                ,'(+ÿ41941,
                                                                                         64Jÿand
                                                                                              ')9ÿ7perhaps
                                                                                                      ,.&'7(ÿ'as(ÿ,early
                                                                                                                      './4ÿ
15ÿ Supporting
23
       ;<<=>?@ABÿC         @DEAFEGÿ                               '(ÿ+the&,ÿ1930's.
                                                                   as         452g(:ÿV7    7g)ÿRFJN,
                                                                                        Opp'n    NHd0Jÿ#T  Exs.(:ÿ415-A,
                                                                                                                     7M%Jÿ
16ÿ Los
                        Evidence:
                                                                   '+ÿ4117-25
                                                                   at   48M17ÿK(building
                                                                                    X61/91)^ÿpermits
                                                                                               7,.Y1+(ÿ5for*.ÿ*oil1/ÿtool
                                                                                                                     +**/ÿ
24
     3*(ÿ%)   ^,/,(ÿN,
          Angeles            ^1*)'/ÿWater
                         Regional      b'+,.ÿQuality               Y')65'2+6.1)^ÿ7plant
                                                  c6'/1+4ÿ manufacturing                  /')+ÿ*on)ÿOSorenson
                                                                                                      *.,)(*)ÿ
     \*'.9ÿLetter,
17ÿ Board
25           3,++,.JÿdJan. '):ÿ4,6Jÿ12017,
                                      248Jÿ#T  Ex.:ÿB\ÿ+to*ÿ+the   3'),QSÿU'
                                                              &,ÿLane);           /,)h6,/'ÿV7
                                                                               Valenzuela        7g)ÿ8,
                                                                                             Opp'n          2/:Jÿ#T
                                                                                                       Decl.,    Exs. (:ÿ8,9Jÿ
     8,2/'.'+1*)ÿof*5ÿU1
13ÿ Declaration                2+*.ÿV+
                           Victor        +,)ÿ
                                      Otten                        '+ÿ3663ÿK(Envtl.
                                                                   at         #)f+/:ÿ%6   91+JÿInc.,
                                                                                       Audit,  e)2:JÿOSupplemental
                                                                                                        677/,Y,)+'/ÿ
26
     %e-ÿI*    )(6/+')+(JÿeInc.  )2:ÿPhase
                                      $&'(,ÿeIÿ                    O6X(6.5'2,ÿeInvestigation
                                                                   Subsurface         )f,(+1^'+1*)ÿK(Mar.
                                                                                                       Z'.:ÿ53,Jÿ1997)
                                                                                                                    4 8Qÿ
18ÿ AIG
27
     #) f 1
          .
           Consultants,
           * ) Y,     )+' /ÿO 1+, ÿ
                                  %(   (,   (
                                            ( Y,  ) +Jÿd 6 ) , ÿ   '+ÿ53),QJÿ19,
                                                                   at        4Jÿ'at+ÿ4190-191
                                                                                        2M44ÿK(Letter
                                                                                                 3,++,.ÿdated
                                                                                                           9'+,9ÿZ' Mar. .:ÿ
19ÿ 30,1994,
28
    Environmental
     52Jÿ4 6Jÿ7pp.7:ÿ410-11
                            Site  Assessment,
                           2M44ÿK(PTFS00024775-
                                                       June
                                    $[HO22216887M 19,1959          4Jÿ47ÿ'addressed99.,((,9ÿ+to*ÿMr.
                                                                                                  Z.:ÿdJohn
                                                                                                          *&)ÿ
                                                                 123ÿ
                                                                206
 hijkÿmnopqrsqtupvuqwxqyÿÿÿz{r|}k~ÿnpmÿÿpÿ        uok ÿtpmmoÿÿÿikÿmotÿ{ÿmÿÿÿikÿz
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21020ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32461
    ÿ
                                  #:33801



 4ÿ
 1

 1ÿ           OPPOSING    ÿPARTIES'
                                    ÿ
 2                  ÿ
                    ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                     MOVING            ÿ
 5ÿ             ÿ
              UNCONTROVERTED                                    ÿÿ
                                                              RESPONSE                     ÿ
                                                                                AND SUPPORTING
 3
            ÿ
            MATERIAL
 6ÿ SUPPORTING                  FACTSÿ        ÿ
                                              AND                            ÿ
                                                                             EVIDENCE
 4           ÿ                 ÿ
                                  EVIDENCE
 7ÿ
 5
      !"22216926#$ÿEx.
 8ÿ PTFS00024804);           %&'ÿ(ÿC)to*ÿthe
                                         )+,ÿ               Q,1)0230ÿ*of4ÿR/
                                                            Bertaina          *J,ÿ62
                                                                           Globe     Oil/
                                                                                        ÿTool
                                                                                          **/ÿ0at)ÿ411630
                                                                                                     4852ÿ
     -,./010)2*3ÿof*4ÿ52     .)*1ÿ6)  ),3ÿ                  Q:1F,<ÿ"Santa
                                                                       03)0ÿ!Fe,ÿSprings,
                                                                                  "?123KC<ÿ(0  /24'#$ÿ@:   ).+ÿ
 6
    Declaration           Victor   Otten                    Burke,                          Calif.);   Mutch
 3ÿ
 7
     %3  7 2
           1* 3 8, 3 ) 0/ÿ 9:  ;2)<
                                  ÿ=3 . '
                                        ÿ>?     ;0 ),;ÿ     A,?*1)<ÿ0at)ÿ37-18
                                                            Report,        P49ÿ)to*ÿ37-19
                                                                                      P4ÿSÿ  !2KC'ÿ37-1,
                                                                                          & Figs.     P4<ÿ37­P
 9ÿ Site
    Environmental
     "2),ÿ(*  3.,?):0/ÿ@*
                           Audit,  Inc.
                                ;,/ÿ0and
                                          Updated
                                       3;ÿA,     B:,C)ÿ 12  41ÿO(Docket
                                                                  -*.F,)ÿT*   C'ÿ903-204
                                                                           Nos.     25P126ÿ&Sÿ903-210
                                                                                                   25P142ÿ
 8
     4*1ÿD*
           Conceptual
             EÿA2  CFÿ(/
                            Model
                            *C:1,<ÿGJune
                                     :3,ÿ17,
                                            Request
                                            43<ÿ12010,      O419ÿmap
                                                    242<ÿ (1928      80?ÿ2indicating
                                                                           3;2.0)23KÿQ:    1F,ÿStreet
                                                                                         Burke  ")1,,)ÿ:used
                                                                                                           C,;ÿ
 9ÿ for
     ? 'ÿ4
          Low
         1ÿHE+
                Risk
                2
                . +ÿ . *
                        Closure,
                        1 1, .)Cÿ0
                                 aÿ)I? * ÿ2 3 ÿ0aÿ@0  1
                                                      .+ÿ   )*ÿJbe,ÿnamed
                                                            to      308,;ÿ"Sorenson
                                                                             *1,3C*3ÿD0     3,ÿSÿ
                                                                                         Lane   &4     59ÿ
                                                                                                     1938
42ÿ 3,5<ÿ4
10
    p.     [which
         19973ÿ%9=
                EAIÿ
                     corrects
                      1report
                        ,?*1)ÿwhich
                                   typo   in
                                E+2.+ÿCstated
                                                  March
                                          )0),;ÿ)that       0,120/ÿ?photograph)).
                                                    +0)ÿ aerial       +*)*K10?+##'ÿ
     *?,10)2*3CÿJbegan
44ÿ operations       ,K03ÿ2in3ÿ                             ÿ
     L479MNO !"2221672P
11

41ÿ "1958"](PTFS00024509-
12
      !"22216865#$ÿEx.
    PTFS00024643);           %&'ÿ-ÿ   )*ÿ)the+,ÿ
                                   D to
     -,./010)2*3ÿof*4ÿ52
45ÿ Declaration
13                           .)*1ÿ6)
                          Victor      ),3ÿ
                                   Otten
46ÿ UVWXÿ63ÿ@01.+ÿ12<432<ÿ)+,ÿD*Cÿ UVWXÿ>3;2C?:),;'ÿÿ
14

47ÿ 507.
15  Angeles
             On March 20,1970, the Los
     93K,/,CÿCounty
                (*:3)Iÿ%3       K23,,1ÿ2issued
                            Engineer      CC:,;ÿ0aÿ
                                                            507. Undisputed.

     3*)2.,ÿ)to*ÿR/
48ÿ notice          *J,ÿOil
                 Globe      62/ÿTools
                                  **/Cÿ(*     8?03Iÿ
                                        Company
16
     0//,K23Kÿ)that
    alleging
43ÿ waste        +0)ÿ"the
                       L)+,ÿ;discharge
                               2C.+01K,ÿof*4ÿ/liquid
                                                  2B:2;ÿ
17   E0C),ÿ4from
              1*8ÿIyour*:1ÿ1rinse
                             23C,ÿoperation
                                   *?,10)2*3ÿto)*ÿ
     K1*:3;Mÿis2Cÿ2in3ÿ7violation
49ÿ ground"              2*/0)2*3ÿ*of4ÿ"Section
                                           ,.)2*3ÿ
18
     Y8524ÿ*of4ÿSanta
4ÿ #6301         "03)0ÿFe  !,ÿ"Springs
                                 ?123KCÿ(2City )Iÿ
19   61;2303.,ÿT*
    Ordinance      No.'  ÿ379ÿJbecause
                                ,.0:C,ÿthe)+,ÿ
     .*3.,3)10)2*3ÿof*4ÿ;dissolved
12ÿ concentration             2CC*/7,;ÿCsolids
                                            */2;Cÿ
20
     ,&.,,;,;ÿ)the+,ÿ0allowable
14ÿ exceeded
21
                         //*E0J/,ÿ/limitation.
                                      282)0)2*3'ÿÿ
       Z[[\]^_`aÿb
11ÿ Supporting
22
                           _cd`edfÿ
                      Evidence:

      !"2221117<ÿPTFS00023219-20;
15ÿ PTFS00022295,               !"2221514P12$ÿ
23
     %&'ÿ%ÿ
16ÿ Ex.    E) *ÿthe
             to )+,ÿ-,    ./010)2*3ÿ*of4ÿVictor
                      Declaration          52.)*1ÿ
24   6)  ),3ÿ
     Otten
17ÿ
25
     UVgXÿThe+,ÿ(*
18ÿ 508.                :3)Iÿ0alleged
                   County       //,K,;ÿ)that
                                           +0)ÿa0ÿ 508.     UVgXÿ>3     ;2C?:),;'ÿÿ
                                                                     Undisputed.
26
     C08?/,ÿ*of4ÿ)the
    sample         +,ÿliquid
                        /2B:2;ÿE0   C),ÿ)taken
                                 waste     0F,3ÿon*3ÿ
     @01.+ÿ9,<ÿ41970
13ÿ March
27                   32ÿshowed
                          C+*E,;ÿL"a0ÿ
     .*3.,3)10)2*3ÿof*4ÿ;dissolved
19ÿ concentration
28                            2CC*/7,;ÿCsolids
                                            */2;Cÿthat
                                                    )+0)ÿ
                                                         123ÿ
                                                         207
 [\]^ÿ̀abcdefdghcihdjkdlÿÿÿmneop^qrÿs~tac`ÿÿcÿuv           h`w^xÿgcỳsỳbÿÿÿz\{^ÿ̀bbÿn|ÿ̀ttÿÿÿz\{^ÿ}m
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21121ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32462
    ÿ
                                  #:33802



 4ÿ
 1

 1ÿ           OPPOSING     ÿPARTIES'
                                       ÿ
 2                    ÿ
                      ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                     MOVING         ÿ
 5ÿ             ÿ
              UNCONTROVERTED                                       ÿÿ
                                                                 RESPONSE              ÿ
                                                                               AND SUPPORTING
 3
            ÿ
            MATERIAL
 6ÿ SUPPORTING                    FACTSÿ        ÿ
                                                AND                          ÿ
                                                                             EVIDENCE
 4           ÿ                     ÿ
                                     EVIDENCE
 7ÿ
 5
     !"#$%ÿ!exceeds
 8ÿ greatly     &'!!()ÿ#the*!ÿ"allowable
                                    $$+,"-$!ÿ
 6
     $./.#"#.+012ÿThe
    limitation."      3*!ÿ)sample
                              "/4$!ÿform 5+/ÿ.indicated
                                                   0(.'"#!(ÿ
     #*"#ÿ6"Chromium,
 9ÿ that
 7          7*+/.8/9ÿhexavalent"
                              *!&":"$!0#2ÿ,"      was )ÿ
     /!")8!(ÿ"at#ÿ"aÿ'concentration
 3ÿ measured               +0'!0#"#.+0ÿof+5ÿ419.517ÿ
 8

 9ÿ
     4"#)ÿ4per!ÿ/.
    parts             $$.+01ÿ
                   million.

       ;<<=>?@ABÿC
42ÿ Supporting
10
                            @DEAFEGÿ
                       Evidence:

     H3IJ22211179ÿHPTFS00023219-20;
44ÿ PTFS00022295,              3IJ2221514K12Lÿ
11
     M&1ÿMÿ
    Ex.
41ÿ P#
          E#  +ÿthe
             to   #*!ÿN!   '$""#.+0ÿ+of5ÿVictor
                       Declaration             O.'#+ÿ
12      #!0ÿ
     Otten
45ÿ
     QRSTÿU5      #!ÿreceiving
                        !'!.:.0ÿ"aÿ'copy +4%ÿof+5ÿ#the*!ÿ 509.QRSTÿW0  (.)48#!(1ÿÿ
13

46ÿ 509.
14
    notice,
             After
     0+#.'!9ÿ#the*!ÿV$  +-!ÿ4plant
                     Globe      $"0#ÿ/"     0"!ÿ ÿ
                                        manager
                                                                     Undisputed.

     6)#"#!(ÿthat
47ÿ "stated
15             #*"#ÿ*he!ÿ,+    8$(ÿhave
                           would      *":!ÿ(discharge
                                                .)'*"!ÿ
     (.)'+0#.08!(ÿ"at#ÿ+once."
48ÿ discontinued
16
                              0'!12ÿÿ
       ;<<=>?@ABÿC
49ÿ Supporting
17                          @DEAFEGÿ
                       Evidence:

     H3IJ2221115LÿM&
43ÿ PTFS00022293;
18                            Ex.1 ÿMÿ #+ÿ#the*!ÿ
                                     E to
     N!'$""#.+0ÿof+5ÿO.
4ÿ Declaration
19
                              '#+ÿP#
                           Victor        #!0ÿ
                                      Otten

12ÿ 510.
20
     QXRTÿP0 Onÿ    Y"
                    March '*ÿ124,69ÿ41970,
                                        929ÿV$    +-!ÿ 510.
                                               Globe           QXRTÿW0  (.)48#!(1ÿÿ
                                                                     Undisputed.
     )8-/.##!(ÿ"aÿ5formal
14ÿ submitted           +/"$ÿ"application
                                   44$.'"#.+0ÿ#to+ÿthe  #*!ÿ
21
     7+80#%ÿM0
11ÿ industrial
    County           .0!!ÿ5for+ÿ"approval
                Engineer              44+:"$ÿ+of5ÿan"0ÿ
22
     .0(8)#."$ÿ,"      )#!ÿ(disposal
                    waste     .)4+)"$ÿsystem
                                           )%)#!/ÿ#to+ÿbe-!ÿ
     .0)#"$$!(ÿon
15ÿ installed     +0ÿ#the*!ÿProperty
                            H+4!#%ÿ.in0ÿ,*         .'*ÿ
                                               which
     $.Z8.(ÿ,"     )#!ÿ,+   8$(ÿ5flow
                                   $+,ÿinto
                                          .0#+ÿ#the*!ÿ)sewer
                                                        !,!ÿ
23

16ÿ liquid
24
    after
             waste
     "5#!ÿ4passing
                       would
             ")).0ÿ#through
                          *+8*ÿ#two   ,+ÿinterceptors.
                                            .0#!'!4#+)1ÿÿ
17ÿ Supporting
25
       ;<<=>?@ABÿC         @DEAFEGÿ
                       Evidence:
18ÿ
     H3IJ2221116LÿM&          Ex.1 ÿMÿ #+ÿ#the*!ÿ
26

19ÿ PTFS00022294;
27
     N!'$""#.+0ÿof+5ÿO.
    Declaration               '#+ÿP#
                           Victor
                                     E to
                                         #!0ÿ
                                      Otten
13ÿ
28
                                                             123ÿ
                                                             208
 mnopÿrstuvwxvyzu{zv|}v~ÿÿÿwpÿsurÿÿuÿ         zpÿyur rtÿÿÿnpÿrtrÿÿrÿÿÿnpÿ
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21222ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32463
    ÿ
                                  #:33803



 4ÿ
 1

 1ÿ          OPPOSING     ÿPARTIES'
                                    ÿ
 2                   ÿ
                     ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                      MOVING             ÿ
 5ÿ            ÿ
             UNCONTROVERTED                                     ÿÿ
                                                              RESPONSE                           ÿ
                                                                                   AND SUPPORTING
 3
           ÿ
           MATERIAL
 6ÿ SUPPORTING                  FACTSÿ       ÿ
                                             AND                                ÿ
                                                                                EVIDENCE
 4           ÿ                 ÿ
                                  EVIDENCE
 7ÿ
 5
      !ÿ"#
 8ÿ "stated
    511.     The$  ÿ%&'($ÿ)plant
                    Globe      &*+,ÿmanager
                                    -*+*.$/ÿ 511.            !ÿS+        231)5,$2:ÿÿ
                                                                      Undisputed.
 6
     01,*,$2ÿ,that
               #*,ÿ*all&&ÿliquid
                          &34532ÿ6*  1,$ÿ6'
                                  waste         5&2ÿ(be$ÿ ÿ
                                            would
 9
 7ÿ  7'&&$7,$2ÿin3+ÿ3impervious
    collected         -)$/83'51ÿ7containers
                                      '+,*3+$/1ÿand  *+2ÿ
     +',ÿ2discharged
 8ÿ not    317#*/.$2ÿ,to'ÿground
                              ./'5+2ÿ5until
                                          +,3&ÿ1sewer
                                                 $6$/ÿ
 3ÿ
     191,$-ÿ3is1ÿ7completed."
    system          '-)&$,$2:;ÿÿ
      <==>?@ABCÿD         AEFBGFHÿ
 9

42ÿ Supporting
10
                      Evidence:

     I"JK22211135LÿMN
44ÿ PTFS00022293;            Ex.:ÿMÿ,'ÿ,the#$ÿ
                                  E to
     O$7&*/*,3'+ÿof'PÿQ3     7,'/ÿR, ,$+ÿ
11
    Declaration           Victor   Otten
41ÿ
12

     T!ÿR+
45ÿ 512.     Onÿ  UJune
                    5+$ÿ419,3Vÿ1970,
                               4392Vÿ,the#$ÿ                T!ÿO3
                                                            512.      Disputed          +7'-)&$,$:ÿÿ
                                                                         1)5,$2ÿ*as1ÿ3incomplete.
     .'8$/+-$+,ÿ2determined
                        $,$/-3+$2ÿ,that
                                      #*,ÿ%&    '($W1ÿ Supporting
13

46ÿ government
14
     X+251,/3*&ÿ6*
    Industrial        1,$ÿPfacilities
                   waste     *73&3,3$1ÿ6$
                                        were
                                             Globe's
                                             /$ÿ              <==>?@ABCÿD         AEFBGFHÿÿ
                                                                              Evidence:
15   07'+1,/57,$2ÿ*according
47ÿ "constructed         77'/23+.ÿ,to'ÿcleared
                                         7&$*/$2ÿ The       "#$ÿ/referenced
                                                                    $P$/$+7$2ÿ$exhibit
                                                                                     N#3(3,ÿstates
                                                                                                1,*,$1ÿthat
                                                                                                       ,#*,ÿ0"the
                                                                                                                ,#$ÿ
48ÿ  )&*+ 1
    plans.":;ÿÿÿ                                            P*73&3,3$1ÿ7constructed
                                                            facilities     '+1,/57,$2ÿY[to,'ÿ*address
                                                                                                   22/$11ÿ
                                                            %&'($W1ÿ8violation
                                                                          3'&*,3'+ÿ'ofPÿwaste
                                                                                           6*1,$ÿ6*     ,$/ÿ
16

17    <==>?@ABCÿD
49ÿ Supporting             AEFBGFHÿ
                      Evidence:                             Globe's
                                                            231)'1*&ÿ1standards]
                                                            disposal      ,*+2*/21Zÿ6$   were
                                                                                                     water
                                                                                               /$ÿconstructed
                                                                                                  7'+1,/57,$2ÿ
     I"JK22211134LÿMN
4ÿ PTFS00022291;
18                           Ex.:ÿMÿ,'ÿ,the#$ÿ
                                  E to                      *77'/23+.ÿ,to'ÿ7cleared
                                                            according            &$*/$2ÿplans."
                                                                                           )&*+1:;ÿR,     ,$+ÿ
                                                                                                       Otten
     O$7&*/*,3'+ÿof'PÿQ3
43ÿ Declaration              7,'/ÿR,
                          Victor     ,$+ÿ
                                   Otten                    O$7&:VÿMN
                                                            Decl.,     Ex.:
                                                                          ÿMÿ
                                                                           E[   O'7\$,ÿNo.
                                                                               (Docket      ]':ÿ3931-5
                                                                                                     54^7ÿIPage
                                                                                                             *.$ÿ
19
                                                            XOÿ_#-.26406)
                                                            ID      1̀8628aÿ(City
                                                                               [b3,9ÿ'ofPÿKSanta
                                                                                               *+,*ÿJFe$ÿSprings,
                                                                                                         K)/3+.1Vÿ
12ÿ
20                                                          X+251:ÿc*
                                                            Indus.         1,$ÿKSurvey
                                                                       Waste      5/8$9ÿof'Pÿ%&      '($ÿR3
                                                                                                 Globe   Oil& ÿ"'  '&ÿ
                                                                                                                Tool
14ÿ                                                         b':ÿ[(June
                                                            Co.     U5+$ÿ419,3Vÿ41970)).
                                                                                  392aa:ÿHowever,
                                                                                             d'6$8$/Vÿ,the#$ÿ
21
                                                            /$P$/$+7$2ÿ)plans
                                                            referenced        &*+1ÿ6$were/$ÿ'only+&9ÿput
                                                                                                      )5,ÿ3into
                                                                                                            +,'ÿ
11ÿ
22                                                          )&*7$ÿ*after
                                                            place      P,$/ÿ%&  '($ÿ6*
                                                                            Globe     was1   ÿ'ordered
                                                                                                /2$/$2ÿto,'ÿ0"cease
                                                                                                              7$*1$ÿ
15ÿ                                                         *+2ÿ2desist"
                                                            and      $131,;ÿfrom
                                                                             P/'-ÿ2discharging
                                                                                       317#*/.3+.ÿliquid
                                                                                                       &34532ÿ
23
                                                            6*1,$ÿ,to'ÿground
                                                            waste        ./'5+2ÿ,that #*,ÿ7contained
                                                                                              '+,*3+$2ÿ
16ÿ
24                                                          2311'&8$2ÿ1solids
                                                            dissolved       '&321ÿ,that
                                                                                     #*,ÿ"greatly
                                                                                           0./$*,&9ÿ
17ÿ                                                         $N7$$2Y$2Zÿ,the#$ÿ*allowable
                                                            exceed[ed]              &&'6*(&$ÿlimitation."
                                                                                                   &3-3,*,3'+:;ÿ
25
                                                            efgÿ*at,ÿIPage
                                                            Id.        *.$ÿXID#:26401-03
                                                                              O_1̀8624^25ÿ(Cnty.    [b+,9:ÿ'ofPÿi'
                                                                                                                 Los1ÿ
18ÿ
26                                                          j+.$&$1VÿO$
                                                            Angeles,          ),:ÿ'ofPÿCnty.
                                                                          Dept.        b+,9:ÿM+      .W/Vÿ]'
                                                                                                 Eng'r,        ,37$ÿ
                                                                                                           Notice
19ÿ                                                         'PÿQ3
                                                            of      '&*,3'+ÿkÿ
                                                               Violation       & R/
                                                                                  Order2$/ÿ,to'ÿb'    -)&9ÿ,to'ÿ
                                                                                                 Comply
27
                                                            %&'($ÿR3
                                                            Globe      Oil&
                                                                          ÿ"'
                                                                           Tools'&1ÿb'
                                                                                     Co.: ÿ[(Mar.
                                                                                             l*/:ÿ120,2Vÿ41970)).
                                                                                                            392aa:ÿÿ
1ÿ
28
                                                         123ÿ
                                                         209
 \]^_ÿabcdefgehidjieklemÿÿÿnofpq_rsÿtub}daÿÿdÿvw
                                               idx_yÿhdzatzacÿÿÿ{]|_ÿac}ÿo~ÿauuÿÿÿ{]|_ÿn
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21323ofof277
                                                          Page         87 Page
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                                  #:32464
    ÿ
                                  #:33804



 2ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                     ÿPLAINTIFFS'
                                                             MOVING             ÿ
 4ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE                          ÿ
                                                                          AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                     ÿ
                                                                       EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
 5

 7ÿ                                               !"#ÿ$%
                                                  Globe      Oilÿ  &conducted
                                                                     !'()&*#(ÿtooling
                                                                                   *!!%'+ÿ,and  '(ÿ-heat
                                                                                                      #,*ÿ
 6
                                                  *.#,*%'+ÿ!of/ÿ!oil%ÿtools,
                                                  treating              *!!01ÿ"bits,
                                                                                   %*01ÿ,and
                                                                                           '(ÿ(device,
                                                                                                #2%&#1ÿ
 8ÿ
 7                                                3,')/,&*).%'+ÿ-hundreds
                                                  manufacturing            )'(.#(0ÿ!of/ÿdevices
                                                                                            (#2%&#0ÿ,and '(ÿ
 9ÿ                                               4%#&#0ÿ!of/ÿ#equipment
                                                  pieces            5)%43#'*ÿ#each  ,&-ÿ3!    '*-6ÿId.
                                                                                           month.   789ÿ,at*ÿ
 8
                                                  ;,+#ÿ<ID#:26406
                                                  Page       =>?17537ÿ@(City A%*Bÿ!of/ÿCSanta
                                                                                           ,'*,ÿFe
                                                                                                 D#ÿ
 9ÿ                                               C4.%'+01ÿ<Industrial
                                                  Springs,       '()0*.%,ÿE,   Waste 0*#ÿCSurvey
                                                                                            ).2#Bÿof!/ÿ
23ÿ                                               !"#ÿ$%
                                                  Globe      Oilÿ  F!  !ÿA!
                                                                    Tool   Co.6ÿ@(June
                                                                                  G)'#ÿ219,1ÿ21970)).
                                                                                                  83HH6ÿ
10
                                                  F-#ÿ3#
                                                  The         *,ÿ-heat
                                                          metal      #,*ÿ*treating
                                                                           .#,*%'+ÿoperations
                                                                                       !4#.,*%!'0ÿ
22ÿ
11                                                +#'#.,*#(ÿI,
                                                  generated            0*#I,*#.ÿ-heavily
                                                                   wastewater          #,2%Bÿ
21ÿ                                               &!'*,3%',*#(ÿI%
                                                  contaminated             *-ÿ-hexavalent
                                                                        with     #J,2,#'*ÿ
12
                                                  &-.!3%)36ÿ7Id.89ÿ,at*ÿ;Page
                                                  chromium.                   ,+#ÿID#:26402
                                                                                     <=>?17531ÿ
24ÿ
13                                                @A'*B6ÿ!of/ÿK!
                                                  (Cnty.          Los0 ÿL'  +##01ÿDept.
                                                                        Angeles,       =#4*6ÿ!of/ÿA'
                                                                                                  Cnty.*B6ÿ
25ÿ                                               M'+N.1ÿ<Industrial
                                                  Eng'r,      '()0*.%,ÿE,   Waste 0*#ÿDivision,
                                                                                        =%2%0%!'1ÿ
14
                                                  A-#3%&,ÿL'
                                                  Chemical             ,B0%01ÿGJob
                                                                  Analysis,        !"ÿNo.
                                                                                        O!6ÿ43240.10
                                                                                               153623ÿ
26ÿ
15                                                @P,.6ÿ217,81ÿ21970));
                                                  (Mar.               83HHQÿsee
                                                                             RSSÿTalsoURVÿ;Pis.'
                                                                                             06NÿRFJN,
                                                                                                 WDGO1ÿ
27ÿ                                               MJ6ÿ934ÿ@(City
                                                  Ex.          A%*Bÿof!/ÿCSanta
                                                                            ,'*,ÿDFe#ÿCSprings,
                                                                                           4.%'+01ÿ
16
                                                  <'()0*.%,ÿE,
                                                  Industrial      Waste0*#ÿ=%   04!0,ÿPermit
                                                                            Disposal       ;#.3%*ÿ
28ÿ
17                                                L44%&,*%!'ÿ(May
                                                  Application         @P,Bÿ218,91ÿ1970))
                                                                                    283HHÿ@(Docket
                                                                                                =!&X#*ÿ
29ÿ
18                                                O!6ÿ903-97).
                                                  No.       34Y8H6ÿÿÿ
2ÿ                                                !"#ÿ$%
                                                  Globe      Oilÿ  )used
                                                                     0#(ÿ,aÿ(degreaser
                                                                              #+.#,0#.ÿand  ,'(ÿ0steam
                                                                                                   *#,3ÿ
                                                  &#,'#(ÿ'newly  #IBÿ3,      ')/,&*).#(ÿ4parts  ,.*0ÿ,and
                                                                                                        '(ÿ
19

13ÿ
20
                                                  cleaned
                                                  #5)%43#'*1ÿwhich
                                                  equipment,
                                                                          manufactured
                                                                     I-%&-ÿ&created
                                                                                .#,*#(ÿI,     0*#ÿ
                                                                                           waste
12ÿ                                               0*.#,30ÿ&contaminated
                                                  streams        !'*,3%',*#(ÿI%      with*-ÿhazardous
                                                                                            -,Z,.(!)0ÿ
                                                  0)"0*,'&#06ÿ[,          #'Z)#,ÿ$4        4N'ÿ=#   &61ÿ
21

11ÿ
22
                                                  substances.
                                                  Ex.
                                                                     Valenzuela
                                                  MJ6ÿ98,1ÿ,at*ÿ7667ÿ(Docket
                                                                     @=!&X#*ÿO!   No.6
                                                                                       Opp'n
                                                                                        ÿ949-35)
                                                                                           5Y46Hÿ
                                                                                                 Decl.,

14ÿ
23                                                @M'2*6ÿL)
                                                  (Envtl.          (%*1ÿ<Inc.,
                                                              Audit,      '&61ÿCSupplemental
                                                                                  )44#3#'*,ÿ
15ÿ                                               C)"0)./,&#ÿ<Investigation
                                                  Subsurface          '2#0*%+,*%!'ÿ@(Mar.  P,.6ÿ43,1ÿ21997)8Hÿ
24
                                                  ,*ÿ43);HQÿ$*
                                                  at           *#'ÿ=#
                                                            Otten        &61ÿMJ
                                                                     Decl.,   Ex.6  ÿMÿ @=!&X#*ÿO!
                                                                                     E (Docket      No.6 ÿ
16ÿ
25                                                  42Y61ÿat,*ÿ>#26406)
                                                  931-5,            17537Hÿ@(City
                                                                               A%*Bÿof!/ÿCSanta
                                                                                             ,'*,ÿDFe#ÿ
17ÿ                                               C4.%'+01ÿ<Industrial
                                                  Springs,       '()0*.%,ÿE,   Waste 0*#ÿCSurvey
                                                                                            ).2#Bÿof!/ÿ
26
                                                  !"#ÿ$%
                                                  Globe      Oilÿ  F!  !ÿA!
                                                                    Tool   Co.6ÿ@(June
                                                                                  G)'#ÿ219,1ÿ21970)).
                                                                                                  83HH6ÿ
18ÿ
27                                                F-%0ÿI,
                                                  This         0*#ÿ)undoubtedly
                                                           waste      '(!)"*#(Bÿ%included '&)(#(ÿ
19ÿ
28
                                                  &-!.%',*#(ÿ0solvents,
                                                  chlorinated         !2#'*01ÿ+given %2#'ÿ*the
                                                                                             -#ÿcommon
                                                                                                 &!33!'ÿ
                                               123ÿ
                                               210
 TUVWÿYZ[\]^_]`a\ba]cd]eÿÿÿfg^hiWjkÿlwmZx\Yÿÿ\ÿno
                                               abpWqÿ̀\rYlrY[ÿÿÿsUtWÿY[\ÿguÿYmmÿÿÿsUtWÿvf
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21424ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #:32465
    ÿ
                                  #:33805



 2ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                     ÿPLAINTIFFS'
                                                             MOVING                ÿ
 3ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE              AND SUPPORTING ÿ
 3
          ÿ
          MATERIAL
 4ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                     ÿ
                                                                       EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 5ÿ
 5

 6ÿ                                               !"#ÿ$of%ÿ&those
                                                  usage           '$#ÿsolvents
                                                                           $()#*&ÿ+in*ÿ&the'#ÿ,#  metal&!(ÿ
 6
                                                  %!-.+/!&+*"ÿ+industry
                                                  fabricating        *0&.1ÿ0during    .+*"ÿthe
                                                                                               &'#ÿ2pertinent
                                                                                                      #.&+*#*&ÿ
 7ÿ
 7                                                &+,#3ÿÿ
                                                  time.
 8ÿ
 8
                                                  4%&#.ÿ21970,
                                                  After       975ÿ&the'#ÿwaste
                                                                           6!&#ÿstreams  &.#!, ÿ6# were  .#ÿ.run
                                                                                                               *ÿ
 9ÿ                                               &'.$"'ÿ2permeable
                                                  through         #.,#!-(#ÿ/concrete $*/.#&#ÿor$.ÿ-brick
                                                                                                      .+/7ÿ
                                                   -.%!/#ÿ/clarifiers,
                                                                     (!.+%+#.5ÿunits   *+&ÿnow
                                                                                              *$6ÿ7known *$6*ÿ
 9

2ÿ
10
                                                  subsurface
                                                  &$ÿ/commonly
                                                  to     $,,$*(1ÿ.result #(&ÿin+*ÿsubsurface
                                                                                          -.%!/#ÿ
22ÿ                                               .#(#!#5ÿ&to$ÿsettle
                                                  releases,           #&&(#ÿout
                                                                              $&ÿsolids$(+0ÿbefore
                                                                                                -#%$.#ÿ
                                                  -#+*"ÿ0discharged
                                                              +/'!."#0ÿ&to$ÿthe    &'#ÿ2public
                                                                                            -(+/ÿsewer
                                                                                                     #6#.ÿ
11

21ÿ
12
                                                  being
                                                   1&#,3ÿValenzuela
                                                  system.       8!(#*9#(!ÿ:2     Opp'n  2;*ÿ<#   /(35ÿ=>
                                                                                               Decl.,     Exs.3   ÿ
23ÿ                                               85ÿat!&ÿ6666ÿ?(Docket
                                                  8,             <$/7#&ÿ@$   No.3    ÿ949-35)
                                                                                      949A35Bÿ?(Envtl.
                                                                                                   =*)&(3ÿ
                                                  40+&5ÿCInc.,*/35ÿDSupplemental
                                                                       22(#,#*&!(ÿSubsurface D-.%!/#ÿ
13

24ÿ
14
                                                  Audit,
                                                  C*)#&+"!&+$*ÿ(Mar.
                                                  Investigation         ?E!.3ÿ33,5ÿ21997) 997Bÿat!&ÿ33),B5ÿ44,5ÿ!at&ÿ
25ÿ                                               18ÿ(Docket
                                                  28    ?<$/7#&ÿ@$  No.3  ÿ9949-31)
                                                                              49A32Bÿ(AIG  ?4CFÿ
                                                  G$*(&!*&5ÿCInc.,     */35ÿHPhase
                                                                                  '!#ÿ12ÿ=Envtl.*)&(3ÿ
15

26ÿ
16
                                                  Consultants,
                                                  4 # ,#*&ÿ?(June
                                                  Assessment           I*#ÿ330,1994) 5ÿ2994Bÿat!&ÿ218).
                                                                                                      8B3ÿ
27ÿ                                               D#6#.ÿ2pipes
                                                  Sewer         +2#ÿ,!made 0#ÿ$of%ÿvitrified
                                                                                       )+&.+%+#0ÿ/clay,
                                                                                                    (!15ÿ&the  '#ÿ
                                                  /$,,$*ÿmaterial ,!&#.+!(ÿused#0ÿ0during .+*"ÿthe
                                                                                                   &'#ÿ#early
                                                                                                            !.(1ÿ
17

28ÿ
18
                                                  common
                                                  !*0ÿ,+
                                                  and         00(#ÿ2part
                                                         middle        !.&ÿof$%ÿ&the'#ÿ120th&'ÿ/century.
                                                                                                 #*&.15ÿ
29ÿ                                               !($ÿ+invariably
                                                  also     *)!.+!-(1ÿ(leak,#!75ÿeither#+&'#.ÿ&through
                                                                                                '.$"'ÿ
                                                  /.!/75ÿ2pipe   +2#ÿJjoints,
                                                                       $+*&5ÿor$.ÿsimply +,2(1ÿ)via+!ÿ
19

1ÿ
20
                                                  cracks,
                                                  #>%+(&.!&+$*3ÿKSeeLLÿE
                                                  exfiltration.             Mutch &/'ÿN#      2$.&5ÿ!at&ÿ5-9
                                                                                          Report,         5A9ÿ&to$ÿ
12ÿ                                               5A225ÿ55-30
                                                  5-11,       A3ÿ?(Docket
                                                                    <$/7#&ÿ@$     No.3   ÿ903-204
                                                                                          93A14ÿHPage      !"#ÿ
                                                  C<ÿO#:25356-58,
                                                          P15356A585ÿ125377). 5377B3ÿF+       )#*ÿthe
                                                                                                    &'#ÿ
21

11ÿ
22
                                                  ID
                                                  2#.,#!-+(+&1ÿ$of%ÿ&these
                                                  permeability              '##ÿunits
                                                                                           Given
                                                                                         *+&ÿ!and
                                                                                                *0ÿ
13ÿ
23                                                +*%.!&./&.#5ÿ/contaminated
                                                  infrastructure,          $*&!,+*!&#0ÿ6!        waste&#ÿ
14ÿ                                               6!&#.ÿcarried
                                                  water     /!..+#0ÿ&through
                                                                         '.$"'ÿ&those  '$#ÿsystems
                                                                                                 1&#, ÿ+isÿ
24
                                                  )+.&!((1ÿ/certain
                                                  virtually       #.&!+*ÿ&to$ÿreach
                                                                                 .#!/'ÿ&the'#ÿ
15ÿ
25                                                #*)+.$*,#*&3ÿQId.RSÿ
                                                  environment.
16ÿ
26                                                C*ÿMarch
                                                  In  E!./'ÿ21970, 975ÿF(      $-#ÿ:+
                                                                            Globe        Oil(ÿwas
                                                                                              6!ÿ+issued  #0ÿ!aÿ
17ÿ                                               @$&+/#ÿ$of%ÿ8+
                                                  Notice             $(!&+$*ÿ%for$.ÿ0discharging
                                                                  Violation                +/'!."+*"ÿ
27

18ÿ                                               +*0&.+!(ÿ6!
                                                  industrial      waste &#ÿ&to$ÿthe
                                                                                &'#ÿ"ground.
                                                                                          .$*03ÿ:& Otten&#*ÿ
28                                                <#/(35ÿ=>
                                                  Decl.,     Ex.3 ÿ=ÿ
                                                                   E?  <$/7#&ÿNo.
                                                                      (Docket          @$3ÿ9931-5,
                                                                                               32A55ÿ!at&ÿ
                                               122ÿ
                                               211
 fghiÿklmnopqorsntsouvowÿÿÿxypz{i|}ÿ~lnkÿÿnÿ      ssiÿrnk~kmÿÿÿgiÿkmtÿyÿkÿÿÿgiÿx
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21525ofof277
                                                          Page         87 Page
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                                  #:32466
    ÿ
                                  #:33806



 2ÿ
 1

 1ÿ          OPPOSING  ÿPARTIES'
                                ÿ
 2                  ÿ
                   ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                    MOVING           ÿ
 3ÿ            ÿ
             UNCONTROVERTED                                   ÿÿ
                                                            RESPONSE                       ÿ
                                                                                AND SUPPORTING
 3
           ÿ
           MATERIAL
 4ÿ SUPPORTING              FACTSÿ       ÿ
                                          AND                                ÿ
                                                                             EVIDENCE
 4           ÿ              ÿ
                               EVIDENCE
 5ÿ
 5

 6ÿ                                                       1642 1!ÿ"(Los
                                                          #26401-02)         #$%ÿ&'   ()*)%ÿ+'
                                                                                  Angeles          ,-./ÿ0)
                                                                                               Cnty.,       1,.ÿ
                                                                                                         Dept.
 6
                                                          $2ÿ+'
                                                          of     ,-.ÿ3'
                                                             Cnty.        (45/ÿ6$
                                                                       Eng'r,      ,78)ÿof$2ÿ97
                                                                                Notice           $*:,7$'ÿ;ÿ
                                                                                              Violation     &
 7ÿ
 7                                                        <5=)5ÿ,to$ÿ+$
                                                          Order            >1*-ÿ"(Mar.
                                                                       Comply      ?:5.ÿ20,1/ÿ21970)
                                                                                                   97!ÿ;ÿ &
 8ÿ                                                       +',-.ÿ$of2ÿ#$
                                                          Cnty.        Los%ÿAngeles,
                                                                             &'()*)%/ÿ0)      1,.ÿ$of2ÿCnty.
                                                                                          Dept.        +',-.ÿ
 8
                                                          3'(45/ÿ@Industrial
                                                          Eng'r,     '=A%,57:*ÿB:Waste%,)ÿDivision,
                                                                                            07C7%7$'/ÿ
 9ÿ
 9                                                        +D)>78:*ÿ&'
                                                          Chemical           :*-%7%/ÿEJob
                                                                         Analysis,     $FÿNo.
                                                                                            6$.ÿ33240.10
                                                                                                    14.2ÿ
2ÿ                                                        "?:5.ÿ217,7/ÿ21970)).
                                                          (Mar.           97!!.ÿThe
                                                                                  GD)ÿ=discharge
                                                                                           7%8D:5()ÿ
10
                                                          7'8*A=)=ÿ5rinse
                                                          included      7'%)ÿH:   ,)5ÿ2from
                                                                               water    5$>ÿthe,D)ÿDheat-
                                                                                                       ):,
22ÿ
11                                                        ,5):,7'(ÿ$operations
                                                          treating      1)5:,7$'%ÿ8containing
                                                                                      $',:7'7'(ÿ
21ÿ                                                       D)I:C:*)',ÿ8chromium
                                                          hexavalent       D5$>7A>ÿ:at,ÿ19.529.5ÿ1parts
                                                                                                      :5,%ÿ1per)5ÿ
12
                                                          >7**7$'/ÿ:aÿ*level
                                                          million,       )C)*ÿ9975,000
                                                                                 75/ ÿtimes ,7>)%ÿDhigher
                                                                                                       7(D)5ÿ
23ÿ
13                                                        ,D:'ÿ,theD)ÿ8current
                                                          than          A55)',ÿlevel
                                                                                *)C)*ÿ8considered
                                                                                          $'%7=)5)=ÿ
24ÿ                                                       15$,)8,7C)ÿ7in'ÿ(groundwater.
                                                          protective          5$A'=H:,)5.ÿJId.K.ÿat:,ÿ
14
                                                          1641ÿ"(Cnty.
                                                          #26402       +',-.ÿ$of2ÿ#$
                                                                                  Los%  ÿAngeles,
                                                                                         &'()*)%/ÿ0)      1,.ÿ$of2ÿ
                                                                                                       Dept.
25ÿ
15                                                        +',-.ÿ3'
                                                          Cnty.        (45/ÿ@Industrial
                                                                  Eng'r,      '=A%,57:*ÿWaste
                                                                                          B:%,)ÿ07      C7%7$'/ÿ
                                                                                                     Division,
26ÿ                                                       +D)>78:*ÿ&'
                                                          Chemical           :*-%7%/ÿEJob
                                                                         Analysis,     $FÿNo.
                                                                                            6$.ÿ33240.10
                                                                                                    14.2ÿ
16
                                                          "?:5.ÿ217,7/ÿ21970));
                                                          (Mar.           97!!Lÿ?A Mutch,8DÿReport,
                                                                                             M)1$5,/ÿ:at,ÿ77-77ÿ
27ÿ
17                                                        "0$8N),ÿ6$
                                                          (Docket      No..ÿ9903-204
                                                                               314ÿPage  O:()ÿ@ID0ÿ
28ÿ
18                                                        P1541!.ÿ
                                                          #•.25420).

29ÿ 513.
19
     QRSTÿ<'Onÿ   &A(A%,ÿ123,1971,
                  August    3/ÿ2972/ÿ,the D)ÿ+7 ,-ÿ$of2ÿ513.
                                             City         QRSTÿe'       =7%1A,)=.ÿÿ
                                                                    Undisputed.
     U:',:ÿVFe)ÿUSprings
1ÿ Santa
20                157'(%ÿ7issued
                           %%A)=ÿIndustrial
                                   @'=A%,57:*ÿ ÿ
     B:%,)ÿ07
12ÿ Waste        %1$%:*ÿPermit
             Disposal   O)5>7,ÿ6$ No.. ÿ44485
                                          485ÿ,to$ÿ
21
     W*$F)ÿ,to$ÿ=discharge
    Globe         7%8D:5()ÿ7into
                             ',$ÿthe
                                  ,D)ÿ%sewer
                                          )H)5ÿ
     H:%D=$H'ÿand
11ÿ washdown
22                 :'=ÿH:  %,)%ÿ2from
                       wastes     5$>ÿ
     >:'A2:8,A57'(ÿ:and
13ÿ drilling
    manufacturing       '=ÿ1processing
                             5$8)%%7'(ÿoil  $7*ÿH)
                                                well**ÿ
23
     =57**7'(ÿ,tools.
                $$*%.ÿÿ
14ÿ
24
      XYYZ[\]^_ÿ`
15ÿ Supporting
25
                       ]ab^cbdÿ
                     Evidence:

     OGVU 11188LÿEx.
16ÿ PTFS00022288;        3I.ÿ3ÿ
                              E,  $ÿthe
                                 to  ,D)ÿ
26
     0)8*:5:,7$'ÿof$2ÿ97
    Declaration          8,$5ÿ<,
                       Victor      ,)'ÿ
                               Otten
17ÿ
27

18ÿ
28
                                                       121ÿ
                                                       212
 jklmÿopqrstusvwrxwsyzs{ÿÿÿ|}t~mÿproÿÿrÿwmÿvrooqÿÿÿkmÿoqwÿ}ÿoÿÿÿkmÿ|
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed
                                  #:32467
                                             04/29/21
                                          Filed 05/02/22Page 21626ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID

    ÿ
                                  #:33807



 2ÿ
 1

 1ÿ           OPPOSING    ÿPARTIES'
                                     ÿ
 2                   ÿ
                    ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                     MOVING                ÿ
 3ÿ             ÿ
              UNCONTROVERTED                                      ÿÿ
                                                                RESPONSE                          ÿ
                                                                                    AND SUPPORTING
 3
           ÿ
           MATERIAL
 4ÿ SUPPORTING                   FACTSÿ      ÿ
                                             AND                                ÿ
                                                                                EVIDENCE
 4           ÿ                  ÿ
                                   EVIDENCE
 5ÿ
 5
     !"ÿ#
 6ÿ 514.      $ÿ1972,
             In  2971%ÿ&'      ((')*ÿD.+,ÿ-Palley
                          William            )((./ÿ)and
                                                     $0ÿ 514. !"ÿV$     0'9;62.0,ÿÿ
                                                                     Undisputed.
 6
     +.1.$0)$2ÿ&'
    Defendant           ((')*ÿK.3,ÿ-Palley
                    William           )((./ÿ)acquired
                                                456'7.0ÿ ÿ
 7
 7ÿ  28.ÿ-Patsouras
    the    )29:67)9ÿProperty
                        -7:;.72/ÿ1from7:*ÿRucker.
                                             <64=.7,ÿÿ
     #$ÿ1973,
         2973%ÿ+.
 8ÿ obtained
    In               1.$0)$2ÿWilliam
                Defendant        &'((')*ÿ3,  K.ÿ -)((./ÿ
                                                 Palley
 8
     :>2)'$.0ÿ9sole:(.ÿownership
                        :?$.798';ÿ:of1ÿ2the 8.ÿ
     ;7:;.72/,ÿÿ
 9ÿ property.
 9

2ÿ Supporting
10
        @AABCDEFGÿH      EIJFKJLÿ
                      Evidence:
22ÿ FAG
11
     MNOÿPÿ345;
              345QÿREx.S,ÿNÿA2   :ÿthe
                                to 28.ÿ+.   4()7)2':$ÿ
                                        Declaration
21ÿ of:1ÿT'
12         42:7ÿU2
         Victor      2.$ÿ
                  Otten
23ÿ
     "ÿ+6      7'$Wÿ-Palley's
                          )((./X9ÿ:ownership,
                                      ?$.798';%ÿthe 28.ÿ 515. "ÿ+'                      $4:*;(.2.,ÿ
                                                                        9;62.0ÿ)as9ÿ'incomplete.
13

24ÿ 515.
14
             During
     -7:;.72/ÿ?) was9 ÿ:occupied
                         446;'.0ÿby>/ÿ)aÿ
                                                                     Disputed
    Property
     W:Y.7$*.$2ÿ9surplus
25ÿ government
15                     67;(69ÿ:order
                                   70.7ÿ8house,
                                           :69.%ÿby             @AABCDEFGÿH
                                                   >/ÿ Supporting                   EIJFKJLÿÿ
                                                                               Evidence:
     '$06927')(ÿ)auctioneers,
26ÿ company,
    industrial      642':$..79%ÿ>by/ÿ)aÿpaper
                                           ;);.7ÿbox
                                                   >:Sÿ Palley's
                                                              -)((./X9ÿ6use9.ÿ:of1ÿ2the  -7:;.72/ÿ?)
                                                                                     8.ÿProperty        was9 ÿ$not:2ÿ
16
     4:*;)$/%ÿand  )$0ÿ>by/ÿ)aÿplastic
                                 ;()92'4ÿ                     9'*;(/ÿ)as9ÿ)aÿ"government
                                                                             ^W:Y.7$*.$2ÿ9surplus     67;(69ÿorder
                                                                                                               :70.7ÿ
17   7.;7:4.99'$Wÿ>business.
27ÿ reprocessing         69'$.99,ÿÿ                           simply
                                                              8:69.,_ÿInstead,
                                                              house."  #$92.)0%ÿ2this 8'9ÿ>business
                                                                                                69'$.99ÿ'involved
                                                                                                           $Y:(Y.0ÿ
28ÿ Supporting
18      @AABCDEFGÿH      EIJFKJLÿ                            8/07)6('49ÿand
                                                              hydraulics    )$0ÿ8hydraulic
                                                                                     /07)6('4ÿ.equipment
                                                                                                      56';*.$2ÿ
29ÿ Los
                      Evidence:
                                                              *)'$2.$)$4.%ÿ)aircraft,
                                                              maintenance,         '747)12%ÿWgovernment
                                                                                                   :Y.7$*.$2ÿ
19
     Z:9ÿN$   W.(.9ÿ<.
          Angeles          W':$)(ÿWater
                       Regional      &)2.7ÿQuality            967;(69%ÿ)and
                                              [6)('2/ÿ surplus,           $0ÿ?)     7.8:69'$W,ÿT)
                                                                               warehousing.              (.$`6.()ÿ
                                                                                                      Valenzuela
     \:)70ÿLetter,
1ÿ Board
20           Z.22.7%ÿ]Jan.
                         )$,ÿ44,%ÿ2017,
                                   127%ÿRS Ex.,ÿ\ÿ            U;;X$ÿ+.
                                                   2:ÿ2the8.ÿOpp'n
                                                B to                      4(,%ÿRS
                                                                     Decl.,     Exs. 9,ÿ99,%ÿat)2ÿ777-78
                                                                                                    7a78ÿb(Docket
                                                                                                           +:4=.2ÿ
     +.4()7)2':$ÿof:1ÿT'
12ÿ Declaration               42:7ÿU2
                         Victor        2.$ÿ
                                    Otten                     c:,ÿ9949-36)
                                                              No.   49a36dÿb(Envtl.
                                                                                R$Y2(,ÿN6   Audit,0'2%ÿInc.,
                                                                                                       #$4,%ÿ
21
                                                              e6**)7/ÿ:of1ÿeSite
                                                              Summary             '2.ÿAssessments
                                                                                      N99.99*.$29ÿ(Mar.    bf)7,ÿ
11ÿ
22                                                            1 9d%ÿ)at2ÿ21-2),
                                                              2009),        a1d%ÿ214,4%ÿ)at2ÿ140-142
                                                                                             24a241ÿb(Docket
                                                                                                           +:4=.2ÿ
13ÿ                                                           c:,ÿ9949-41)
                                                              No.   49a42dÿb(W. &,ÿ-Palley
                                                                                        )((./ÿDep. +.;,ÿ120:9-21:5,
                                                                                                             g9a12g5%ÿ
23
                                                              69g29a13d,ÿ
                                                              69:19-23).
14ÿ
24
     h"ÿU$
15ÿ 516.     Onÿ   f)
                   May /ÿ218,8%ÿ1988,
                                2988%ÿ2the8.ÿeSanta
                                               )$2)ÿMFe.ÿ 516.h"ÿV$     0'9;62.0,ÿ
                                                                     Undisputed.
     e;7'$W9ÿMFire'7.ÿ+.   ;)72*.$2ÿissued
                                        '996.0ÿ)aÿ
25

16ÿ Springs
26
    notice
                      Department
     $:2'4.ÿ:of1ÿYviolation
                   ':()2':$ÿ)alleging
                                 ((.W'$Wÿthat     :'(ÿ
                                           28)2ÿ^"oil
17ÿ 1  7:*ÿ21ÿclarifiers
     from     4()7'1'.79ÿ9spilled
                              ;'((.0ÿ:out62ÿonto
                                            :$2:ÿ
     f)92.7ÿ\:     SÿO:
                      Co., ÿ)access/loading
                              44.99i(:)0'$Wÿ)area."
                                                  7.),_ÿÿ
27

18ÿ Master
28
              Box

                                                            123ÿ
                                                            213
 ijklÿnopqrstruvqwvrxyrzÿÿÿ{|s}~lÿoqnÿÿqÿ          vlÿuqnnpÿÿÿjlÿnpÿ|ÿnÿÿÿjlÿ{
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21727ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32468
    ÿ
                                  #:33808



 2ÿ
 1

 1ÿ          OPPOSING    ÿPARTIES'   ÿ
 2                   ÿ
                    ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                     MOVING              ÿ
 4ÿ             ÿ
              UNCONTROVERTED                                     ÿÿ
                                                               RESPONSE                        ÿ
                                                                                  AND SUPPORTING
 3
            ÿ
            MATERIAL
 3ÿ SUPPORTING                    FACTSÿ       ÿ
                                               AND                             ÿ
                                                                               EVIDENCE
 4           ÿ             EVIDENCEÿ
 5ÿ
 5
        !"#$%&ÿ'
 6ÿ Supporting
 6                        $()%*)+ÿ
                      Evidence:

     ,-. 897/ÿ,0
 7ÿ EAI00897,
 7                  Ex.1 ÿ2Fÿto34ÿ3the56ÿ76  89:;:3<4=ÿ4of>ÿ
                                         Declaration
     ?<834;ÿ@3
 8ÿ Victor
 8
                  36=ÿ
              Otten

     ABCDÿ@=
 9ÿ 517.
 9           Onÿ   E:Fÿ219,9/ÿ1988,
                   May           2988/ÿ3the56ÿGSanta
                                                 :=3:ÿ2Fe6ÿ 517.
                                                             ABCDÿS=      M<JHL36M1ÿ
                                                                     Undisputed.
     GH;<=IJÿ2Fire
2ÿ Springs        <;6ÿ76   H:;3K6=3ÿissued
                      Department           <JJL6Mÿ:aÿ
10
     =43<86ÿ4of>ÿNviolation
    notice         <49:3<4=ÿ:alleging
                                  996I<=Iÿ3that5:3ÿtwo
                                                   3O4ÿ
     :P:=M4=6Mÿclarifiers
22ÿ abandoned
11                  89:;<><6;Jÿ8contained
                                       4=3:<=6Mÿ
     Q6086JJ<N6ÿ4oil<9ÿ:and
21ÿ "excessive
12                        =Mÿgrease."
                                I;6:J61Rÿÿ
        !"#$%&ÿ'
24ÿ Supporting
13                        $()%*)+ÿ
                      Evidence:

     ,-. 896/ÿ,0
23ÿ EAI00896,
14                  Ex.1 ÿ2Fÿto34ÿ3the56ÿ76  89:;:3<4=ÿ4of>ÿ
                                         Declaration
     ?<834;ÿ@3
25ÿ Victor
15                36=ÿ
              Otten

26ÿ 518.
16
     ABTDÿU    :996FÿMdisposed
             Palley    <JH4J6Mÿ4of>ÿwaste  O:J36ÿ>from
                                                    ;4Kÿ 518.ABTDÿ7<     JHL36MÿPbecause
                                                                     Disputed        68:LJ6ÿ3the 56ÿcited
                                                                                                    8<36Mÿ
     356ÿ8clarifiers
27ÿ the
17         9:;<><6;Jÿ:and
                       =Mÿdrums
                             M;LKJÿ:and    =Mÿ3the
                                                56ÿ evidence 6N<M6=86ÿMdoes 46Jÿ=not43ÿsupport
                                                                                       JLHH4;3ÿ3the56ÿJstatement
                                                                                                          3:36K6=3ÿ
     89:;<><6;JÿO6
28ÿ clarifiers       ;6ÿJsubsequently
                  were     LPJ6VL6=39Fÿ                      :=Mÿ<incomplete.
                                                             and   =84KH96361ÿÿÿ
18
     :P:=M4=6MW<=WH9:86ÿPbyFÿ>filling
    abandoned-in-place                   <99<=Iÿwith
                                                 O<35ÿ Supporting
                                                                !"#$%&ÿ'        $()%*)+ÿÿ
19   86K6=31ÿÿ
29ÿ cement.                                                                   Evidence:

1ÿ Supporting
20
        !"#$%&ÿ'        $()%*)+ÿ                           ]56ÿ8cited
                                                             The    <36Mÿ:authority     M46Jÿ=not43ÿJstate
                                                                            L354;<3Fÿdoes              3:36ÿthat
                                                                                                             35:3ÿ
12ÿ AIG
                      Evidence:
                                                             U:996FÿMdisposed
                                                             Palley     <JH4J6Mÿ4of>ÿwaste
                                                                                        O:J36ÿ>from
                                                                                                  ;4Kÿthe356ÿ
21
     -.XÿY4    =JL93:=3J/ÿ.Inc.
           Consultants,         =81ÿPhase
                                       U5:J6ÿ.Iÿ             89:;<><6;Jÿ:and
                                                             clarifiers    =MÿMdrums—unless
                                                                                 ;LKJ_L=96JJÿ̀6            a;4H<:ÿ
                                                                                                       Kekropia
     ,=N<;4=K6=3:9ÿGSite
11ÿ Environmental
22                          <36ÿ-JAssessment,         L=6ÿ is<Jÿreferring
                                        J6JJK6=3/ÿZJune         ;6>6;;<=Iÿ3to4ÿUPalley's
                                                                                  :996FbJÿcriminal
                                                                                              8;<K<=:9ÿ
     4/ÿ21994,
           993/ÿp.H1ÿ18;
14ÿ PTFS00024804);
    30,              28[ÿ(PTFS00024775-
                           \U]2G 13775W prosecution          H;4J68L3<4=ÿin<=ÿZJuly
                                                                                  L9Fÿ21988
                                                                                          988ÿ>for4;ÿ<illegally
                                                                                                       996I:99Fÿ
23
     U]2G 1383^[ÿEx.         ,01ÿYÿ    C3to4ÿthe
                                             356ÿ            3;:=JH4;3<=Iÿ:and
                                                             transporting       =MÿMdisposing
                                                                                      <JH4J<=Iÿof4>ÿ5hazardous
                                                                                                          :c:;M4LJÿ
     7689:;:3<4=ÿof4>ÿ?<
13ÿ Declaration
24                           834;ÿ@3
                         Victor           36=ÿ
                                       Otten                 O:J361ÿ@3
                                                             waste.       36=ÿ76
                                                                      Otten        891/ÿ,Ex.01ÿYÿ
                                                                               Decl.,             \748a63ÿd4
                                                                                               C (Docket      No.1 ÿ
15ÿ                                                          942W4ÿUPage
                                                             931-3      :I6ÿ.ID7ÿ#:26257)
                                                                                 ef16157^ÿ\(AIG  -.Xÿ
25
                                                             Y4=JL93:=3J/ÿ.Inc.,
                                                             Consultants,       =81/ÿUPhase
                                                                                        5:J6ÿ.IÿEnvtl.
                                                                                                  ,=N391ÿGSite
                                                                                                             <36ÿ
16ÿ
26                                                           -JJ6JJK6=3ÿ\(June
                                                             Assessment        ZL=6ÿ430,1994),
                                                                                          /ÿ2993^/ÿat:3ÿ219.91ÿIn.=ÿ
17ÿ                                                          2987/ÿ3the56ÿY4
                                                             1987,            L=3Fÿ4of>ÿLos
                                                                           County         g4JÿAngeles
                                                                                                -=I696Jÿ
27
                                                             76H:;3K6=3ÿ4of>ÿh6
                                                             Department               :935ÿServices
                                                                                 Health      G6;N<86Jÿ>filed
                                                                                                           <96Mÿ:aÿ
18ÿ
28                                                           8;<K<=:9ÿ8complaint
                                                             criminal      4KH9:<=3ÿ:against
                                                                                          I:<=J3ÿPalley
                                                                                                   U:996Fÿ
                                                           123ÿ
                                                           214
 QRSTÿVWXYZ[\Z]^Y_^Z`aZbÿÿÿcd[efTghÿiujWvYVÿÿYÿkl
                                               ^imTnÿ]YoVioVXÿÿÿpRqTÿVXrÿdsÿVjjÿÿÿpRqTÿtc
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21828ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32469
    ÿ
                                  #:33809



 2ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                    ÿPLAINTIFFS'
                                                            MOVING                 ÿ
 4ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE                          ÿ
                                                                            AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                      ÿ
                                                                        EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 3ÿ
 5

 6ÿ                                               !!"#$%ÿ&owner
                                                  Supply's         '()*ÿ+for&*ÿ,-     .(/-.(.(0ÿtwo
                                                                                  maintaining          /'&ÿ
 6
                                                  %1%*+-2)ÿ%structures
                                                  subsurface          /*2/*)%ÿ2containing
                                                                                      &(/-.(.(0ÿa-ÿblack    1"-23ÿ
 7ÿ
 7                                                &."#ÿ"liquid
                                                  oily    .4.5ÿ*resembling
                                                                    )%),1".(0ÿ'-      waste%/)ÿoil.
                                                                                                 &."6ÿ
 8ÿ                                               7-")(8)"-ÿ9!
                                                  Valenzuela        Opp'n  !$(ÿ:)   2"6;ÿ<=
                                                                                 Decl.,    Ex.6 ÿ8,8;ÿ-at/ÿ6666ÿ
 8
                                                  >:&23)/ÿ?&
                                                  (Docket       No.6  ÿ9949-35)
                                                                          59@43Aÿ(Envtl.
                                                                                    ><(B/"6ÿCAudit,    5./;ÿ
 9ÿ
 9                                                D(26;ÿSupplemental
                                                  Inc.,       !!"),)(/-"ÿSubsurface 1%*+-2)ÿ
2ÿ                                                D(B)%/.0-/.&(ÿ(Mar.
                                                  Investigation          >E-*6ÿ43,;ÿ21997),
                                                                                       997A;ÿ-at/ÿ3). 4A6ÿCÿ A
10
                                                  #)-*ÿ"later,
                                                  year     -/)*;ÿ&on(ÿE- May  #ÿ18,
                                                                                 28;ÿ21988,
                                                                                       988;ÿ-an(ÿ
22ÿ
11                                                .(%!)2/.&(ÿ*report
                                                  inspection        )!&*/ÿ(noted &/)5ÿ/that
                                                                                         F-/ÿ/the
                                                                                                F)ÿ
21ÿ                                               -1-(5&()5ÿclarifiers
                                                  abandoned         2"-*.+.)*%ÿ')  were*)ÿ+filled
                                                                                              ."")5ÿ'. with /Fÿ
12
                                                  /*-%Fÿand
                                                  trash    -(5ÿ&oil,.";ÿ-and
                                                                          (5ÿthat
                                                                               /F-/ÿ5during
                                                                                         *.(0ÿ-aÿ
24ÿ
13                                                *-.(%/&*,;ÿ"industrial
                                                  rainstorm,       G.(5%/*.-"ÿwaste" '-%/)Hÿwas  '-%ÿ
25ÿ                                               &B)*+"&'.(0ÿ-and
                                                  overflowing            (5ÿ5discharging
                                                                                .%2F-*0.(0ÿ/to&ÿthe   /F)ÿ
14
                                                  %/*))/6ÿIId.;
                                                  street.     J6KÿLPis.'
                                                                     "%6$ÿMNRFJN,O?;ÿ<=
                                                                                      Ex.6   ÿ101
                                                                                              22ÿ>(Docket
                                                                                                       :&23)/ÿ
23ÿ
15                                                ?&6ÿ9903-105)
                                                  No.       4@23Aÿ>(Inspection
                                                                           D(%!)2/.&(ÿM)        2&*5ÿ+for&*ÿ
                                                                                            Record
26ÿ                                               P-"2&ÿLPlastics,
                                                  Talco       "-%/.2%;ÿMay E-#ÿ218,8;ÿ1988).
                                                                                        2988A6ÿÿPalleyL-"")#ÿ
16
                                                  *)2).B)5ÿ/two
                                                  received        '&ÿ,& more *)ÿ(notices
                                                                                   &/.2)%ÿof&+ÿBviolation
                                                                                                     .&"-/.&(ÿ
27ÿ
17                                                &(ÿ/theF)ÿ%same
                                                  on          -,)ÿday,5-#;ÿ&one()ÿ+for&*ÿexcessive
                                                                                          )=2)%%.B)ÿ
28ÿ                                               '-%/)ÿ.in(ÿ/two
                                                  waste           '&ÿabandoned
                                                                        -1-(5&()5ÿ2clarifiers
                                                                                            "-*.+.)*%ÿ-and   (5ÿ
18
                                                  -(&/F)*ÿ(notice
                                                  another        &/.2)ÿ&of+ÿviolation
                                                                              B.&"-/.&(ÿfor   +&*ÿ&overflow
                                                                                                      B)*+"&'ÿ
29ÿ
19                                                +from
                                                    *&,ÿa-ÿ%sump ,!ÿ-and  (5ÿ/two
                                                                                '&ÿabandoned
                                                                                    -1-(5&()5ÿ
1ÿ                                                2"-*.+.)*%;ÿ5due)ÿto/&ÿ-aÿ!plugged
                                                  clarifiers,                     "00)5ÿsewer %)')*ÿline, ".();ÿ
20

12ÿ
                                                  /F-/ÿ'-
                                                  that  was%   ÿ5discharging
                                                                  .%2F-*0.(0ÿto/&ÿ0ground *&(5ÿ-at/ÿ/the    F)ÿ
21                                                !*&!)*/#$%ÿ-access
                                                  property's        22)%%ÿ-and   (5ÿ"loading
                                                                                      &-5.(0ÿarea.  -*)-6ÿ
11ÿ                                               9!!$(ÿMN
                                                  Opp'n      RFJN,O?;ÿ<=     %6ÿ17,
                                                                          Exs.   27;ÿ-at/ÿ2141
                                                                                             52ÿ>(Docket
                                                                                                    :&23)/ÿ
22

14ÿ                                               ?&6ÿ9949-19)
                                                  No.      59@29Aÿ>(SFSFD,
                                                                         NN:;ÿ?&   Notice/.2)ÿof&+ÿ
23                                                7.&"-/.&(ÿNo.
                                                  Violation       ?&6ÿ7745ÿ>(MayE-#ÿ218,8;ÿ1988)),
                                                                                              2988AA;ÿ218,8;ÿ
15ÿ                                               -/ÿ2142
                                                  at   51ÿ>(Docket
                                                              :&23)/ÿ?&     No.6 ÿ949-20)
                                                                                  959@1Aÿ>(SFSFD,NN:;ÿ
24

13ÿ                                               ?&/.2)ÿ&of+ÿ7.
                                                  Notice              &"-/.&(ÿ?&
                                                                  Violation       No.6 ÿ75
                                                                                         73ÿ>(May
                                                                                                E-#ÿ218,8;ÿ
25                                                2988A6ÿÿ
                                                  1988).
16ÿ
26
                                                  D(5%/*.-"ÿ'-
                                                  Industrial      waste %/)ÿ+from
                                                                              *&,ÿsteam
                                                                                     %/)-,ÿ2cleaning
                                                                                                 ")-(.(0ÿ
17ÿ
27                                                &!)*-/.&(%ÿby
                                                  operations       1#ÿLPalley
                                                                            -"")#ÿ'-was% ÿdischarged
                                                                                           5.%2F-*0)5ÿ/to&ÿ
18ÿ
28
                                                  /F)ÿ%sanitary
                                                  the     -(./-*#ÿsewer
                                                                      %)')*ÿ/through
                                                                                 F*&0Fÿ&one()ÿor&*ÿ,&     more *)ÿ
                                               123ÿ
                                               215
 STUVÿXYZ[\]^\_`[a`\bc\dÿÿÿef]ghVijÿkvlYw[Xÿÿ[ÿmn
                                               l_oVpÿ_[qXkqXZÿÿÿrTsVÿXZkÿftÿXllÿÿÿrTsVÿue
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 21929ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #:32470
    ÿ
                                  #:33810



 2ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                     ÿPLAINTIFFS'
                                                             MOVING                   ÿ
 4ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE                AND SUPPORTING ÿ
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                      ÿ
                                                                        EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
 5

 3ÿ                                               !"#$#%"&ÿ'that
                                                  clarifiers        (!'ÿ(had!)ÿ*been %%+ÿpresent
                                                                                            ,"%&%+'ÿ-on+ÿ'the (%ÿ
 6
                                                  ,"-,%"'.ÿ&since
                                                  property          #+%ÿ/Globe -*%ÿ0#   Oilÿ  1--&ÿ
                                                                                              Tools
 7ÿ
 7                                                -,%"!'%)ÿ'there.
                                                  operated          (%"%2ÿ3!        %+45%!ÿ6%
                                                                           Valenzuela             Dec.,27ÿEx._9,
                                                                                                           892:97ÿ
 8ÿ                                               !'ÿ777-78
                                                  at   7;78ÿ<(Environmental
                                                                    8+=#"-+>%+'!ÿ?5               )#'7ÿ@Inc.,
                                                                                              Audit,       +27ÿ
 8
                                                  A5>>!".ÿ-of$ÿSite
                                                  Summary               A#'%ÿ?&       &%&&>%+'&7ÿB!
                                                                                Assessments,            Mar.  "2ÿ
 9ÿ
 9                                                1 97ÿ!at'ÿ21-2).
                                                  2009,             ;1C2ÿDClarifiers
                                                                              !"#$#%"&ÿleak   %!Eÿ!and+)ÿ!are"%ÿ
2ÿ                                                ->>-+ÿsources
                                                  common           &-5"%&ÿ-of$ÿgroundwater
                                                                                      F"-5+)G!'%"ÿ
10
                                                  -+'!>#+!'#-+2ÿHSeeIIÿB5
                                                  contamination.                     Mutch '(ÿJ%    ,-"'7ÿJan.
                                                                                                 Report,      K!+2ÿ
22ÿ
11                                                257ÿ12021,
                                                  14,        127ÿ!at'ÿ12-6,
                                                                        ;37ÿ43-5.  ;62ÿÿ
21ÿ
12
                                                  1(#&ÿ&statement
                                                  This      '!'%>%+'ÿ#is&ÿfurther
                                                                                $5"'(%"ÿ)disputed
                                                                                                #&,5'%)ÿ'to-ÿthe'(%ÿ
24ÿ                                               %9'%+'ÿ#it'ÿ&suggests
                                                  extent            5FF%&'&ÿthat '(!'ÿLPalley
                                                                                            !%.ÿproperly
                                                                                                     ,"-,%".ÿ
                                                  !+)ÿ$fully
                                                           5.ÿ"remediated
                                                                     %>%)#!'%)ÿ!allÿsources  &-5"%&ÿ-of$ÿ
13

25ÿ
14
                                                  and
                                                  -+'!>#+!'#-+ÿfrom
                                                  contamination           $"->ÿ'the    (%ÿProperty—this
                                                                                             L"-,%"'.M'(#&ÿ
26ÿ                                               #&ÿ+not-'ÿ'the(%ÿcase.
                                                  is                 !&%2ÿ@In+ÿ!addition
                                                                                    ))#'#-+ÿ'to-ÿ12ÿ*brick"#Eÿ
                                                  !"#$#%"&ÿG(         #(ÿG%       "%ÿ(historically
                                                                                           #&'-"#!.ÿ5used    &%)ÿ
15

23ÿ
16
                                                  clarifiers
                                                  '-ÿ&store
                                                  to   '-"%ÿG!
                                                                    which
                                                                     &'%ÿoil
                                                                 waste
                                                                             were
                                                                          -#ÿ!and   +)ÿsolvents
                                                                                         &-=%+'&ÿ!at'ÿ'the  (%ÿ
27ÿ                                               L"-,%"'.7ÿ'there
                                                  Property,          (%"%ÿ!are"%ÿalso
                                                                                    !&-ÿ43ÿNA  USTs1&ÿon-+ÿ'the(%ÿ
                                                  L"-,%"'.M-+%ÿ-of$ÿG(                 #(ÿis#&ÿ+not-'ÿ
17

28ÿ
18
                                                  Property—one
                                                  "%F#&'%"%)ÿ!and
                                                  registered
                                                                                 which
                                                                      +)ÿ"regulatory
                                                                           %F5!'-".ÿ!agencies    F%+#%&ÿG%   were "%ÿ
29ÿ                                               +-'ÿaware
                                                  not  !G!"%ÿ-of$ÿits#'&ÿ,presence.
                                                                                "%&%+%2ÿ3!           %+45%!ÿ
                                                                                                Valenzuela
                                                  0,,O+ÿ6%          27ÿ89
                                                                        Ex.2   ÿ4,57ÿ!at'ÿ127-28
                                                                                            7;18ÿ<(Docket
                                                                                                      6-E%'ÿ
19

1ÿ
20
                                                  Opp'n
                                                  P-2ÿ9949-31)
                                                  No.
                                                              Decl.,
                                                           59;42Cÿ<(AIG ?@/ÿD-           +&5'!+'&7ÿInc.,
                                                                                    Consultants,         @+27ÿ
12ÿ                                               L(!&%ÿ@Iÿ8+
                                                  Phase              =#"-+>%+'!ÿSite
                                                                 Environmental              A#'%ÿ?&    &%&&>%+'ÿ
                                                                                                  Assessment
                                                  <K5+%ÿ430,1994),7ÿ2995C7ÿ!at'ÿ17-18).
                                                                                    27;28C2ÿ1(        %"%ÿG!was&   ÿ
21

11ÿ
22
                                                  (June
                                                  +-ÿ)documentation
                                                  no      -5>%+'!'#-+ÿ-of$ÿthe
                                                                                                 There
                                                                                        '(%ÿcondition
                                                                                               -+)#'#-+ÿ-of$ÿ
14ÿ
23                                                '(%ÿclarifiers
                                                  the      !"#$#%"&ÿ-or"ÿsurrounding
                                                                             &5""-5+)#+Fÿ&soil       -#ÿbefore
                                                                                                          *%$-"%ÿ
15ÿ                                               '(%.ÿG%
                                                  they    were   "%ÿ!abandoned
                                                                      *!+)-+%)ÿ#in+ÿ,place      !%ÿor-"ÿ-of$ÿ'the(%ÿ
24
                                                  5+"%F#&'%"%)ÿNA
                                                  unregistered          UST  1ÿ!and  +)ÿ&surrounding
                                                                                            5""-5+)#+Fÿsoil   &-#ÿ
16ÿ
25                                                '(!'ÿ"remains
                                                  that     %>!#+&ÿ-on+ÿ'the   (%ÿProperty.
                                                                                     L"-,%"'.2ÿQId.R2ÿat!'ÿ430ÿ
13ÿ                                               <?@/ÿD-
                                                  (AIG            +&5'!+'&7ÿ@Inc.,
                                                            Consultants,             +27ÿLPhase
                                                                                              (!&%ÿI@ÿ
26
                                                  8+=#"-+>%+'!ÿASite
                                                  Environmental               #'%ÿ?&       &%&&>%+'ÿ<(June
                                                                                      Assessment           K5+%ÿ
17ÿ
27                                                47ÿ2995C7ÿ!at'ÿ120).C2ÿ
                                                  30,1994),
18ÿ
28
                                               123ÿ
                                               216
 Z[\]ÿ_àbcdecfgbhgcijckÿÿÿlmdno]pqÿr}s`~b_ÿÿbÿtu
                                               sav]wÿfbx_rx_aÿÿÿy[z]ÿ__fÿm{ÿ_ssÿÿÿy[z]ÿ|l
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22030ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #:32471
    ÿ
                                  #:33811



 2ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                   ÿPLAINTIFFS'
                                                           MOVING                 ÿ
 4ÿ           ÿ
            UNCONTROVERTED                            ÿÿ
                                                    RESPONSE              AND SUPPORTING ÿ
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                     ÿ
                                                                       EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
 5

 7ÿ                                                !"ÿ"statement
                                                  This    #$#%&%'#ÿ(fails $!)"ÿ#to*ÿrecognize
                                                                                       +%,*-'!.%ÿ#the%ÿ
 6
                                                  ,*'#$&!'$#!*'ÿcaused
                                                  contamination          ,$/"%0ÿ1by2ÿthe    #%ÿ12ÿ,clarifiers
                                                                                                     )$+!(!%+"ÿ
 3ÿ
 7                                                1%(*+%ÿ3(and
                                                  before    $'0ÿ$after)
                                                                      (#%+4ÿ#they%2ÿwere
                                                                                       5%+%ÿ
 8ÿ                                               6/+6*+#%0)2ÿ"abandoned
                                                  purportedly       7$1$'0*'%0ÿ!in'ÿplace."    6)$,%89ÿIn:'ÿ$an'ÿ
 8
                                                  ;/-/"#ÿ18,
                                                  August    28<ÿ21988988ÿletter,
                                                                            )%##%+<ÿ#the%ÿ=*      /'#2ÿof*(ÿ
                                                                                               County
 9ÿ
 9                                                >*"ÿ;'
                                                  Los       -%)%"ÿ?%
                                                       Angeles            6$+#&%'#ÿof*(ÿ@%
                                                                      Department                    $)#ÿ
                                                                                                Health
2ÿ                                                %A6+%""%0ÿ-great
                                                  expressed        +%$#ÿ,concern
                                                                            *',%+'ÿ"over   7*B%+ÿ6potential
                                                                                                     *#%'#!$)ÿ
10
                                                  6+*1)%&"ÿwith
                                                  problems      5!#ÿ#two  5*ÿ%existing
                                                                                   A!"#!'-ÿ
22ÿ
11                                                /'0%+-+*/'0ÿstorage
                                                  underground         "#*+$-%ÿ"structures
                                                                                      #+/,#/+%"ÿlocated
                                                                                                    )*,$#%0ÿ
21ÿ                                               *'ÿ#the%ÿ5%
                                                  on       west "#ÿ"section
                                                                      %,#!*'ÿ*of(ÿthe #%ÿ"site.
                                                                                              !#%8ÿWe
                                                                                                   C%ÿhave$B%ÿ
12
                                                  *1"%+B%0ÿ#two
                                                  observed       5*ÿ1brick
                                                                         +!,Dÿ"clarifiers"
                                                                                 7,)$+!(!%+"9ÿbuilt 1/!)#ÿ
24ÿ
13                                                6+!*+ÿWorld
                                                  prior   C*+)0ÿC$   War+  ÿ:II:ÿwhich
                                                                                 5 !,ÿ6possibly*""!1)2ÿ
25ÿ                                               ,*'#$!'EFÿ5$
                                                  contain[]     waste"#%ÿ*oil!)ÿor*+ÿ$aÿ"similar
                                                                                           !&!)$+ÿ&$   #%+!$)ÿ
                                                                                                    material
14
                                                  C%ÿ$also
                                                  We     )"*ÿ(feel
                                                                %%)ÿthat
                                                                      #$#ÿ#these %"%ÿ"structures
                                                                                          #+/,#/+%"ÿhave$B%ÿ
26ÿ
15                                                )*'-ÿ"since
                                                  long    !',%ÿ)lost
                                                                   *"#ÿ#their
                                                                           %!+ÿintegrity
                                                                                   !'#%-+!#2ÿ#to*ÿ
27ÿ                                               5!# *)0ÿany
                                                  withhold      $'2ÿ*of(ÿits!#"ÿcontents."
                                                                                 ,*'#%'#"89ÿPis.' G)"8Hÿ
16
                                                  IJKL<ÿMA
                                                  RFJN,     Ex.8 ÿ8873ÿ3(Docket
                                                                         ?*,D%#ÿNo.    L*8ÿ9903-91)
                                                                                                 4N924ÿ
23ÿ
17                                                3>8;8ÿ=*
                                                  (L.A.        /'#2ÿ?@O
                                                          County        DHSÿ     >%   ##%+ÿto#*ÿ=8
                                                                                 Letter         C.ÿ OSjoberg
                                                                                                      P*1%+-ÿ
28ÿ                                               3;/-8ÿ218,1988)).
                                                  (Aug.     8<ÿ2988448ÿThese   %"%ÿ1brick   +!,Dÿ,clarifiers
                                                                                                    )$+!(!%+"ÿ
18
                                                  6+%N0$#%0ÿ#the%ÿ,connection
                                                  pre-dated              *''%,#!*'ÿ*of(ÿthe     #%ÿ
29ÿ
19                                                6+*6%+#2ÿ#to*ÿ#the%ÿsewer
                                                  property               "%5%+ÿ"system 2"#%&ÿin!'ÿ21970
                                                                                                      93ÿ
1ÿ                                                $'0ÿ0discharged
                                                  and    !",$+-%0ÿ#to*ÿlagoons )$-**'"ÿ6present+%"%'#ÿon*'ÿ
20

12ÿ
                                                  #%ÿGProperty.
                                                  the    +*6%+#28ÿÿ
                                                  QRRÿS/    #,ÿI%                      N13ÿ#to*ÿ7-28
                                                                        6*+#<ÿ$at#ÿ37-27         3N18ÿ
21

11ÿ
22
                                                  See  Mutch
                                                  3?*,D%#ÿL*
                                                  (Docket      No.8
                                                                   Report,
                                                                    ÿ9903-204
                                                                          4N15ÿPage  G$-%ÿ:ID#:25440-
                                                                                                ?TU1655N
14ÿ
23                                                5248ÿL*
                                                  41).  Noÿ   &%   $'!'-(/)ÿ!investigation
                                                              meaningful            'B%"#!-$#!*'ÿof*(ÿ#the%ÿ
15ÿ                                               +*)%ÿ#the%ÿ)lagoons
                                                  role         $-**'"ÿhad$0ÿ/upon     6*'ÿthe #%ÿ'nature
                                                                                                    $#/+%ÿ
24
                                                  $'0ÿ%extent
                                                  and    A#%'#ÿ*of(ÿ#the%ÿcontamination
                                                                            ,*'#$&!'$#!*'ÿ*of(ÿ#the%ÿ
16ÿ
25                                                G+*6%+#2ÿ5$
                                                  Property     was"   ÿ%ever
                                                                         B%+ÿ,completed.
                                                                                 *&6)%#%08ÿId.    VWXÿThe%ÿ
17ÿ                                               )$-**'"ÿhave
                                                  lagoons       $B%ÿ1been%%'ÿ6present
                                                                                   +%"%'#ÿon  *'ÿ#the%ÿ
26
                                                  G+*6%+#2ÿ(from
                                                  Property      +*&ÿat$#ÿ)least
                                                                              %$"#ÿ1938
                                                                                      2948ÿ-Yÿ1973,
                                                                                                 2934<ÿ1but.
                                                                                                           /#<ÿ
13ÿ
27                                                !'%A6)!,$1)2<ÿhave
                                                  inexplicably,          $B%ÿ'never%B%+ÿbeen1%%'ÿa$ÿmajor
                                                                                                     &$P*+ÿ
18ÿ
28
                                                  (*,/"ÿ*of(ÿ!investigation.
                                                  focus        'B%"#!-$#!*'8ÿId.       VW8ÿ
                                               123ÿ
                                               217
 ijklÿnopqrstruvqwvrxyrzÿÿÿ{|s}~lÿoqnÿÿqÿ      nlÿuqnnpÿÿÿjlÿnnpÿ|ÿnÿÿÿjlÿ{
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22131ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #:32472
    ÿ
                                  #:33812



 2ÿ
 1

 1ÿ           OPPOSINGÿPARTIES'
                               ÿ
 2                ÿ
                  ALLEGEDLY                                          ÿPLAINTIFFS'
                                                                    MOVING              ÿ
 4ÿ             ÿ
              UNCONTROVERTED                                   ÿÿ
                                                             RESPONSE                        ÿ
                                                                                  AND SUPPORTING
 3
            ÿ
            MATERIAL
 5ÿ SUPPORTING             FACTSÿ         ÿ
                                          AND                                  ÿ
                                                                               EVIDENCE
 4            ÿ     EVIDENCE ÿ
 6ÿ
 5

 7ÿ                                                        ÿNovember
                                                         On    !"#$%&$'ÿ28,      13(ÿ21995,
                                                                                       996(ÿ)the
                                                                                               *$ÿLos
                                                                                                   +",ÿ
 6
                                                          - .$/$,ÿCounty
                                                         Angeles        0"1)2ÿ3Fire  4'$ÿ5$  67')%$)ÿ
                                                                                         Department
 8ÿ
 7                                                        "'8$'$8ÿ9$
                                                         ordered           :'"647ÿ)to"ÿ"determine
                                                                       Kekropia         ;8$)$'%4$ÿ)the*$ÿ
 3ÿ                                                         7)1'$(ÿconcentration,
                                                         nature,      <"<$)'7)4"(ÿ7and8ÿthe     )*$ÿ#vertical
                                                                                                        $')4<7/ÿ
 8
                                                          78ÿ/lateral
                                                         and      7)$'7/ÿ$extent
                                                                             =)$)ÿ"of>ÿcontamination"
                                                                                        <")7%47)4"?ÿ
 9ÿ
 9                                                        78ÿ,submit
                                                         and      1&%4)ÿ7aÿ"site
                                                                               ;,4)$ÿ<characterization
                                                                                       *7'7<)$'4@7)4"ÿ
2ÿ                                                        6/7?ÿby&2ÿ)the*$ÿ$end8ÿof">ÿ5$
                                                         plan"                             <$%&$'(ÿnoting
                                                                                       December,          ")4.ÿ
10
                                                          )*7)ÿ)there
                                                         that     *$'$ÿ*had78ÿbeen
                                                                                &$$ÿ;"releases"
                                                                                        '$/$7,$,?ÿat7)ÿ)the *$ÿ
22ÿ
11                                                        A'"6$')2BÿAPis.'
                                                         Property.         /,BCÿD3   E!(ÿEx.
                                                                                 RFJN,    F=Bÿ3845ÿG(Docket
                                                                                                     5"<:$)ÿ
21ÿ                                                       !"Bÿ9903-88)
                                                         No.         4H33IÿG(T.JBÿ9/  4.$'(ÿSupervisor,
                                                                                   Klinger,    K16$'#4,"'(ÿ
12
                                                          +",ÿ-Angeles
                                                         Los          .$/$,ÿ0"     1)2ÿ3Fire
                                                                               County     4'$ÿDept.,
                                                                                               5$6)B(ÿL$      7/)*ÿ
                                                                                                          Health
24ÿ
13                                                       /MÿL7  @N7)ÿ54
                                                            HazMat           #B(ÿLetter
                                                                          Div.,   +$))$'ÿ)to"ÿ+B
                                                                                              L.ÿA7),"1'7,(ÿ
                                                                                                 Patsouras,
25ÿ
14                                                        9$:'"647ÿG(Nov.
                                                         Kekropia          !"#Bÿ128,3(ÿ1995)).
                                                                                       2996IIBÿÿ
26ÿ                                                       J*$ÿ+"
                                                         The      Los, ÿ-Angeles
                                                                            .$/$,ÿ0"    1)2ÿFire
                                                                                    County     34'$ÿ
                                                          5$67')%$)ÿ<concluded "</18$8ÿ)that *7)ÿ)the
                                                                                                   *$ÿ
15

27ÿ
16
                                                         Department
                                                          /"<7)4",ÿof">ÿ<clarifiers
                                                         locations             /7'4>4$',ÿand
                                                                                         78ÿ7aÿ,storage
                                                                                                   )"'7.$ÿ
28ÿ                                                       ,*$8ÿ"onÿthe
                                                         shed          )*$ÿ$eastern
                                                                               7,)$'ÿ6parcel
                                                                                        7'<$/ÿof">ÿ)the*$ÿ
                                                          A7),"1'7,ÿAProperty
                                                                            '"6$')2ÿO$    '$ÿimpacted
                                                                                              4%67<)$8ÿO4       )*ÿ
17

23ÿ
18
                                                         Patsouras
                                                          #"/7)4/$ÿ"organic
                                                         volatile
                                                                                       were
                                                                         '.74<ÿcompounds,
                                                                                   <"%6"18,(ÿsuch   ,1<*ÿ7as,ÿ
                                                                                                              with

29ÿ                                                       A0Fÿ7and8ÿJ0F(
                                                         PCE             TCE,ÿ   7and8ÿneeded
                                                                                        $$8$8ÿ)to"ÿ&be$ÿ
                                                          '$%$847)$8BÿPSeeQQÿAPis.' /,BCÿD3   E!(ÿF=
                                                                                                   Ex.B  ÿ9921ÿ
19

1ÿ
20
                                                         remediated.
                                                          G5"<:$)ÿ!"
                                                         (Docket        No.B ÿ9903-96)
                                                                                         RFJN,
                                                                                  4H97Iÿ(Los
                                                                                         G+",ÿ-Angeles
                                                                                                     .$/$,ÿ
12ÿ                                                       0"1)2ÿ3Fire
                                                         County          4'$ÿDept.,
                                                                             5$6)B(ÿN$     %"'781%ÿ(Jan.
                                                                                       Memorandum            GE7Bÿ
                                                          9(ÿ21996),
                                                               997I(ÿ7at)ÿ1-2).
                                                                             2H1IBÿ
21

11ÿ
22
                                                         9,

14ÿ 519.
23   RSTUÿV  Inÿ2995(ÿ-V
                1994, AIGWÿFEnvironmental
                                 #4'"%$)7/ÿ 519.          RSTUÿZ         84,61)$8ÿ)the*$ÿ<cited
                                                                    Undisputed              4)$8ÿdocument
                                                                                                 8"<1%$)ÿ
     0",1/)7),ÿperformed
15ÿ Consultants    6$'>"'%$8ÿ7aÿAPhase  *7,$ÿIVÿ includes 4</18$,ÿ)the*$ÿquoted
                                                                             [1")$8ÿ/language
                                                                                        7.17.$ÿ&but1)ÿ
24
     F #4'"%$)7/ÿKSite
16ÿ Property.
    Environmental      4)$ÿ-,    ,$,,%$)ÿ"of>ÿthe
                            Assessment             )*$ÿ mischaracterizes
                                                          %4,<*7'7<)$'4@$,ÿ)the*$ÿ$evidence
                                                                                          #48$<$ÿand  78ÿ
25   A'"6$')2BÿÿAIG
                 -VWÿ<concluded
                       "</18$8ÿthat     )*7)ÿ;"the        4%%7)$'47/Bÿÿ
                                               )*$ÿ immaterial.
     .'$7)$,)ÿ6potential
17ÿ greatest    ")$)47/ÿ'risk
                          4,:ÿto)"ÿ)the*$ÿsubject
                                          ,1&X$<)ÿ Supporting
26
     6'"6$')2?ÿO7
18ÿ than
    property"    was,
                    ÿthe
                     )*$ÿ)total
                           ")7/ÿof">ÿ4378ÿ,sites   $,,ÿ \]]^_`abcÿd
                                            4)$,ÿ/less                            aefbgfhÿÿ
                                                                              Evidence:
     )*7ÿYÿmile
              %4/$ÿaway
                   7O72ÿwhose
                          O*",$ÿ6potential
                                        ")$)47/ÿoff-
                                                  ">>H The
                                           4%67<)$8ÿ byJ*     $ÿ,statement
                                                                   )7)$%$)ÿ4is,ÿnecessarily
                                                                                     $<$,,7'4/2ÿ[qualified
                                                                                                     17/4>4$8ÿ
27
     ,4)$ÿ<contamination
            ")7%47)4"ÿ%7      2ÿ*have7#$ÿimpacted
             VA

13ÿ site
28                         may
                                                          &2ÿ)the*$ÿ>failure
                                                                      74/1'$ÿ"of>ÿAIG
                                                                                   -VWÿ)to"ÿ4investigate
                                                                                                #$,)4.7)$ÿ
                                                       123ÿ
                                                       218
 bcdeÿghijklmknojpokqrksÿÿÿtulvwexyÿz{hjgÿÿjÿ|}   {~eÿnjgzgiÿÿÿceÿgggÿuÿg{{ÿÿÿceÿt
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22232ofof277
                                                          Page         87 Page
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                                  #:32473
    ÿ
                                  #:33813



 2ÿ
 1

 1ÿ            OPPOSING  ÿPARTIES'
                                   ÿ
 2                  ÿ
                    ALLEGEDLY                                    ÿPLAINTIFFS'
                                                                MOVING                 ÿ
 4ÿ              ÿ
               UNCONTROVERTED                              ÿÿ
                                                         RESPONSE                           ÿ
                                                                                AND SUPPORTING
 3
             ÿ
             MATERIAL
 5ÿ SUPPORTING                 FACTSÿ   ÿ
                                        AND                               ÿ
                                                                          EVIDENCE
 4            ÿ              ÿ
                                 EVIDENCE
 6ÿ
 5
     !ÿ"Property,
 7ÿ the     #$%!#&'ÿ(and
                       )*ÿAIG
                            +,-ÿ(also
                                   ./$ÿ               $!#ÿ/sources
                                                      other     $E#0!/ÿof$5ÿ%potential
                                                                                   $!)2(.ÿ
     #!0$11!)*!*ÿ(additional
                          **22$)(.ÿ2investigation
                                      )3!/24(2$)ÿ contamination.
                                                      0$)(12)(2$)6ÿKThe!ÿ+,                 (//!//1!)ÿ
                                                                                          -ÿassessment
 6
    recommended                                                                        AIG
 8
 7ÿ  $5ÿthe!ÿ"Property
    of          #$%!#&ÿitself.
                         2/!.56ÿÿ                    /%!02520(..&ÿ2identified
                                                      specifically       *!)252!*ÿ)numerousE1!#$E/ÿother$!#ÿ
 9ÿ Supporting
       7889:;<=>ÿ?       <@A=BACÿ                    %$!)2(.ÿ/sources
                                                      potential      $E#0!/ÿ$of5ÿcontamination
                                                                                       0$)(12)(2$)ÿ
 8                   Evidence:                        J2)0.E*2)4ÿthe!ÿEunregistered
                                                      (including                )#!42/!#!*ÿUST, RGK'ÿ
 3ÿ AIG
 9
     +, -ÿ  D$  ) /
                  E.()  /'ÿ,)06ÿ"  (/!ÿ
                                        ,
                                        Iÿ
                                                      %$!)2(..&ÿhazardous
                                                      potentially       (S(#*$E/ÿ1(           !#2(./ÿ2in)ÿ
                                                                                          materials
            Consultants,
     F)32#$)1!)(.ÿGSite
2ÿ Environmental
                             Inc.
                           2!ÿ+/
                                  Phase
                                  /!//1!)'ÿHJune     /$#(4!ÿ0containers
                                              E)!ÿ located
                                                      storage      $)(2)!#/ÿ(and     )*ÿ655-gallon
                                                                                            6T4(..$)ÿ*drums #E1/ÿ
10                             Assessment,
     4'ÿ2335'ÿ%p.6ÿ43;IÿJ(PTFS00024782);
                          "KLG 15891MIÿEx.            .$0(!*ÿat(ÿthe!ÿ"Property,
                                              FN6ÿ stained                     #$%!#&'ÿand ()*ÿ*dark-
                                                                                                   (#UT
22ÿ 30,1994,
n
     Dÿ $ ÿ  !ÿO!0.( # ( 
                           2$ )ÿ$
                                of5
                                  ÿP2 0
                                       $#ÿQ !)ÿ     /(2)!*ÿ/soil
                                                                  $2.ÿ2in)ÿthe!ÿarea
                                                                                    (#!(ÿof$5ÿ"Bay
                                                                                               VW(&ÿK#     (%/XM'ÿ
                                                                                                       Traps"),
21ÿ
    C   to  the  Declaration       Victor Otten
                                                      /(!*ÿthat(ÿ+,
                                                      stated          AIG -ÿ*did2*ÿnot)$ÿ2investigate
                                                                                             )3!/24(!ÿthese !/!ÿ
12
                                                      $!#ÿ/sources,
                                                      other     $E#0!/'ÿ(and    )*ÿrecommended
                                                                                     #!0$11!)*!*ÿthat(ÿ
24ÿ
13                                                    !/!ÿ$other
                                                      these      !#ÿ%potential
                                                                         $!)2(.ÿsources
                                                                                        /$E#0!/ÿYbe!ÿ
25ÿ                                                   2)3!/24(!*ÿ(and
                                                      investigated           )*ÿ!evaluated
                                                                                    3(.E(!*ÿto$ÿdetermine
                                                                                                    *!!#12)!ÿ
14
                                                      !2#ÿ%potential
                                                      their     $!)2(.ÿ2impact
                                                                               1%(0ÿto$ÿthe!ÿsoil
                                                                                                  /$2.ÿ(and
                                                                                                          )*ÿ
26ÿ
15                                                    4#$E)*Z(!#6ÿQ
                                                      groundwater.               !)ÿDecl.,
                                                                             Otten    O!0.6'ÿFN Ex.6ÿDÿ
                                                                                                      C
27ÿ                                                   JO$0U!ÿ[$
                                                      (Docket     No.6  ÿ3931-3
                                                                              42T4ÿPage
                                                                                      "(4!ÿ,IDOÿ#:\]ÿ126241)
                                                                                                       7152Mÿ
16
                                                      J+,-ÿD$
                                                      (AIG         )/E.()/'ÿ,Inc.,
                                                               Consultants,           )06'ÿ"Phase
                                                                                                (/!ÿI,ÿ
28ÿ
17                                                    F)32#$)1!)(.ÿGSite
                                                      Environmental               2!ÿ+/  /!//1!)ÿJ(June
                                                                                      Assessment          HE)!ÿ
29ÿ
18                                                    4'ÿ2335M'ÿ(atÿ3).
                                                      30,1994),           4M6ÿÿ
23ÿ                                                   +,-ÿ/states
                                                      AIG      (!/ÿthat,
                                                                          ('ÿbased
                                                                                 Y(/!*ÿ$on)ÿthe!ÿ#results
                                                                                                     !/E./ÿof$5ÿ
                                                      2/ÿ2inspection
                                                            )/%!02$)ÿ$of5ÿthe!ÿProperty
                                                                                       "#$%!#&ÿ(and )*ÿ2its/ÿ
19

1ÿ
20
                                                      its
                                                        2/$#20(.ÿ#records
                                                      historical      !0$#*/ÿ$of5ÿland .()*ÿEuse/!ÿ(and
                                                                                                     )*ÿ
12ÿ                                                   #!4E.($#&ÿ2inquiries,
                                                      regulatory       )^E2#2!/'ÿ"there V!#!ÿ2is/ÿevidence
                                                                                                    !32*!)0!ÿ
                                                      $5ÿ%past
                                                            (/ÿ(activity
                                                                  0232&ÿ(atÿthe !ÿGSite
                                                                                          2!ÿZwhich
                                                                                                   20ÿ1(      &ÿ
21

11ÿ
22
                                                      of
                                                      #!%#!/!)ÿ!environmental
                                                      represent       )32#$)1!)(.ÿ#risks
                                                                                                         may
                                                                                               2/U/ÿ(and/or
                                                                                                      )*_$#ÿ
14ÿ
23                                                    .2(Y2.22!/6ÿKThe!ÿ!extent
                                                      liabilities.              N!)ÿof$5ÿthese
                                                                                                !/!ÿ
15ÿ                                                   !)32#$)1!)(.ÿ#risks
                                                      environmental             2/U/ÿ0could
                                                                                         $E.*ÿpossibly
                                                                                                %$//2Y.&ÿYbe!ÿ
24
                                                      *!!#12)!*ÿZ2
                                                      determined        with  ÿ5further
                                                                                   E#!#ÿ2investigation.
                                                                                              )3!/24(2$)6ÿ
16ÿ
25                                                    K !#!5$#!'ÿ+,
                                                      Therefore,      AIG    -ÿ#recommends
                                                                                  !0$11!)*/ÿthat(ÿ
17ÿ                                                   (**22$)(.ÿ2investigation
                                                      additional       )3!/24(2$)ÿYbe!ÿperformed
                                                                                                 %!#5$#1!*ÿto$ÿ
26
                                                      5E#!#ÿ!evaluate
                                                      further     3(.E(!ÿthe!ÿpotential
                                                                                      %$!)2(.ÿ5for$#ÿ2impact
                                                                                                          1%(0ÿ
18ÿ
27                                                    $ÿthe!ÿ/soil,
                                                      to         $2.'ÿ(air,2#'ÿand/or
                                                                               ()*_$#ÿ4ground
                                                                                           #$E)*ÿZ( water!#ÿ(atÿ
19ÿ
28
                                                      !ÿGSite"Id.
                                                      the     2!6Xÿ̀a6ÿat3.
                                                                          (ÿ46ÿ
                                                   123ÿ
                                                   219
 opqrÿtuvwxyzx{|w}|x~xÿÿÿyr ÿuwtÿÿwÿ      wrÿ{wttvÿÿÿprÿttÿÿtÿÿÿprÿ
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22333ofof277
                                                          Page         87 Page
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    ÿ
                                  #:33814



 3ÿ
 1

 1ÿ          OPPOSING   ÿPARTIES'
                                  ÿ
 2                  ÿ
                    ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                     MOVING           ÿ
 4ÿ            ÿ
             UNCONTROVERTED                                    ÿÿ
                                                             RESPONSE                      ÿ
                                                                                AND SUPPORTING
 3
           ÿ
           MATERIAL
 5ÿ SUPPORTING                FACTSÿ        ÿ
                                            AND                               ÿ
                                                                              EVIDENCE
 4           ÿ                ÿ
                                EVIDENCE
 6ÿ
 5

 7ÿ                                                        ÿ"also
                                                          See      #$%ÿMutch
                                                                        &'()*ÿRebuttal
                                                                                 +,-'((./ÿ+,    012(3ÿ.at(ÿ§4ÿ43ÿ
                                                                                            Report,
 6
                                                          561)7,(ÿ81
                                                          (Docket      No.9 ÿ949-78
                                                                               5:89ÿPage
                                                                                      ;.<,ÿ=ID6ÿ>#:30971-
                                                                                                   ?4283:
 8ÿ
 7                                                        88@9ÿÿ
                                                          77).
 9ÿ
 8
                                                          =AA.(,2B./ÿ-because
                                                          Immaterial                 D,7210B.ÿ.admits
                                                                             ,).'C,ÿKekropia        EAB(CÿBit(ÿ
 9ÿ                                                       BCÿ(the*,ÿ)current
                                                          is          '22,F(ÿowner
                                                                              1GF,2ÿ1ofHÿ(the
                                                                                           *,ÿPatsouras
                                                                                               ;.(C1'2.Cÿ
32ÿ                                                       ;210,2(I3ÿ+J
                                                          Property,          K&Lÿ433,43ÿand
                                                                         RSUMF            .FEÿ*hazardous
                                                                                                .M.2E1'Cÿ
10
                                                          C'-C(.F),Cÿ*have
                                                          substances         .N,ÿ-been
                                                                                   ,,Fÿdetected
                                                                                        E,(,)(,EÿBinFÿthe
                                                                                                       (*,ÿ
33ÿ                                                       C1B/Cÿat.(ÿthe
                                                          soils       (*,ÿ;Patsouras
                                                                             .(C1'2.CÿProperty
                                                                                        ;210,2(Iÿ.andFEÿBinFÿ
                                                          OK:1ÿGroundwater
                                                                     P21'FEG.(,2ÿ-beneath
                                                                                       ,F,.(*ÿ.and
                                                                                                 FEÿ
11

31ÿ
12
                                                          OU-2
                                                          E1GF<2.EB,F(ÿ1ofHÿthe
                                                          downgradient            (*,ÿ;Patsouras
                                                                                         .(C1'2.Cÿ
34ÿ
13                                                        ;210,2(I3ÿ+J
                                                          Property,          K&Lÿ433,43ÿ34.
                                                                         RSUMF            459ÿ
35ÿ 520.
14
     QRSTÿ=  Fÿ1995,
            In   3 63ÿD,     7210B.3ÿ=Inc.
                        Kekropia,       F)9ÿ.acquired     QRSTÿKF
                                                )U'B2,Eÿ520.            EBC0'(,E9ÿÿÿ
                                                                     Undisputed.
36ÿ the
15   (*,ÿ;Patsouras
           .(C1'2.CÿProperty
                       ;210,2(IÿHfrom
                                   21AÿWilliam
                                            VB//B.Aÿ
     D9ÿ;Palley.
37ÿ K.    .//,I9ÿÿ=InFÿ1997,
                       3 83ÿW/ ElÿP2  ,)1ÿ
                                  Greco
16
     V*1/,C./,ÿP2
38ÿ Wholesale          1),2C3ÿ=Inc.
                    Grocers,    F)9ÿ.and
                                       FEÿBits(Cÿowner
                                                 1GF,2ÿ
17   X.22Iÿ;Patsouras
    Larry     .(C1'2.Cÿ-began
                            ,<.Fÿoperating
                                  10,2.(BF<ÿ1onFÿ(the*,ÿ
     ;210,2(Iÿ.asCÿ.aÿG*
39ÿ Property               1/,C./,ÿgrocery
                       wholesale    <21),2Iÿ
18
     G.2,*1'C,9ÿÿ
3ÿ warehouse.
19
       YZZ[\]^_`ÿa
12ÿ Supporting
20
                         ^bc_dceÿ
                      Evidence:

     LfgÿTfhÿTfhÿ347,
13ÿ FAG          4583ÿ4350;
                        62iÿWjEx.9
                                 ÿfÿ
                                  A to(1ÿ(the*,ÿ
21
     6,)/.2.(B1Fÿof1HÿkB
11ÿ Declaration
22
                            )(12ÿO(
                        Victor      (,Fÿ
                                 Otten

     QRlTÿ;
14ÿ 521.
23              .(C1'2.Cÿsought
            Patsouras      C1'<*(ÿ2regulatory
                                    ,<'/.(12Iÿ 521.       QRlTÿKF       EBC0'(,Eÿ(that
                                                                     Undisputed     *.(ÿ;Patsouras
                                                                                           .(C1'2.CÿCsought
                                                                                                        1'<*(ÿ
     1N,2CB<*(ÿHfrom
15ÿ oversight      21AÿXf+Vmgnÿ
                        LARWQCB 1           ofHÿthe
                                                (*,ÿ regulatory
                                                          2,<'/.(12Iÿ1oversight
                                                                            N,2CB<*(ÿHfrom
                                                                                        21AÿRWQCB-LA
                                                                                              +Vmgn:Xfÿ
24
     .CC,CCA,F(ÿ.and
    assessment        FEÿ)cleanup
                           /,.F'0ÿof1HÿBits(Cÿ            BFÿ2008
                                                          in  1229ÿbut -'(ÿBimmaterial.
                                                                             AA.(,2B./9ÿ
25   ;210,2(I9ÿÿ
16ÿ Property.
                                                            YZZ[\]^_`ÿa        ^bc_dceÿÿ
17ÿ Supporting
26
       YZZ[\]^_`ÿa      ^bc_dceÿ
                                                          Supporting         Evidence:

18ÿ
                      Evidence:
                                                          O((,FÿDecl.,
                                                          Otten      6,)/93ÿWj
                                                                             Ex.9ÿXÿ561)7,(ÿ81
                                                                                  L (Docket     No.9ÿ931-12
                                                                                                      43:31ÿ
27
                                                          ;.<,ÿ=ID6ÿ#-.26607)
                                                          Page         >?17728@ÿ5(RWQCB-LA,
                                                                                    +Vmgn:Xf3ÿX(       Ltr. 29ÿ(to1ÿ
19ÿ
28                                                        X.22Iÿ;Patsouras
                                                          Larry       .(C1'2.Cÿ5(Dec.
                                                                                  6,)9ÿ1.,
                                                                                         393ÿ12008)
                                                                                               229@ÿ5(stating
                                                                                                      C(.(BF<ÿ
                                                       112ÿ
                                                       220
 z{|}ÿÿÿÿ}ÿÿÿÿ    }ÿÿÿÿ{}ÿÿÿÿÿÿ{}ÿ
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22434ofof277
                                                          Page         87 Page
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    ÿ
                                  #:33815



 2ÿ
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 1ÿ        OPPOSING   ÿPARTIES'
                                  ÿ
 2                ÿ
                  ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                   MOVING               ÿ
 3ÿ           ÿ
            UNCONTROVERTED                                  ÿÿ
                                                          RESPONSE                             ÿ
                                                                                 AND SUPPORTING
 3
          ÿ
          MATERIAL
 4ÿ SUPPORTING             FACTSÿ         ÿ
                                           AND                               ÿ
                                                                             EVIDENCE
 4          ÿ                 ÿ
                                EVIDENCE
 5ÿ
 5
      !ÿ"#
 6ÿ Board
    Los     $%&%!ÿ'%
         Angeles       $(#)&ÿWater
                   Regional       *)+%,ÿQuality
                                            -.)&(+/ÿ releases
                                                       ,%&%)!%!ÿof9ÿ4chemicals
                                                                            8%<(4)&!ÿfrom          (#1.!+,()&ÿ
                                                                                          9,<ÿindustrial
     0 ),1ÿLetter,
           %++%,2ÿ3%   45ÿ1,22ÿ12008,82ÿ67
                                         Ex.5ÿÿ+ÿ uses.!%!ÿ)at+ÿ+the8%ÿ!site
                                                                           (+%ÿhave
                                                                                8)=%ÿ1degraded
                                                                                          %$,)1%1ÿ+the   8%ÿ
 6
                     Dec.                     L to
     +8%ÿ3%
 7ÿ the
 7         4&),)+(#ÿof9ÿVictor
         Declaration      :(4+,ÿ;+  Otten +%#ÿ groundwater
                                                       $,.#1>)+%,ÿ?quality    .)&(+/ÿ)and  #1ÿbeneficial
                                                                                                @%#%9(4()&ÿ.uses !%!ÿ
 8ÿ                                                    of9ÿ+the8%ÿState's
                                                                   A+)+%B!ÿ>)      +%,!ÿ)and
                                                                              waters       #1ÿ#noting
                                                                                                    +(#$ÿPCE,
                                                                                                          CD62ÿ
 8
                                                       ED6ÿ)and
                                                       TCE         #1ÿ4chromium
                                                                         8,<(.<ÿ>%      were  ,%ÿdetected
                                                                                                 1%+%4+%1ÿ(in#ÿ
 9ÿ
 9                                                     !(&!F5ÿÿ
                                                       soils).
2ÿ
10
                                                       G<<)+%,()&ÿ@because
                                                       Immaterial           %4).!%ÿKekropia
                                                                                        H%I,J()ÿ)admits  1<(+!ÿ(it+ÿ
22ÿ                                                    (!ÿ+the8%ÿ4current
                                                       is           .,,%#+ÿowner
                                                                               >#%,ÿof9ÿ+the   8%ÿPatsouras
                                                                                                   C)+!.,)!ÿ
                                                       C,J%,+/2ÿ'A           KLMÿ333,32ÿand  )#1ÿ8hazardous
                                                                                                     )N),1.!ÿ
11

21ÿ
12
                                                       Property,
                                                       substances,
                                                                       RSUMF
                                                       !.@!+)#4%!2ÿ(including
                                                                            #4&.1(#$ÿ4chromium,
                                                                                              8,<(.<2ÿPCE    CD6ÿ
23ÿ                                                    )#1ÿED62
                                                       and      TCE,ÿ   8have
                                                                          )=%ÿbeen
                                                                                @%%#ÿ1detected
                                                                                           %+%4+%1ÿin(#ÿ!soils(&!ÿ)at+ÿ
                                                       +8%ÿCPatsouras
                                                                 )+!.,)!ÿProperty
                                                                              C,J%,+/ÿ)and     #1ÿ(in#ÿ;KO    1ÿ
13

24ÿ
14
                                                       the
                                                       P,.#1>)+%,ÿ@below
                                                       Groundwater              %&>ÿor,ÿdowngradient
                                                                                                       OU-2
                                                                                              1>#$,)1(%#+ÿof9ÿ
25ÿ
15                                                     +8%ÿCPatsouras
                                                       the       )+!.,)!ÿProperty,
                                                                              C,J%,+/2ÿ'A          KLMÿ334,42ÿ35.
                                                                                               RSUMF             355ÿÿÿ
26ÿ
16
     QRRSÿC
27ÿ 522.    .,!.)#+ÿ+toÿ+the8%ÿcost
           Pursuant              4!+ÿ,recovery
                                         %4=%,/ÿ 522.  QRRSÿK#         1(!J.+%1ÿ+that
                                                                   Undisputed         8)+ÿ67 Ex.5 ÿÿ +ÿ+the8%ÿ
                                                                                                   L to
17   J,$,)<2ÿCPatsouras
    program,     )+!.,)!ÿ)and  #1ÿ8his(!ÿconsultant
                                         4#!.&+)#+ÿ Otten
                                                       ;++%#ÿDeclaration
                                                                  3%4&),)+(#ÿ!states   +)+%!ÿ+the8%ÿRWQCB-
                                                                                                     '*-D0O
     @%$)#ÿthe
28ÿ began  +8%ÿJprocess
                 ,4%!!ÿ)assessing
                           !!%!!(#$ÿ+the   8%ÿ LA      "ÿ,received
                                                                %4%(=%1ÿ)aÿ,report
                                                                                 %J,+ÿtitled
                                                                                         +(+&%1ÿ'''Remedial
                                                                                                   cdefebghiÿ
18
     %#=(,#<%#+)&ÿ4conditions
29ÿ environmental       #1(+(#!ÿ)at+ÿ+the  8%ÿ Investigation
                                                       aklemngohngpkÿWork    qprsÿti       hkuÿ1dated
                                                                                       Plan"       )+%1ÿvNov.=5ÿ3,32ÿ
19   C,J%,+/ÿ)and
    Property    #1ÿ,remediation.
                     %<%1()+(#5ÿÿ                      1 82ÿJprepared
                                                       2008,        ,%J),%1ÿ@by/ÿEnvironmental
                                                                                     6#=(,#<%#+)&ÿ
1ÿ Supporting
       TUUVWXYZ[ÿ\   Y]^Z_^`ÿ                         ".1(+2ÿGInc.
                                                       Audit,        #45ÿon#ÿbehalf
                                                                              @%8)&9ÿof9ÿL,    Mr.5 ÿPatsouras,
                                                                                                     C)+!.,)!2ÿ
20

12ÿ
                   Evidence:                           )#1ÿ+the8%ÿ&letter
                                                       and            %++%,ÿ!states
                                                                               +)+%!ÿit(+ÿ(is!ÿbeing
                                                                                               @%(#$ÿ!sent
                                                                                                         %#+ÿ+toÿ
21
     ab 5
        ÿ                                              L,5ÿCPatsouras
                                                       Mr.        )+!.,)!ÿ+toÿprovide
                                                                                    J,=(1%ÿ8him   (<ÿ
11ÿ Id.
                                                       (#9,<)+(#ÿregarding
                                                       information          ,%$),1(#$ÿ4costs    !+!ÿ9for,ÿ
22

13ÿ
23
                                                       ,%$.&)+,/ÿoversight
                                                       regulatory          =%,!($8+ÿ>work.     ,I5ÿImmaterial.
                                                                                                   G<<)+%,()&5ÿÿ
14ÿ
24
                                                         TUUVWXYZ[ÿ\
                                                       Supporting                Y]^Z_^`ÿ
                                                                            Evidence:

15ÿ                                                    ;++%#ÿDecl.,
                                                       Otten      3%4&52ÿ67 Ex.5  ÿÿ w3 4I%+ÿvNo.5ÿ9931-12
                                                                                   L (Docket                 32O21ÿ
25

16ÿ                                                    C)$%ÿGID3ÿ#-.26607)
                                                       Page           xy1667Fÿw(RWQCB-LA,
                                                                                      '*-D0O"2ÿ+              ,5ÿ+toÿ
                                                                                                              Ltr.
26                                                     ),,/ÿCPatsouras
                                                       Larry        )+!.,)!ÿw(Dec.  3%45ÿ1.,252ÿ12008).
                                                                                                      8F5ÿÿ
17ÿ
27
                                                       G<<)+%,()&ÿ@because
                                                       Immaterial           %4).!%ÿKekropia
                                                                                        H%I,J()ÿ)admits  1<(+!ÿ(it+ÿ
18ÿ
28                                                     (!ÿ+the8%ÿ4current
                                                       is           .,,%#+ÿowner
                                                                               >#%,ÿof9ÿ+the   8%ÿPatsouras
                                                                                                   C)+!.,)!ÿ
                                                    112ÿ
                                                    221
    opqrÿtuvwxyzx{|w}|x~xÿÿÿyr ÿuwtÿÿwÿ              |rÿ{wttvÿÿÿprÿtt}ÿÿtÿÿÿprÿ
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22535ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #.32476
       ÿ
                                  #:33816



   2ÿ
   1

   1ÿ            OPPOSING     ÿPARTIES'
                                         ÿ
   2                    ÿ
                        ALLEGEDLY                                               ÿPLAINTIFFS'
                                                                               MOVING              ÿ
   3ÿ              ÿ
                 UNCONTROVERTED                                          ÿÿ
                                                                       RESPONSE                         ÿ
                                                                                             AND SUPPORTING
   3
               ÿ
               MATERIAL
   4ÿ SUPPORTING                    FACTSÿ        ÿ
                                                  AND                                     ÿ
                                                                                          EVIDENCE
   4            ÿ                    ÿ
                                       EVIDENCE
   5ÿ
   5

   6ÿ                                                                !"#$%&ÿ'(
                                                                     Property,           )*+ÿ333,3&ÿand
                                                                                     RSUMF            ,-.ÿ/hazardous
                                                                                                              ,0,.!12ÿ
   6
                                                                     2132$,-4#2&ÿ5including
                                                                     substances,         -461.5-7ÿ4chromium,
                                                                                                      /!8518&ÿPCE     9:ÿ
   7ÿ
   7                                                                 ,-.ÿ;9:&
                                                                     and     TCE,ÿ   /have
                                                                                       ,<#ÿbeen
                                                                                            3##-ÿ.detected
                                                                                                     #$#4$#.ÿin5-ÿ2soils
                                                                                                                     !562ÿ,at$ÿ
   8ÿ                                                                $/#ÿPatsouras
                                                                     the      ,$2!1,2ÿProperty
                                                                                          !"#$%ÿ,and   -.ÿ5in-ÿ=)>
                                                                                                                OU-2   1ÿ
   8
                                                                     ?!1-.@,$#ÿ3below
                                                                     Groundwater            #6!@ÿor!ÿdowngradient
                                                                                                       .!@-7,.5#-$ÿ!ofAÿ
   9ÿ
   9                                                                 $/#ÿPatsouras
                                                                     the      ,$2!1,2ÿProperty,
                                                                                          !"#$%&ÿ'(   RSUMF)*+ÿ334,4&ÿ35.
                                                                                                                         35Bÿÿÿ
2ÿ
        CDEFÿG#      H!"5,ÿcontinues
                               4!-$5-1#2ÿ$to!ÿ!own  @-ÿ$the /#ÿ 523. CDEFÿ)-        .52"1$#.Bÿ_See``ÿ'(     )*+ÿ33. 33Bÿ
10

2^ 2^ÿ 523.
       Property
                Kekropia
        !"#$%ÿ$today,
                     !.,%&ÿ@/      54/ÿ5is2ÿ2still
                               which          $566ÿused
                                                   12#.ÿAfor!ÿ
                                                                               Undisputed.             RSUMF

21ÿ a,ÿ@/
12            !6#2,6#ÿ7grocery
          wholesale          !4#%ÿ@,       #/!12#ÿ,and
                                      warehouse         -.ÿa,ÿ
        $,$$!!ÿ,artist
23ÿ tattoo         $52$ÿ2supply
                          1""6%ÿbusiness.
                                    3125-#22Bÿÿ
          IJJKLMNOPÿQ
24ÿ Supporting
14                            NRSOTSUÿ
                          Evidence:

25ÿ Los
15      V!2ÿW-   7#6#2ÿ'#
              Angeles          75!-,6ÿWater
                          Regional       X,$#ÿQuality
                                                   Y1,65$%ÿ
        Z!,.ÿLetter,
26ÿ Board       V#$$#&ÿ[Jan. ,-Bÿ4,4&ÿ12017,
                                          27&ÿ:\ Ex.BÿBZÿ$to!ÿ$the
                                                                /#ÿ
16
        ]#46,,$5!-ÿof!Aÿ^5
       Declaration               4$!ÿ=$
                             Victor        $#-ÿ
                                        Otten
27ÿ
17

28ÿ 524.CDbFÿc   -ÿ1994,
                In  2994&ÿWc  AIG ?ÿ:-    <5!-8#-$,6ÿ 524.
                                      Environmental                  CDbFÿ)-        .52"1$#.ÿ$that
                                                                               Undisputed        /,$ÿPatsouras
                                                                                                        ,$2!1,2ÿ2sought
                                                                                                                      !17/$ÿ
18
        9!-216$,-$2ÿperformed
29ÿ Environmental
       Consultants       "#A!8#.ÿ,aÿPhase      /,2#ÿIcÿ regulatory   #716,$!%ÿ!oversight
                                                                                        <#257/$ÿAfrom !8ÿRWQCB-LA
                                                                                                           'XY9Z>VWÿ
19      :-<5!-8#-$,6ÿ(Site      5$#ÿW2   2#228#-$ÿ!ofAÿthe
                                      Assessment             $/#ÿ in5-ÿ2008
                                                                        1 8ÿbut   31$ÿ5immaterial.
                                                                                         88,$#5,6Bÿ
        !"#$%BÿWc
1ÿ Property.              ?ÿ4concluded
                               !-461.#.ÿ$that   /,$ÿ"the
                                                    d$/#ÿ Supporting
                                                  213e#4$ÿ IJJKLMNOPÿQ                      NRSOTSUÿÿ
                     AIG
20
        7#,$#2$ÿ"potential
12ÿ greatest         !$#-$5,6ÿrisk52Hÿto$!ÿ$the/#ÿsubject                                Evidence:
21
        "!"#$%fÿ@,
       property"      was2  ÿnot
                             -!$ÿ$the/#ÿ"property
                                           !"#$%ÿitself,
                                                      5$2#6A&ÿ Otten =$$#-ÿDecl.,
                                                                               ]#46B&ÿ:\ Ex.B ÿVÿg]!4H#$ÿj!  No.B ÿ9931-12
                                                                                                                     32>21ÿ
11ÿ but 31$ÿthe
             $/#ÿ1upgradient
                    "7,.5#-$ÿproperties
                                  "!"#$5#2ÿ(the    g$/#ÿ Page        ,7#ÿcID]ÿk#:26607)
                                                                                               L (Docket
                                                                                     l1667iÿg(RWQCB-LA,
                                                                                                 'XY9Z>VW&ÿLtr.       V$Bÿ$to!ÿ
        d$! $
            , 6ÿ
               !
               ofA ÿ37 ÿ 25$ #2ÿ6# 2 2ÿ$/ ,-  ÿ hÿ 85  6#ÿ,  @,  %ÿ
22

13ÿ whose
       "total       37
        @/!2#ÿ"potential
                         sites  less
                   !$#-$5,6ÿoff-site
                                       than        mile
                               !AA>25$#ÿ4contamination
                                                          away
                                             !-$,85-,$5!-ÿ releases
                                             VA
                                                                     V, %ÿPatsouras
                                                                     Larry       ,$2!1,2ÿg(Dec. ]#4Bÿ1.,
                                                                                                      2B&ÿ12008)8iÿg(stating
                                                                                                                     2$,$5-7ÿ
                                                                      #6#,2#2ÿ!ofAÿ4chemicals
                                                                                         /#854,62ÿfrom
                                                                                                     A!8ÿindustrial
                                                                                                             5-.12$5,6ÿ
23

14ÿ may 8,%ÿ/have
               ,<#ÿ5impacted
                       8",4$#.ÿ$the   /#ÿProperty")
                                          !"#$%fiÿ,and       -.ÿ uses
                                                                     12#2ÿ,at$ÿ$the/#ÿ2site
                                                                                        5$#ÿhave
                                                                                            /,<#ÿ.degraded
                                                                                                     #7,.#.ÿ$the /#ÿ
         #4 ! 88#   - . # . ÿ, .. 5$5 !-  ,6ÿ5-  <#2 $ 5
                                                       7 ,  $5! -Bÿÿ
24

15ÿ    recommended           additional      investigation.
                                                                     7!1-.@,$#ÿmquality
                                                                     groundwater           1,65$%ÿ,and
                                                                                                     -.ÿbeneficial
                                                                                                         3#-#A545,6ÿ1uses 2#2ÿ
                                                                     !Aÿ$the/#ÿState's
                                                                               ($,$#n2ÿ@,      $#2ÿ,and
                                                                                                     -.ÿ-noting
                                                                                                            !$5-7ÿPCE,
                                                                                                                    9:&ÿ
25

26        IJJKLMNOPÿQ
16ÿ Supporting                NRSOTSUÿ
                          Evidence:                                  of
                                                                     ;9:ÿ,and
                                                                     TCE
                                                                                          waters
                                                                               -.ÿ4chromium
                                                                                      /!8518ÿwere  @##ÿ.detected
                                                                                                             #$#4$#.ÿ5in-ÿ
17ÿ
27                                                                   2!562iBÿÿ
                                                                     soils).
18ÿ
28
                                                                  111ÿ
                                                                  222
 jklmÿopqrstusvwrxwsyzs{ÿÿÿ|}t~mÿproÿÿrÿmÿvrooqÿÿÿkmÿoowÿ}ÿoÿÿÿkmÿ|
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed
                                  #:32477
                                             04/29/21
                                          Filed 05/02/22Page 22636ofof277
                                                          Page         87 Page
                                                                          Page ID
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    ÿ
                                  #:33817



 3ÿ
 1

 1ÿ            OPPOSING   ÿPARTIES'
                                    ÿ
 2                    ÿ
                      ALLEGEDLY                                          ÿPLAINTIFFS'
                                                                        MOVING                  ÿ
 2ÿ              ÿ
               UNCONTROVERTED                                      ÿÿ
                                                                 RESPONSE                             ÿ
                                                                                         AND SUPPORTING
 3
             ÿ
             MATERIAL
 4ÿ SUPPORTING                  FACTSÿ       ÿ
                                             AND                                    ÿ
                                                                                    EVIDENCE
 4            ÿ                  ÿ
                                   EVIDENCE
 5ÿ
 5
     !"#ÿ$Iÿ%&
 6ÿ Phase          '()*&+#&,!-ÿSite
                Environmental         .(,#ÿ                  $++!,#)(!-ÿ<because
                                                             Immaterial          #8!3"#ÿKekropia=#>)*?(!ÿ!admits1+(,"ÿ(it,ÿ
 6
     /""#""+#&,0ÿ1dated
    Assessment,          !,#1ÿ2June
                                3&#ÿ230.4ÿ1994,
                                             39940ÿ%5  Ex.4
                                                          ÿ is("ÿ,the#ÿ8current
                                                                         3))#&,ÿowner*@&#)ÿ*of9ÿ,the#ÿPatsouras
                                                                                                          !,"*3)!"ÿ
 7ÿ C6ÿ,
 7       *ÿ,the#ÿDeclaration
        to       7#8-!)!,(*&ÿof*9ÿ:(      8,*)ÿ;,
                                      Victor         ,#&ÿ Property,
                                                 Otten       )*?#),A0ÿB.   RSUMFCDEÿ233,20ÿand    !&1ÿhazardous
                                                                                                            !F!)1*3"ÿ
 8ÿ                                                          "3<",!&8#"0ÿ(including
                                                             substances,         &8-31(&Gÿ8chromium,  )*+(3+0ÿPCE  6%ÿ
 8
                                                             !&1ÿH6%0
                                                             and    TCE,ÿ      !'#ÿbeen
                                                                             have       <##&ÿ1detected
                                                                                                  #,#8,#1ÿin(&ÿ"soils
                                                                                                                   *(-"ÿ!at,ÿ
 9ÿ
 9                                                           ,#ÿPatsouras
                                                             the      !,"*3)!"ÿProperty
                                                                                     )*?#),Aÿ!and    &1ÿ(in&ÿ;CI
                                                                                                               OU-2 1ÿ
3ÿ                                                           J)*3&1@!,#)ÿ<below
                                                             Groundwater                #-*@ÿor*)ÿdowngradient
                                                                                                     1*@&G)!1(#&,ÿ*of9ÿ
10

33ÿ
11
                                                             ,#ÿPatsouras
                                                             the      !,"*3)!"ÿProperty,
                                                                                     )*?#),A0ÿB.         CDEÿ234,40ÿ35.
                                                                                                      RSUMF             254ÿÿÿ
     KLKMÿ=#
31ÿ 525.
12                >)*?(!ÿretained
              Kekropia     )#,!(&#1ÿ                         KLKMÿ
                                                             525.         !),(!--Aÿ1disputed.
                                                                        Partially          ("?3,#14ÿÿ
     %&'()*&+#&,!-ÿ/3
32ÿ perform
    Environmental             1(,0ÿ$Inc.
                          Audit,      &84ÿN(EAI)
                                            %/$Oÿto,*ÿ Supporting
                                                                TUUVWXYZ[ÿ\             Y]^Z_^`ÿÿ
     ?#)9*)+ÿ!an&ÿ#environmental
                       &'()*&+#&,!-ÿ                                             Evidence:
14   (&'#",(G!,(*&ÿ*of9ÿ,the#ÿProperty.
34ÿ investigation               )*?#),A4ÿÿEAI's%/$P"ÿ Plaintiffs
                                                             -!(&,(99"ÿ1do*ÿnot &*,ÿ1dispute          ,!,ÿ=#
                                                                                             ("?3,#ÿthat         >)*?(!ÿ
     (&' # "
35ÿ majority ,
             (G !
    investigation,(*  &ÿ(&1 (8! ,
                        indicated# 1 ÿ,  !
                                      that,ÿQ ,
                                            "the # ÿ         )#,!(&#1ÿ%/$  EAIÿ     ,to*ÿperform
                                                                                          ?#)9*)+ÿ!an&ÿ
                                                                                                             Kekropia
15
     +!R*)(,Aÿ*of9ÿ,the#ÿsoil
                          "*(-ÿ8contamination
                                 *&,!+(&!,(*&ÿ(is"ÿ retained (&'#",(G!,(*&ÿ*of9ÿ,the#ÿPatsouras!,"*3)!"ÿProperty.
                                                                                                                )*?#),A4ÿ
16    #!'Aÿ#end
36ÿ heavy       &1ÿ?petroleum
                      #,)*-#3+ÿproduct."
                                   ?)*138,4SÿÿEAI   %/$ÿ investigation
                                                             ;,,#&ÿDecl.,
                                                                        7#8-40ÿ%5Ex.4     ÿc0
                                                                                           H,ÿ N7*8>#,ÿNo.  d*4ÿ9931-8
                                                                                                                    23I8ÿ
     8* &" ( 1#
37ÿ technologies
    considered  )#1 ÿa!ÿ
                       ' !)(#
                       variety,Aÿ*
                                 of9 ÿ(& I"(,
                                      in-situ3 ÿ             Otten
                                                             !G#ÿ$ID7ÿ#:26481)
                                                                           ef16483OÿN(Envtl.
                                                                                               (Docket
                                                                                               %&',-4ÿ/3     1(,0ÿInc.,
                                                                                                                  $&840ÿ
17
     ,#8&*-*G(#"ÿfor   9*)ÿremediation
                            )#+#1(!,(*&ÿof*9ÿ,the#ÿ Page     B#+#1(!-ÿ/8          ,(*&ÿPlan  -!&ÿN(June
                                                                                                         Audit,
                                                                                                     23&#ÿ316,60ÿ1997)
                                                                                                                  3997Oÿ
18    #!'Aÿ#end
38ÿ heavy       &1ÿ?petroleum
                      #,)*-#3+ÿhydrocarbons
                                     A1)*8!)<*&"ÿin(&ÿ Remedial              Action
                                                             !,ÿ23ÿN(PTFS00022442)).
                                                                      HE. 11441OO4ÿPlaintiffs        -!(&,(99"ÿ1do*ÿ&not*,ÿ
     , # ÿ"* (-0ÿ
39ÿ impracticable
    the   soil,  < 3
                 but, ÿ
                      1 #,#) +(
                      determined& # 1 ÿ,  !
                                       that,ÿ,  #
                                              they Aÿ @# )
                                                      were#ÿ at
                                                             1("?3,#ÿ,that!,ÿ%/$ EAIÿ       ?3)?*),#1ÿ,to*ÿ
19
     (+?)!8,(8!<-#ÿ"for  Q9*)ÿ,the#ÿ)relatively
                                      #-!,('#-Aÿsmall
                                                    "+!--ÿ dispute
                                                             (&'#",(G!,#ÿ,the#ÿPatsouras
                                                                                            purported
                                                                                        !,"*3)!"ÿProperty,
                                                                                                          )*?#),A0ÿ
20   '*-3+#ÿ*of9ÿ8contaminated
1ÿ volume             *&,!+(&!,#1ÿsoil  "*(-ÿ!at,ÿ,the#ÿ investigate
                                                                *@#'#)0ÿ,the#ÿ)remedial#+#1(!-ÿ!action8,(*&ÿchosen
                                                                                                              8*"#&ÿat!,ÿ
     . (,#0ÿ!&
13ÿ excavation
    Site,   and 1ÿ, # )# 9*
                  therefore) #ÿ)# 8*  ++#
                               recommended   & 1 # 1 ÿ       however,
                                                             ,#ÿ?property
                                                                      )*?#),Aÿ@! was"      ÿexcavation
                                                                                            #58!'!,(*&ÿ*of9ÿ!aÿ
21
     #58!'!,(*&ÿand  !&1ÿ*off-site
                            99I"(,#ÿ1disposal
                                        ("?*"!-ÿof*9ÿ,the#ÿ significant
                                                             the
                                                             "(G&(9(8!&,ÿ!amount +*3&,ÿ*of9ÿcontaminated
                                                                                                  8*&,!+(&!,#1ÿ
22   (+?!8,#1ÿ"soil.
11ÿ impacted        *(-4ÿÿ                                   "*(-4ÿ:!
                                                             soil.        -#&F3#-!ÿ;?
                                                                      Valenzuela               ?P&ÿ7#
                                                                                           Opp'n          8-40ÿEx.
                                                                                                      Decl.,   %54ÿ316,60ÿ!at,ÿ
12ÿ Supporting
23     TUUVWXYZ[ÿ\       Y]^Z_^`ÿ                           375ÿN(Docket
                                                             175      7*8>#,ÿd*   No.4     ÿ9949-43)
                                                                                              49I42Oÿ(LosNg*"ÿ/&    G#-#"ÿ
                                                                                                                Angeles
14ÿ Environmental
                       Evidence:
                                                             B#G(*&!-ÿh!
                                                             Regional       Water ,#)ÿi3       !-(,Aÿa*
                                                                                          Quality          !)1ÿLetter
                                                                                                       Board    g#,,#)ÿ
24
     %&'()*&+#&,!-ÿ/3         1(,0ÿ$Inc.,
                          Audit,      &840ÿ"Remedial
                                            QB#+#1(!-ÿ (Jan. N2!&4ÿ44,0ÿ12017)
                                                                             37Oÿat!,ÿ12)OÿN(noting
                                                                                                &*,(&Gÿsoil"*(-ÿ)removal
                                                                                                                  #+*'!-ÿ
     /8,(*&ÿPlan,
15ÿ Action
25              -!&0ÿ311630-11700
                         362I337 ÿa3           )>#ÿ actions
                                           Burke             !8,(*&"ÿ(in&ÿ31998,
                                                                               9980ÿ12006,60ÿ2010  13ÿ!and    &1ÿ12014).
                                                                                                                     34O4ÿ
     .,)##,0Sÿ2June
16ÿ PTSF00022451,
    Street,"     3&#ÿ16,360ÿ31997,
                              9970ÿ!at,ÿ                     $&ÿaddition,
                                                             In    !11(,(*&0ÿ,the#ÿ"selected
                                                                                           #-#8,#1ÿremedial
                                                                                                       )#+#1(!-ÿ!action
                                                                                                                     8,(*&ÿ
26
     H.E 114530ÿ122453;      1452bÿ%5 Ex.4 ÿcÿ
                                             H to            1(1ÿ&not*,ÿ,test
                                                 ,*ÿ,the#ÿ did             #",ÿ9for*)ÿhexavalent
                                                                                           #5!'!-#&,ÿ8chromium.
                                                                                                             )*+(3+4ÿ
     7#8-!)!,(*&ÿof*9ÿ:(
17ÿ Declaration
27                           8,*)ÿ;,
                          Victor       ,#&ÿ
                                   Otten                     D3,8ÿReport,
                                                             Mutch       B#?*),0ÿ!at,ÿ77-11   I33ÿto,*ÿ77-13
                                                                                                          I32ÿN(Docket
                                                                                                                7*8>#,ÿ
18ÿ
28
                                                             d*4ÿ9903-204
                                                             No.         2I14ÿPage    !G#ÿID $7ÿe#:25424-26).
                                                                                                     f15414I16O4ÿÿÿÿÿÿÿÿÿÿÿ
                                                           112ÿ
                                                           223
 hijkÿmnopqrsqtupvuqwxqyÿÿÿz{r|}k~ÿnpmÿÿpÿ       k ÿtpmmoÿÿÿikÿmmÿ{ÿmÿÿÿikÿz
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22737ofof277
                                                          Page         87 Page
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    ÿ
                                  #:33818



 3ÿ
 1

 1ÿ           OPPOSING    ÿPARTIES'
                                    ÿ
 2                   ÿ
                     ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                    MOVING                ÿ
 4ÿ             ÿ
              UNCONTROVERTED                                   ÿÿ
                                                             RESPONSE                          ÿ
                                                                                    AND SUPPORTING
 3
           ÿ
           MATERIAL
 2ÿ SUPPORTING                  FACTSÿ     ÿ
                                           AND                                   ÿ
                                                                                EVIDENCE
 4           ÿ                 ÿ
                                  EVIDENCE
 5ÿ
 5

 6ÿ                                                        !"#$"%%&ÿ'do(ÿnot
                                                           Plaintiffs          #($ÿ'dispute
                                                                                      "&)*$+ÿthe
                                                                                               $,+ÿ-report
                                                                                                       +)(-$ÿ
 6
                                                           '"&.*&&+&ÿconsidering
                                                           discusses     .(#&"'+-"#/ÿ"in-situ#0&"$*ÿ
 7ÿ
 7                                                         $+.,#((/"+&1ÿ2but*$ÿPlaintiffs
                                                           technologies,                  !"#$"%%&ÿ'dispute
                                                                                                      "&)*$+ÿ
 8ÿ                                                        $,+-+ÿ3!
                                                           there  was&  ÿ!aÿ-relatively
                                                                               +!$"4+5ÿ&small6!ÿvolume
                                                                                                     4(*6+ÿ(of%ÿ
 8
                                                           .(#$!6"#!$+'ÿ&soil
                                                           contaminated            ("ÿ"in#ÿlight
                                                                                            "/,$ÿof(%ÿ$the,+ÿ%fact
                                                                                                               !.$ÿ
 9ÿ
 9                                                         $,!$ÿ!aÿ&significant
                                                           that      "/#"%".!#$ÿ!amount6(*#$ÿof(%ÿ&soil("ÿ3! was& ÿ
3ÿ                                                         +7.!4!$+'8ÿ9$
                                                           excavated.      Otten $+#ÿ:+
                                                                                     Decl.,.81ÿ;7
                                                                                               Ex.8 ÿH<ÿ=(Docket
                                                                                                            :(.>+$ÿ
10
                                                           ?(8ÿ9931-8
                                                           No.    4308ÿPage!/+ÿ@ID#:26490)
                                                                                     :AB1629Cÿ=(Envtl.  ;#4$8ÿ
33ÿ
11                                                         D*'"$1ÿ@Inc.,
                                                           Audit,     #.81ÿE+     6+'"!ÿAction
                                                                             Remedial        D.$"(#ÿPlan!#ÿ=(June
                                                                                                                 F*#+ÿ
31ÿ                                                        361ÿ3997Cÿ!at$ÿ10
                                                           16,1997)           3ÿ=(PTFS000224451));
                                                                                    GHI 112253CCJÿ
12
                                                           K!+#L*+!ÿ9)
                                                           Valenzuela       Opp'n  )M#ÿ:+   .81ÿ;7
                                                                                        Decl.,   Ex.8  ÿ16,
                                                                                                        361ÿ!at$ÿ3175
                                                                                                                   75ÿ
34ÿ
13                                                         =:(.>+$ÿ?(
                                                           (Docket     No.8   ÿ9949-43)
                                                                                  29024Cÿ(Los
                                                                                            =N(&ÿAngeles
                                                                                                   D#/++&ÿ
32ÿ                                                        E+/"(#!ÿO!
                                                           Regional     Water   $+-ÿP*   !"$5ÿQ(
                                                                                    Quality    Board!-'ÿLetter,
                                                                                                            N+$$+-1ÿ
14
                                                           F!#8ÿ24,1ÿ12017,
                                                           Jan.         371ÿ!at$ÿ2)1Cÿ=(noting
                                                                                         #($"#/ÿ&soil
                                                                                                    ("ÿremoval
                                                                                                           -+6(4!ÿ
35ÿ
15                                                         !.$"(#&ÿ"in#ÿ31998,
                                                           actions          9981ÿ12006,61ÿ2010
                                                                                             13ÿ!and    #'ÿ12014).
                                                                                                                 32C8ÿÿÿ
36ÿ
16
     RSTUÿ@
37ÿ 526.      #ÿ2006,
             In   1 61ÿBiophysics
                          Q"(),5&".&ÿ                      RSTUÿf#
                                                           526.         '"&)*$+'8ÿÿÿ
                                                                    Undisputed.
17
     ;#4"-(#6+#$!ÿD&
    Environmental              &+&&6+#$&1ÿ@Inc.
                           Assessments,      #.8ÿ
     =VQ;DWCÿ)performed
38ÿ ("BEA")
18                  +-%(-6+'ÿ.confirmation
                                   (#%"-6!$"(#ÿ
     $+&$"#/ÿ!and
39ÿ testing     #'ÿ-removal
                      +6(4!ÿ(of%ÿ
19
     +#4"-(#6+#$!5ÿ"impacted
    environmentally           6)!.$+'ÿ&soil
                                          ("ÿ
     "'+#$"%"+'ÿ"in#ÿ)previous
1ÿ identified
20                       -+4"(*&ÿ&site
                                    "$+ÿtesting.
                                        $+&$"#/8ÿÿ
13ÿ Supporting
21     XYYZ[\]^_ÿ`        ]ab^cbdÿ
                      Evidence:
11ÿ Biophysics
22
     Q"(),5&".&ÿ;Environmental
                       #4"-(#6+#$!ÿ
     D&&+&&6+#$&1ÿ@Inc.,
14ÿ Assessments,
23                        #.81ÿISoil
                                 ("ÿRemediation
                                     E+6+'"!$"(#ÿ
     E+)(-$ÿ(of%ÿFindings
12ÿ Report         H"#'"#/&ÿfor %(-ÿ;Elÿe- +.(1ÿ@Inc.,
                                        Greco,    #.81ÿ
24
     I+)$8ÿ314,21ÿ12006;6Jÿ=(PTFS00023600-
    Sept.                    GHI 146 0
     GHI 14664CJÿ;7
15ÿ PTFS00023663);
25                            Ex.8ÿeÿ
                                   G$  (ÿthe
                                      to $,+ÿ
     :+.!-!$"(#ÿof(%ÿK"
16ÿ Declaration
26
                              .$(-ÿ9$
                          Victor      $+#ÿ
                                   Otten

17ÿ 527.
27
     RSgUÿQ;Dÿ
            BEA .      (#.*'+'ÿ$that
                     concluded       ,!$ÿ$the
                                           ,+ÿ             RSgUÿ:"
                                                           527.        &)*$+'8ÿÿ
                                                                    Disputed.
     &!6)"#/ÿ-results
18ÿ sampling
28                  +&*$&ÿV"showed
                              &,(3+'ÿno#(ÿ$threat
                                             ,-+!$ÿ$to(ÿ
                                                        112ÿ
                                                        224
 bcdeÿghijklmknojpokqrksÿÿÿtulvwexyÿz{hjgÿÿjÿ|}
                                                {z~eÿnjgzgiÿÿÿceÿggÿuÿg{{ÿÿÿceÿt
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22838ofof277
                                                          Page         87 Page
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                                  #:33819



 3ÿ
 1

 1ÿ          OPPOSINGÿPARTIES'
                               ÿ
 2               ÿ
                 ALLEGEDLY                                   ÿPLAINTIFFS'
                                                            MOVING              ÿ
 4ÿ            ÿ
             UNCONTROVERTED                             ÿÿ
                                                      RESPONSE                        ÿ
                                                                          AND SUPPORTING
 3
           ÿ
           MATERIAL
 5ÿ SUPPORTING             FACTSÿ    ÿ
                                     AND                              ÿ
                                                                      EVIDENCE
 4           ÿ            ÿ
                             EVIDENCE
 2ÿ
 5
     !"#$%&'(ÿ)since
 6ÿ demonstrated
    groundwater     *#+(ÿboring
                         ,!*#ÿ-.    7ÿ
                                   B-7               >??@ABCDEÿF
                                                   Supporting             CGHDIHJÿÿ
                                                                     Evidence:
     $(/!#)'&'($ÿ0vertical
                     ('*+&1ÿ&attenuation
                                ''(#"&'*!#ÿof!2ÿ Testing
 6


 7ÿ  ,!'3ÿ4PCE
            56ÿ&and
                 #$ÿ756ÿ   '!ÿ#non-detect          7()'*#ÿ8performed
                                 !#.$('(+'ÿ&at'ÿ was            (2!/($ÿ&at'ÿthe    '3(ÿ-.B-77ÿ,boring
                                                                                                  !*#ÿ
 7  both
 8ÿ surface
                     TCE to
     '(/*#&'*!#ÿ$depth
                   (8'3ÿ!of2ÿ35'
                             429ÿ,below
                                   (1!%ÿgrade     %&)ÿ*incomplete
                                            &$(ÿ account  #+!/81('(ÿ&and    #$ÿ2failed
                                                                                   &*1($ÿto'!ÿ'take
                                                                                                &O(ÿinto
                                                                                                       *#'!ÿ
 8  termination
     )" 2&+ (ÿ
             :, );
                  <= ÿ
                     ÿ                             &++!"#'ÿ'the3(ÿ)soil
                                                                     !*1ÿcomposition
                                                                           +!/8!)*'*!#ÿand     &#$ÿ'the3(ÿ
 9ÿ
             (bgs)."
                                                   %&'(ÿ'table
                                                   water     &,1(ÿ&at'ÿ'the
                                                                         3(ÿlocation.
                                                                             1!+&'*!#<ÿP"  Mutch '+3ÿ
      >??@ABCDEÿF    CGHDIHJÿ                     Q(8!'Rÿ&at'ÿ77-10
                                                                   .3ÿ'to!ÿ77-11
                                                                               .33ÿSÿ &M    *<ÿ77-7.7ÿ
 9

3ÿ Supporting
10
                  Evidence:                        Report,
                                                   :T!+O('ÿU!      )<ÿ9903-204
                                                                           4.15ÿ4Page
                                                                                          Fig.
                                                                                       &(ÿID VTÿ
33ÿ  KL
    Id.<ÿ
        &'
        at ÿ
           4 7MN     1 46
            PTFS00023604.   5<ÿ                    (Docket
                                                   #•25423-24
                                                               Nos.
                                                   WX12514.15ÿ&Sÿ9903-210   4.13ÿ4Page  &(ÿID VTÿ
                                                   WX12274;ÿÿ
11

31ÿ
12
                                                   #-.25573)

34ÿ                                                73(ÿ$data
                                                   The     &'&ÿ2from
                                                                  !/ÿsamples
                                                                         )&/81()ÿ'taken&O(#ÿ2from !/ÿ15, 32Rÿ
13
                                                   1Rÿ125,2Rÿ&and
                                                   20,         #$ÿ4352ÿfeet
                                                                         2(('ÿ,bgs)ÿY"can
                                                                                       +&#ÿby ,Zÿ#no!ÿ
35ÿ
14                                                 /(&#)ÿ,be(ÿ'taken
                                                   means          &O(#ÿ'to!ÿindicate
                                                                              *#$*+&'(ÿ'that 3&'ÿ'the3(ÿ
32ÿ                                                /&[*/"/ÿ$depth
                                                   maximum          (8'3ÿ!of2ÿPCE
                                                                                456ÿ8penetration
                                                                                          (#('&'*!#ÿ
15

36ÿ
                                                   %&)ÿlimited
                                                   was   1*/*'($ÿ'to!ÿ1252ÿ2feet
                                                                              (('ÿat&'ÿ-.
                                                                                        B-7"7=ÿbecause:
                                                                                                ,(+&")(Xÿ
                                                   3<ÿU!
                                                      Noÿ  )sample
                                                             &/81(ÿwas %&)ÿ'taken
                                                                               &O(#ÿ&at'ÿ430ÿ2feet,
                                                                                                 (('Rÿ&and#$ÿ
16

37ÿ
17
                                                   1.
                                                   *'ÿ/&
                                                   it may Zÿ3have
                                                               &0(ÿcontained
                                                                    +!#'&*#($ÿ4PCE.    56<ÿP" Mutch  '+3ÿ
38ÿ                                                Q(8!'Rÿ&at'ÿ77-11
                                                   Report,         .33ÿ:(Docket
                                                                           T!+O('ÿU!    No.< ÿ903-204
                                                                                              94.15ÿ
                                                   4&(ÿVIDTÿW#:25424).
                                                                 X12515;<ÿÿÿ
18

39ÿ
19
                                                   Page

1ÿ                                                 1<ÿ73
                                                   2. The (ÿ'testing
                                                              ()'*#ÿdone
                                                                        $!#(ÿ,byZÿ-6\R
                                                                                     BEA,ÿ     6\Vÿ&and
                                                                                               EAI       #$ÿ
20
                                                   &#Zÿ!others
                                                   any    '3()ÿ!of2ÿthis
                                                                      '3*)ÿ&area(&ÿ!only
                                                                                       #1Zÿtested
                                                                                            '()'($ÿ2for!ÿ
13ÿ
21                                                 Y0('*+&1=ÿmigration
                                                   "vertical"    /*&'*!#ÿ%3     when (#ÿY"[i]t
                                                                                             ]*^'ÿis*)ÿwell-
                                                                                                       %(11.
11ÿ                                                 (+!#*_($ÿ'that
                                                   recognized       3&'ÿinfiltrating
                                                                          *#2*1'&'*#ÿ/!        *)'"(ÿ*in#ÿ
                                                                                            moisture
22

14ÿ
                                                   '3(ÿ0vadose
                                                   the    &$!)(ÿ_zone
                                                                    !#(ÿcan+&#ÿ2follow
                                                                                   !11!%ÿ+complex
                                                                                               !/81([ÿ
23                                                 8&'3%&Z)ÿ,because
                                                   pathways        (+&")(ÿ!of2ÿcapillary
                                                                                   +&8*11&Zÿ&action
                                                                                                  +'*!#ÿ
15ÿ                                                &#$ÿ+complex
                                                   and    !/81([ÿ1lithologies."
                                                                        *'3!1!*()<=ÿId.  KLÿ̀
24

12ÿ                                                Y\))"/*#ÿ8purely
                                                   "Assuming          "(1Zÿ0vertically-downward
                                                                                ('*+&11Z.$!%#%&$ÿ
25                                                 /*&'*!#ÿin*#ÿ'the3(ÿ0vadose
                                                   migration                 &$!)(ÿ_zone !#(ÿis*)ÿ&aÿ
16ÿ                                                8(*1!")ÿand
                                                   perilous    &#$ÿ!often
                                                                        2'(#ÿ*incorrect
                                                                               #+! (+'ÿ
26

17ÿ                                                &))"/8'*!#<=ÿKId.Lÿ̀"[0]ne
                                                   assumption."             Y]a^#(ÿcannot
                                                                                        +&##!'ÿreliably
                                                                                                      (1*&,1Zÿ
27                                                 $(2*#(ÿ'the
                                                   define     3(ÿvertical
                                                                  0('*+&1ÿ(extent
                                                                                ['(#'ÿ!of2ÿ
18ÿ
28                                                 +!#'&/*#&'*!#ÿin*#ÿ'the3(ÿ0vadose
                                                   contamination                    &$!)(ÿ_zone !#(ÿwith
                                                                                                       %*'3ÿ
                                                112ÿ
                                                225
 RSTUÿWXYZ[\][^_Z`_[ab[cÿÿÿde\fgUhiÿjukXvZWÿÿZÿlm
                                               w^nUoÿ^ZpWjpWYÿÿÿqSrUÿWWjÿesÿWkkÿÿÿqSrUÿtd
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 22939ofof277
                                                          Page         87 Page
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                                  #:33820



 3ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                      ÿPLAINTIFFS'
                                                              MOVING               ÿ
 4ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE                           ÿ
                                                                            AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                       ÿ
                                                                         EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
 5

 2ÿ                                               aÿsingle
                                                       !"#$%ÿ&boring.
                                                                  '(!"#)ÿWhat*+,ÿ-  may .ÿappear
                                                                                               //%(ÿ!in"ÿaÿ
 6
                                                    !"#$%ÿ&borehole
                                                  single        '(%+'$%ÿ,to'ÿbe&%ÿ,the+%ÿbase
                                                                                          &%ÿ'of0ÿ,the +%ÿ
 7ÿ
 7                                                 1'",-!",!'"ÿmay
                                                  contamination            -.ÿsimply
                                                                                    !-/$.ÿ!indicate
                                                                                               "2!1,%ÿthat ,+,ÿ
 8ÿ                                                ,+%ÿ/plume
                                                  the      $3-%ÿ+hasÿ&been %%"ÿdiverted
                                                                                  2!4%(,%2ÿ$laterally
                                                                                                ,%($$.ÿ
 8
                                                   23%ÿ,to'ÿ$lithologic
                                                  due          !,+'$'#!1ÿvariability
                                                                             4(!&!$!,.ÿand   "2ÿ!isÿ"now '5ÿ
 9ÿ
 9                                                 '3,!2%ÿ,the+%ÿvertical
                                                  outside             4%(,!1$ÿ,trajectory
                                                                                   (6%1,'(.ÿof'0ÿ,the+%ÿ
3ÿ
10                                                 &'(!"#)7ÿ8Id.9)ÿÿ
                                                  boring."

33ÿ                                                4)ÿ:+
                                                  3.   The  %ÿ35-foot
                                                               46;0'',ÿsample
                                                                            -/$%ÿ5  wasÿ   ,taken
                                                                                               <%"ÿ0from
                                                                                                        ('-ÿaÿ
                                                   1$.ÿstratum.
                                                             ,(,3-)ÿ8Id.9=ÿat,ÿ77-11
                                                                                   ;33ÿ>ÿ    ?!#)ÿ43ÿ
11

31ÿ
12
                                                  clay
                                                   @A'1<%,ÿB'
                                                  (Docket        No.)  ÿ9903-210
                                                                            4;13ÿPage
                                                                                         & Fig.
                                                                                     C#%ÿDIDAÿ
34ÿ                                                EF16629G)ÿDIt,ÿis!ÿ/probable
                                                  #•.25569).                ('&&$%ÿthat,+,ÿ,the+%ÿPCE
                                                                                                     CHIÿ
                                                   /$3-%ÿ-!       #(,!"#ÿ2downward
                                                                                '5"5(2ÿ,through+('3#+ÿthe   ,+%ÿ
13

35ÿ
14
                                                  plume
                                                   42'%ÿJzone
                                                  vadose
                                                               migrating
                                                                 '"%ÿ2diverted
                                                                          !4%(,%2ÿaround
                                                                                      ('3"2ÿ,this +!ÿ$low'5ÿ
36ÿ                                                /%(-%&!$!,.ÿstratum.
                                                  permeability            ,(,3-)ÿ8Id.9=ÿat,ÿ77-11
                                                                                                ;33ÿ
                                                   @A'1<%,ÿB'    No.)  ÿ9903-204
                                                                            4;15ÿPageC#%ÿDIDAÿ
15

32ÿ
16
                                                  (Docket
                                                   EF16515G)ÿÿ
                                                  #:25424).
37ÿ
17
                                                   5)ÿDIn"ÿ,the
                                                  4.         +%ÿlate
                                                                 $,%ÿ31990s,
                                                                          99 Kÿ,the     #('3"25,%(ÿ
                                                                                    +%ÿgroundwater
38ÿ
18                                                 ,&$%ÿ5
                                                  table     wasÿ   approximately
                                                                     //('L!-,%$.ÿ4321ÿto,'ÿ4362ÿ0feet     %%,ÿ
39ÿ                                                &#)ÿ8Id.9=ÿThus,
                                                  bgs.          :+3Kÿ,the  +%ÿwater
                                                                               5,%(ÿ,table
                                                                                          &$%ÿ5wasÿ   above
                                                                                                           &'4%ÿ
19
                                                   ,+%ÿ435-foot
                                                  the      6;0'',ÿsample
                                                                       -/$%ÿlocation.
                                                                                 $'1,!'")ÿ8Id.9=ÿ:+ Thus, 3Kÿ
1ÿ
20                                                ,+%ÿCPCE
                                                  the      HIÿplume
                                                                 /$3-%ÿ-!       #(,!"#ÿ4vertically-
                                                                            migrating         %(,!1$$.;
13ÿ                                               2'5"5(2ÿ,through
                                                  downward            +('3#+ÿ,the+%ÿ4vadose
                                                                                         2'%ÿJzone '"%ÿwas 5ÿ
21

11ÿ
                                                  !",%(1%/,%2ÿ&by.ÿ$laterally
                                                  intercepted               ,%($$.ÿ0flowing
                                                                                         $'5!"#ÿ
22                                                #('3"25,%(ÿ!in"ÿthe
                                                  groundwater               ,+%ÿ3upper
                                                                                   //%(ÿ/part(,ÿof'0ÿ,the+%ÿ
14ÿ                                                 ,3(,%2ÿJzone
                                                  saturated          '"%ÿand
                                                                            "2ÿ"not',ÿcarried
                                                                                       1((!%2ÿ0further
                                                                                                    3(,+%(ÿ
23

15ÿ                                               2'5"5(2ÿ,to'ÿ,the
                                                  downward                +%ÿ435-foot
                                                                                6;0'',ÿdepth.
                                                                                           2%/,+)ÿ8Id.9=ÿ
24                                                M('3"25,%(ÿ5'
                                                  Groundwater                3$2ÿ+have
                                                                          would      4%ÿ&been%%"ÿ
16ÿ                                               1'",-!",%2ÿ!in"ÿ,this
                                                  contaminated                +!ÿ$location
                                                                                     '1,!'"ÿ&by.ÿPCECHIÿ
25

12ÿ                                               -!#(,!"#ÿ2downward
                                                  migrating           '5"5(2ÿ,through+('3#+ÿthe  ,+%ÿ
26                                                42'%ÿJzone.
                                                  vadose         '"%)ÿ8Id.9=ÿ:+
                                                                             The  %ÿLos
                                                                                     N'ÿO"      #%$%ÿ
                                                                                           Angeles
17ÿ                                               H'3",.ÿ?Fire
                                                  County          !(%ÿA%    /(,-%",ÿfound
                                                                        Department        0'3"2ÿ,that+,ÿsoil'!$ÿ
27

18ÿ                                               "2ÿ#groundwater
                                                  and       ('3"25,%(ÿ1contaminated
                                                                                '",-!",%2ÿ5!      with,+ÿ
28                                                 PQHÿat,ÿ,the+%ÿCProperty
                                                  VOCs                    ('/%(,.ÿand "2ÿindicated
                                                                                            !"2!1,%2ÿ,that  +,ÿ
                                               112ÿ
                                               226
 YZ[\ÿ^_`abcdbefagfbhibjÿÿÿklcmn\opÿq}r_za^ÿÿaÿst
                                               ~`u\vÿeaw^qw^`ÿÿÿxZy\ÿ^zeÿl{ÿ^rrÿÿÿxZy\ÿ|k
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23040ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32481
    ÿ
                                  #:33821



 3ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                    ÿPLAINTIFFS'
                                                            MOVING               ÿ
 4ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE                          ÿ
                                                                          AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                    ÿ
                                                                      EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
 5

 7ÿ                                                !"ÿ#in$ÿ%the&'ÿ'eastern
                                                  VOCs                  ("%')$ÿportion
                                                                                  *+)%#+$ÿof+,ÿ%the &'ÿ
 6
                                                  -)+*')%.ÿ/"have
                                                  Property       &(0'ÿbeen1''$ÿfound
                                                                                   ,+2$3ÿ%to+ÿ'extend
                                                                                                   4%'$3ÿ%to+ÿ
 2ÿ
 7                                                56ÿ7[i.e.,
                                                  GW      #8'89ÿ:groundwater]."
                                                                   )+2$3;(%')<8=ÿPis.'    ->"8?ÿ@ARFJN,BC9ÿ
 8ÿ                                               D48ÿ9921ÿE(Docket
                                                  Ex.         F+GH'%ÿC+   No.8  ÿ9903-96)
                                                                                     4I97Jÿ(Los
                                                                                              EK+"ÿ
 8
                                                  L$:'>'"ÿCounty
                                                  Angeles      !+2$%.ÿAFire   #)'ÿF'   *()%M'$%ÿ
                                                                                    Department
 9ÿ
 9                                                N'M+)($32Mÿ)re'ÿPalley
                                                  Memorandum                 -(>>'.ÿ-Property
                                                                                          )+*')%.ÿE(Jan.
                                                                                                       B($8ÿ
3ÿ                                                3997J8ÿO&
                                                  1996).    They '.ÿ,further
                                                                       2)%&')ÿobserved
                                                                                  +1"')0'3ÿ%that  &(%ÿ%the
                                                                                                        &'ÿ
10
                                                  /G>()#,#')ÿ(area"
                                                  "clarifier       )'(=ÿ(at%ÿthe
                                                                             %&'ÿ-Property
                                                                                     )+*')%.ÿis#"ÿ
33ÿ
11                                                /G+$%(M#$(%'3ÿ%to+ÿ56ÿ
                                                  "contaminated              GW ;#   with%&ÿVOCs."
                                                                                              !"8=ÿId.   PQRÿÿ
31ÿ
12
                                                  -!Dÿ;(
                                                  PCE     was" ÿ(also
                                                                   >"+ÿGcontinuously
                                                                         +$%#$2+2">.ÿdetected3'%'G%'3ÿ#in$ÿ
34ÿ                                               1+)#$:ÿDI
                                                  boring    E-9,99ÿ$near
                                                                      '()ÿ(aÿ"storage
                                                                                %+)(:'ÿshed,"&'39ÿ(at%ÿ
                                                  3'*%&"ÿ+of,ÿ310,9ÿ15,369ÿ120,9ÿ124,59ÿ(and
                                                                                          $3ÿ30 4ÿ,feet
                                                                                                     ''%ÿ(at%ÿ
13

35ÿ
14
                                                  depths
                                                  G+$G'$%)(%#+$"ÿbetween
                                                  concentrations         1'%;''$ÿ1234ÿ(and    $3ÿ31045ÿ
36ÿ                                               2:SH:8ÿN2
                                                  ug/kg.    Mutch %G&ÿ@'    *+)%9ÿ(at%ÿ7-11
                                                                       Report,          2I33ÿE(Docket
                                                                                                  F+GH'%ÿ
                                                  C+8ÿ9903-204
                                                            4I15ÿ-Page  (:'ÿTIDFÿ#:25424).
                                                                                    UV16515J8ÿO&        #"ÿ
15

37ÿ
16
                                                  No.
                                                  3(%(ÿindicates
                                                  data   #$3#G(%'"ÿ%that &(%ÿ-PCE!Dÿ;( was"
                                                                                                    This
                                                                                             ÿtransported
                                                                                              %)($"*+)%'3ÿ
32ÿ                                               %&)+2:&ÿthe
                                                  through     %&'ÿ0vadose
                                                                      (3+"'ÿWzone +$'ÿto%+ÿ%the&'ÿ&historic
                                                                                                    #"%+)#Gÿ
                                                  '>'0(%#+$ÿ+of,ÿ%the &'ÿgroundwater
                                                                          :)+2$3;(%')ÿ%table     (1>'ÿ(and
                                                                                                         $3ÿ
17

38ÿ
18
                                                  elevation
                                                  #M*(G%'3ÿ%the&'ÿgroundwater
                                                  impacted            :)+2$3;(%')ÿ;#        with%&ÿ-PCE.
                                                                                                     !D8ÿ
39ÿ
19                                                PQRÿÿ
                                                  Id.
1ÿ
20                                                O&#"ÿ"statement
                                                  This     %(%'M'$%ÿ#is"ÿalso         #"*2%'3ÿbecause
                                                                             (>"+ÿ3disputed        1'G(2"'ÿ
13ÿ                                               #%ÿ)rests
                                                  it   '"%"ÿ+on$ÿ%the
                                                                   &'ÿfaulty
                                                                       ,(2>%.ÿ*premise
                                                                                    )'M#"'ÿ%that &(%ÿ%testing
                                                                                                       '"%#$:ÿ
21

11ÿ
                                                  "&+;'3ÿ%there
                                                  showed       &')'ÿ;( was"  ÿ$no+ÿPCE
                                                                                    -!Dÿ
22                                                G+$%(M#$(%#+$8ÿOn$ÿ%the&'ÿGcontrary,
                                                  contamination.                       +$%)().9ÿtests
                                                                                                    %'"%"ÿ3do+ÿ
14ÿ                                               $+%ÿshow
                                                  not   "&+;ÿ%the&'ÿ*presence
                                                                        )'"'$G'ÿof+,ÿ-PCE,  !D9ÿO!D9
                                                                                                   TCE,ÿ
23

15ÿ                                               &'4(0(>'$%ÿGchromium
                                                  hexavalent         &)+M#2Mÿor+)ÿ+other   %&')ÿVOCs   !"ÿ
24                                                1'G(2"'ÿ%they
                                                  because       &'.ÿ;'were )'ÿ$not+%ÿtested
                                                                                     %'"%'3ÿ,for+)ÿ%these
                                                                                                      &'"'ÿ
16ÿ                                               "21"%($G'"8ÿTIn$ÿ%the&'ÿ)report
                                                  substances.                   '*+)%ÿGcited
                                                                                           #%'3ÿas("ÿ
25

17ÿ                                               "2**+)%ÿ,for+)ÿ%this
                                                  support            &#"ÿ"statement,
                                                                            %(%'M'$%9ÿBEA   XDLÿGclearly
                                                                                                      >'()>.ÿ
26                                                "%(%'"ÿ%that
                                                  states    &(%ÿ#it%ÿwas
                                                                     ;("ÿ&hired
                                                                              #)'3ÿ"solely
                                                                                      +>'>.ÿto%+ÿ)remove
                                                                                                     'M+0'ÿ
12ÿ                                               "+#>ÿ,from
                                                  soil   )+Mÿ21ÿareas
                                                                    ()'("ÿ#identified
                                                                              3'$%#,#'3ÿ1by.ÿother+%&')ÿ
27

18ÿ                                               #$0'"%#:(%#+$"ÿ#in$ÿ31994
                                                  investigations              995ÿ(and $3ÿ1997.
                                                                                            39928ÿOtten %%'$ÿ
28                                                F'G>89ÿD4
                                                  Decl.,    Ex.8 ÿ5ÿ
                                                                  GE   F+GH'%ÿNo.
                                                                      (Docket       C+8ÿ9931-7
                                                                                             43I2ÿ-Page(:'ÿ
                                               112ÿ
                                               227
 UVWXÿZ[\]^_`^ab]cb^de^fÿÿÿgh_ijXklÿmyn[v]Zÿÿ]ÿop
                                               zZqXrÿa]sZmsZ\ÿÿÿtVuXÿZv\ÿhwÿZnnÿÿÿtVuXÿxg
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23141ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID

    ÿ
                                  #\32A82
                                  #:33822



 3ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                   ÿPLAINTIFFS'
                                                          MOVING                   ÿ
 4ÿ           ÿ
            UNCONTROVERTED                            ÿÿ
                                                    RESPONSE                AND SUPPORTING  ÿ
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                     ÿ
                                                                       EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
 5

 7ÿ                                               ÿ!#:26415)
                                                  ID    "17536#ÿ$(Biophysics
                                                                       %&'()*+&,+ÿ-.               /012ÿ
                                                                                              Envtl.
 6
                                                  3++4++54.0+6ÿInc.,
                                                  Assessments,            .,26ÿ7Soil'&1ÿRemediation
                                                                                           84549&:0&'.ÿ
 8ÿ
 7                                                84(';0ÿ$(Sept.
                                                  Report     74(02ÿ314,56ÿ12006)7#ÿ:at0ÿ31).#2ÿBEA     %-3ÿ9did&9ÿ
 2ÿ                                               .'0ÿtest
                                                  not  04+0ÿ:any
                                                               .*ÿ'other
                                                                       0)4;ÿareas
                                                                               :;4:+ÿ'of<ÿthe  0)4ÿ=Property
                                                                                                          ;'(4;0*ÿ
 8
                                                  0'ÿ9determine
                                                  to   404;5&.4ÿ>)          40)4;ÿ0they
                                                                      whether           )4*ÿwere>4;4ÿ
 9ÿ
 9                                                ,'.0:5&.:049ÿ?by*ÿ=PCE,
                                                  contaminated                   @-6ÿTCE, A@-6ÿ)hexavalent
                                                                                                        4B:/:14.0ÿ
3ÿ                                                ,);'5&C5ÿ'or;ÿother
                                                  chromium             '0)4;ÿDE@+ VOCs.2       ÿFId.GHÿDespite
                                                                                                            4+(&04ÿ
10
                                                  4/&94.,4ÿ'of<ÿdischarge
                                                  evidence          9&+,):;I4ÿ'of<ÿ>:         waste+04ÿ
33ÿ
11                                                ,'.0:&.&.Iÿ9975,000
                                                  containing         866 ÿ0times     &54+ÿ5'   more  ;4ÿthan0):.ÿ0the)4ÿ
31ÿ                                               )4:10)J(;'04,0&/4ÿ1level
                                                  health-protective              4/41ÿ:amounts
                                                                                            5'C.0+ÿ'of<ÿ
12
                                                  )4B:/:14.0ÿ,chromium
                                                  hexavalent         );'5&C5ÿ$(19.5        3926ÿppm),
                                                                                                   ((5#6ÿ.no'ÿ
34ÿ
13                                                <'11'>ÿCup(ÿ0testing
                                                  follow          4+0&.Iÿ>:   was+    ÿ4ever
                                                                                           /4;ÿdone.
                                                                                                 9'.42ÿKC     Mutch0,)ÿ
35ÿ                                               84(';06ÿ:at0ÿ87-7J8ÿ$(Docket
                                                  Report,                    ',L40ÿM'      No.2 ÿ903-204
                                                                                                  94J15ÿ
14
                                                  =:I4ÿIDÿ#:25420).
                                                  Page        !"1651#2ÿM'         Noÿ    0testing
                                                                                           4+0&.Iÿof'<ÿ0the)4ÿ+soil '&1ÿ
36ÿ
15                                                ';ÿIgroundwater
                                                  or   ;'C.9>:04;ÿ>:        was+   ÿ4ever
                                                                                       /4;ÿcompleted
                                                                                              ,'5(14049ÿ
37ÿ                                               ?4.4:0)ÿ0the)4ÿ+storm
                                                  beneath             0';5ÿdrain 9;:&.ÿ'or;ÿ0the  )4ÿflood
                                                                                                         <1''9ÿ
16
                                                  ,'.0;'1ÿ,channel
                                                  control     ):..41ÿ>)     where 4;4ÿN1      '?4O<';ÿ
                                                                                          Globe—for
38ÿ
17                                                94,:94+O9&+('+49ÿ'of<ÿ&industrial
                                                  decades—disposed                         .9C+0;&:1ÿwaste   >:+04ÿ
32ÿ                                               ?4<';4ÿ+sewers
                                                  before     4>4;+ÿ>4    were ;4ÿ&installed
                                                                                     .+0:1149ÿ:at0ÿthe    0)4ÿ
18
                                                  =;'(4;0*2ÿFId.G2ÿIn.ÿ31988,
                                                  Property.                  9226ÿ0the    )4ÿclarifiers
                                                                                              ,1:;&<&4;+ÿ
39ÿ
19                                                >4;4ÿ<filled
                                                  were    &1149ÿ>& with 0)ÿ0trash
                                                                             ;:+)ÿ:and    .9ÿ'oil&1ÿand:.9ÿ>:      +04ÿ
                                                                                                               waste
1ÿ                                                >:+ÿ9discharging
                                                  was    &+,):;I&.Iÿ0to'ÿthe      0)4ÿ+street:
                                                                                            0;440Pÿ)however,
                                                                                                          '>4/4;6ÿ
20

13ÿ
                                                  .'ÿ0testing
                                                  no   4+0&.Iÿ>: was+    ÿ9done
                                                                            '.4ÿin&.ÿthese0)4+4ÿ:areas ;4:+ÿ<for';ÿ
21                                                A@-6ÿ=PCE,
                                                  TCE,      @-6ÿ'or;ÿother
                                                                         '0)4;ÿDE@+ VOCs.2       ÿFId.G2ÿat:0ÿ87-8;
                                                                                                                 J2Pÿ
11ÿ                                               =1+2Qÿ8R
                                                  Pis.'      SM6ÿ-B
                                                         RFJN,      Ex.2   ÿ101
                                                                            33ÿ$(Docket    ',L40ÿM'   No.2    ÿ903-
                                                                                                               94J
22

14ÿ                                               36#ÿ$(Inspection
                                                  105)    .+(4,0&'.ÿ84      Record,';9ÿ<for';ÿTalco A:1,'ÿ
23                                                =1:+0&,+6ÿK:
                                                  Plastics,   May   *ÿ318,26ÿ1988).
                                                                               3922#2ÿ7Stained 0:&.49ÿIground   ;'C.9ÿ
15ÿ                                               +C;<:,4ÿ>:
                                                  surface    was+  ÿ.noted
                                                                       '049ÿ&in.ÿ0the  )4ÿsouthwest
                                                                                             +'C0)>4+0ÿ
24

16ÿ                                               ,';.4;ÿ'of<ÿ0the
                                                  comer          )4ÿProperty
                                                                       =;'(4;0*ÿin&.ÿ0the)4ÿ:area       ;4:ÿ'of<ÿ
25                                                <'C;ÿ(partially-filled
                                                  four    :;0&:11*J<&1149ÿ655-gallon  6JI:11'.ÿ9drums;    ;C5+Pÿ
17ÿ                                               ?C06ÿ+still,
                                                  but,   0&116ÿ.no'ÿtesting
                                                                     04+0&.Iÿ<for';ÿA@-6   TCE,ÿ      =PCE,
                                                                                                         @-6ÿor';ÿ
26

18ÿ                                               '0)4;ÿDE@+
                                                  other   VOCsÿ      >:
                                                                     was+   ÿ,completed.
                                                                                 '5(140492ÿD:               14.TC41:ÿ
                                                                                                     Valenzuela
27                                                E((Q.ÿDecl.,
                                                  Opp'n       4,126ÿ-B Ex.2  ÿ4,56ÿ:at0ÿ4313ÿ(Docket
                                                                                              $',L40ÿM'         No.2  ÿ
12ÿ
28                                                959J43#ÿ$3Nÿ@'.+C10:.0+6ÿ=):+4ÿÿ
                                                  949-31)     (AIG       Consultants,             Phase        I
                                               112ÿ
                                               228
 jklmÿopqrstusvwrxwsyzs{ÿÿÿ|}t~mÿproÿÿrÿmÿvrooqÿÿÿkmÿooÿ}ÿoÿÿÿkmÿ|
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed
                                  #:32483
                                             04/29/21
                                          Filed 05/02/22Page 23242ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID

    ÿ
                                  #:33823



 3ÿ
 1

 1ÿ                    ÿPARTIES'
                OPPOSING            ÿ
 2                 ÿ
                   ALLEGEDLY                                      ÿPLAINTIFFS'
                                                                 MOVING                ÿ
 4ÿ               ÿ
                UNCONTROVERTED                               ÿÿ
                                                           RESPONSE                         ÿ
                                                                                AND SUPPORTING
 3
             ÿ
             MATERIAL
 5ÿ SUPPORTING                 FACTSÿ     ÿ
                                          AND                               ÿ
                                                                            EVIDENCE
 4              ÿ             ÿ
                                  EVIDENCE
 6ÿ
 5

 7ÿ                                                     !"#$%&'()ÿ*Site
                                                      Environmental               "'&ÿ+,  ,&,,%&'ÿ-(June
                                                                                      Assessment         ./&ÿ
 6
                                                       40ÿ32251ÿ(at'ÿ121).
                                                      30,1994)               312ÿNo
                                                                                  3$ÿ%&     ("45/)ÿ
                                                                                       meaningful
 8ÿ
 7                                                     "!&,'"4('"$ÿ$of5ÿ'the
                                                      investigation               6&ÿrole
                                                                                      #$)&ÿ'the6&ÿlagoons
                                                                                                  )(4$$,ÿ6had(7ÿ
 9ÿ                                                    /8$ÿthe
                                                      upon      '6&ÿnature
                                                                        ('/#&ÿ(and7ÿ&extent
                                                                                        9'&'ÿof$5ÿ'the6&ÿ
 8
                                                       :$'(%"('"$ÿof$5ÿ'the
                                                      contamination                 6&ÿProperty
                                                                                        ;#$8&#'<ÿ6has(,ÿ&ever
                                                                                                            !&#ÿ
 2ÿ
 9                                                     =&&ÿcompleted.
                                                      been      :$%8)&'&72ÿ>See??ÿMutch @/':6ÿA&      8$#'0ÿ(at'ÿ
                                                                                                  Report,
3ÿ                                                     8B18ÿ'to$ÿ7-28
                                                      7-27         8B19ÿ(Docket
                                                                           -C$:D&'ÿ3$    No.2 ÿ2903-204
                                                                                                   4B15ÿPage
                                                                                                           ;(4&ÿ
10
                                                      ECÿF#:25440-41).
                                                      ID      G1655B5312ÿH6       The &ÿlagoons
                                                                                        )(4$$,ÿI&       #&ÿ
                                                                                                     were
33ÿ
11                                                    8#&,&'ÿ$onÿ'the6&ÿ;Property
                                                      present                    #$8&#'<ÿ5from
                                                                                             #$%ÿ(at'ÿ)least
                                                                                                        &(,'ÿ
31ÿ                                                   3249ÿ-Jÿ1973,
                                                      1938        32840ÿ=but,  /'0ÿ"inexplicably,
                                                                                      &98)":(=)<0ÿ6have  (!&ÿ
12
                                                         &!&#ÿbeen
                                                      never      =&&ÿ(aÿ%(  majorK$#ÿ5focus
                                                                                       $:/,ÿof$5ÿ
34ÿ
13                                                    "!&,'"4('"$2ÿLId.MNÿ
                                                      investigation.
35ÿ
14
     OPQRÿS+ÿ
36ÿ 528.       BEA : $:)/7&7ÿ'that
                    concluded       6('ÿ'the
                                          6&ÿ          OPQRÿC"
                                                      528.          ,8/'&72ÿÿ
                                                                 Disputed.
15
     :$:&'#('"$,ÿof$5ÿ8petroleum
    concentrations             &'#$)&/%ÿand
                                          (7ÿ Supporting VWWXYZ[\]ÿ^           [_`\a`bÿÿ
     ,$)!&',ÿidentified
37ÿ solvents
16               "7&'"5"&7ÿ"inÿ31994
                                   225ÿ"had
                                        T6(7ÿ                              Evidence:
     ",/55":"&'ÿ%(
38ÿ insufficient       ,,ÿ5for$#ÿ!vertical
                    mass           &#'":()ÿ            +,ÿ7discussed              &,8$,&ÿto'$ÿA*
                                                              ",:/,,&7ÿ"inÿ#response                  e@cÿ
17
     %"4#('"$0ÿwith
    migration,     I"'6ÿ,sorption
                          $#8'"$ÿ(and7ÿ               As
                                                       618ÿ"[i]t
                                                              Tf"g'ÿis",ÿI&  ))B#&:$4"h&7ÿ'that
                                                                                                  RSUMF
                                                                                                   6('ÿ
18   7&,$#8'"$0ÿ"inÿ&excess
39ÿ desorption,        9:&,,ÿof$5ÿ(aÿ5few
                                        &Iÿfeet."
                                            5&&'2Uÿÿ 527
                                                       "5")'#('"4ÿ%$
                                                      infiltrating
                                                                         well-recognized
                                                                              ",'/#&ÿ"inÿ'the
                                                                         moisture           6&ÿ!vadose
                                                                                                  (7$,&ÿzone
                                                                                                           h$&ÿ
32ÿ Supporting
19    VWWXYZ[\]ÿ^      [_`\a`bÿ                       :(ÿ5follow
                                                      can      $))$Iÿ:complex
                                                                          $%8)&9ÿ8pathways
                                                                                         ('6I(<,ÿbecause
                                                                                                     =&:(/,&ÿ
1ÿ Id.
                     Evidence:
                                                       $5ÿ:capillary
                                                      of     (8"))(#<ÿ(action
                                                                            :'"$ÿ(and7ÿcomplex
                                                                                           :$%8)&9ÿ
20
     LM2ÿat('ÿ;PTFS00023607.
                Hc*d 14782ÿ                            )"'6$)$4"&,2UÿMutch
                                                      lithologies."        @/':6ÿReport,
                                                                                      A&8$#'0ÿ87-11 B33ÿ
13ÿ
21                                                     -C$:D&'ÿ3$
                                                      (Docket       No.2  ÿ2903-204
                                                                               4B15ÿPage ;(4&ÿEIDCÿ
11ÿ                                                    FG1651512ÿT"Assuming
                                                      #:25424).          +,,/%"4ÿpurely  8/#&)<ÿ!vertically-
                                                                                                     &#'":())<B
22
                                                       7$I I(#7ÿ%"
                                                      downward               4#('"$ÿ"inÿ'the
                                                                         migration           6&ÿvadose
                                                                                                  !(7$,&ÿhzone
                                                                                                             $&ÿ
14ÿ
23                                                     ",ÿa(ÿ8perilous
                                                      is        &#")$/,ÿ(and7ÿ$often5'&ÿ"incorrect
                                                                                             :$##&:'ÿ
15ÿ                                                    (,,/%8'"$2UÿLId.MNÿ"[0]ne
                                                      assumption."                Tfdg&ÿcannot
                                                                                             :( $'ÿ#reliably
                                                                                                        &)"(=)<ÿ
24
                                                       7&5"&ÿ'the
                                                      define      6&ÿvertical
                                                                        !&#'":()ÿ&extent
                                                                                      9'&'ÿ$of5ÿ
16ÿ
25                                                     :$'(%"('"$ÿin"ÿ'the6&ÿ!vadose
                                                      contamination                       (7$,&ÿhzone$&ÿwith
                                                                                                          I"'6ÿ
                                                      a( ÿ,single
                                                            "4)&ÿ=boring.
                                                                       $#"42ÿWhati6('ÿ%(      <ÿ(appear
                                                                                                  88&(#ÿ"inÿ(aÿ
17ÿ
26
                                                       ,"4)&ÿ=borehole
                                                      single       $#&6$)&ÿ'to$ÿbe=&ÿ'the
                                                                                         may
                                                                                         6&ÿbase
                                                                                              =(,&ÿ$of5ÿ'the
                                                                                                          6&ÿ
18ÿ
27                                                     :$'(%"('"$ÿmay
                                                      contamination            %(<ÿ,simply
                                                                                       "%8)<ÿ"indicate
                                                                                                    7":('&ÿthat
                                                                                                            '6('ÿ
19ÿ
28
                                                       '6&ÿ8plume
                                                      the      )/%&ÿ6has(,ÿ=been&&ÿdiverted
                                                                                      7"!&#'&7ÿ)laterally
                                                                                                    ('&#())<ÿ
                                                    112ÿ
                                                    229
 lmnoÿqrstuvwuxytzyu{|u}ÿÿÿ~voÿrtqÿÿtÿtoÿxtqqsÿÿÿmoÿqÿÿq ÿÿÿmoÿ~
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23343ofof277
                                                          Page         87 Page
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                                                                               ID
                                  #:32484
    ÿ
                                  #:33824



 4ÿ
 1

 1ÿ             OPPOSINGÿPARTIES'
                                ÿ
 2                   ÿ
                     ALLEGEDLY                               ÿPLAINTIFFS'
                                                            MOVING                 ÿ
 2ÿ               ÿ
                UNCONTROVERTED                          ÿÿ
                                                     RESPONSE                           ÿ
                                                                             AND SUPPORTING
 3
             ÿ
             MATERIAL
 5ÿ SUPPORTING              FACTSÿ    ÿ
                                      AND                               ÿ
                                                                        EVIDENCE
 4              ÿ         ÿ
                               EVIDENCE
 6ÿ
 5

 7ÿ                                                !ÿ"to#ÿ$lithologic
                                                   due        %"&#$#'%(ÿvariability
                                                                              )*+%*,%$%"-ÿ*and .ÿ%is/ÿ.now
                                                                                                         #0ÿ
 6
                                                   #"/%!ÿ"the&!ÿvertical
                                                   outside          )!+"%(*$ÿ"trajectory
                                                                                   +*1!("#+-ÿof#2ÿ"the&!ÿ
 8ÿ
 7                                                 ,#+%.'34ÿ5Id.63ÿÿ
                                                   boring."
 9ÿ
 8
                                                   7%"%#.*$$-8ÿsuch
                                                   Additionally,                      !"!+9%.*"%#.ÿis%/ÿ
                                                                        /(&ÿ*aÿdetermination
 9ÿ                                                %9:#//%,$!ÿ"to#ÿ9*
                                                   impossible            make ;!ÿdue
                                                                                   !ÿ"to#ÿ"the
                                                                                             &!ÿ
43ÿ                                                %.*!<*"!ÿ"testing
                                                   inadequate        !/"%.'ÿ*and  .ÿ%investigation
                                                                                        .)!/"%'*"%#.ÿof#2ÿ
10
                                                   &*=*+#/ÿ/substances
                                                   hazardous           ,/"*.(!/ÿ%in.ÿ"the &!ÿsoil,
                                                                                              /#%$8ÿ*as/ÿ/set!"ÿ
44ÿ                                                #"ÿ%in.ÿ>Plaintiffs'
                                                   out        $*%."%22/?ÿ+responses
                                                                                !/:#./!/ÿ"to#ÿ
                                                   @!;+#:%*?/ÿAB         CDEÿ527,   6188ÿ6531
                                                                                            24ÿ*and.ÿ546
                                                                                                       657ÿ
11

41ÿ
12
                                                   Kekropia's
                                                   0&%(&ÿare
                                                   which
                                                                     RSUMF
                                                             *+!ÿ%incorporated
                                                                    .(#+:#+*"!ÿ&herein  !+!%.ÿ,by-ÿ
42ÿ
13                                                 +!2!+!.(!3ÿ
                                                   reference.
45ÿ FGHIÿJK7ÿ(#.($!ÿ"&*"ÿL%."+%./%(ÿ 529.
14
                                                   FGHIÿ[%       /:"!3ÿÿ
                                                            Disputed.
46ÿ 529.
15
               BEA concluded that "intrinsic
     ,%#!'+**"%#.ÿand *.ÿweathering
                            0!*"&!+%.'ÿ&has*/ÿ Supporting
                                             .ÿ MNNOPQRSTÿU             RVWSXWYÿÿ
    biodegradation
     +!9#)!ÿ*all$$ÿ9!
47ÿ removed             */+*,$!ÿ/solvents
                     measurable    #$)!."/ÿ*and                       Evidence:
16
     (#."%.!/ÿ"to#ÿ+remove
48ÿ continues          !9#)!ÿ"the
                               &!ÿpetroleum
                                  :!"+#$!9ÿ The    \&!ÿ!entire
                                                           ."%+!ÿ]C^      1ÿ_+    #.0*"!+ÿ*area    +!*ÿ$lies
                                                                                                           %!/ÿ
17   &-+#(*+,#./34ÿÿ
    hydrocarbons."
                                                   %.ÿa*ÿrecharge
                                                   in
                                                                    OU-2
                                                         +!(&*+'!ÿ*area
                                                                              Groundwater
                                                                         +!*ÿdefined
                                                                                  !2%.!ÿ*as/ÿan*.ÿ*area
                                                                                                     +!*ÿ
49ÿ Supporting
18
       MNNOPQRSTÿU     RVWSXWYÿ                   0&!+!ÿ0*
                                                   where     water"!+ÿ2from
                                                                        +#9ÿprecipitation
                                                                                 :+!(%:%"*"%#.ÿand *.ÿ
4ÿ
                      Evidence:
                                                   #"&!+ÿ/shallow
                                                   other     &*$$#0ÿ0*   water"!+ÿsources,
                                                                                   /#+(!/8ÿ/such(&ÿ*as/ÿ
19
     563ÿat*"ÿZ§6.0.
13ÿ Id.         7333ÿ                              $!*;%.'ÿ/sewers
                                                   leaking       !0!+/ÿ*and  .ÿ(clarifiers,
                                                                                    $*+%2%!+/8ÿ+reaches
                                                                                                  !*(&!/ÿ
20                                                 "&!ÿunderlying
                                                   the    .!+$-%.'ÿ'groundwater
                                                                             +#.0*"!+ÿ2from   +#9ÿ
14ÿ                                                /+2*(!ÿ%infiltration.
                                                   surface       .2%$"+*"%#.3ÿ̀a  See aÿMutch
                                                                                        D "(&ÿA!      :#+"8ÿ
                                                                                                  Report,
21

11ÿ                                                1^5ÿ"to#ÿ12-8^9ÿ(Docket
                                                   2-4             b[#(;!"ÿNo.    c#3ÿ903-204
                                                                                         32^135ÿPage>*'!ÿ
22                                                 d[ÿe#:25283-87).
                                                   ID    f16192^98g3ÿ
12ÿ
23
                                                   [!2!.*."/?ÿexpert
                                                   Defendants'        !h:!+"ÿ*admits9%"/ÿ"that
                                                                                             &*"ÿ
15ÿ
24                                                 (#."*9%.*"%#.ÿto"#ÿ'groundwater
                                                   contamination                 +#.0*"!+ÿ2from   +#9ÿ
16ÿ                                                483ÿ&hexavalent
                                                   1970      !h*)*$!."ÿ(chromium&+#9%9ÿdischarge
                                                                                             %/(&*+'!ÿ"to#ÿ
25
                                                   '+#.ÿmay
                                                   ground     9*-ÿ&have *)!ÿ9#  moved)!ÿoff
                                                                                          #22ÿ:property
                                                                                                 +#:!+"-ÿ
17ÿ
26                                                 ,-ÿ.now.
                                                   by    #03ÿ̀a  Seeaÿj*  $!.=!$*ÿ]:
                                                                      Valenzuela             :?.ÿ[!
                                                                                         Opp'n          ($38ÿ
                                                                                                   Decl.,
18ÿ                                                Kh3ÿ415,68ÿ*at"ÿ172
                                                   Ex.             481ÿ(Docket
                                                                         b[#(;!"ÿc#    No.3 ÿ949-42)
                                                                                               5^51gÿb(J.k3ÿ
27
                                                   @ $$*ÿ[!
                                                   Kulla    Dep. :3ÿ\+
                                                                     Tr.3ÿat*"ÿ4119:
                                                                                 4fÿ65-21).
                                                                                        ^14g3ÿ
19ÿ
28
                                                123ÿ
                                                230
   tuvwÿyz{|}~}|}}ÿÿÿ~wÿz|yÿÿ|ÿ         wÿ|yy{ÿÿÿuwÿy|ÿÿyÿÿÿuwÿ
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23444ofof277
                                                          Page         87 Page
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                                  #:32485
      ÿ
                                  #:33825



   3ÿ
  1

   1ÿ             OPPOSING   ÿPARTIES'
                                        ÿ
   2                    ÿ
                        ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                         MOVING                 ÿ
   2ÿ               ÿ
                  UNCONTROVERTED                                   ÿÿ
                                                                 RESPONSE               AND SUPPORTING ÿ
   3
               ÿ
               MATERIAL
   4ÿ SUPPORTING                    FACTSÿ      ÿ
                                                 AND                                 ÿ
                                                                                     EVIDENCE
  4               ÿ                ÿ
                                      EVIDENCE
   5ÿ
   5
       !"ÿ#$%ÿ
   6ÿ 530.       BEA &    '(&)*+,+ÿ-that
                        concluded       ./-ÿ"no0('ÿ1/   22ÿ 530.
                                                     mass     !"ÿN8        24*-,+<ÿÿ
                                                                         Disputed.
   6
       '3ÿ4petroleum
      of      ,-5'),*1ÿ.hydrocarbons
                            6+5'&/57'(2ÿand    /(+ÿ(no'ÿ Supporting
                                                                >??@ABCDEÿF            CGHDIHJÿÿ
  77ÿ  1,/2*5/7),ÿ1/
      measurable        mass 22ÿ'of3ÿchlorinated
                                     &.)'58(/-,+ÿ                                   Evidence:
       2')9,(-2ÿ/are5,ÿ4present
   8ÿ solvents            5,2,(-ÿin8(ÿ-the.,ÿ2soil
                                               '8)ÿcolumn
                                                   &')*1(ÿ Such
                                                              O*&.ÿa/ÿ+determination
                                                                           ,-,518(/-8'(ÿ8is2ÿ8impossible14'2287),ÿto-'ÿ
   8
       :8
      with-.  ÿ& /4 /7 8)
               capability8
                         -6  ÿ3'
                              for5ÿ18 ;5/  -
                                   migration8' ( ÿ
                                                 - '
                                                  toÿ-.,
                                                     the ÿ    1/P,ÿ+due*,ÿ-to'ÿ-the   .,ÿinadequate
                                                                                          8(/+,Q*/-,ÿ-testing,2-8(;ÿ/and  (+ÿ
       ;5'*(+:/-,5ÿ7by6ÿmoisture
  99ÿ groundwater              1'82-*5,ÿ18      ;5/-8'(ÿ make
                                            migration
                                                              8(9,2-8;/-8'(ÿ'of3ÿ.hazardous/R/5+'*2ÿ2substances
                                                                                                            *72-/(&,2ÿ
       -.5'*;.ÿadsorption
3ÿ through
10                  /+2'54-8'(ÿand  /(+ÿ4partitioning."
                                           /5-8-8'(8(;<=ÿ investigation
                                                              8(ÿ-the.,ÿ2soil,
                                                              in          '8)Sÿ/as2ÿset
                                                                                      2,-ÿ'out*-ÿ8in(ÿPlaintiffs'
                                                                                                      T)/8(-8332Uÿ
         >??@ABCDEÿF
3113ÿ Supporting              CGHDIHJÿ                        5,24'(2,2ÿ-to'ÿV,
                                                              responses                 P5'48/U2ÿRSUMF
                                                                                     Kekropia's        WOXYZÿ5527,      17Sÿ
                         Evidence:
                                                              523ÿ/and
                                                              531       (+ÿ5546
                                                                             46ÿ:.       8&.ÿ/are5,ÿ8incorporated
                                                                                     which             (&'54'5/-,+ÿ
31ÿ Id.
12     KL<ÿat/-ÿM§7.0.
                  7<<ÿ                                        .,5,8(ÿ7by6ÿ5reference.
                                                              herein           ,3,5,(&,<ÿ
32ÿ
       ["ÿ#$%ÿ  BEA &    '(&)*+,+ÿ-that./-ÿ"[N]o
                                               0\]^'ÿ 531.    ["ÿN8        24*-,+<ÿÿ
13

34ÿ 531.
14
       3*5-.,5ÿaction
                        concluded
                   /&-8'(ÿ8is2ÿ5recommended
                                 ,&'11,(+,+ÿbased   7/2,+ÿ Supporting
                                                                         Disputed.

                                                ./R/5+'*2ÿ >??@ABCDEÿF                 CGHDIHJÿÿ
      further
       *4'(ÿthe
35ÿ upon
15              -.,ÿ9very
                       ,56ÿlow
                           )':ÿ)levels
                                    ,9,)2ÿ'of3ÿhazardous                            Evidence:
       1/-,58/)2ÿ8identified
36ÿ 1994
      materials       +,(-838,+ÿ8in(ÿsite
                                       28-,ÿ-testing
                                               ,2-8(;ÿ8in(ÿ Such
                                                              O*&.ÿa/ÿ+determination
                                                                           ,-,518(/-8'(ÿ8is2ÿ8impossible14'2287),ÿto-'ÿ
16
       3994ÿ/and  (+ÿ&confirmed
                       '(3851,+ÿin8(ÿ2006."
                                        1 6<=ÿ                1/P,ÿ+due*,ÿ-to'ÿ-the   .,ÿinadequate
                                                                                          8(/+,Q*/-,ÿ-testing,2-8(;ÿ/and  (+ÿ
37ÿ                                                           make
                                                              8(9,2-8;/-8'(ÿ'of3ÿ.hazardous/R/5+'*2ÿ2substances
                                                                                                            *72-/(&,2ÿ
17

38ÿ
18
         > ?  ? @
       Supporting ABCD E ÿ
                         F   CG H
                         Evidence:D  IHJÿ                     investigation
                                                              8(ÿ-the.,ÿ2soil.
                                                              in          '8)<ÿ_See``ÿbalso
                                                                                          cdeÿPlaintiffs'
                                                                                                T)/8(-8332Uÿ
39ÿ Id.KL<ÿ                                                   5,24'(2,2ÿ-to'ÿKekropia's
                                                              responses             V,P5'48/U2ÿWO          XYZÿ5527
                                                                                                       RSUMF            17ÿ
19
                                                              /(+ÿ5546
                                                              and       46ÿ:.   8&.ÿ/are5,ÿ8incorporated
                                                                            which               (&'54'5/-,+ÿherein .,5,8(ÿ
1ÿ
20                                                            76ÿ5reference.
                                                              by      ,3,5,(&,<ÿ
13ÿ
21                                                            Y8(81/)ÿ-testing
                                                              Minimal        ,2-8(;ÿ:/    was2    +'(,ÿ3for'5ÿfg$S
                                                                                                 ÿdone          TCE,ÿ
11ÿ                                                           Tg$Sÿ.hexavalent
                                                              PCE,        ,h/9/),(-ÿ&chromium
                                                                                            .5'18*1ÿor'5ÿ'other    -.,5ÿ
22

12ÿ                                                           ijg2<ÿY*
                                                              VOCs.       Mutch-&.ÿW,      4'5-Sÿ/at-ÿ77-8k8ÿto-'ÿ77-14
                                                                                       Report,                      k34ÿ
23                                                            lN'&P,-ÿ]'
                                                              (Docket       No.<   ÿ9903-204
                                                                                        2k14ÿPage   T/;,ÿmIDNÿn#:25421-
                                                                                                                   o15413k
14ÿ                                                           17p<ÿfTotal
                                                              27).      '-/)ÿchromium
                                                                              &.5'18*1ÿ1,              /2*5,+ÿ8in(ÿPhase
                                                                                                  measured             T./2,ÿ
24

15ÿ                                                           mmÿ2samples
                                                              II   /14),2ÿ5ranged /(;,+ÿ3from  5'1ÿbelow
                                                                                                      7,)':ÿdetection
                                                                                                                 +,-,&-8'(ÿ
25                                                            )818-2ÿl(200
                                                              limits      1 ÿ*ug/kg);qP;pÿto-'ÿ771,100
                                                                                                     3S3 ÿ*ug/kg,
                                                                                                                ;qP;Sÿwith
                                                                                                                         :8-.ÿ
16ÿ                                                           -.,ÿ.highest
                                                              the      8;.,2-ÿlevels
                                                                                ),9,)2ÿ/at-ÿ#k   B-8 8ÿ:.   8&.ÿ)lies
                                                                                                        which      8,2ÿin8(ÿ/aÿ
26

17ÿ                                                           2-/8(,+ÿ2soil
                                                              stained       '8)ÿ/area5,/ÿidentified
                                                                                          8+,(-838,+ÿ8in(ÿ.historical
                                                                                                                 82-'58&/)ÿ
27                                                            4.'-'2ÿon
                                                              photos      '(ÿ-the.,ÿ,eastern
                                                                                       /2-,5(ÿ4parcel.
                                                                                                     /5&,)<ÿKId.Lrÿ/at-ÿ7-11.
                                                                                                                        7k33<ÿ
18ÿ
28                                                            s,h/9/),(-ÿ&chromium
                                                              Hexavalent             .5'18*1ÿ:/      was2ÿ(not'-ÿtested
                                                                                                                  -,2-,+ÿ
                                                           123ÿ
                                                           231
 OPQRÿTUVWXYZX[\W]\X^_X`ÿÿÿabYcdRefÿgshUpWTÿÿWÿij
                                               t\kRlÿ[WmTgmTVÿÿÿnPoRÿTp]ÿbqÿThhÿÿÿnPoRÿra
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23545ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #:32486
    ÿ
                                  #:33826



 3ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                     ÿPLAINTIFFS'
                                                             MOVING               ÿ
 2ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE                          ÿ
                                                                           AND SUPPORTING
 3
          ÿ
          MATERIAL
 4ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                     ÿ
                                                                       EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 5ÿ
 5

 6ÿ                                               !ÿon"ÿ#these
                                                  for         $%&%ÿsamples.
                                                                      &'()*%&+ÿ-Id../ÿ0Supplemental
                                                                                           1))*%(%"#'*ÿ
 6
                                                  '&&%&&(%"#&ÿ2in"ÿ31994,
                                                  assessments               9943ÿ1996,
                                                                                   39963ÿ'and  "4ÿ31999
                                                                                                     999ÿ
 7ÿ
 7                                                #%&#%4ÿ&samples
                                                  tested      '()*%&ÿfrom !(ÿ31  23ÿ*locations
                                                                                          5'#2"&ÿ'across
                                                                                                       5!&&ÿ
 8ÿ                                               #$%ÿ6Property.
                                                  the   !)%!#7+ÿ-Id..+ÿ'at#ÿ77-12 831ÿ9ÿ&:    2;&+ÿ7-2,
                                                                                             Figs.  7813ÿ77­8
 8
                                                  2ÿ<(Docket
                                                  3   = 5>%#ÿ?Nos.&+ÿ9903-204  2814ÿ&9ÿ9903-210).
                                                                                                2813@+ÿ
 9ÿ
 9                                                Aÿ#these
                                                  Of   $%&%ÿ2313ÿlocations,
                                                                     *5'#2"&3ÿonly     "*7ÿ13ÿB'was& ÿtested
                                                                                                      #%&#%4ÿ
3ÿ                                                !ÿ#total
                                                  for      #'*ÿ5chromium.
                                                                 $!(21(+ÿ-Id../ÿat'#ÿ77-12.  831+ÿ?None"%ÿ
10
                                                  B%!%ÿ#tested
                                                  were      %&#%4ÿfor!ÿ$hexavalent
                                                                            %C'D'*%"#ÿchromium.
                                                                                            5$!(21(+ÿ
33ÿ
11                                                -./ÿE$
                                                  Id. The   %ÿsamples
                                                              &'()*%&ÿtaken #'>%"ÿby F7ÿGHIÿ
                                                                                          BEA in  2"ÿits2#&ÿ
31ÿ                                               1 6ÿassessment
                                                  2006     '&&%&&(%"#ÿB%      were!%ÿ"not#ÿ#tested
                                                                                             %&#%4ÿfor!ÿ
12
                                                  $%C'D'*%"#ÿ5chromium
                                                  hexavalent          $!(21(ÿ#though  $1;$ÿtotal##'*ÿ
32ÿ
13                                                5$!(21(ÿ!ranged
                                                  chromium          '";%4ÿFbetween
                                                                                 %#B%%"ÿ18   38ÿ'and
                                                                                                  "4ÿ6621ÿ
34ÿ
14                                                (;J>;+ÿ-Id../ÿÿ
                                                  mg/kg.

35ÿ                                               HIKÿ5closed
                                                  EAI       *&%4ÿ55ÿ&subsurface
                                                                         1F&1!'5%ÿ1units "2#&ÿ2in"ÿ12009,93ÿ
                                                  F1#ÿ4did24ÿ"not#ÿcollect
                                                                   5**%5#ÿ&samples
                                                                                 '()*%&ÿfor!ÿ21ÿofÿ#the  $%ÿ
15

36ÿ
16
                                                  but
                                                  1"2#&/ÿId.
                                                  units.    -./ÿ&9ÿFig.
                                                                     :2;+ÿ77-484ÿ<(Docket
                                                                                   = 5>%#ÿ?Nos.&+ÿ9903­28
37ÿ                                               14ÿ9ÿ
                                                  204   &9       2813@+ÿ0Samples
                                                             903-210).          '()*%&ÿfrom!(ÿthe #$%ÿ
                                                    #$%!ÿ23ÿ1units
                                                                "2#&ÿwere
                                                                       B%!%ÿ#tested
                                                                                %&#%4ÿfor!ÿtotal
                                                                                              ##'*ÿ
17

38ÿ
18
                                                  other
                                                  5$!(21(3ÿFbut1#ÿB%
                                                  chromium,               were !%ÿnot
                                                                                   "#ÿ#tested
                                                                                         %&#%4ÿfor!ÿ
39ÿ                                               $%C'D'*%"#ÿ5chromium.
                                                  hexavalent          $!(21(+ÿ-Id../ÿThe   E$%ÿ
                                                  L&#5>)2*%Mÿofÿ&soil2*ÿ!removed%( D%4ÿfrom  !(ÿthese
                                                                                                      #$%&%ÿ
19

1ÿ
20
                                                  "stockpile"
                                                  2ÿ1units
                                                  3   "2#&ÿB' was& ÿ#tested
                                                                      %&#%4ÿfor!ÿtotal
                                                                                    ##'*ÿ5chromium
                                                                                              $!(21(ÿ
13ÿ                                                 "*73ÿ'and
                                                  only,      "4ÿB'
                                                                 was&  ÿfound
                                                                           1"4ÿto#ÿ$have'D%ÿ#the$%ÿsecond
                                                                                                    &%5"4ÿ
                                                  $2;$%&#ÿ5concentration
                                                                  "5%"#!'#2"ÿon"ÿ#the     $%ÿentire
                                                                                               %"#2!%ÿ
21

11ÿ
22
                                                  highest
                                                  6!)%!#7ÿ<(224
                                                  Property       114ÿ(;       J>;@NF1#3ÿ#this
                                                                         mg/kg)—but,           $2&ÿsoil
                                                                                                    &2*ÿ
12ÿ
23                                                B'&ÿ"not#ÿ#tested
                                                  was           %&#%4ÿfor!ÿ$hexavalent
                                                                                 %C'D'*%"#ÿ
14ÿ
24
                                                  5$!(21(+ÿ-Id../ÿÿ
                                                  chromium.

15ÿ                                               E$%ÿfailure
                                                  The   '2*1!%ÿ#toÿtest #%&#ÿfor!ÿ$hexavalent
                                                                                      %C'D'*%"#ÿ
25

16ÿ                                               5$!(21(ÿ2is&ÿ2inexplicable—particularly
                                                  chromium             "%C)*25'F*%N)'!#251*'!*7ÿ
26                                                B$%"ÿthere
                                                  when      #$%!%ÿ'are!%ÿ'at#ÿleast
                                                                              *%'&#ÿ21ÿ4documented
                                                                                             51(%"#%4ÿ
17ÿ                                               42&5$'!;%&ÿofÿ$hexavalent
                                                  discharges              %C'D'*%"#ÿchromium
                                                                                         5$!(21(ÿ#toÿ
27

18ÿ                                               #$%ÿ&soil2*ÿ'and/or
                                                  the           "4J!ÿgroundwater
                                                                         ;!1"4B'#%!ÿofÿ#the      $%ÿ
28                                                6!)%!#7+ÿ-Id..+ÿ'at#ÿ77-13
                                                  Property.                  832ÿ<(citing
                                                                                    52#2";ÿ31970
                                                                                               97ÿ
                                               121ÿ
                                               232
 JKLMÿOPQRSTUSVWRXWSYZS[ÿÿÿ\]T^_M`aÿbncPkROÿÿRÿde
                                               ocfMgÿVRhObhOQÿÿÿiKjMÿOkWÿ]lÿOccÿÿÿiKjMÿm\
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23646ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32487
    ÿ
                                  #:33827



 3ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                  ÿPLAINTIFFS'
                                                          MOVING                ÿ
 2ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE                         ÿ
                                                                          AND SUPPORTING
 3
          ÿ
          MATERIAL
 4ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                   ÿ
                                                                     EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 5ÿ
 5

 6ÿ                                               !"#$%&'ÿ(of)ÿ*$
                                                  discharge          waste!+'ÿcontaining
                                                                              "(,+$,,&ÿ9975,000   75- ÿ
 6
                                                  +.'!ÿmore
                                                  times   .(%'ÿ+than#$,ÿ+the#'ÿhealth-protective
                                                                                #'$/+#01%(+'"+2'ÿ
 7ÿ
 7                                                /'2'/ÿ$amounts
                                                  level    .(3,+!ÿ(of)ÿ#hexavalent
                                                                             '4$2$/',+ÿchromium
                                                                                              "#%(.3.ÿ
 8ÿ                                               $,ÿ31988
                                                  and    988ÿdischarge
                                                                   !"#$%&'ÿfrom)%(.ÿ"clarifiers
                                                                                           /$%)'%!ÿ+to(ÿ
 8
                                                  +#'ÿ!street).
                                                  the   +%''+56ÿ7(     ,+$.,$+'ÿwaste
                                                                   Contaminated           *$!+'ÿ*$     +'%ÿ
                                                                                                   water
 9ÿ
 9                                                )%(.ÿ+the
                                                  from    #'ÿclarifiers
                                                                "/$%)'%!ÿ$and  ,ÿ(other
                                                                                       +#'%ÿ!sources
                                                                                               (3%"'!ÿ
3ÿ                                                *'%'ÿdisposed
                                                  were     !1(!'ÿ(of—for )8)(%ÿdecades—to
                                                                                    '"$'!8+(ÿ$aÿ
10
                                                  !+(%.ÿdrain/flood
                                                  storm    %$,9)/((ÿcontrol "(,+%(/ÿ"channel
                                                                                           #$,,'/ÿ
33ÿ                                               :')(%'ÿ+the #'ÿProperty
                                                                  ;%(1'%+<ÿ*$  was!   ÿ"connected
                                                                                         (,,'"+'ÿto+(ÿ
                                                                         076ÿ
11                                                before
31ÿ
12                                                !'*'%!6ÿ=Id.>6ÿat$+ÿ77-7.
                                                  sewers.

32ÿ                                               ?#'ÿ@A
                                                  The   ESLBÿ)for(%ÿ$arsenic
                                                                        %!',"ÿin,ÿ!soil(/ÿ*$was!  ÿ
                                                  '4"'''ÿ$at+ÿ!several
                                                                     '2'%$/ÿ/locations
                                                                                ("$+(,!ÿat$+ÿ+the#'ÿ
13

34ÿ
14
                                                  exceeded
                                                  ;%(1'%+<ÿ)from
                                                  Property       %(.ÿ21ÿ)feet
                                                                            ''+ÿ+to(ÿ2355ÿfeet
                                                                                           )''+ÿ:bgs,
                                                                                                   &!-ÿ
35ÿ                                               *#"#ÿis!ÿindicative
                                                  which         ,"$+2'ÿ(of)ÿrelease
                                                                                   %'/'$!'ÿ(of)ÿ$arsenic
                                                                                                     %!',"ÿ
                                                  )from
                                                    %(.ÿoperations
                                                         (1'%$+(,!ÿ(on,ÿ+the    #'ÿPatsouras
                                                                                     ;$+!(3%$!ÿ
15

36ÿ
16
                                                  ;%(1'%+<ÿ+to(ÿ+the
                                                  Property          #'ÿsubsurface.
                                                                         !3:!3%)$"'6ÿ=Id.>Cÿ$at+ÿ77-13.
                                                                                                      0326ÿ
37ÿ                                               D'"$3!'ÿ(of)ÿthe
                                                  Because          +#'ÿinadequacy
                                                                          ,$'E3$"<ÿ$and      ,ÿ
                                                  !1$%!','!!ÿ(of)ÿ+the  #'ÿmonitoring
                                                                            .(,+(%,&ÿ*'            //ÿ
17

38ÿ
18
                                                  sparseness
                                                  ,'+*(%Fÿ$at+ÿ+the#'ÿPatsouras
                                                  network                ;$+!(3%$!ÿ;Property,
                                                                                               well
                                                                                           %(1'%+<-ÿ
39ÿ                                               $%!',"ÿimpacts
                                                  arsenic      .1$"+!ÿ+to(ÿgroundwater
                                                                              &%(3,*$+'%ÿmay      .$<ÿ,not(+ÿ
                                                  :'ÿidentifiable.
                                                       ',+)$:/'6ÿ=Id.>Cÿ$at+ÿ77-14.0346ÿÿ
19

1ÿ
20
                                                  be

13ÿ                                               G'!1+'ÿ.minimal
                                                  Despite          ,.$/ÿinvestigations
                                                                            ,2'!+&$+(,!ÿ(on,ÿthe       +#'ÿ
21

11ÿ
                                                  ;$+!(3%$!ÿ;Property,
                                                  Patsouras        %(1'%+<-ÿ+the#'ÿdata $+$ÿthat
                                                                                              +#$+ÿ*$
                                                                                                    was! ÿ
22                                                (:+$,'ÿ%reveals
                                                  obtained       '2'$/!ÿ+the#'ÿ'extent
                                                                                   4+',+ÿ(of)ÿ
12ÿ                                               &%(3,*$+'%ÿ"contamination.
                                                  groundwater           (,+$.,$+(,6ÿ=Id.>Cÿ;PCE      7@ÿ
23

14ÿ                                               *$!ÿfound
                                                  was   )(3,ÿin,ÿ.(       ,+(%,&ÿ*'
                                                                      monitoring             //!ÿin,ÿthe
                                                                                         wells       +#'ÿ
24                                                2",+<ÿ(of)ÿ+the
                                                  vicinity         #'ÿclarifiers,
                                                                        "/$%)'%!-ÿ*#        '%'ÿ2vadose
                                                                                        where       $(!'ÿ
15ÿ                                               H(,'ÿ!soil
                                                  zone    (/ÿsamples
                                                                !$.1/'!ÿ!showed
                                                                              #(*'ÿ1penetration
                                                                                            ','+%$+(,ÿ
25

16ÿ                                               ()ÿ;PCE
                                                  of   7@ÿ+to(ÿthe+#'ÿdepth
                                                                         '1+#ÿ(of)ÿthe
                                                                                    +#'ÿ&groundwater
                                                                                             %(3,*$+'%ÿ
26                                                +$:/'6ÿ=Id.>Cÿ?#
                                                  table.        This!  ÿindicates
                                                                         ,"$+'!ÿ$aÿ"contribution
                                                                                           (,+%:3+(,ÿ
17ÿ                                               ()ÿ;PCE
                                                  of   7@ÿ+to(ÿgroundwater
                                                                  &%(3,*$+'%ÿ)from     %(.ÿ+the#'ÿ
27

18ÿ                                               ;$+!(3%$!ÿ;Property.
                                                  Patsouras        %(1'%+<6ÿ=Id.>CÿI     +(,$//<-ÿ
                                                                                     Additionally,
28                                                !(.'ÿ#higher
                                                  some        &#'%ÿ/levels
                                                                      '2'/!ÿof()ÿ#hexavalent
                                                                                     '4$2$/',+ÿ
                                               122ÿ
                                               233
 OPQRÿTUVWXYZX[\W]\X^_X`ÿÿÿabYcdRefÿgshUpWTÿÿWÿij
                                               ttkRlÿ[WmTgmTVÿÿÿnPoRÿTphÿbqÿThhÿÿÿnPoRÿra
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23747ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32488
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                                  #:33828



 4ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                       ÿPLAINTIFFS'
                                                               MOVING                ÿ
 2ÿ           ÿ
            UNCONTROVERTED                               ÿÿ
                                                       RESPONSE                           ÿ
                                                                             AND SUPPORTING
 3
          ÿ
          MATERIAL
 3ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                       ÿ
                                                                         EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 5ÿ
 5

 6ÿ                                                !"#$%#ÿ&'
                                                  chromium           were !'ÿ(found
                                                                                "%)*ÿin$)ÿ+,- MW-1,   4.ÿ+,-
                                                                                                         MW-
 6
                                                   4ID,/.ÿ0and
                                                             )*ÿ+,-MW-3   2ÿin$)ÿ1the'ÿ#$    **2'ÿof"(ÿ1the'ÿ
                                                                                        middle
 7ÿ
 7                                                 3014"%!04ÿ3Property
                                                  Patsouras           !"5'!16ÿ)near  '0!ÿ1the'ÿclarifiers
                                                                                                   20!$($'!4ÿ
 8ÿ                                                10)ÿ$in)ÿ+,-
                                                  than           MW-2,   1.ÿ'establishing
                                                                               41072$4$)8ÿ!releases '2'04'4ÿof"(ÿ
 8
                                                      '90:02')1ÿchromium
                                                  hexavalent              !"#$%#ÿ(from   !"#ÿthe  1'ÿ
 9ÿ
 9                                                 20!$($'!4.ÿ!resulting
                                                  clarifiers,        '4%21$)8ÿ$in)ÿgroundwater
                                                                                       8!"%)*&01'!ÿ
4ÿ                                                 ")10#$)01$");ÿ<Id.=>ÿ0at1ÿ77-14
                                                  contamination.                        -43ÿand 0)*ÿ77-17.
                                                                                                       -47;ÿ
10
                                                   ?@A.ÿ0aÿB"daughter"
                                                  TCE,             *0%81'!Cÿproduct5!"*%1ÿ"of(ÿ3PCE,  @A.ÿis$4ÿ
44ÿ
11                                                 ("%)*ÿ$in)ÿconcentrations
                                                  found             ")')1!01$")4ÿhigher      $8'!ÿin$)ÿMW-
                                                                                                          +,-
41ÿ                                                4ID,/.ÿ+,-
                                                           MW-3,    2.ÿ0and
                                                                         )*ÿMW-4
                                                                               +,-3ÿ1than0)ÿ$in)ÿ+,-   MW-2.   1;ÿ
12
                                                  <Id.=>ÿ0at1ÿ77-17.
                                                                -47;ÿ@"    )')1!01$")4ÿexceeding
                                                                       Concentrations             '9''*$)8ÿ
42ÿ
13                                                8!"%)*&01'!ÿAD
                                                  groundwater            ESLs  E4ÿ&'
                                                                                   were !'ÿ#'     04%!'*ÿ(for"!ÿ
                                                                                             measured
43ÿ                                               4.4-*$2"!"'1')'.ÿcarbon
                                                  1,1-dichloroethene,                 0!7")ÿ
14
                                                  1'1!02"!$*'.ÿchloroform,
                                                  tetrachloride,          2"!"("!#.ÿ
45ÿ
15                                                1'1!02"!"'1')'ÿF(PCE),
                                                  tetrachloroethene                3@AG.ÿ1trans-1,2-
                                                                                               !0)4-4.1-
46ÿ                                               *$2"!"'1')'.ÿ1trichloroethene
                                                  dichloroethene,              !$2"!"'1')'ÿF(TCE),     ?@AG.ÿ
16
                                                  !"#$%#ÿF(total),
                                                  chromium             1"102G.ÿchromium
                                                                                     !"#$%#ÿVI,     HI.ÿ)nickel,
                                                                                                           $J'2.ÿ
47ÿ
17                                                0and
                                                     )*ÿ:vanadium.
                                                              0)0*$%#;ÿ<Id.=>ÿÿ
48ÿ
18
                                                  D"$2ÿ8gas04ÿconcentrations
                                                  Soil              ")')1!01$")4ÿin$)ÿexcess   '9'44ÿ"of(ÿ4soil
                                                                                                                "$2ÿ
49ÿ                                               804ÿESL
                                                  gas      ADEÿ:values
                                                                    02%'4ÿ&'  were !'ÿnoted
                                                                                      )"1'*ÿ(for"!ÿ7benzene,
                                                                                                        ')K')'.ÿ
                                                  0!7")ÿtetrachloride,
                                                                 1'1!02"!$*'.ÿchloroform,
                                                                                          2"!"("!#.ÿ3PCE    @Aÿ
19

1ÿ
20
                                                  carbon
                                                  0)*ÿTCE.
                                                  and      ?@A;ÿ<Id.=>ÿ?The'ÿspatial
                                                                                 4501$02ÿ*distribution
                                                                                                $41!$7%1$")ÿ"of(ÿ
14ÿ                                               1'ÿ3PCE
                                                  the        @Aÿ0and)*ÿTCE
                                                                         ?@Aÿ4soil  "$2ÿ8gas04ÿ
                                                  ")10#$)01$").ÿ0along        2")8ÿ&$     1ÿ1the'ÿshallow
                                                                                                      4022"&ÿ
21

11ÿ
22
                                                  contamination,
                                                  4"$2ÿcontamination,
                                                  soil       ")10#$)01$").ÿ$indicates
                                                                                       with
                                                                                     )*$01'4ÿ1that01ÿthe 1'ÿ
12ÿ
23                                                3@Aÿ0and
                                                  PCE          )*ÿ?@Aÿ     0#'ÿ(from
                                                                    TCE came          !"#ÿreleases
                                                                                               !'2'04'4ÿon  ")ÿ
13ÿ                                               1'ÿ3Property
                                                  the        !"5'!16ÿ0and )*ÿnot)"1ÿ(from
                                                                                       !"#ÿoff-gassing
                                                                                                "((-8044$)8ÿ
24
                                                  (from
                                                     !"#ÿthe  1'ÿ%underlying
                                                                     )*'!26$)8ÿ8groundwater.
                                                                                       !"%)*&01'!;ÿ<Id.=>ÿ
15ÿ
25                                                ? %4.ÿ1the'ÿcontaminated
                                                  Thus,               ")10#$)01'*ÿsoil     4"$2ÿ8gas04ÿwould
                                                                                                        &"%2*ÿ
16ÿ                                               4'!:'ÿ0as4ÿ0aÿ4source
                                                  serve               "%!'ÿof"(ÿLM1 OU2ÿ     8groundwater
                                                                                                 !"%)*&01'!ÿ
26
                                                  ")10#$)01$")ÿas04ÿ$it1ÿpartitioned
                                                  contamination                     50!1$1$")'*ÿ(from  !"#ÿthe 1'ÿ
17ÿ
27                                                4"$2ÿ8gas04ÿ1to"ÿrecharging
                                                  soil               !'0!8$)8ÿ8groundwater.
                                                                                         !"%)*&01'!;ÿ<Id.=>ÿÿ
18ÿ
28                                                 3@A.ÿ?@A.
                                                  PCE,         TCE,ÿ   0and
                                                                         )*ÿchromium,
                                                                             !"#$%#.ÿas04ÿ&'        well22ÿ0as4ÿ
                                               123ÿ
                                               234
 VWXYÿ[\]^_`a_bc^dc_ef_gÿÿÿhi`jkYlmÿn{o\w^[ÿÿ^ÿpq
                                               xnrYsÿb^t[nt[]ÿÿÿuWvYÿ[wxÿiyÿ[ooÿÿÿuWvYÿzh
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 23848ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32489
    ÿ
                                  #:33829



 4ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                  ÿPLAINTIFFS'
                                                          MOVING                ÿ
 2ÿ           ÿ
            UNCONTROVERTED                            ÿÿ
                                                    RESPONSE                          ÿ
                                                                          AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                   ÿ
                                                                     EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 3ÿ
 5

 6ÿ                                               !"#ÿ!hazardous
                                                  other   $%$#&'(ÿ(substances,
                                                                            ')($*+"(,ÿhave !$-"ÿ$all..ÿ
 6
                                                  )""*ÿidentified
                                                  been  /&"*/0/"&ÿ$as(ÿ1present#"("*ÿin/*ÿthe!"ÿ
 7ÿ
 7                                                (')('#0$+"ÿ$atÿ.levels
                                                  subsurface          "-".(ÿ$about )'ÿsoil
                                                                                         (/.ÿ
 8ÿ                                               (+#""*/*2ÿ.levels,
                                                  screening     "-".(,ÿ3"        $*/*2ÿthat
                                                                            meaning       !$ÿthese
                                                                                                !"("ÿ
 8
                                                  (')($*+"(ÿ$are#"ÿ1present
                                                  substances              #"("*ÿin/*ÿ(soils
                                                                                        /.(ÿ$atÿthe
                                                                                                   !"ÿ
 9ÿ
 9                                                4$('#$(ÿ4Property
                                                  Patsouras      #1"#5ÿ$atÿlevels ."-".(ÿthat
                                                                                            !$ÿ"exceed
                                                                                                   6+""&ÿ
4ÿ                                                 !("ÿ+considered
                                                  those   *(/&"#"&ÿ1protective
                                                                              #"+/-"ÿof0ÿ
10
                                                  2#'*&7$"#8ÿ9See::ÿ;$
                                                  groundwater.                    ."*%'".$ÿ<1
                                                                             Valenzuela          1=*ÿ
                                                                                             Opp'n
44ÿ
11                                                >"+.8,ÿ?6
                                                  Decl.,  Exs.(8ÿ35,,ÿat$ÿ543-45
                                                                            2@53ÿA(Professional
                                                                                      4#0"((/*$.ÿ
41ÿ                                               B"#-/+"ÿCIndustries,
                                                  Service    *&'(#/"(,ÿ4Phase    !$("ÿCIICÿPreliminary
                                                                                           4#"./3/*$#5ÿ
12
                                                  D*$3/*$/*ÿAssessment,
                                                  Contamination           E(("((3"*,ÿE'    Aug. 28ÿ418,8,ÿ
42ÿ
13                                                4995,ÿ$atÿ4132ÿ&FÿG$
                                                  1994,               Table)."ÿ23)HÿA(Docket
                                                                                      >+I"ÿNo.  J8ÿ
45ÿ                                               959@21H,ÿ99,,ÿ$atÿ885-88
                                                  949-32),               3@88ÿA(Environmental
                                                                                   ?*-/#*3"*$.ÿ
14
                                                  E'&/,ÿCInc.,
                                                  Audit,   *+8,ÿBSummary
                                                                     '33$#5ÿof0ÿBSite   /"ÿ
43ÿ
15                                                E(("((3"*(,ÿK$
                                                  Assessments,        Mar.  #8ÿ12009,9,ÿTable
                                                                                        G$)."ÿ41)Hÿ
46ÿ                                               A>+I"ÿJ
                                                  (Docket   No.8   ÿ9949-36),
                                                                      59@26H,ÿ410,,ÿ$atÿ98-103
                                                                                           98@42ÿ
16
                                                  A?*-/#*3"*$.ÿE'
                                                  (Environmental               &/,ÿCInc.,
                                                                          Audit,      *+8,ÿL#  '*&ÿ
                                                                                           Ground
47ÿ
17                                                M$"#ÿBSamples,
                                                  Water    $31."(,ÿD          *0/#3$/*ÿBSoil
                                                                           Confirmation         /.ÿ
48ÿ                                               B$31."(,ÿE'
                                                  Samples,    Aug.  28ÿ66,,ÿ2013,
                                                                            142,ÿG$      )."ÿ1)4Hÿ
                                                                                      Table
18
                                                  A>+I"ÿJ
                                                  (Docket   No.8   ÿ9949-37);
                                                                      59@27HNÿMutch K'+!ÿReport,
                                                                                            O"1#,ÿ$atÿ
49ÿ
19                                                G$)."(ÿ23-1@4ÿFÿ
                                                  Tables         &7   7-4@5ÿA(Docket
                                                                              >+I"ÿJ   No.8 ÿ903-204
                                                                                               92@15ÿ
1ÿ
20                                                4$2"ÿCID>ÿP#:25308-09,
                                                  Page         Q1328@9,ÿ125417).    3547H8ÿÿ
14ÿ                                               G!"ÿBSanta
                                                  The    $*$ÿRFe"ÿSprings
                                                                      B1#/*2(ÿRFire  /#"ÿDepartment,
                                                                                         >"1$#3"*,ÿ
                                                  ?*-/#*3"*$.ÿBServices   "#-/+"(ÿ>/     -/(/*,ÿ
21

11ÿ
22
                                                  Environmental
                                                  0'*&ÿthat
                                                  found   !$ÿ"historic
                                                                S!/(#/+ÿ4Palley
                                                                                       Division,
                                                                                   $.."5ÿsite
                                                                                          (/"ÿ
12ÿ
23                                                1"#$/*(ÿcontamination
                                                  operations    +*$3/*$/*ÿ1probably     #)$).5ÿ
15ÿ                                               +*#/)'"&ÿtoÿthe
                                                  contributed            !"ÿVOC
                                                                             ;<Dÿportion
                                                                                      1#/*ÿ"Sÿof0ÿ
24
                                                  2#'*&7$"#ÿ+contamination
                                                  groundwater         *$3/*$/*ÿ$atÿthe!"ÿ
13ÿ
25                                                1#1"#58ÿ9See::ÿOpp'n
                                                  property.           <11=*ÿRFJN,ORTJ,ÿEx. ?68ÿ121,4,ÿ$atÿ
16ÿ                                               456@457ÿ(Steve
                                                  146-147    AB"-"ÿD!         $(",ÿBSanta
                                                                          Chase,       $*$ÿFeR"ÿ
26
                                                  B1#/*2(ÿRFire
                                                  Springs     /#"ÿ>"      1$#3"*,ÿ
                                                                     Department,
17ÿ
27                                                ?*-/#*3"*$.ÿBServices
                                                  Environmental            "#-/+"(ÿ>/     -/(/*,ÿ
                                                                                       Division,
18ÿ
28
                                                  K"3#$*&'3ÿtoÿDave
                                                  Memorandum                >$-"ÿU.     '*I,ÿ>/
                                                                                     Klunk,       #"+#,ÿ
                                                                                               Director,

                                               123ÿ
                                               235
 [\]^ÿ̀abcdefdghcihdjkdlÿÿÿmneop^qrÿsta|c`ÿÿcÿuv
                                               sgw^xÿgcỳsỳbÿÿÿz\{^ÿ̀|sÿn}ÿ̀ttÿÿÿz\{^ÿ~m
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
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                                  #:33830



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 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                   ÿPLAINTIFFS'
                                                           MOVING               ÿ
 2ÿ           ÿ
            UNCONTROVERTED                            ÿÿ
                                                    RESPONSE                          ÿ
                                                                          AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                    ÿ
                                                                      EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
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 3ÿ                                                !"#$%&'()ÿ*Services
                                                  Environmental            &#!"+&,ÿ-"       !","$.ÿ*Santa
                                                                                       Division,            ('(ÿ
 6
                                                  /&ÿ*Springs
                                                  Fe    0#"1,ÿ/Fire  "#&ÿ-&    0(#'%&'.ÿSept.
                                                                          Department,           *&0'2ÿ129,9.ÿ
 7ÿ
 7                                                49973ÿ4(Docket
                                                  1997)     -$+5&'ÿ6$    No.2 ÿ9949-23).
                                                                                 5971232ÿMr.   8#2ÿ9:  Chase(,&ÿ
 8ÿ                                               ;<#':&#ÿ(advised
                                                  further      =!",&=ÿ'that:('ÿ1groundwater
                                                                                  #$<=>('&#ÿ(at'ÿthe        ':&ÿ
 8
                                                  0#$0&#'?ÿ>(
                                                  property      was, ÿ;first
                                                                        "#,'ÿ&encountered
                                                                                 +$<'&#&=ÿ(at'ÿ35      26ÿ
 9ÿ
 9                                                ;&&'ÿ@bgs,
                                                  feet   1,.ÿ(and=ÿ"PCE
                                                                      AB9ÿ>(   was, ÿ;found
                                                                                        $<=ÿin"ÿa(ÿ
4ÿ                                                C,$")Dÿ+column"
                                                  [soil]    $)<% Eÿ;from  #$%ÿ104ÿfeet;&&'ÿ@bgs1,ÿ'to$ÿ35  26ÿ
10

44ÿ
                                                  ;&&'ÿ@bgs.
                                                  feet   1,2ÿFId.GHÿ
                                                  !&ÿ-&       ;&=(',Jÿexpert &K0&#'ÿ(admits
                                                                                          =%"',ÿ'that  :('ÿ
11

41ÿ
12
                                                  Even   Defendants'
                                                  +$'(%"('"$ÿto'$ÿ1groundwater
                                                  contamination               #$<=>('&#ÿ;from        #$%ÿ
42ÿ                                               497ÿ:hexavalent
                                                  1970      &K(!()&'ÿ+chromium
                                                                             :#$%"<%ÿdischarge
                                                                                             =",+:(#1&ÿ'to$ÿ
                                                  1#$<=ÿmay  %(?ÿ:have (!&ÿ%$    !&=ÿoff$;;ÿ0property
                                                                                                 #$0&#'?ÿ
13

45ÿ
14
                                                  ground
                                                  @?ÿnow).
                                                  by   $>32ÿLSeeMMÿN(
                                                                             moved
                                                                           )&O<&)(ÿOpp'n
                                                                       Valenzuela       P00Jÿ-&       Decl.,+)2.ÿ
46ÿ                                               K2ÿ415,6.ÿ(at'ÿ172
                                                  Ex.             471ÿ(KullaDep.
                                                                        4Q<))(ÿ-&02ÿ4119:     49Rÿ65-21)
                                                                                                       7143ÿ
                                                  4-$+5&'ÿ6$   No.2 ÿ9949-42).
                                                                        5975132ÿÿ
15

43ÿ
16
                                                  (Docket

47ÿ                                               9:#$%"<%.ÿBPCE,
                                                  Chromium,           9.ÿ(and=ÿTCE S9ÿ:have  (!&ÿ@been&&ÿ
17
                                                  =&'&+'&=ÿ"inÿ'the:&ÿ,subsurface
                                                  detected                <@,<#;(+&ÿsoils ,$"),ÿ(at'ÿ'the:&ÿ
48ÿ
18                                                B#$0&#'?.ÿ(and=ÿ'these
                                                  Property,              :&,&ÿsame
                                                                                ,(%&ÿ,substances
                                                                                          <@,'(+&,ÿ(are#&ÿ
49ÿ                                               "ÿPT7
                                                  in OU-2   1ÿU#   $<=>('&#ÿ@below
                                                                Groundwater           &)$>ÿ(and=ÿ
19
                                                  =$> 1#(="&'ÿ$of;ÿthe
                                                  downgradient              ':&ÿBProperty.
                                                                                    #$0&#'?2ÿLSeeMMÿ
1ÿ
20                                                N()&O<&)(ÿP0
                                                  Valenzuela       Opp'n 0Jÿ-&     +)2.ÿK
                                                                               Decl.,   Exs.  ,2ÿ5,6.ÿ(at'ÿ543­27
14ÿ                                               56ÿ4(Professional
                                                  45   B#$;&,,"$()ÿ*Service   &#!"+&ÿVIndustries,
                                                                                            =<,'#"&,.ÿ
21

11ÿ
                                                  B:(,&ÿVIIVÿPreliminary
                                                  Phase        B#&)"%"(#?ÿ9$            '(%"('"$ÿ
                                                                                  Contamination
22                                                W,,&,,%&'.ÿW<
                                                  Assessment,         Aug.12ÿ418,1994,
                                                                                8.ÿ4995.ÿat('ÿ13  42ÿXÿ  &
12ÿ                                               S(@)&ÿ23)3ÿ4(Docket
                                                  Table           -$+5&'ÿ6$  No.2 ÿ9949-32),
                                                                                     597213.ÿ99,.ÿ(at'ÿ85-   867
23

15ÿ                                               88ÿ4(Environmental
                                                  88    !"#$%&'()ÿW<               ="'.ÿVInc.,+2.ÿ
                                                                               Audit,
24                                                *<%%(#?ÿ$of;ÿ*Site
                                                  Summary               "'&ÿAssessments,
                                                                             W,,&,,%&',.ÿ8(          Mar.  #2ÿ
16ÿ                                               1 9.ÿS(
                                                  2009,        @)&ÿ41)3ÿ(Docket
                                                           Table         4-$+5&'ÿ6$   No.2   ÿ9949-36),
                                                                                                597233.ÿ
25

13ÿ                                               4.ÿ(at'ÿ998-103
                                                  10,       8742ÿ4(Environmental
                                                                         !"#$%&'()ÿAudit,       W<="'.ÿ
26                                                V+2.ÿU#
                                                  Inc.,      $<=ÿY(
                                                         Ground       Water'&#ÿ*Samples,
                                                                                  (%0)&,.ÿ
17ÿ                                               9$;"#%('"$ÿSoil
                                                  Confirmation          *$")ÿ*Samples,
                                                                                (%0)&,.ÿW<     Aug.  12ÿ6,3.ÿ
27

18ÿ                                               142.ÿS(
                                                  2013,        @)&ÿ41);3Zÿ11,
                                                           Table          44.ÿ(at'ÿ4109-114
                                                                                       97445ÿ
28                                                4 !"#$%&'()ÿW<
                                                  (Environmental               ="'.ÿVInc.,+2.ÿS:
                                                                          Audit,               Third"#=ÿ
                                               123ÿ
                                               236
 mnopÿrstuvwxvyzu{zv|}v~ÿÿÿwpÿsurÿÿuÿtpÿyur rtÿÿÿnpÿruyÿÿrÿÿÿnpÿ
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
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 1ÿ             OPPOSING    ÿPARTIES'
                                      ÿ
 2                     ÿ
                       ALLEGEDLY                                            ÿPLAINTIFFS'
                                                                           MOVING               ÿ
 2ÿ                ÿ
                 UNCONTROVERTED                                      ÿÿ
                                                                   RESPONSE                           ÿ
                                                                                         AND SUPPORTING
 3

 5ÿ SUPPORTINGÿ
              MATERIAL           FACTSÿ          ÿ
                                                 AND                                   ÿ
                                                                                       EVIDENCE
 4             ÿ           EVIDENCE  ÿ
 6ÿ
 5

 7ÿ                                                              !"#$"ÿ12013
                                                                Quarter          42ÿ%"     &'(ÿ)!
                                                                                       Ground       Water #$"ÿ
 6
                                                                *&'+#&"+',ÿ-$
                                                                Monitoring              .&"#/ÿ01
                                                                                    Report,     Oct. #2ÿ123,2/ÿ2013,
                                                                                                               142/ÿ
 3ÿ
 7                                                              3!45$6ÿ12,/ÿ23)7ÿ(Docket
                                                                Tables               89&1:$#ÿ;&   No.2  ÿ9949-37);
                                                                                                            59<237=ÿ
 8ÿ                                                             * #1>ÿReport,
                                                                Mutch        -$.&"#/ÿ?Jan.!'2ÿ414,5/ÿ2021,
                                                                                                      114/ÿ3!       45$6ÿ23­<
                                                                                                                 Tables
 8

 9ÿ
                                                                4/ÿ3<5ÿ!and
                                                                1,7-4        '(ÿ7-5.
                                                                                 3<62ÿÿ
                                                                3>$ÿ$entire
                                                                          '#+"$ÿ0@<      1ÿ%"  &'(A!#$"ÿ!area      "$!ÿ5lies
                                                                                                                         +$6ÿ
 9

4ÿ
10
                                                                The
                                                                +'ÿa!ÿrecharge
                                                                in
                                                                                  OU-2
                                                                        "$1>!",$ÿ!area
                                                                                            Groundwater
                                                                                        "$!ÿ(defined
                                                                                               $B+'$(ÿ!as6ÿ!an'ÿ!area"$!ÿ
44ÿ                                                             A>$"$ÿA!
                                                                where      water#$"ÿBfrom
                                                                                       "&Cÿprecipitation
                                                                                              ."$1+.+#!#+&'ÿand    !'(ÿ
                                                                &#>$"ÿ6shallow
                                                                           >!55&AÿA!        #$"ÿsources,
                                                                                                6&"1$6/ÿ6such1>ÿ!as6ÿ
11

41ÿ
12
                                                                other
                                                                5$!:+',ÿ6sewers
                                                                leaking
                                                                                        water
                                                                               $A$"6ÿ!and  '(ÿ1clarifiers,
                                                                                                 5!"+B+$"6/ÿ"reaches
                                                                                                                  $!1>$6ÿ
42ÿ                                                             #>$ÿunderlying
                                                                the      '($"5D+',ÿ,groundwater
                                                                                           "&'(A!#$"ÿBfrom      "&Cÿ
                                                                6"B!1$ÿ+infiltration.
                                                                              'B+5#"!#+&'2ÿESeeFFÿMutch
                                                                                                      * #1>ÿReport,
                                                                                                                  -$.&"#/ÿ
13

45ÿ
14
                                                                surface
                                                                !#ÿ12-4<5ÿ#to&ÿ2-8
                                                                at             1<8ÿ8(Docket
                                                                                       9&1:$#ÿ;&   No.2  ÿ9903-204
                                                                                                               2<15ÿPage
                                                                                                                       G!,$ÿ
46ÿ
15                                                              H9ÿI#25283-87).
                                                                ID      16182<8372ÿ
47ÿ
16
     JKLMÿNOH
43ÿ of532.     EAIÿ   1concluded
                        &'15($(ÿ#that  >!#ÿthe#>$ÿC!  P&"+#Dÿ532.
                                                   majority     JKLMÿ9+        6.#$(2ÿÿ
                                                                           Disputed.
17   &Bÿ#the>$ÿ6soil
                 &+5ÿcontamination
                     1&'#!C+'!#+&'ÿat!#ÿ#the>$ÿ                   TUUVWXYZ[ÿ\           Y]^Z_^`ÿÿ
     G!#6&"!6ÿProperty
48ÿ Patsouras        G"&.$"#Dÿ"isQ+6ÿ>heavy
                                         $!RDÿ$end  '(ÿ Supporting                    Evidence:
18
     .$#"&5$Cÿ.product."
49ÿ petroleum           "&(1#2Sÿÿ                               b1>ÿa!ÿ(determination
                                                                Such                                    C.&66+45$ÿto#&ÿ
                                                                              $#$"C+'!#+&'ÿ+is6ÿ+impossible
19
       TUUVWXYZ[ÿ\
1ÿ Supporting               Y]^Z_^`ÿ                            C!:$ÿ(due$ÿ#to&ÿ#the
                                                                make                   >$ÿinadequate
                                                                                           +'!($g!#$ÿ#testing  $6#+',ÿ!and
                                                                                                                         '(ÿ
20
                         Evidence:
                                                                +'R$6#+,!#+&'ÿ&ofBÿ>hazardous
                                                                investigation                !h!"(&6ÿ6substances46#!'1$6ÿ
     N'R+"&'C$'#!5ÿOAudit,
14ÿ Environmental               (+#/ÿHInc.,     Q-$C$(+!5ÿ in+'ÿ#the>$ÿ6soil,
                                       '12/ÿ"Remedial                        &+5/ÿ!as6ÿset
                                                                                       6$#ÿ&out#ÿ+in'ÿPlaintiffs'
                                                                                                      G5!+'#+BB6iÿ
21
     O1#+&'ÿPlan,
11ÿ Action       G5!'/ÿ411630-11700
                           472<443 ÿaBurke                      "$6.&'6$6ÿ#to&ÿj$
                                                   ":$ÿ responses                        :"&.+!i6ÿRSUMF
                                                                                      Kekropia's        -b@*cÿ6527,    13/ÿ
22   b#"$$#/Sÿ?June
    Street,"         '$ÿ16,
                          47/ÿ41997,
                                993/ÿ!at#ÿ                      624ÿ!and
                                                                531      '(ÿ654657ÿA>     +1>ÿ!are"$ÿ+incorporated
                                                                                      which            '1&".&"!#$(ÿ
     G3bc 11564=ÿNd
12ÿ PTSF00022451;             Ex.2ÿeÿ
                                    H to#&ÿ#the>$ÿ              >$"$+'ÿ4byDÿ"reference.
                                                                herein            $B$"$'1$2ÿ
23
     9$15!"!#+&'ÿof&Bÿf+
15ÿ Declaration
24
                               1#&"ÿ0#
                            Victor   Otten#$'ÿ
     JKKMÿG
16ÿ 533.
25                 "6!'#ÿ#to&ÿ1closure
               Pursuant          5&6"$ÿ                         JKKMÿ@'
                                                                533.            (+6.#$(ÿ#the>$ÿ12010
                                                                           Undisputed                   4ÿUpdated
                                                                                                              @.(!#$(ÿ
     !#>&"+h!#+&'ÿ+issued
17ÿ Jarmary
    authorization          66$(ÿ4byDÿuhe>$ÿbSFSFD               b+#$ÿk&
                                                  cbc9ÿ&on'ÿ Site            '1$.#!5ÿ*&
                                                                        Conceptual             ($5ÿand
                                                                                           Model      !'(ÿ-$      g$6#ÿBfor&"ÿ
                                                                                                              Request
26
     ?!"C!"Dÿ37,/ÿ41999, 999/ÿthe
                               #>$ÿ6storm
                                     #&"CÿwaterA!#$"ÿ Low       l&Aÿ-+   Risk6:ÿk5    &6"$ÿprepared
                                                                                 Closure      ."$.!"$(ÿ4byDÿNOH    EAIÿ 44<
                                                                                                                        11-
     15!"+B+$"ÿlocated
13ÿ clarifier
27                5&1!#$(ÿA$ west6#ÿof&Bÿ#the>$ÿ&office
                                                  BB+1$ÿ years  D$!"6ÿ5later
                                                                           !#$"ÿ6supports
                                                                                      ..&"#6ÿ#this
                                                                                                 >+6ÿstatement.
                                                                                                       6#!#$C$'#2ÿ
     4+5(+',ÿ6situated
18ÿ building
28                  +#!#$(ÿ&on'ÿ#the>$ÿWest
                                         )$6#ÿParcel
                                                   G!"1$5ÿof&BÿImmaterial.
                                                                HCC!#$"+!52ÿÿ
                                                              123ÿ
                                                              237
 jklmÿopqrstusvwrxwsyzs{ÿÿÿ|}t~mÿproÿÿrÿomÿvrooqÿÿÿkmÿorqÿ}ÿoÿÿÿkmÿ|
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
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                                  #:33832



 4ÿ
 1

 1ÿ              OPPOSING       ÿPARTIES'
                                            ÿ
 2                        ÿ
                          ALLEGEDLY                                             ÿPLAINTIFFS'
                                                                               MOVING                 ÿ
 2ÿ                ÿ
                 UNCONTROVERTED                                           ÿÿ
                                                                        RESPONSE                            ÿ
                                                                                                 AND SUPPORTING
 3
             ÿ
             MATERIAL
 5ÿ SUPPORTING                         FACTSÿ         ÿ
                                                      AND                                   ÿ
                                                                                            EVIDENCE
 4               ÿ                      ÿ
                                          EVIDENCE
 6ÿ
 5
     !ÿ"Site
 7ÿ 1999,
    the      #!ÿ$% was&   ÿremoved.
                            '!()*!+,ÿ-.     Onÿ  /0
                                                 August                9::;<=>?@ÿA
                                                       10&ÿ125,62ÿ Supporting                  >BC?DCEÿÿ
                                                                                          Evidence:
     49992ÿthe!ÿ"SFSFD   3"34ÿissued
                                   #&&0!+ÿ%aÿ5closure
                                                   6)&0'!ÿ Otten
 6


     5!78#5%#).ÿ8for)'ÿthe!ÿstorm
 8ÿ ce-fication                     &)'(ÿ$%        !'ÿ             -!.ÿDecl.,
                                                                               4!56,2ÿFV   Ex.,  ÿ4ÿ X4)5P!ÿY)
                                                                                                   D (Docket     No., ÿ9931-4
                                                                                                                         24Z5ÿ
                                                                     S%1!ÿGID4ÿ#-.26273)
                                                                                  [\17182]ÿX(Envtl.  F.*6,ÿ/0    +#2ÿInc.,
                                                                                                                        G.5,2ÿ
 7                                              water
 8   56%'#8#!',ÿ
 3ÿ clarifier.                                                       Page
                                                                     IJ+%!+ÿ"Site
                                                                     Updated         #!ÿK)       .5!J0%6ÿL)
                                                                                            Conceptual
                                                                                                               Audit,
                                                                                                                  +!6ÿ&^ÿ
                                                                                                               Model
       9::;<=>?@ÿA
 9ÿ Supporting                  >BC?DCEÿ
                            Evidence:                                M!N0!&ÿ8for)'ÿO)
                                                                     Request             Low   $ÿM#   &PÿK6
                                                                                                   Risk       )&0'!ÿ(June
                                                                                                           Closure   XR0.!ÿ
                                                                     482ÿ12010)4]ÿ%atÿ5).6],ÿÿ
 9

     F.*#').(!.%6ÿ/0
4ÿ Environmental
10                                  +#2ÿGInc.,
                                Audit,        .5,2ÿ"Updated
                                                   HIJ+%!+ÿ 17,
     "#!ÿK)
44ÿ Site          .5!J0%6ÿL)
            Conceptual            Model +!6ÿ%and.+ÿM!                G((%!'#%6ÿ_because
                                                          N0!&ÿ Immaterial
                                                    Request                                              6%#.#88&ÿdo
                                                                                           !5%0&!ÿSPlaintiffs      +)ÿ.not)ÿ
     8)'ÿO)     $ÿM#     &PÿK6   )&0'!2QÿJune  R0.!ÿ417,82ÿ12010,
                                                               42ÿhave %*!ÿto)ÿtrace
                                                                                  '%5!ÿ"releases"
                                                                                            H'!6!%&!&Qÿor)'ÿ"threatened
                                                                                                                H'!%!.!+ÿ
jj

    for   Low        Risk     Closure,"
41
12ÿ  %ÿJp.,ÿ5,62ÿ%atÿSPTFS00024517;
    at                    T3"- 15648UÿEx.          FV,ÿ4ÿ            '!6!%&!&Qÿof)8ÿhazardous
                                                             )ÿ releases"
                                                           D to                             %`%'+)0&ÿ&substances
                                                                                                             0_&%.5!&ÿ_back%5Pÿ
     !ÿ4!
42ÿ the          56%'%#).ÿ)of8ÿW#
           Declaration                   5)'ÿ-
                                    Victor          !.ÿ
                                                 Otten               )ÿ%aÿ&specific
                                                                     to      J!5#8#5ÿdefendant
                                                                                          +!8!.+%.ÿ)or'ÿto)ÿ%aÿspecific
                                                                                                                    &J!5#8#5ÿ
13
                                                                     +!8!.+%.a&ÿJperiod
                                                                     defendant's            !'#)+ÿ)of8ÿownership
                                                                                                          )$.!'&#Jÿ)or'ÿ
45ÿ
14                                                                   )J!'%#).,ÿ
                                                                     operation.
46ÿ
15
                                                                     ÿ
47ÿ
16
     bcdeÿF/G
48ÿ 534.        EAIÿ     5concluded
                           ).560+!+ÿthat%ÿ"TGPH-G,
                                                 HTfSgZf2ÿ 534.      bcdeÿ4#      &J0!+,ÿÿ
                                                                               Disputed.
17
     TSgZ42ÿand      %.+ÿTS      gZ-ÿhave  %*!ÿnever
                                                 .!*!'ÿ_been !!.ÿ Supporting
43ÿ TPH-D,                                    !'Qÿat%ÿthe!ÿ 9::;<=>?@ÿA                     >BC?DCEÿÿ
                            TPH-0
18   #+!.#8#!+ÿ#in.ÿ1ground
    identified                ')0.+ÿ$%   water"                                           Evidence:
     S%&)0'%&ÿProperty.
49ÿ Patsouras           S')J!'h,ÿÿ"Chlorinated
                                         HK 6)'#.%!+ÿ Such          "05ÿa%ÿ+determination
                                                                                  !!'(#.%#).ÿ#is&ÿ#impossible
                                                                                                              (J)&&#_6!ÿto)ÿ
19
     5 ) (J
    compounds
1ÿ in#.ÿ&     )  0  . + & ÿ% '
                           are! ÿ. )
                                 not
                                    ÿ  1 ! .  !'
                                       generally%66h  ÿ# + !.#8#
                                                       identified!+ÿ (%P!ÿ+due0!ÿto)ÿthe!ÿinadequate
                                                                                                  #.%+!N0%!ÿtesting
                                                                                                                  !&#.1ÿ%and.+ÿ
20        )#6ÿ%atÿthe
         soil         !ÿ"Site#!ÿ_but0ÿ%are'!ÿpresent
                                                J'!&!.ÿ#in.ÿ make   #.*!&#1%#).ÿ)of8ÿhazardous  %`%'+)0&ÿ&substances
                                                                                                                 0_&%.5!&ÿ
     1')0.+ÿ$%
14ÿ ground         water!'ÿ%atÿ5concentrations
                                   ).5!.'%#).&ÿthat%ÿ%are'!ÿinvestigation
                                                                     #.ÿthe!ÿ&soil,
                                                                                )#62ÿ%as&ÿset
                                                                                            &!ÿ)out0ÿ#in.ÿPlaintiffs'
                                                                                                            S6%#.#88&aÿ
21
     5 ) .
11ÿ ground& #&
    consistent  !  .  ÿ
                        $#
                        with  ÿ
                                the!ÿ'  ! 1#  )
                                       regional. %6ÿ# (J
                                                    impact % 5
                                                              ÿ
                                                               to)ÿ  in
                                                                     '!&J).&!&ÿto)ÿi!           P')J#%a&ÿRSUMF
                                                                                                             M"IL3ÿ6527,   182ÿ
22   1')0.+ÿ$%     water!'ÿX(see
                               &!!ÿ"Section
                                        !5#).ÿ23.0).
                                                    ,],ÿÿInG.ÿ 531   responses
                                                                     624ÿ%and .+ÿ6546
                                                                                           Kekropia's
                                                                                   57ÿ$which     #5ÿ%are'!ÿ#incorporated
                                                                                                             .5)'J)'%!+ÿ
     F/Ga&ÿ)opinion
12ÿ EAI's          J#.#).ÿthe!ÿchlorinated
                                    56)'#.%!+ÿ                        !'!#.ÿ_byhÿ'reference.
                                                                                      !8!'!.5!,ÿ
23
     5 ) (J
15ÿ at%ÿ
    compounds )  0  . + & ÿ+ ! 
                               ! 5
                           detected!+   ÿ
                                         #.
                                         in   ÿ
                                              1 ')0
                                              ground.  +  ÿ$% 
                                                              !
                                                           water'ÿ   herein
24       the!ÿ"Site#!ÿ%are'!ÿnot
                              .)ÿthe!ÿ'result
                                           !&06ÿof)8ÿ8former
                                                           )'(!'ÿ PCESKFÿ%and  .+ÿTKFÿ           %*!ÿbeen
                                                                                                      _!!.ÿ#identified
                                                                                                               +!.#8#!+ÿ#in.ÿ
     &#!ÿ%activities."
16ÿ site
25           5#*##!&,Qÿÿ                                           the
                                                                                   TCE have
                                                                     !ÿ1groundwater
                                                                             ')0.+$%!'ÿ%atÿthe     !ÿSProperty.
                                                                                                             ')J!'h,ÿ-   !.ÿ
                                                                                                                         Otten
       9::;<=>?@ÿA
17ÿ Supporting                  >BC?DCEÿ                             4!56,2ÿFV
                                                                     Decl.,    Ex., ÿGI,2ÿ%atÿ14ÿX(Docket
                                                                                                    4)5P!ÿNo. Y),ÿ9931-9
                                                                                                                     24Z9ÿ
26                          Evidence:
                                                                     S%1!ÿGID4ÿ[#:26513)
                                                                     Page           \17642]ÿX(Covenant
                                                                                                     K)*!.%.ÿand  %.+ÿ
18ÿ Environmental
27   F.*#').(!.%6ÿ/0               +#2ÿGInc.,
                                              .5,2ÿ"Updated          F.*#').(!.%6ÿM!
                                                   HIJ+%!+ÿ Environmental                          &'#5#).ÿ)on.ÿSProperty
                                                                                                Restriction           ')J!'hÿ
     "#!ÿK)
13ÿ Site
28                .5!J0%6ÿL)
            Conceptual
                                Audit,
                                  Model +!6ÿ%and.+ÿM!                !V!50!+ÿRJuly
                                                          N0!&ÿ executed
                                                    Request                          06hÿ65,2ÿ2016).
                                                                                                  147],ÿÿ
                                                                   123ÿ
                                                                   238
 efghÿjklmnopnqrmsrntunvÿÿÿwxoyzh{|ÿ}~kmjÿÿmÿ                }hÿqmj}jlÿÿÿf hÿjmjÿxÿj~~ÿÿÿf hÿw
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 24252ofof277
                                                          Page         87 Page
                                                                          Page ID
                                                                               ID
                                  #:32493
    ÿ
                                  #:33833



 4ÿ
 1

 1ÿ            OPPOSING       ÿPARTIES'   ÿ
 2                         ÿ
                           ALLEGEDLY                                            ÿPLAINTIFFS'
                                                                              MOVING            ÿ
 2ÿ                 ÿ
                  UNCONTROVERTED                                        ÿÿ
                                                                      RESPONSE                      ÿ
                                                                                         AND SUPPORTING
 3

 5ÿ SUPPORTINGÿ
              MATERIAL                 FACTSÿ     ÿ
                                                   AND                                 ÿ
                                                                                       EVIDENCE
 4              ÿ                      ÿ
                                         EVIDENCE
 6ÿ
 5
     !ÿ"Low#ÿ$%
 7ÿ for              Risk &'ÿ()    &*!+,-ÿJune
                             Closure,"        .*/+ÿ417,8,ÿ12010,
                                                             4,ÿThe 5<+ÿ<hexavalent        <!A%*Aÿon/ÿthe
                                                                             +:0@0)+/1ÿ=chromium              1<+ÿ
     01ÿ2p.3ÿ121,4,ÿ0at1ÿPTFS00024533;
                          4567 156228ÿ9:          Ex.3  ÿ;ÿ 1ÿ Patsouras
                                                                    401&*!0&ÿ4Property
                                                                                    !2+!1Bÿ%is&ÿnot
                                                                                                 /1ÿCderived
                                                                                                        +!%@+Cÿfrom !Aÿ
 6
    at                                                   D to
     1<+ÿ;+
 8ÿ the
 7             =)0!01%/ÿofÿ>%
           Declaration                   =1!ÿ?1
                                     Victor       1+/ÿ
                                                Otten               D!*/C#01+!ÿfrom
                                                                    groundwater        !Aÿother1<+!ÿ2properties.
                                                                                                       !2+!1%+&3ÿ
 9ÿ                                                                 E*1=<ÿReport,
                                                                    Mutch      $+2!1,ÿ0at1ÿ87-16
                                                                                              F47ÿGÿ  6%D3ÿ87-9F3ÿ
                                                                                                   & Fig.
 8
                                                                    H; ='+1ÿINos.&3ÿ3903-204
                                                                    (Docket                2F15ÿ4Page0D+ÿID J;ÿK#:25429
                                                                                                                   L16513ÿ
 3ÿ
 9                                                                  Gÿ3903-210
                                                                    &       2F14ÿ4Page0D+ÿJID#25575).
                                                                                            ;K16686M3ÿInJ/ÿthe   1<+ÿfirst
                                                                                                                       %!&1ÿ
4ÿ                                                                  <+:0@0)+/1ÿ=chromium
                                                                    hexavalent        <!A%*Aÿ#0       1+!ÿanalysis
                                                                                                  water     0/0)B&%&ÿ
10
                                                                    2+!!A+CÿH(February
                                                                    performed        6+N!*0!Bÿ12009), 3M,ÿ1the
                                                                                                             <+ÿ<highest
                                                                                                                    %D<+&1ÿ
44ÿ
11                                                                  )+@+)&ÿofÿ<hexavalent
                                                                    levels         +:0@0)+/1ÿchromium
                                                                                                =<!A%*Aÿ#+      were !+ÿ
41ÿ                                                                 */Cÿ%in/ÿAmonitoring
                                                                    found            /%1!%/Dÿ#+     ))&ÿin%/ÿthe
                                                                                                wells        1<+ÿA%   CC)+ÿ
                                                                                                                   middle
                                                                    of
                                                                      ÿ1the<+ÿ4Patsouras
                                                                                01&*!0&ÿ4Property.
                                                                                            !2+!1B3ÿId. OP3ÿat01ÿ87-16
                                                                                                                    F47ÿ
12

42ÿ
13                                                                  5<+ÿ/nearest
                                                                    The      +0!+&1ÿAmonitoring
                                                                                        /%1!%/Dÿ#+       ))&ÿfrom
                                                                                                     wells    !Aÿ
45ÿ                                                                 0CQ0=+/1ÿ2properties
                                                                    adjacent       !2+!1%+&ÿ0are!+ÿ=cross-gradient
                                                                                                     !&&FD!0C%+/1ÿ
14
                                                                    0/Cÿ#+
                                                                    and        !+ÿ/non-detect
                                                                            were     /FC+1+=1ÿfor!ÿ<hexavalent
                                                                                                       +:0@0)+/1ÿ
46ÿ
15                                                                  =<!A%*A,ÿ%indicating
                                                                    chromium,        /C%=01%/Dÿ1that
                                                                                                  <01ÿthe
                                                                                                        1<+ÿ
47ÿ                                                                 <+:0@0)+/1ÿ=chromium
                                                                    hexavalent        <!A%*Aÿon/ÿ1the<+ÿ4Property
                                                                                                               !2+!1Bÿ
16
                                                                    C%Cÿ/not1ÿA%
                                                                    did            D!01+ÿfrom
                                                                                migrate    !Aÿother
                                                                                                  1<+!ÿ2properties.
                                                                                                            !2+!1%+&3ÿ
48ÿ
17                                                                  OP3ÿ
                                                                    Id.
49ÿ
18
     RSRTÿ?/
43ÿ 535.       Onÿ     7+213ÿ415,6,ÿ12016,
                       Sept.                47,ÿRegional
                                                $+D%/0)ÿ 535.       RSRTÿV/       C%&2*1+C3ÿ
                                                                              Undisputed.
19
     U 0!CÿExecutive
    Board      9:+=*1%@+ÿ?            %=+!ÿ7Samuel
                                  Officer       0A*+)ÿ
     V/D+!ÿ+executed
1ÿ Unger
20                 :+=*1+Cÿ1the<+ÿ(Covenant  @+/0/1ÿ0and/Cÿ
     9/@%!/A+/10)ÿ$+
14ÿ Environmental                    &1!%=1%/ÿon/ÿ4Property
                               Restriction              !2+!1Bÿ
21
     !ÿ1the<+ÿ4Patsouras
    for             01&*!0&ÿ4Property.!2+!1B3ÿÿ
11ÿ
22
       WXXYZ[\]^ÿ_
12ÿ Supporting
23
                               \`a]bacÿ
                            Evidence:

     ( @+/0/1ÿand
15ÿ Restriction;
    Covenant            0/Cÿ9/    @%!/A+/10)ÿ
                             Environmental
24
     $+&1!%=1%/8ÿ9:        Ex.3ÿJIÿto1ÿ1the<+ÿDeclaration
                                              ;+=)0!01%/ÿofÿ
     >%=1!ÿ?1
16ÿ Victor
25                    1+/ÿ
                  Otten
17ÿ
     RSdTÿ5<   The+     ÿ(Covenant
                             @+/0/1ÿ0and    /Cÿ                     RSdTÿ;%      &2*1+Cÿ0as&ÿ%incomplete.
                                                                                               /=A2)+1+3ÿ
26

18ÿ 536.
27
     9/@%!/A+/10)ÿ$+                 &1!%=1%/ÿ0approved
                                                  22!@+Cÿ Supporting
                                                                    536.      Disputed

                                                        D%/0)ÿ WXXYZ[\]^ÿ_              \`a]bacÿÿ
    Environmental              Restriction
     NBÿ0and
19ÿ by
28          /Cÿfor!ÿthe 1<+ÿNbenefit
                               +/+%1ÿofÿ1the<+ÿ$+Regional                           Evidence:

                                                                 123ÿ
                                                                 239
 `abcÿefghijkilmhnmiopiqÿÿÿrsjtucvwÿxyfheÿÿhÿz{         xh|c}ÿlh~ex~egÿÿÿacÿehÿsÿeyyÿÿÿacÿr
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 24353ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #:32494
    ÿ
                                  #:33834



 4ÿ
 1

 1ÿ          OPPOSING      ÿPARTIES'
                                     ÿ
 2                  ÿ
                    ALLEGEDLY                                              ÿPLAINTIFFS'
                                                                          MOVING                 ÿ
 5ÿ            ÿ
             UNCONTROVERTED                                        ÿÿ
                                                                 RESPONSE                             ÿ
                                                                                        AND SUPPORTING
 3
           ÿ
           MATERIAL
 2ÿ SUPPORTING                   FACTSÿ     ÿ
                                            AND                                      ÿ
                                                                                     EVIDENCE
 4           ÿ                  ÿ
                                   EVIDENCE
 6ÿ
 5
      !"#ÿstated
 7ÿ solvent
    Board   $%!%&#ÿ!as$ÿ'follows:
                              (()$*ÿ"Chlorinated
                                       +,-("./!%&#ÿ The       K-&ÿ1cited .%&#ÿdocument
                                                                                #142&/%ÿ$states    %!%&$ÿ%that
                                                                                                           -!%ÿ%the-&ÿ
 6
     $(0&/%ÿcompounds
             1234/#$ÿ3present      "&$&/%ÿ.in/ÿ%the
                                                 -&ÿ Regional L&5./!(ÿBoard        !"#ÿ"has
                                                                                           +-!$ÿ#determined
                                                                                                    &%&"2./&#ÿthat   %-!%ÿ
 8
 7ÿ  5"4/#)!%&"ÿ6beneath
    groundwater          &/&!%-ÿ%the-&ÿSite
                                        7.%&ÿ!appear
                                                 33&!"ÿ%toÿthe%-&ÿM[Patsouras]
                                                                       N!%$4"!$OÿNProperty  "3&"%9ÿis.$ÿ/not%ÿ$suitable
                                                                                                                   4.%!6(&ÿ
     6&ÿ1consistent
 9ÿ be     /$.$%&/%ÿ).  with%-ÿ%the
                                 -&ÿsite
                                    $.%&ÿ!area
                                           "&!ÿ               '"ÿ4unrestricted
                                                             for        /"&$%".1%&#ÿ4use$&ÿ!and   /#ÿthat
                                                                                                      %-!%ÿ!aÿ(land
                                                                                                                !/#ÿ4use$&ÿ
 8
     "&5./!(ÿ1chlorinated
    regional     -("./!%&#ÿ$solvent  (0&/%ÿimpacts;
                                            .23!1%$8ÿ restriction
                                                              "&$%".1%./ÿis.$ÿ/necessary
                                                                                      &1&$$!"9ÿ'for"ÿ%the  -&ÿ
 9ÿ  /ÿ#dissolved
    no    .$$(0&#ÿor"ÿfree  '"&&ÿ3phase
                                   -!$&ÿ%total
                                             %!(ÿ             3"%&1%./ÿof'ÿ3present
                                                             protection                "&$&/%ÿor"ÿ'future
                                                                                                       4%4"&ÿ-human42!/ÿ
     3&%"(&42ÿ-hydrocarbons
43ÿ detected
    petroleum        9#"1!"6/$ÿ-have     !0&ÿbeen
                                               6&&/ÿ health,  -&!(%-Pÿ$safety,
                                                                             !'&%9Pÿor"ÿ%the -&ÿenvironment
                                                                                                  &/0."/2&/%ÿas!$ÿ!aÿ
10
     #&%&1%&#ÿ.in/ÿ%the-&ÿ5groundwater."
                             "4/#)!%&":;ÿ                     "&$4(%ÿof'ÿ%the
                                                             result            -&ÿpresence
                                                                                    3"&$&/1&ÿof'ÿ-hazardous
                                                                                                        !Q!"#4$ÿ
44ÿ
11
       <= = >?@AB C  ÿD   A EF B GFH ÿ                       2!%&".!($ÿas!$ÿdefined
                                                             materials              #&'./&#ÿ.in/ÿ7Section
                                                                                                       &1%./ÿ125260 6173ÿ
41ÿ  Supporting       Evidence:                              of' ÿ%the-&ÿHealth
                                                                          R&!(%-ÿand !/#ÿ7Safety!'&%9ÿ,Code#&ÿin./ÿthe
                                                                                                                     %-&ÿ
12
     IJ:ÿ                                                     $.(Pÿ$soil.(ÿgas,
                                                             soil,            5!$Pÿ!and/#ÿ5groundwater
                                                                                               "4/#)!%&"ÿ!at%ÿ%the     -&ÿ
45ÿ Id.
13                                                            MN!%$4"!$OÿNProperty."
                                                             [Patsouras]             "3&"%9:;ÿOtten  S%%&/ÿDecl.,
                                                                                                             T&1(:PÿUV    Ex.:ÿ
42ÿ                                                          IWÿ!at%ÿ14ÿX(Covenant
                                                                          , 0&/!/%ÿand     !/#ÿU/     0."/2&/%!(ÿ
                                                                                                  Environmental
14
                                                              L&$%".1%./ÿon/ÿNProperty
                                                             Restriction                 "3&"%9ÿ&executed
                                                                                                       V&14%&#ÿYJuly   4(9ÿ5,6Pÿ
46ÿ
15                                                            1347Z:ÿK-
                                                              2016).       This .$ÿ,Covenant
                                                                                       0&/!/%ÿ!also  ($ÿnotes
                                                                                                          /%&$ÿ%that  -!%ÿ
47ÿ                                                           6%-ÿPCE
                                                             both       N,Uÿ!and  /#ÿK,Uÿ
                                                                                       TCE have -!0&ÿ6been
                                                                                                         &&/ÿ'found 4/#ÿin./ÿ
16
                                                              5"4/#)!%&"ÿ$sampling
                                                             groundwater              !23(./5ÿon/ÿthe   %-&ÿ3property.
                                                                                                                "3&"%9:ÿ
48ÿ
17                                                            IJ:ÿat!%ÿ53.:ÿWIn/ÿ'fact,
                                                              Id.                  !1%Pÿit.%ÿ$states
                                                                                               %!%&$ÿ%that
                                                                                                       -!%ÿPCE
                                                                                                             N,Uÿ)!   was$  ÿ
49ÿ                                                           '4/#ÿ.in/ÿ%the-&ÿ5groundwater
                                                             found                    "4/#)!%&"ÿat!%ÿ%the-&ÿ(level  &0&(ÿof'ÿ
18
                                                              49:1ÿ4ug/L,
                                                             18.2         5[\Pÿ2more"&ÿ%than-!/ÿthree
                                                                                                   %-"&&ÿ%times
                                                                                                            .2&$ÿ-higher.5-&"ÿ
4ÿ
19                                                            %-!/ÿthat
                                                             than       %-!%ÿ!allowed
                                                                                 (()&#ÿ6by9ÿthe   %-&ÿ,!   (.'"/.!ÿ
                                                                                                       California
13ÿ                                                           ]!V.242ÿ,Contaminant
                                                             Maximum                  /%!2./!/%ÿ\&         0&(ÿof'ÿ65ÿ
                                                                                                       Level
20

14ÿ
                                                              45[\:ÿIId.J:ÿ
                                                              ug/L.

                                                              W%ÿ!also
                                                                    ($ÿ$states                    !/#ÿ$soil.(ÿ5gas!$ÿ!at%ÿthe
                                                                            %!%&$ÿ%the-&ÿ$soil.(ÿand                      %-&ÿ
21

11ÿ
22
                                                             It
                                                              4"#&/&#ÿNProperty
                                                             Burdened              "3&"%9ÿ)&    were"&ÿcontaminated
                                                                                                       1/%!2./!%&#ÿ
15ÿ
23                                                            69ÿ-historical
                                                             by        .$%".1!(ÿ(leaks,
                                                                                     &!^$Pÿprimarily
                                                                                                3".2!".(9ÿ'from "2ÿ
12ÿ                                                           1(!".'.&"$ÿ!and
                                                             clarifiers          /#ÿ3past
                                                                                       !$%ÿon-site
                                                                                                /_$.%&ÿhistorical
                                                                                                        -.$%".1!(ÿ
24
                                                              !1%.0.%.&$:ÿIId.J:ÿat!%ÿ41.:ÿWIt%ÿalso
                                                              activities.                        !($ÿ.identifies
                                                                                                        #&/%.'.&$ÿ
16ÿ
25                                                            $!23(./5ÿ(locations
                                                             sampling              1!%./$ÿ6by9ÿ9year/depth
                                                                                                      &!"[#&3%-ÿ)-    where&"&ÿ
17ÿ                                                           "&$.#4!(ÿ1concentrations
                                                             residual             /1&/%"!%./$ÿof'ÿcontaminants
                                                                                                         1/%!2./!/%$ÿ
26
                                                              "&2!./ÿ.in/ÿ$soil,.(Pÿ!at%ÿ#depths
                                                             remain                            &3%-$ÿgreater
                                                                                                       5"&!%&"ÿ%than-!/ÿ4103ÿ
18ÿ
27                                                            '&&%ÿ6bgs,
                                                             feet        5$Pÿ!and/#ÿ!above
                                                                                       60&ÿ$soil.(ÿscreening
                                                                                                      $1"&&/./5ÿ
19ÿ
28
                                                              (&0&($ÿintended
                                                             levels       ./%&/#&#ÿ'for"ÿ3protection
                                                                                                 "%&1%./ÿof'ÿ
                                                          123ÿ
                                                          240
 jklmÿopqrstusvwrxwsyzs{ÿÿÿ|}t~mÿproÿÿrÿxmÿvrooqÿÿÿkmÿorrÿ}ÿoÿÿÿkmÿ|
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed
                                  #:32495
                                             04/29/21
                                          Filed 05/02/22Page 24454ofof277
                                                          Page         87 Page
                                                                          Page ID
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                                  #:33835



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 1ÿ         OPPOSING   ÿPARTIES'
                                   ÿ
 2                 ÿ
                   ALLEGEDLY                                     ÿPLAINTIFFS'
                                                               MOVING                  ÿ
 4ÿ            ÿ
             UNCONTROVERTED                                 ÿÿ
                                                          RESPONSE                           ÿ
                                                                               AND SUPPORTING
 3
          ÿ
          MATERIAL
 2ÿ SUPPORTING                FACTSÿ      ÿ
                                          AND                               ÿ
                                                                            EVIDENCE
 4          ÿ                 ÿ
                                 EVIDENCE
 5ÿ
 5

 6ÿ                                                     !"#$%&'(ÿ)quality
                                                        groundwater           "&*+',ÿ-from !.ÿpotential
                                                                                                /!'(#'+&*ÿ
 6
                                                        *(&01+#ÿ!of-ÿ0contaminates
                                                        leaching           !#'&.+#&'(2ÿ'to!ÿ
 7ÿ
 7                                                      !"#$%&'(3ÿ4Id.53ÿat&'ÿ12ÿ6(PCE:
                                                        groundwater.                       789:ÿ0.51).
                                                                                                     353;3ÿÿÿ
 8ÿ
     <=>?ÿ@#
           Onÿ   @0'!A(ÿ312,1Bÿ12016, 36Bÿthe
                                          '1(ÿ 537.     <=>?ÿU#      $+2/"'($ÿAbut"'ÿ+immaterial.
                                                                                            ..&'(+&*3ÿ
 8

 9ÿ 537.
 9
     8!C(#&#'ÿand
                 October
                 &#$ÿ9#    C+!#.(#'&*ÿ
                                                               Undisputed
    Covenant
     D(2'+0'+!#ÿwas
3ÿ Restriction
10
                      Environmental
                   %&2ÿrecorded
                           (0!$($ÿ+in#ÿ'the1(ÿ            HIIJKLMNOÿP
                                                        Supporting             MQRNSRTÿÿ
                                                                           Evidence:
     @--+0+&*ÿD(
33ÿ County
    Official      0!$2ÿ!of-ÿ'the1(ÿE!
               Records              Los2ÿAngeles
                                         F#(*(2ÿ Plaintiffs
                                                        7*&+#'+--2ÿ+incorporate
                                                                       #0!/!&'(ÿ'their     1(+ÿresponse
                                                                                                   (2/!#2(ÿ'to!ÿ
     8!"#',ÿD(    0!$(G2ÿ@-
               Recorder's         -+0(3ÿ
                              Office.
                                                        DVUWXÿ5538     48ÿAby,ÿreference.
                                                                                   (-((#0(3ÿÿÿÿ
31ÿ Supporting
12
       HIIJKLMNOÿP     MQRNSRTÿ
                                                        RSUMF

34ÿ
                    Evidence:
                                                        ÿ
     453ÿ
13

32ÿ Id.
14

35ÿ 538.
15   <=Y?ÿ@#
           Onÿ   Z&#3ÿ24,Bÿ12017,
                 Jan.         37Bÿthe
                                    '1(ÿD(  +!#&*ÿ 538.
                                        Regional        <=Y?ÿU#      $+2/"'($ÿAbut"'ÿ+immaterial.
                                                               Undisputed                   ..&'(+&*3ÿÿÿ
     [!&$ÿissued
36ÿ Board   +22"($ÿ&aÿ"No
                       \]!ÿXFurther
                                 "'1(ÿF0     '+!#^ÿ Supporting
                                       7&'2!"&2ÿ HIIJKLMNOÿP                  MQRNSRTÿÿ
                                         Action"
16
     E(''(ÿ'to!ÿ_(
37ÿ Property.
    Letter         `!/+&ÿ-for!ÿ'the
                Kekropia           1(ÿPatsouras                            Evidence:
17   7!/(',3ÿÿ                                                            #0!#'!C('($ÿthat
                                                        a1+*(ÿ+it'ÿ+is2ÿ"uncontroverted           '1&'ÿ'the1(ÿ
38ÿ Supporting
18
       HIIJKLMNOÿP     MQRNSRTÿ
                                                        While
                                                         (-((#0($ÿ*letter
                                                        referenced        (''(ÿ%& was2  ÿ2sent
                                                                                           (#'ÿto'!ÿ_(   `!/+&Bÿ
                                                                                                    Kekropia,
39ÿ
                    Evidence:
                                                        '1(ÿD(
                                                        the     +!#&*ÿBoard
                                                             Regional       [!&$ÿstated2'&'($ÿ'the1(ÿ-following
                                                                                                       !**!%+#ÿ
19
     E!2ÿF#
1ÿ Board
    Los       (*(2ÿD(
         Angeles        +!#&*ÿWater
                    Regional       a&'(ÿQuality         %+'1ÿrespect
                                            b"&*+',ÿ with      (2/(0'ÿ'to!ÿ1historical
                                                                                 +2'!+0&*ÿindustrial
                                                                                              +#$"2'+&*ÿ
20
     [!&$ÿLetter,
            E(''(BÿZJan.
                       &#3ÿ4,2Bÿ12017;
                                    37cÿ9d
                                        Ex.3            &0'+C+'+(2ÿ&at'ÿ'the1(ÿ7Patsouras
                                             ÿB[ÿ'to!ÿ activities                 &'2!"&2ÿProperty:
                                                                                                7!/(',:ÿ
     '1(ÿe(
13ÿ the     0*&&'+!#ÿ!of-ÿf+
         Declaration             0'!ÿ@'
                             Victor                     \g+2'!+0&*ÿVSite
                                         '(#ÿ "Historical
                                       Otten                               +'(ÿ"use2(ÿfor
                                                                                       -!ÿ+industrial
                                                                                             #$"2'+&*ÿ
21

11ÿ                                                     &0'+C+'+(2ÿresulted
                                                        activities     (2"*'($ÿ+in#ÿdischarges
                                                                                        $+201&(2ÿ!of-ÿ
22
                                                        %&2'(ÿ'to!ÿthe
                                                        waste       '1(ÿ2subsurface,
                                                                             "A2"-&0(Bÿ+including
                                                                                              #0*"$+#ÿtotal  '!'&*ÿ
14ÿ                                                     /('!*(".ÿ1hydrocarbons
                                                        petroleum         ,$!0&A!#2ÿ6(TPH),     h7g;Bÿvolatile
                                                                                                            C!*&'+*(ÿ
                                                        !&#+0ÿ0compounds
                                                                    !./!"#$2ÿ6(VOCs),   f@82;Bÿ&and   #$ÿ
23

12ÿ
24
                                                        organic
                                                        .('&*2ÿ*listed
                                                        metals    +2'($ÿ+in#ÿh+     '*(ÿ22
                                                                                Title   11ÿ!of-ÿ'the
                                                                                                   1(ÿ
15ÿ                                                     8&*+-!#+&ÿ8!
                                                        California      Code $(ÿ!of-ÿD(    "*&'+!#23ÿ
                                                                                      Regulations.
                                                        V/(0+-+0&**,Bÿ'the1(ÿ%&       2'(2ÿ$discharged
                                                                                               +201&($ÿto'!ÿ
25

16ÿ
26
                                                        Specifically,
                                                        '1(ÿ2subsurface
                                                        the
                                                                                  wastes
                                                              "A2"-&0(ÿat&'ÿ'the1(ÿVSite   +'(ÿhas
                                                                                               1&2ÿAbeen
                                                                                                       ((#ÿ
17ÿ                                                     &22!0+&'($ÿ%+
                                                        associated      with'1ÿ2storage
                                                                                  '!&(ÿ&and  #$ÿ"use2(ÿof!-ÿ
                                                        /('!*(".ÿ/products,!$"0'2Bÿsolvents,
                                                                                        2!*C(#'2Bÿ.(        '&*ÿ
27

18ÿ
28
                                                        petroleum
                                                        /!$"0'ÿ.&
                                                        product          #"-&0'"+#i-&A+0&'+!#Bÿ&and
                                                                   manufacturing/fabrication,
                                                                                                      metal
                                                                                                                #$ÿ
                                                      123ÿ
                                                      241
 ghijÿlmnopqrpstoutpvwpxÿÿÿyzq{|j}~ÿmolÿÿoÿ        tjÿsollnÿÿÿhjÿlouÿzÿlÿÿÿhjÿy
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 24555ofof277
                                                          Page         87 Page
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                                  #:33836



 3ÿ
 1

 1ÿ             OPPOSING  ÿPARTIES'
                                     ÿ
 2                    ÿ
                      ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                     MOVING                ÿ
 4ÿ               ÿ
                UNCONTROVERTED                                  ÿÿ
                                                              RESPONSE                           ÿ
                                                                                    AND SUPPORTING
 3
            ÿ
            MATERIAL
 2ÿ SUPPORTING                  FACTSÿ      ÿ
                                            AND                                  ÿ
                                                                                 EVIDENCE
 4              ÿ                ÿ
                                   EVIDENCE
 5ÿ
 5

 6ÿ                                                         !ÿ"of#ÿ$
                                                            use            %&'(%!ÿ)clarifiers."
                                                                     multiple        %*+'#'!+,-ÿOtten  .&&!/ÿDecl.,
                                                                                                                 0!)%,1ÿ
 6
                                                            23,ÿ4ÿ
                                                            Ex.  B5   0")6!&ÿ7"
                                                                     (Docket       No., ÿ9931-2
                                                                                           4381ÿ9Page  *:!ÿ;ID0ÿ
 7ÿ
 7                                                          <1611984=ÿ5(Los
                                                            #26229-30)           >"ÿ?/     :!%!ÿ@!
                                                                                       Angeles             :'"/*%ÿ
                                                                                                      Regional
 8ÿ                                                         A*&!+ÿB
                                                            Water         *%'&Cÿ4"
                                                                     Quality           *+Dÿ>!
                                                                                   Board         &&!+ÿ(Jan.
                                                                                             Letter      5E*/,ÿ24,1ÿ
 8
                                                            137=ÿ*at&ÿ1-2).
                                                            2017)       381=,ÿ;It&ÿ*also
                                                                                       %"ÿstates:
                                                                                              &*&!FÿG"Please
                                                                                                           9%!*!ÿ
 9ÿ
 9                                                          /"&!ÿ&that
                                                            note   H*&ÿIbyCÿissuing
                                                                               ''/:ÿ&this  H'ÿ7J NFA   ?ÿ%letter,
                                                                                                              !&&!+1ÿ&theH!ÿ
3ÿ                                                          @!:'"/*%ÿ4"
                                                            Regional      Board*+DÿHhas*ÿnot
                                                                                           /"&ÿmade
                                                                                                 $*D!ÿ*aÿ
10
                                                            D!&!+$'/*&'"/ÿas*ÿto&"ÿKH
                                                            determination                      !&H!+ÿDdischarges
                                                                                          whether           ')H*+:!ÿ
33ÿ
11                                                          "#ÿK*
                                                            of waste &!ÿ&to"ÿregional
                                                                              +!:'"/*%ÿ:groundwater
                                                                                             +"/DK*&!+ÿ
31ÿ                                                         "))++!Dÿ*asÿ*aÿ+result
                                                            occurred              !%&ÿof"#ÿHhistorical
                                                                                                 '&"+')*%ÿ
12

34ÿ
                                                            *)&'L'&'!ÿ*at&ÿ&theH!ÿMSite."
                                                            activities                '&!,-ÿNId.O,ÿat*&ÿ43.,ÿÿÿ
                                                            P&)HÿReport,
                                                                      @!("+&1ÿ77-23  814ÿto&"ÿ77-29
                                                                                                 819ÿ5(Docket
                                                                                                          0")6!&ÿ
13

32ÿ
14
                                                            Mutch
                                                            7",ÿ9903-204
                                                            No.      4812ÿ9Page   *:!ÿ;ID0ÿ#:25435-42)
                                                                                             <F15245821=ÿ
35ÿ                                                         5D!)+'I'/:ÿ9Patsouras
                                                            (describing          *&"+*ÿ9Property
                                                                                                +"(!+&Cÿ
                                                            )"/&+'I&'"/ÿto&"ÿ.Q8         1ÿ)contamination)
                                                                                               "/&*$'/*&'"/=ÿ
15

36ÿ
16
                                                            contribution           OU-2

37ÿ                                                         P&)HÿRebuttal
                                                            Mutch     @!I&&*%ÿ@!        ("+&1ÿ*at&ÿ§§
                                                                                     Report,          RRÿ43.1, ,31ÿ43.5,5ÿ
17
                                                            50")6!&ÿ7"
                                                            (Docket    No.,    ÿ9949-78
                                                                                  29878ÿ9Page *:!ÿ;ID0ÿ<#:30971-
                                                                                                              F49738
38ÿ
18                                                          711ÿ430975-77)
                                                            72,      975877=ÿ5(describing
                                                                                    D!)+'I'/:ÿHhistoric  '&"+')ÿ
39ÿ                                                         )"/&*$'/*&'"/ÿand
                                                            contamination          */Dÿ)continuing
                                                                                           "/&'/'/:ÿ
19
                                                            "I%':*&'"/ÿ'imposed
                                                            obligations        $("!DÿIbyCÿ!environmental
                                                                                                   /L'+"/$!/&*%ÿ
1ÿ
20                                                          )"L!/*/&=,ÿ
                                                            covenant).
13ÿ
21
     STUVÿWH
11ÿ 539.       The! ÿ@! :'"/*%ÿBoard
                     Regional     4"*+Dÿ)concluded
                                            "/)%D!Dÿ 539.  STUVÿQ/      D'(&!Dÿ&theH!ÿEJan.
                                                                     Undisputed                 */,ÿ4,21ÿ12017, 371ÿ
22
     &H*&ÿ&theH!ÿ*activities
    that           )&'L'&'!ÿ*at&ÿthe
                                 &H!ÿ9Patsouras
                                         *&"+*ÿ letter     %!&&!+ÿ'includes
                                                                     /)%D!ÿ&the   H!ÿquoted
                                                                                        e"&!Dÿ%language
                                                                                                      */:*:!ÿIbut&ÿ
     9+"(!+&Cÿ+resulted
14ÿ Property
23                  !%&!Dÿ"in
                             G'/ÿ&theH!ÿ)cleanup
                                          %!*/(ÿor"+ÿ immaterial
                                                            '$$*&!+'*%ÿ*and    /Dÿ$'     )H*+*)&!+'f!ÿ&the
                                                                                    mischaracterizes              H!ÿ
     *I*&!$!/&ÿof"#ÿK*
12ÿ protection
    abatement                &!ÿ&to"ÿ*assure
                        wastes            +!ÿ              %!&&!+,ÿ
                                                            letter.
24
     (+"&!)&'"/ÿof"#ÿHhuman
                          $*/ÿHhealth
                                    !*%&Hÿ*and
                                             /Dÿthe
                                                &H!ÿ Supporting
     K*&!+ÿ"of#ÿ&the
15ÿ waters
25                  H!ÿState
                        M&*&!ÿ*at&ÿ*and
                                     /Dÿ/near
                                           !*+ÿthe   '&!ÿ XYYZ[\]^_ÿ`
                                               &H!ÿMSite                            ]ab^cbdÿÿ
                                                                                Evidence:
     #"+ÿ&their
16ÿ for
26
           H!'+ÿIbeneficial
                    !/!#')'*%ÿuse."
                                   !,-ÿÿ                    9%*'/&'##ÿ'incorporate
                                                            Plaintiffs      /)"+("+*&!ÿ&their  H!'+ÿresponse
                                                                                                       +!("/!ÿ&to"ÿ
       XYYZ[\]^_ÿ`
17ÿ Supporting
27                         ]ab^cbdÿ
                       Evidence:                            @MQPJÿ5538.
                                                            RSUMF           48,ÿÿ
18ÿ
28
                                                         121ÿ
                                                         242
 hijkÿmnopqrsqtupvuqwxqyÿÿÿz{r|}k~ÿnpmÿÿpÿk ÿtpmmoÿÿÿikÿmpuÿ{ÿmÿÿÿikÿz
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
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                                  974 Filed  04/29/21
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                                  #:33837



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 1ÿ           OPPOSING ÿPARTIES'
                                 ÿ
 2                 ÿ
                   ALLEGEDLY                                ÿPLAINTIFFS'
                                                           MOVING             ÿ
 3ÿ             ÿ
              UNCONTROVERTED                            ÿÿ
                                                      RESPONSE                      ÿ
                                                                        AND SUPPORTING
 3
            ÿ
            MATERIAL
 2ÿ SUPPORTING               FACTSÿ     ÿ
                                        AND                          ÿ
                                                                     EVIDENCE
 4            ÿ             ÿ
                               EVIDENCE
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     !ÿ"atp.3.
 6ÿ /(i.   #ÿ$!3!ÿ                                  %&#'(ÿReport,
                                                    Mutch   )*$+,#-ÿ77-23.13ÿto#+ÿ77-29
                                                                                    .19ÿ/(Docket
                                                                                          0+'1*#ÿ
                                                    2+!ÿ9903-204
                                                           3.12ÿ3Page  "4*ÿ5ID0ÿ6#:25435-42)
                                                                                   715235.218ÿ
 6
                                                    No.
 7ÿ
 7                                                  /9*:',;<;=4ÿ3Patsouras
                                                    (describing      "#:+&,":ÿ3Property
                                                                                   ,+$*,#>ÿ
 8ÿ
 8                                                  '+=#,;<&#;+=ÿto#+ÿ?@.
                                                    contribution        OU-2  1ÿ'contamination)
                                                                                  +=#"A;="#;+=8ÿ
 9ÿ                                                 %&#'(ÿRebuttal
                                                    Mutch   )*<&##"Bÿ)*     $+,#-ÿ"at#ÿ§§
                                                                         Report,       CCÿ33.1,
                                                                                              !4-ÿ33.5!5ÿ
                                                    /0+'1*#ÿ2+No.! ÿ9949-78
                                                                      29.78ÿPage
                                                                               3"4*ÿ5ID0ÿ6#:30971-
                                                                                             73974.
 9

4ÿ
10
                                                    (Docket
                                                    71-ÿ330975-77)
                                                    72,    975.778ÿ/(describing
                                                                        9*:',;<;=4ÿ(historic
                                                                                        ;:#+,;'ÿ
44ÿ                                                 '+=#"A;="#;+=ÿand
                                                    contamination      "=9ÿ'continuing
                                                                              +=#;=&;=4ÿ
                                                    +<B;4"#;+=:ÿ;imposed
                                                                   A$+:*9ÿ<by>ÿ*environmental
                                                                                     =D;,+=A*=#"Bÿ
11

41ÿ
12
                                                    obligations
                                                    '+D*="=#8!ÿ
                                                    covenant).
43ÿ
13
                                                    EFFÿ?#
                                                    See    #*=ÿ0*
                                                         Otten       'B!-ÿHI
                                                                 Decl.,   Ex.!ÿBJÿ/(Docket
                                                                                    0+'1*#ÿ2+  No.! ÿ
42ÿ
14                                                  934.18ÿ/(Los
                                                    931-2)   K+:ÿL=     4*B*:ÿ)*
                                                                   Angeles          4;+="BÿWater
                                                                                Regional     M"#*,ÿ
45ÿ
15                                                  N&"B;#>ÿJ+
                                                    Quality  Board",9ÿK*  ##*,ÿ(Jan.
                                                                       Letter   /O"=!ÿ24,-ÿ12017).
                                                                                               478!ÿ
46ÿ 540.
16
     PQRSÿT( The*ÿ)* 4;+="BÿBoard
                  Regional    J+",9ÿ9determined
                                        *#*,A;=*9ÿ 540.
                                                    PQRSÿ@=    9;:$&#*9ÿ<but&#ÿ;immaterial.
                                                           Undisputed              AA"#*,;"B!ÿÿÿ
     #("#ÿ#there
47ÿ that
17          (*,*ÿU"
                 was:ÿ=no+ÿreason
                           ,*":+=ÿ#to+ÿA+ =;#+,ÿ Supporting
                                       monitor
                                                     XYYZ[\]^_ÿ`       ]ab^cbdÿÿ
     4,+&=9U"#*,ÿ"at#ÿ#the(*ÿProperty
48ÿ groundwater              3,+$*,#>ÿ"and
                                         =9ÿ                        Evidence:
18
     ,*V&;,*9ÿW*
    required       1,+$;"ÿ#to+ÿdecommission,
                Kekropia       9*'+AA;::;+=-ÿ Plaintiffs
                                                    3B";=#;ee:ÿ;incorporate
                                                                 ='+,$+,"#*ÿ#their(*;,ÿresponse
                                                                                       ,*:$+=:*ÿ#to+ÿ
     "<"=9+=-ÿ"and
49ÿ abandon,
19                =9ÿ9destroy
                       *:#,+>ÿ"allBBÿA+=;#+,;=4ÿ RSUMF
                                     monitoring
                                                    )f@%gÿ5538.  38!ÿÿ
1ÿ   U*
    wellsB
         B: ÿ+=
             on ÿ
                #(*
                theÿ3 ,+ $ *,
                    Property.#>!
                               ÿÿ
20
       XYYZ[\]^_ÿ`
14ÿ Supporting          ]ab^cbdÿ                    %&#'(ÿReport,
                                                    Mutch   )*$+,#-ÿ77-23.13ÿto#+ÿ77-29
                                                                                    .19ÿ/(Docket
                                                                                          0+'1*#ÿ
21                  Evidence:
                                                    2+!ÿ9903-204
                                                    No.    3.12ÿ3Page  "4*ÿ5ID0ÿ#:25435-42)
                                                                                 6715235.218ÿ
     !ÿ
11ÿ Id.                                             /9*:',;<;=4ÿ3Patsouras
                                                    (describing      "#:+&,":ÿ3Property
                                                                                   ,+$*,#>ÿ
22

13ÿ
23
                                                    '+=#,;<&#;+=ÿto#+ÿ?@.
                                                    contribution        OU-2  1ÿ'contamination)
                                                                                  +=#"A;="#;+=8ÿ
12ÿ                                                 %&#'(ÿRebuttal
                                                    Mutch   )*<&##"Bÿ)*     $+,#-ÿ"at#ÿ§§
                                                                         Report,       CCÿ33.1,
                                                                                              !4-ÿ33.5!5ÿ
24
                                                    /0+'1*#ÿ2+
                                                    (Docket   No.! ÿ9949-78
                                                                      29.78ÿPage
                                                                               3"4*ÿ5ID0ÿ6#:30971-
                                                                                             73974.
15ÿ
25                                                  71-ÿ330975-77)
                                                    72,    975.778ÿ/(describing
                                                                        9*:',;<;=4ÿ(historic
                                                                                        ;:#+,;'ÿ
16ÿ                                                 '+=#"A;="#;+=ÿand
                                                    contamination      "=9ÿ'continuing
                                                                              +=#;=&;=4ÿ
26
                                                    +<B;4"#;+=:ÿ;imposed
                                                    obligations    A$+:*9ÿ<by>ÿ*environmental
                                                                                     =D;,+=A*=#"Bÿ
17ÿ
27                                                  '+D*="=#8!ÿ
                                                    covenant).
18ÿ
28
                                                 123ÿ
                                                 243
    vwxyÿ{|}~~ ÿÿÿyÿ|~{ÿÿ~ÿ         yÿ~{{}ÿÿÿwyÿ{~ÿÿ{ÿÿÿwyÿ
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 24757
                                                          Page   ofof277
                                                                      87 Page
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                                  #:32498
       ÿ
                                  #:33838



   3ÿ
   1

   1ÿ           OPPOSING     ÿPARTIES'
                                         ÿ
   2                     ÿ
                         ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                        MOVING             ÿ
   4ÿ             ÿ
                UNCONTROVERTED                                      ÿÿ
                                                                  RESPONSE                      ÿ
                                                                                     AND SUPPORTING
   3
             ÿ
             MATERIAL
   2ÿ SUPPORTING                    FACTSÿ     ÿ
                                               AND                               ÿ
                                                                                 EVIDENCE
   4           ÿ                  ÿ
                                       EVIDENCE
   5ÿ
   5

   6ÿ                                                            ÿ"#
                                                                See     #$%ÿ&$
                                                                     Otten       '()*ÿ+,
                                                                             Decl.,   Ex.)ÿB-ÿ.(Docket
                                                                                                &/'0$#ÿ1/   No.) ÿ
   6
                                                                943213ÿ.(Los
                                                                931-2)    4/5ÿ6%    7$($5ÿ8$
                                                                                Angeles         79/%:(ÿWater
                                                                                            Regional      ;:#$<ÿ
   7ÿ
   7                                                            =>:(9#?ÿ-/
                                                                Quality      :<@ÿ4$
                                                                          Board        ##$<ÿ(Jan.
                                                                                    Letter  .A:%)ÿ24,*ÿ12017).
                                                                                                            373)ÿ
   8ÿ
        BCDEÿ+F     6G5ÿ'consultant,
                            /%5>(#:%#*ÿHI1       JÿHill,
                                                     I9((*ÿ 541.BCDEÿO%     @95c>#$@ÿabut>#ÿ9immaterial.
                                                                                               MM:#$<9:()ÿÿÿ
   8

   9ÿ 541.
   9
               EPA's
        '/%'(>@$@ÿthat #K:#ÿ#the
                              K$ÿformer
                                          CH2M
                                   L/<M$<ÿ"M$      7:ÿ Supporting
                                                                        Undisputed

                                                  /><'$ÿof/Lÿ PQQRSTUVWÿX          UYZV[Z\ÿÿ
        concluded                           Omega
        HK$M9':(ÿLfacility
3ÿ Chemical
10                      :'9(9#?ÿ9is5ÿthe
                                     #K$ÿM:
                                         main9%ÿ5source                         Evidence:
        7</>%@N:#$<ÿ'contamination
3^ 3^ ÿ groundwater         /%#:M9%:#9/%ÿ:at#ÿ"O1 OU2.)  ÿÿ Immaterial
                                                                ^MM:#$<9:(ÿabecause
                                                                                $':>5$ÿHI1CH2M        I9((ÿ:also
                                                                                                  JÿHill      (5/ÿ
          PQQRSTUVWÿX
31ÿ Supporting               UYZV[Z\ÿ                           '/%'(>@$@ÿ#that
                                                                concluded     K:#ÿ"because
                                                                                    ga$':>5$ÿh[OU-2]
                                                                                                   "O21iÿLflows(/N5ÿ
12                        Evidence:
                                                                >%@$<ÿ:aÿ@densely
                                                                under      $%5$(?ÿdeveloped
                                                                                     @$_$(/c$@ÿ'commercial
                                                                                                       /MM$<'9:(ÿ
        ]9%:(ÿ8$
34ÿ Final         M$@9:#9/%ÿ
              Remediation                                       jÿindustrial
                                                                - 9%@>5#<9:(ÿ:area,
                                                                                <$:*ÿ#there
                                                                                        K$<$ÿ:are<$ÿ:additional
                                                                                                      @@9#9/%:(ÿ
        ^%_$5#97:#9/%`]$:59a9(9#?ÿbStudy    #>@?ÿ8$             L:'9(9#9$5ÿNK
                                                      c/<#5ÿfacilities         /5$ÿ<releases
                                                                                       $($:5$5ÿ/ofLÿhazardous
                                                                                                      K:k:<@/>5ÿ
13

32ÿ Investigation/Feasibility
14
        "M$
        Omega7:ÿHK    $M9':(ÿH/
                 Chemical             <c/<:#9/%ÿ
                                 Corporation
                                                   Reports
                                                                substances
                                                                           whose
                                                                5>a5#:%'$5ÿKhave:_$ÿ<reached
                                                                                       $:'K$@ÿ7groundwater
                                                                                                    </>%@N:#$<ÿ
35ÿ b     >c$<L>%@ÿbSite
        Superfund        9#$ÿ"c   $<:a($ÿUnit
                              Operable     O%9#ÿ12ÿ4Los/5ÿ and  :%@ÿabecome
                                                                       $'/M$ÿ'commingled
                                                                                 /MM9%7($@ÿwith    N9#Kÿthe
                                                                                                          #K$ÿ
        6%7$($5ÿCounty,
                   H/>%#?*ÿCalifornia,
                               H:(9L/<%9:*ÿd/       (>M$ÿ Omega "M$7:ÿcontamination.
                                                                         '/%#:M9%:#9/%)ÿ"#         #$%ÿ&$    '()*ÿ+,
                                                                                                                  Ex.) ÿ
15

36ÿ 1,Angeles
16
        3*ÿHI1
           CH2M JÿI^ HILL,44*ÿAug.
                               6>7)ÿ12010,
                                               Volume
                                                  8)3)1*ÿcp.)ÿJAÿ.(Docket
                                          3*ÿe§ÿ8.1.2,             &/'0$#ÿ1/ No.) ÿ931-10
                                                                                   94323ÿFPage
                                                                                               Otten    Decl.,
                                                                                                :7$ÿ^ID&ÿ#:26547)
                                                                                                           lm165273ÿ
37ÿ 8-4;
17      822fÿ+,
             Ex.)ÿAJÿ#to/ÿthe
                          #K$ÿ&$    '(:<:#9/%ÿ/ofLÿVictor
                              Declaration          d9'#/<ÿ (CH2M.HI1JÿI^     44*ÿ]Final
                                                                          HILL,       9%:(ÿRemediation
                                                                                            8$M$@9:#9/%ÿ
        "##$%ÿ
38ÿ Otten                                                       ^%_$5#97:#9/%ÿ̀/Feasibility
                                                                Investigation      ]$:59a9(9#?ÿbStudy#>@?ÿ8$    c/<#5ÿ
                                                                                                            Reports
18
                                                                .6>7)ÿ12010),
                                                                (Aug.      33*ÿ:at#ÿ88-4).
                                                                                       223)ÿÿ
39ÿ
19

1ÿ                                                              ^MM:#$<9:(ÿabecause
                                                                Immaterial      $':>5$ÿ#the K$ÿ<relevant
                                                                                                  $($_:%#ÿ
20                                                              n>$5#9/%ÿin9%ÿFPlaintiffs'
                                                                question        (:9%#9LL5GÿJ/Motion#9/%ÿ9is5ÿ
13ÿ                                                             NK$#K$<ÿ#theK$ÿFPatsouras
                                                                whether          :#5/><:5ÿProperty
                                                                                             F</c$<#?ÿ9is5ÿoalso pqrÿ:aÿ
21

11ÿ                                                             5/><'$ÿ/ofLÿ"O2
                                                                source      OU-2   1ÿs<  />%@N:#$<ÿ
                                                                                     Groundwater
22                                                              '/%#:M9%:#9/%)ÿ
                                                                contamination.
14ÿ
23

12ÿ 542.BCtEÿuKThe$  ÿ]Final
                         9%:(ÿRemedial
                               8$M$@9:(ÿ                        BCtEÿO%
                                                                542.        @95c>#$@ÿabut>#ÿ9immaterial.
                                                                        Undisputed             MM:#$<9:()ÿ
24
        ^%_$5#97:#9/%ÿReport
                           8$c/<#ÿaby?ÿthe
                                         #K$ÿOb
                                              USÿ  +F   6ÿ Supporting
                                                      I9((*ÿ PQQRSTUVWÿX           UYZV[Z\ÿÿ
        Investigation                              EPA
        $%_9</%M$%#:(ÿ'consultant,
15ÿ environmental
25                            /%5>(#:%#*ÿHI1 CH2M  JÿHill,                      Evidence:
        9@$%#9L9$@ÿcproperties
16ÿ identified          </c$<#9$5ÿ(located
                                       /':#$@ÿover
                                               /_$<ÿ#theK$ÿ Mutch
                                                                J>#'KÿReport,
                                                                         8$c/<#*ÿ77-23
                                                                                     214ÿto#/ÿ77-29
                                                                                                 219ÿ.(Docket
                                                                                                        &/'0$#ÿ
26
        "O2
        OU-2 1ÿ7 </ >  % @
               groundwater N: #$ < ÿc (>M$
                                    plume  ÿNK  9
                                            which 'K ÿ
                                                     N$
                                                     were<$ÿ    1/)ÿ9903-204
                                                                        4212ÿFPage :7$ÿ^ID&ÿ#:25435-42)
                                                                                             lm152452213ÿ
        5/><'$5ÿ/ofLÿ'chlorinated
17ÿ sources
27                       K(/<9%:#$@ÿVOCsd"H5ÿ(PCE,
                                                 .FH+*ÿ No.
18ÿ TCE,
28      uH+*ÿ31,1,-DCE)
                *3*2&H+3ÿ#to/ÿgroundwater,
                                    7</>%@N:#$<*ÿabut>#ÿ
                                                             122ÿ
                                                             244
   hijkÿmnopqrsqtupvuqwxqyÿÿÿz{r|}k~ÿnpmÿÿpÿ           k ÿtpmmoÿÿÿikÿmpÿ{ÿmÿÿÿikÿz
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
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                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 24858ofof
                                                          Page      Til87 Page
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      ÿ
                                  #:33839



   4ÿ
  1

   1ÿ            OPPOSING        ÿPARTIES'
                                           ÿ
   2                      ÿ
                          ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                          MOVING              ÿ
   5ÿ               ÿ
                  UNCONTROVERTED                                     ÿÿ
                                                                   RESPONSE                          ÿ
                                                                                       AND SUPPORTING
   3
               ÿ
               MATERIAL
   2ÿ SUPPORTING                      FACTSÿ     ÿ
                                                 AND                                ÿ
                                                                                    EVIDENCE
  4              ÿ                   ÿ
                                         EVIDENCE
   3ÿ
   5
       ÿ!not"#ÿidentify
   6ÿ did           $!#%&ÿ#the    '$ÿPatsouras
                                      ()#*"+,)*ÿ(Property        I$*0,J!/ÿ(Patsouras
                                                   ,"-$,#&ÿ (describing             )#*"+,)*ÿ(Property
                                                                                                    ,"-$,#&ÿ
       )*ÿ)an!ÿ"on-going
                 !./"!/ÿ"or,ÿhistorical
                                    '*#",0)1ÿ*source
                                                 "+,0$ÿ"of%ÿ contribution
                                                                 0"!#,J+#"!ÿto#"ÿ3K.          1ÿ0contamination)
                                                                                                    "!#)L!)#"!Mÿ
 6
      as                                                                              OU-2
  77ÿ  #'$*$ÿ234*
      these     VOCsÿ      #to"ÿ#the
                                  '$ÿgroundwater.
                                     /,"+!5)#$,6ÿÿ Mutch        N+#0'ÿRebuttal
                                                                            O$J+##)1ÿO$      -",#Gÿ)at#ÿ§§
                                                                                                        HHÿ53.1,
                                                                                                              64Gÿ53.563ÿ
   8ÿ Supporting
   8
         7889:;<=>ÿ?            <@A=BACÿ
                            Evidence:                            IP"0Q$#ÿR"
                                                                 (Docket      No.6
                                                                                        Report,
                                                                                  ÿ9949-78
                                                                                     29.78ÿPage ()/$ÿSIDPÿT#:30971-
                                                                                                             U5974.
   9ÿ Id.,
       DE F
          G ÿH ÿ3 63 Gÿ- -  6ÿ3 . 41 ÿ
                                     #"  ÿ
                                         3 .5 6ÿ                 71Gÿ530975-77)
                                                                 72,      973.77MÿI(describing
                                                                                       $*0,J!/ÿ'historic *#",0ÿ
                                                                 0"!#)L!)#"!ÿand      )!ÿ0continuing
                                                                                                "!#!+!/ÿ
  9
             §  5.5,   pp.    5-12   to  5-30.
4ÿ
10
                                                                 contamination
                                                                 "J1/)#"!*ÿimposed
                                                                 obligations      L-"*$ÿJby&ÿ$environmental
                                                                                                      !V,"!L$!#)1ÿ
44ÿ
11                                                               0"V$!)!#M6ÿ
                                                                 covenant).
41ÿ 543.
12
       WXYZÿ['   The$  ÿ\Final
                            !)1ÿRemedial
                                   O$L$)1ÿ                      WXYZÿK!
                                                                 543.           *-+#$ÿJbut+#ÿimmaterial.
                                                                          Undisputed                LL)#$,)16ÿÿÿ
       S!V$*#/)#"!ÿReport
45ÿ Investigation             O$-",#ÿJby&ÿthe
                                            #'$ÿK]
                                                USÿ ^(  _ÿ Supporting
                                                   Nÿ̀Hill,11Gÿ 7889:;<=>ÿ?           <@A=BACÿÿ
13                                                  EPA
       $!V,"!L$!#)1ÿ0consultant,
4j42ÿ identified
      environmental               "!*+1#)!#Gÿ4`1
                                               CH2M                                Evidence:

43ÿ 3K.
        $!#%$ÿ-properties
                         ,"-$,#$*ÿ1located
                                         "0)#$ÿover
                                                 "V$,ÿ#the'$ÿ Mutch
                                                                 N+#0'ÿReport,
                                                                            O$-",#Gÿ77-23
                                                                                        .15ÿto#"ÿ77-29
                                                                                                     .19ÿI(Docket
                                                                                                           P"0Q$#ÿ
15     OU-2  1ÿgroundwater
                /,"+!5)#$,ÿ-plume      1+L$ÿ5'   0'ÿwere
                                               which  5$,$ÿ No.  R"6ÿ9903-204
                                                                           5.12ÿ(Page)/$ÿSIDPÿ#:25435-42)
                                                                                                  TU13253.21Mÿ
       *"+,0$*ÿ"of%ÿ!non-chlorinated
46ÿ sources               "!.0'1",!)#$ÿVOCs    234*ÿ#to"ÿ (describing
                                                                 I$*0,J!/ÿ(Patsouras
                                                                                    )#*"+,)*ÿ(Property
                                                                                                    ,"-$,#&ÿ
16
       /, " + ! 
      groundwater,
47ÿ Patsouras     5)  # $ ,G ÿJ +
                              but #ÿ 
                                    did ÿ! "
                                         not#ÿ $!#%&
                                             identify ÿ
                                                      # '
                                                       the $ÿ    0"!#,J+#"!ÿto#"ÿ3K.          1ÿ0contamination)
                                                                                                    "!#)L!)#"!Mÿ
17     ()#*"+,)*ÿProperty
                       (,"-$,#&ÿ)as*ÿ)an!ÿ"on-going
                                               !./"!/ÿor",ÿ contribution              OU-2
       '*#",0)1ÿ*source
48ÿ historical          "+,0$ÿof"%ÿ#these
                                        '$*$ÿ234*
                                              VOCsÿ  #"ÿ#the
                                                    to     '$ÿ Mutch
                                                                 N+#0'ÿRebuttal
                                                                            O$J+##)1ÿO$      -",#Gÿ)at#ÿ§§
                                                                                                        HHÿ53.1,
                                                                                                              64Gÿ53.563ÿ
18

49ÿ    /, " + ! 
      groundwater.5)  # $ ,6 ÿÿ                                  IP"0Q$#ÿR"
                                                                 (Docket      No.6
                                                                                        Report,
                                                                                  ÿ9949-78
                                                                                     29.78ÿPage ()/$ÿSIDPÿT#:30971-
                                                                                                             U5974.
19
         7 8 8 9 : ;<=  > ÿ ?   <@ A=B  ACÿ                     71Gÿ530975-77)
                                                                 72,      973.77MÿI(describing
                                                                                       $*0,J!/ÿ'historic *#",0ÿ
1ÿ
20
       Supporting           Evidence:
                                                                 0"!#)L!)#"!ÿ)and
                                                                 contamination          !ÿ0continuing
                                                                                                "!#!+!/ÿ
       DEFGÿ§Hÿ35.5,
14ÿ Id.,          63Gÿ-pp.-6ÿ5-12
                              3.41ÿto#"ÿ35-30.
                                           .56ÿ                  "J1/)#"!*ÿimposed
                                                                 obligations      L-"*$ÿJby&ÿ$environmental
                                                                                                      !V,"!L$!#)1ÿ
21
                                                                 0"V$!)!#M6ÿ
                                                                 covenant).
11ÿ
22
       WXXZÿ\
15ÿ 544.           ,"Lÿ41994
                 From         992ÿthrough
                                    #',"+/'ÿ2010,
                                               14Gÿ)at#ÿ 544.    WXXZÿP       *-+#$6ÿÿÿ
                                                                          Disputed.
       1$)*#ÿ412315ÿsoil
                      *"1ÿ*samples
                               )L-1$*ÿwere5$,$ÿ#taken
                                                 )Q$!ÿ"on!ÿ Supporting
23

12ÿ least
24
       #'$ÿa$
      the   West  *#ÿ(Parcel
                        ),0$1ÿof"%ÿ#the'$ÿ(Patsouras
                                            )#*"+,)*ÿ              7889:;<=>ÿ?        <@A=BACÿ
                                                                                   Evidence:
25     (,"-$,#&6ÿÿ
13ÿ Property.                                                    ['*ÿ*statement
                                                                 This    #)#$L$!#ÿis*ÿsupported
                                                                                         *+--",#$ÿ*solely "1$1&ÿJby&ÿ
         7889:;<=>ÿ?
16ÿ Supporting                   <@A=BACÿ                        #'$ÿ,report
                                                                 the   $-",#ÿ"of%ÿDefendants'
                                                                                    P$%$!)!#*bÿ"expert,"
                                                                                                       c$d-$,#GeÿDr.P,6ÿ
                                                                 f$)!ÿKulla.
                                                                        g+11)6ÿ̀"     5$V$,GÿDr.   P,6ÿg+  11)b*ÿ
26                          Evidence:
17ÿ
27
                                                                 Jean
                                                                 "-!"!*ÿare
                                                                 opinions
                                                                                  However,
                                                                               ),$ÿ+unreliable,
                                                                                                       Kulla's
                                                                                     !,$1)J1$Gÿ)as*ÿ*she '$ÿappears
                                                                                                             )--$),*ÿ
18ÿ
28                                                               !"#ÿ#to"ÿJbe$ÿ)aware
                                                                 not             5),$ÿ"of,%Gÿor",ÿ'have
                                                                                                    )V$ÿ$evaluated.
                                                                                                          V)1+)#$Gÿ
                                                              123ÿ
                                                              245
 TUVWÿYZ[\]^_]`a\ba]cd]eÿÿÿfg^hiWjkÿlwmZx\Yÿÿbÿno ``pWqÿ̀\rYlrY[ÿÿÿsUtWÿY\lÿguÿYmmÿÿÿsUtWÿvf
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 24959ofof
                                                           Page      Til87 Page
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    ÿ
                                  #:33840



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 1ÿ            OPPOSING ÿPARTIES'
                                   ÿ
 2                  ÿ
                    ALLEGEDLY                                     ÿPLAINTIFFS'
                                                                 MOVING                   ÿ
 5ÿ              ÿ
               UNCONTROVERTED                             ÿÿ
                                                       RESPONSE                                ÿ
                                                                                   AND SUPPORTING
 3

 2ÿ SUPPORTINGÿ
              MATERIAL       FACTSÿ    ÿ
                                       AND                                     ÿ
                                                                               EVIDENCE
 4             ÿ             ÿ
                                 EVIDENCE
 6ÿ
 5
      !"#$ÿ%"
 3ÿ toExpert      !&#$ÿof&'ÿ(#
                Report      Dr.)
                               ÿ*Jean
                                  "+,ÿ-.//+0ÿEx.
                                      Kulla;  )ÿ-ÿ  2#3$32+/ÿ'facts
                                                 K critical           +2$6ÿ$that
                                                                               1+$ÿ73might81$ÿhave
                                                                                                1+9"ÿ3informed
                                                                                                          ,'&#7":ÿ
     $&ÿ$the1"ÿ("2/+#+$3&,ÿ&of'ÿVictor
                                432$&#ÿOtten
                                       5$$",ÿ her    1"#ÿ&opinion.
                                                               !3,3&,)ÿ;She     1"ÿ$testified
                                                                                     "6$3'3":ÿthat  $1+$ÿ6she
                                                                                                            1"ÿ<knew
                                                                                                                   ,"=ÿ
 6
               Declaration
 7ÿ
 7                                                   >?ÿ+and
                                                     PCE         ,:ÿ@?ÿTCE ="   were#"ÿin3,ÿ$the1"ÿ6soil
                                                                                                      &3/ÿ+at$ÿthe
                                                                                                               $1"ÿ
 8ÿ                                                  >+$6&.#+6ÿ>Property,
                                                     Patsouras              #&!"#$ABÿCbut.$ÿshe 61"ÿ:does&"6ÿ,not&$ÿ
 8
                                                     <,&=ÿ1how
                                                     know            &=ÿ$those
                                                                             1&6"ÿsubstances
                                                                                    6.C6$+,2"6ÿ2came      +7"ÿ$to&ÿbeC"ÿ
 9ÿ
 9                                                   /&2+$":ÿ3in,ÿ$the1"ÿ6soil
                                                     located                      &3/ÿor&#ÿ"ever
                                                                                             9"#ÿ+analyzed
                                                                                                     ,+/AD":ÿ$this  136ÿ
4ÿ                                                   366.")ÿESeeFFÿ4+
                                                     issue.                    /",D."/+ÿOpp'n
                                                                          Valenzuela         5!!G,ÿ("         2/)BÿEx.)ÿ
                                                                                                         Decl.,
10
                                                     46Bÿ+at$ÿ4156-158
                                                     15,             63H468ÿI(Docket
                                                                                   (&2<"$ÿJ&    No.)  ÿ9949-42)
                                                                                                         29H21Kÿ
44ÿ
11                                                   I-.//+ÿDep.
                                                     (Kulla         ("!)ÿ369:24-70:11,
                                                                                9L12H7L44Bÿ772:11-21, 1L44H14Bÿ
41ÿ                                                  M"C)ÿ125,6Bÿ12021).
                                                     Feb.                   14K)ÿShe
                                                                                   ;1"ÿ:did3:ÿnot
                                                                                                ,&$ÿ"even9",ÿ
12
                                                     +,+/AD"ÿ=1
                                                     analyze                "$1"#ÿ2contamination
                                                                      whether         &,$+73,+$3&,ÿ'from      #&7ÿ
45ÿ
13                                                   136$&#32ÿ>Palley
                                                     historic           +//"Aÿ6site3$"ÿoperations
                                                                                         &!"#+$3&,6ÿ7+     may Aÿ1have
                                                                                                                    +9"ÿ
42ÿ                                                  2&,$#3C.$":ÿ45?6
                                                     contributed              VOCsÿ    $to&ÿ5NH
                                                                                            OU-2    1ÿ
14
                                                     O#&.,:=+$"#ÿ2contamination
                                                     Groundwater                 &,$+73,+$3&,ÿ&or#ÿwhether   =1"$1"#ÿ
46ÿ
15                                                   O/&C"ÿ53
                                                     Globe       Oil/    ÿ#released
                                                                            "/"+6":ÿ1hazardous
                                                                                           +D+#:&.6ÿ
43ÿ                                                  6.C6$+,2"6ÿ&on,ÿ$the
                                                     substances                   1"ÿPatsouras
                                                                                      >+$6&.#+6ÿ!property.#&!"#$A)ÿ
16
                                                     PQRBÿat+$ÿ4152-153,
                                                     Id.,            61H465Bÿ4167    37ÿ(Kulla
                                                                                           I-.//+ÿDep.("!)ÿ650:17­ L47H
47ÿ
17                                                   64L10ÿ883:11-23).
                                                     51:2;          5L44H15K)ÿÿ
48ÿ
18
                                                     (#)ÿ-.
                                                     Dr.     Kulla  //+ÿ=+was6  ÿsimilarly
                                                                                 6373/+#/Aÿ
49ÿ                                                  .,<,&=/":8"+C/"ÿ+about
                                                     unknowledgeable                     C&.$ÿO/     &C"ÿ53
                                                                                                  Globe         /G6ÿ
                                                                                                             Oil's
                                                     &!"#+$3&,6)ÿ;She1"ÿ:did3:ÿ,not&$ÿ<know        ,&=ÿ1how &=ÿ
19

1ÿ
20
                                                     operations.
                                                     O/&C"ÿ1handled
                                                     Globe           +,:/":ÿ=+        6$"ÿ=+
                                                                                  waste      water$"#ÿor&#ÿ=1
                                                                                                            what+$ÿ=+
                                                                                                                    was6ÿ
14ÿ                                                  3,ÿit.3$)ÿPId.Q)ÿ+at$ÿ4150-151
                                                     in                       6H464ÿI(Kulla-.//+ÿ("  Dep. !)ÿ+at$ÿ
                                                     23L41H1Bÿ249:11-13).   9L44H45K)ÿDr.   (#)ÿ-.      //+ÿ+also
                                                                                                              /6&ÿ
21

11ÿ
22
                                                     46:12-20,
                                                     C"/3"9":ÿ$that
                                                     believed            1+$ÿO/    &C"ÿ53
                                                                               Globe       Oil/
                                                                                                   Kulla
                                                                                               ÿoperated
                                                                                                &!"#+$":ÿat+$ÿ$the1"ÿ
15ÿ
23                                                   !#&!"#$Aÿ'for&#ÿ&only
                                                     property                   ,/Aÿ'four
                                                                                      &.#ÿyears,
                                                                                             A"+#6Bÿ'from #&7ÿ19684938ÿ
12ÿ                                                  $&ÿ41972.
                                                     to      971)ÿId.  PQRÿ+at$ÿ4146
                                                                                   23ÿI(Kulla
                                                                                          -.//+ÿDep.("!)ÿ537:3-9).
                                                                                                              7L5H9K)ÿ
24
                                                     ;1"ÿ:did3:ÿ,not&$ÿknow
                                                     She                     <,&=ÿ$that1+$ÿO/ Globe&C"ÿ53 Oil/ÿhad
                                                                                                               1+:ÿ
16ÿ
25                                                   C"",ÿoperating
                                                     been       &!"#+$3,8ÿ+at$ÿ$the   1"ÿproperty
                                                                                            !#&!"#$Aÿ'for&#ÿ&over  9"#ÿ
13ÿ                                                  $13#$AÿAyears.
                                                     thirty         "+#6)ÿESeeFFÿPlaintiffs'
                                                                                    >/+3,$3''6Gÿresponse
                                                                                                      #"6!&,6"ÿto$&ÿ
26
                                                     ("'",:+,$6GÿRSUMF
                                                     Defendants'              %;NSMÿ6506,3Bÿ=1        which321ÿis36ÿ
17ÿ
27                                                   3,2&#!&#+$":ÿ1herein
                                                     incorporated                "#"3,ÿCbyAÿreference.
                                                                                               #"'"#",2")ÿ;Such    .21ÿ
18ÿ
28
                                                     1&/"6ÿin3,ÿ(#
                                                     holes            Dr.)   ÿ-.  //+G6ÿknowledge
                                                                              Kulla's      <,&=/":8"ÿ&of'ÿ$the     1"ÿ
                                                  123ÿ
                                                  246
 efghÿjklmnopnqrmsrntunvÿÿÿwxoyzh{|ÿ}~kmjÿÿsÿ     qlhÿqmj}jlÿÿÿf hÿjsqÿxÿj~~ÿÿÿf hÿw
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 25060ofof277
                                                          Page         87 Page
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                                  #:32501
    ÿ
                                  #:33841



 4ÿ
 1

 1ÿ             OPPOSING  ÿPARTIES'
                                  ÿ
 2                   ÿ
                     ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                    MOVING               ÿ
 5ÿ               ÿ
                UNCONTROVERTED                                ÿÿ
                                                            RESPONSE                          ÿ
                                                                                   AND SUPPORTING
 3

 2ÿ SUPPORTINGÿ
              MATERIAL         FACTSÿ   ÿ
                                        AND                                    ÿ
                                                                               EVIDENCE
 4             ÿ             ÿ
                                EVIDENCE
 6ÿ
 5

 7ÿ                                                      !"#$ÿ%leads
                                                         property        "&'(ÿ)her"ÿ#to!ÿflawed
                                                                                          *%&+"'ÿ&and  ,'ÿ
 6
                                                         -,"%.&/%"ÿ0conclusions.
                                                         unreliable        !,0%-(.!,(1ÿ
 3ÿ
 7

     2324ÿ5!
 8ÿ 545.       Noÿ 6PCE,
                     789ÿ:789
                            TCE,ÿ0)%!!*!;9ÿ!orÿ41-< 545.
                                chloroform,              2324ÿN.        (-#"'ÿ&and
                                                                    Disputed         ,'ÿ.immaterial.
                                                                                          ;;&#".&%1ÿÿÿ
     4<'.0)%!!"#)","ÿ+"         "ÿ'detected
                                    "#"0#"'ÿ.in,ÿ&any
                                                   ,$ÿ Supporting
 8

 9ÿ of1-dichloroethene                         #)"ÿ ?@@ABCDEFÿG                   DHIEJIKÿÿ
                             were
 9
     !*ÿ#the)"ÿ4123
                 15ÿsoil
                    (!.%ÿ(samples
                           &;%"(ÿ#taken
                                    &=",ÿ!on,ÿthe                            Evidence:
10   >"(#ÿ6Parcel
4ÿ West          &0"%ÿ/between
                        "#+"",ÿ1994
                                4992ÿ&and
                                        ,'ÿ12010.
                                                41ÿÿ As  O(ÿ(stated
                                                                 #&#"'ÿ.in,ÿ#the
                                                                              )"ÿresponses
                                                                                    "(!,("(ÿto#!ÿPQ      RSTÿ
                                                                                                      RSUMF
       ?@@ABCDEFÿG
44ÿ Supporting             DHIEJIKÿ                      6139ÿ6531
                                                         527,       54ÿ&and
                                                                          ,'ÿ546
                                                                               627ÿ(which
                                                                                      U+).0)ÿ&are"ÿ
                       Evidence:
                                                         .,0!!&#"'ÿ)herein),    "".,V9ÿtesting
                                                                                           #"(#.,Wÿperformed
                                                                                                       "*!;"'ÿ
11

41ÿ Id.
12
     LM1ÿ
                                                         incorporated
                                                         &#ÿ#the)"ÿ6Patsouras
                                                         at           &#(!-&(ÿ6Property!"#$ÿwas+&(ÿ
45ÿ                                                      .,&'"X-&#"ÿ&and,
                                                         inadequate          ,'9ÿ%largely,
                                                                                    &W"%$9ÿdid'.'ÿ,not!#ÿ#test
                                                                                                           "(#ÿ*for!ÿ
                                                         YZ7(ÿ!orÿ)hexavalent
                                                                          "[&\&%",#ÿ0chromium.
                                                                                            )!;.-;1ÿ
13

42ÿ
14
                                                         VOCs
                                                         :)!-W)ÿinsufficient,
                                                         Though        .,(-**.0.",#9ÿ#testing
                                                                                           "(#.,Wÿ&at#ÿthe
                                                                                                        #)"ÿ]<
                                                                                                             B-7 3ÿ
46ÿ                                                      &,'ÿ8<
                                                         and     E-9 9ÿ/borings
                                                                         !.,W(ÿ*found!-,'ÿ6PCE78ÿ&and ,'ÿ:781
                                                                                                           TCE.ÿ
                                                         S-#0)ÿReport,
                                                                     P"!#9ÿ&at#ÿ37-8<8ÿto#!ÿ37-14
                                                                                                <42ÿU(Docket
                                                                                                       N!0="#ÿ
15

47ÿ
16
                                                         Mutch
                                                         5!1ÿ9903-204
                                                         No.         5<12ÿ6Page  &W"ÿ^IDNÿ#:25421-27).
                                                                                            _1̀6214<13V1ÿ:)   The   "ÿ
43ÿ
17                                                       '&#&ÿindicates
                                                         data     .,'.0&#"(ÿ#that)&#ÿ6PCE
                                                                                        78ÿ&and,'ÿTCE
                                                                                                    :78ÿ+"  were  "ÿ
48ÿ                                                      #&,(!#"'ÿ#through
                                                         transported         )!-W)ÿ#the)"ÿ\vadose
                                                                                                &'!("ÿzone
                                                                                                         a!,"ÿ#to!ÿ
18
                                                         #)"ÿ)historic
                                                         the      .(#!.0ÿ"elevation
                                                                              %"\&#.!,ÿ!of*ÿthe
                                                                                              #)"ÿ
49ÿ
19                                                       W!-,'+&#"ÿ#table
                                                         groundwater            &/%"ÿ&and
                                                                                        ,'ÿ.impacted
                                                                                             ;&0#"'ÿthe   #)"ÿ
1ÿ                                                       W!-,'+&#"1ÿLId.M1ÿat&#ÿ37-10
                                                         groundwater.                     <4ÿto#!ÿ37-11,
                                                                                                    <449ÿTFigs.
                                                                                                             .W(1ÿ
20
                                                         3<19ÿ37-3<5ÿbÿ
                                                         7-2,           &3   <3ÿ(Docket
                                                                           7-7   UN!0="#ÿ5!   Nos.(1ÿ9903-204
                                                                                                         5<12ÿ
14ÿ
21                                                       6&W"ÿ^IDNÿ_#:25423-24
                                                         Page             1̀6215<12ÿbÿ       N!0="#ÿ5!
                                                                                          & Docket       Nos.(1ÿ
11ÿ                                                      95<14ÿ6Page
                                                         903-210          &W"ÿ^IDNÿ_#:25568-69,
                                                                                        1̀6678<799ÿ25573).
                                                                                                        16635V1ÿ
22
                                                         O,$ÿ#tests
                                                         Any       "(#(ÿ#that
                                                                          )&#ÿ&are"ÿclaimed
                                                                                      0%&.;"'ÿ,not!#ÿ#to!ÿ)have
                                                                                                             &\"ÿ
15ÿ
23                                                       ()!+,ÿ#the)"ÿpresence
                                                         shown                "(",0"ÿof!*ÿ:789
                                                                                             TCE,ÿ   6PCE,
                                                                                                       789ÿ
12ÿ                                                      )"[&\&%",#ÿ0chromium
                                                         hexavalent          )!;.-;ÿ!orÿother  !#)"ÿYZ7( VOCs,9   ÿ
24
                                                         '.'ÿ,not!#ÿ#test
                                                         did           "(#ÿ*for!ÿthese
                                                                                  #)"("ÿ(substances—
                                                                                            -/(#&,0"(c
16ÿ
25                                                       '"(.#"ÿ"evidence
                                                         despite        \.'",0"ÿ!of*ÿsignificant
                                                                                        (.W,.*.0&,#ÿreleases
                                                                                                          "%"&("(ÿ
17ÿ                                                      !*ÿ)hazardous
                                                         of      &a&'!-(ÿ(substances
                                                                                -/(#&,0"(ÿ#to!ÿthe #)"ÿ(soil
                                                                                                          !.%ÿof!*ÿ
26
                                                         the        !"#$1ÿLId.M1ÿÿÿ
                                                         #)"ÿ6Property.
13ÿ
27

18ÿ                                                      T-#)"9ÿ#the)"ÿ(sole
                                                         Further,             !%"ÿbasis
                                                                                    /&(.(ÿof!*ÿ#this
                                                                                                 ).(ÿ(statement
                                                                                                        #&#";",#ÿ
28
                                                         .(ÿan&,ÿopinion
                                                         is        !.,.!,ÿ!of*ÿNDr.1ÿKulla,
                                                                                        d-%%&9ÿ+) whose!("ÿ%lack
                                                                                                             &0=ÿ
                                                      123ÿ
                                                      247
 ÿÿÿÿÿ¢£ÿÿÿ         ÿÿÿÿÿÿÿÿÿÿÿ¡
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 25161ofof277
                                                           Page         87 Page
                                                                           Page ID
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                                  #•.32502
    ÿ
                                  #:33842



 4ÿ
 1

 1ÿ           OPPOSING    ÿPARTIES'
                                    ÿ
 2                 ÿ
                   ALLEGEDLY                                          ÿPLAINTIFFS'
                                                                     MOVING              ÿ
 5ÿ             ÿ
              UNCONTROVERTED                                    ÿÿ
                                                              RESPONSE                         ÿ
                                                                                  AND SUPPORTING
 3
            ÿ
            MATERIAL
 2ÿ SUPPORTING                  FACTSÿ       ÿ
                                             AND                              ÿ
                                                                              EVIDENCE
 4            ÿ                ÿ
                                  EVIDENCE
 6ÿ
 5

 7ÿ                                                        ÿ!information
                                                           of   "#$%&!"ÿ%about   '(&ÿ&the)*ÿproperty
                                                                                                +#+*#&,ÿ%and   "-ÿ
 6
                                                           !&.ÿ)historic
                                                           its    !.&#!/ÿ(uses
                                                                             .*.ÿ/causes
                                                                                    %(.*.ÿher )*#ÿopinions
                                                                                                      +!"!".ÿ&toÿ
 8ÿ
 7                                                         '*ÿflawed
                                                           be    0%1*-ÿ%and"-ÿ(unreliable,
                                                                                  "#*0!%'0*2ÿ%as.ÿset .*&ÿout(&ÿin!"ÿ
 3ÿ                                                        30%!"&!.4ÿresponse
                                                           Plaintiffs'    #*.+".*ÿ&toÿ5*        *"-%"&.4ÿ
                                                                                             Defendants'
 8
                                                           6789:ÿ6544
                                                           RSUMF          22ÿ1)
                                                                              which!/)ÿis!.ÿ!incorporated
                                                                                              "/#+#%&*-ÿ
 9ÿ
 9                                                         )*#*!"ÿ'by,ÿ#reference.
                                                           herein          **#*"/*;ÿ
4ÿ
10
                                                           <$$%&*#!%0ÿ'because
                                                           Immaterial        */%(.*ÿ3Plaintiffs
                                                                                           0%!"&!.ÿdo   -ÿ"not&ÿ
44ÿ                                                        )%=*ÿ&toÿ&trace
                                                           have        #%/*ÿ"releases"
                                                                              >#*0*%.*.?ÿor#ÿ"threatened
                                                                                                   >&)#*%&*"*-ÿ
                                                           #*0*%.*.?ÿofÿ)hazardous
                                                                              %@%#-(.ÿ.substances
                                                                                               ('.&%"/*.ÿ'back   %/Aÿ
11

41ÿ
12
                                                           releases"
                                                           &ÿ%aÿ.specific
                                                           to      +*/!!/ÿdefendant
                                                                             -**"-%"&ÿor#ÿ&toÿ%aÿspecific
                                                                                                         .+*/!!/ÿ
45ÿ                                                        -**"-%"&4.ÿ+period
                                                           defendant's        *#!-ÿofÿownership
                                                                                            1"*#.)!+ÿor#ÿ
                                                           +*#%&!";ÿ
13

42ÿ
14
                                                           operation.

46ÿ 546.
15   BCDEÿFG9ÿ        $*&%0.ÿ!in"ÿ.soils,
             CAM metals              !0.2ÿincluding
                                            !"/0(-!"Hÿ 546.BCDEÿ5!      .+(&*-ÿ%and
                                                                     Disputed       "-ÿ!immaterial.
                                                                                           $$%&*#!%0;ÿÿÿ
     &&%0ÿ/chromium,
47ÿ total    )#$!($2ÿ1*        #*ÿ1!
                             were     &)!"ÿ
                                   within
                                                             LMMNOPQRSÿT         QUVRWVXÿÿ
16
     ' %/A H #
             
    background
48ÿ (i.e.,      ("-ÿ 0*  =*
                     levels  0.ÿ
                               for#ÿ
                                   # *H! 
                                   regional "%0ÿ.!0.
                                                soilsÿ     Supporting        Evidence:
17   I!;*;2ÿ1! &)!"ÿ&the)*ÿ#range
            within           %"H*ÿofÿ                     9(&/)ÿRebuttal
                                                                      6*'(&&%0ÿ6*       +#&2ÿ§[ÿ53.1;4ÿI(Docket
                                                                                                          5/A*&ÿ
     /"/*"&#%&!".ÿnormally
43ÿ concentrations        "#$%00,ÿfound
                                       ("-ÿ!in"ÿ Mutch    \;ÿ9949-78
                                                                    29]83ÿ3Page
                                                                                   Report,
                                                                              %H*ÿ<ID5ÿ^#:30971-72).
                                                                                            _5984]81J;ÿ
18
     " %&( #
    natural,
49ÿ the     %02ÿ("/  "  &% $!
                uncontaminated " %&*- ÿ
                                      . !
                                      soil) 0
                                            Jÿ!"
                                              in ÿ
                                                 %00
                                                 allÿ
                                                     ofÿ
                                                           No.
19   &)*ÿ4123
            15ÿ.samples
                 %$+0*.ÿtaken&%A*"ÿon
                                    "ÿ&the)*ÿK*
                                              West.&ÿ Mutch9(&/)ÿReport,
                                                                      6*+#&2ÿ87-10]4ÿto&ÿ87-13
                                                                                               ]45ÿ̀ÿ &:   !H;ÿ7-6
                                                                                                                8]7ÿ
1ÿ
20   3 %#/
    Parcel * 0
             ÿ' *&1*
              between *  "ÿ4 9 9
                            19942ÿ%"
                                  and- ÿ
                                       1
                                       2010.4  ;ÿÿ         I$%a!$($ÿ&total
                                                           (maximum          &%0ÿchromium
                                                                                    /)#$!($ÿ
                                                                                                          Fig.


       LMMNOPQRSÿT
14ÿ Supporting             QUVRWVXÿ                        bcdbedfghficdÿcofkÿl308,000
                                                           concentration               mnommmÿpjigqr/kgsqÿwas
                                                                                                           thuÿ
21                    Evidence:
                                                           $*%.(#*-ÿon
                                                           measured       "ÿ%aÿ.sample
                                                                                   %$+0*ÿofÿ-debris
                                                                                                  *'#!.ÿI(SP-
                                                                                                            73]
11ÿ Id.
22   YZ;ÿ                                                  44Jÿfrom
                                                           101)     #$ÿVault
                                                                          v%(0&ÿ53ÿ%at&ÿ&the)*ÿsouthwest
                                                                                                .(&)1*.&ÿ
15ÿ                                                        /#"*#ÿofÿthe
                                                           comer         &)*ÿ+property)
                                                                                #+*#&,JÿI(Docket
                                                                                               5/A*&ÿ\   Nos. .;ÿ
23
                                                           95]12ÿ̀ÿ
                                                           903-204      &9     5]14J;ÿÿ
                                                                           903-210).
12ÿ
24

16ÿ                                                        5#;ÿw(
                                                           Dr.       00%ÿopines
                                                                 Kulla    +!"*.ÿthat&)%&ÿ871.1
                                                                                             4;4ÿ$H
                                                                                                  mg/kc xA/ÿfor#ÿ
25                                                         &&%0ÿ/chromium
                                                           total    )#$!($ÿis!.ÿonly  "0,ÿ>"slightly
                                                                                               .0!H)&0,ÿabove
                                                                                                            %'=*ÿ
17ÿ                                                        '%/AH#("-ÿ0levels"—though
                                                           background         *=*0.?y&)(H)ÿ.she)*ÿnever     "*=*#ÿ
26

18ÿ                                                        .%,.ÿwhat
                                                           says    1)%&ÿ&the)*ÿ"background
                                                                               >'%/AH#("-ÿ0levels"   *=*0.?ÿare.
                                                                                                                %#*;ÿ
27                                                         z{{ÿ}&
                                                           See       &*"ÿ5*
                                                                 Otten        /0;2ÿ~a
                                                                          Decl.,    Ex.; ÿKwÿI(Docket
                                                                                               5/A*&ÿ\   No.;  ÿ
13ÿ
28                                                         955]44ÿ3Page
                                                           933-11       %H*ÿ<ID5ÿ^#:26551)
                                                                                      _17664JÿI(Expert
                                                                                                   ~a+*#&ÿ
                                                        123ÿ
                                                        248
 \]^_ÿabcdefgehidjieklemÿÿÿnofpq_rsÿtubdaÿÿjÿvw
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 Case                                      Filed 05/02/22Page 25262ofof
                                                           Page       277
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                                  #:33843



 4ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                    ÿPLAINTIFFS'
                                                            MOVING              ÿ
 5ÿ           ÿ
            UNCONTROVERTED                             ÿÿ
                                                     RESPONSE            AND SUPPORTING  ÿ
 3
          ÿ
          MATERIAL
 2ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                     ÿ
                                                                      EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 6ÿ
 5

 7ÿ                                                !"#$ÿ"of%ÿDr.
                                                  Report         &#'ÿ(Jean)*ÿ+,Kulla  --)ÿ.(Jan.
                                                                                            ()*'ÿ12021),
                                                                                                       14/0ÿat)$ÿ
 6
                                                  5/'ÿ12
                                                  3).      2"#34*5ÿ$to"ÿthe
                                                       According            $6ÿ7'  U.S. 8'ÿ9Geological
                                                                                                "-"542)-ÿ
 8ÿ
 7                                                8,#:;0ÿ<background
                                                  Survey,       )2=5#",*3ÿ-levels      :->ÿof"%ÿ$total
                                                                                                   "$)-ÿ
 9ÿ                                               26#"?4,?ÿ#roughly
                                                  chromium          ",56-;ÿ#range )*5ÿ%from #"?ÿ530ÿto$"ÿ5367ÿ
 8
                                                  ?5@=5'ÿASeeBBÿ8Smith,
                                                  mg/kg.              ?4$60ÿD.B.
                                                                               &'C'ÿBetDÿFal.,G'0ÿU.S.G.S.,
                                                                                                   7'8'9'8'0ÿ
 3ÿ
 9                                                9 "26?42)-ÿ)and
                                                  Geochemical           *3ÿH4      *#)-"542)-ÿData
                                                                              Mineralogical           &)$)ÿ
4ÿ                                                %"#ÿ8Soils
                                                  for     "4->ÿ"of%ÿthe
                                                                    $6ÿI"     *$#?4*",>ÿ7*
                                                                         Conterminous                  4$3ÿ
                                                                                                   United
10
                                                  8$)$>Jÿ7'
                                                  States:       8'ÿ9Geological
                                                             U.S.        "-"542)-ÿ8Survey  ,#:;ÿData &)$)ÿ
44ÿ
11                                                8#4>ÿ9801,40ÿ419.3'ÿ1ÿ
                                                  Series                      2"*>,-$)*$ÿ#reported
                                                                         A consultant              !"#$3ÿ
41ÿ                                               <)2=5#",*3ÿ-levels
                                                  background           :->ÿ"of%ÿtotal$"$)-ÿchromium
                                                                                             26#"?4,?ÿ)at$ÿ
12
                                                  *)#<;ÿ3defendant
                                                  nearby        %*3)*$ÿKPhibro-Tech,
                                                                               64<#"LM260ÿInc.'s     N*2'O>ÿ
45ÿ
13                                                %)24-4$;ÿPwere#ÿ120ÿ$to"ÿ24
                                                  facility                     12ÿ?5       @=5'ÿASeeBBÿ
                                                                                      mg/kg.
42ÿ                                               I"6*ÿ&Decl.,
                                                  Cohen          2-'0ÿQR
                                                                       Ex.' ÿ418,90ÿ)at$ÿ5343
                                                                                           25ÿ.(Camp
                                                                                                I)?!ÿ
14
                                                  &#>>#ÿSÿ
                                                  Dresser     & H2     + ÿNInc.,
                                                                   McKee        *2'0ÿRCRAI1ÿTFacility
                                                                                                      )24-4$;ÿ
46ÿ
15                                                N*:>$45)$4"*ÿKPhase
                                                  Investigation         6)>ÿNIINÿReport,
                                                                                       !"#$0ÿ1!   Apr.#'ÿ123,50ÿ
47ÿ                                               43350ÿM)
                                                  1993,        <-ÿ24-1)
                                                            Table      L4/ÿ.(Docket
                                                                              &"2=$ÿU"      No.' ÿ3949-77).
                                                                                                     23L88/'ÿ
16
                                                  N$ÿ#reports
                                                  It     !"#$>ÿ<background
                                                                   )2=5#",*3ÿlevels   -:->ÿ"of%ÿ
48ÿ
17                                                6R):)-*$ÿ2chromium
                                                  hexavalent         6#"?4,?ÿ)at$ÿ)and      *3ÿ*near)#ÿ4its$>ÿ
49ÿ
18                                                %)24-4$;ÿ#range
                                                  facility    )*5ÿ%from #"?ÿ41ÿto$"ÿ12ÿ?5       @=5'ÿVId.W'ÿÿ
                                                                                            mg/kg.

43ÿ                                               8,26ÿa)ÿ3determination
                                                  Such          $#?4*)$4"*ÿ4is>ÿ4impossible?!">>4<-ÿto$"ÿ
                                                  ?)=ÿ3due,ÿ$to"ÿ$the  6ÿinadequate
                                                                           4*)3X,)$ÿ$testing     >$4*5ÿ)and  *3ÿ
19

1ÿ
20
                                                  make
                                                  4*:>$45)$4"*ÿ"of%ÿ6hazardous
                                                  investigation              )Y)#3",>ÿ>substances
                                                                                               ,<>$)*2>ÿ
14ÿ                                               4*ÿ$the6ÿ>soil,
                                                  in         "4-0ÿ)as>ÿset
                                                                       >$ÿ"out,$ÿ4in*ÿPlaintiffs'
                                                                                        K-)4*$4%%>Oÿ
                                                  #>!"*>>ÿ$to"ÿ+Kekropia's
                                                                         =#"!4)O>ÿRSUMF   87HTÿ6527,    180ÿ
21

11ÿ
22
                                                  responses
                                                  654ÿ)and
                                                  531     *3ÿ6546
                                                                27ÿP6     426ÿ)are#ÿ4incorporated
                                                                      which               *2"#!"#)$3ÿ
15ÿ
23                                                6#4*ÿ<by;ÿ#reference.
                                                  herein            %#*2'ÿ
12ÿ
24                                                + =#"!4)O>ÿexpert
                                                  Kekropia's          R!#$ÿ?4       >>$)$>ÿ$the
                                                                               misstates        6ÿ
16ÿ                                               <)2=5#",*3ÿ-levels
                                                  background           :->ÿ%for"#ÿ)arsenic.
                                                                                        #>*42'ÿ&#  Dr.' ÿ
25

17ÿ                                               +,--)ÿ2contends
                                                  Kulla      "*$*3>ÿ$that 6)$ÿ$the6ÿ-level  :-ÿof"%ÿ)arsenic
                                                                                                      #>*42ÿ
26                                                P6426ÿis4>ÿZ"characteristic
                                                  which          26)#)2$#4>$42ÿof"%ÿ<background)2=5#",*3ÿ
18ÿ                                               %"#ÿ#regional
                                                  for     54"*)-ÿ>soils"
                                                                      "4->[ÿis4>ÿ6556ÿ?5      @=5'ÿSee
                                                                                          mg/kg.     ABBÿ
27

19ÿ                                               +,--)ÿReport,
                                                  Kulla        !"#$0ÿ)at$ÿ35ÿ.(Docket
                                                                               &"2=$ÿU"       No.' ÿ3931-11).
                                                                                                      54L44/'ÿ
28                                                122"#34*5ÿ$to"ÿ$the6ÿI)
                                                  According                       -4%"#*4)ÿDepartment
                                                                             California        & !)#$? *$ÿ
                                               123ÿ
                                               249
 \]^_ÿabcdefgehidjieklemÿÿÿnofpq_rsÿtub}daÿÿjÿvw
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 Case                                     Filed 05/02/22Page 25363ofof
                                                          Page       277
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                                  #:33844



 4ÿ
 1

 1ÿ         OPPOSINGÿPARTIES'
                          ÿ
 2              ÿ
                ALLEGEDLY                                     ÿPLAINTIFFS'
                                                             MOVING               ÿ
 5ÿ           ÿ
            UNCONTROVERTED                            ÿÿ
                                                    RESPONSE                             ÿ
                                                                            AND SUPPORTING
 3
          ÿ
          MATERIAL
 6ÿ SUPPORTING         FACTSÿ  ÿ
                               AND                                       ÿ
                                                                         EVIDENCE
 4          ÿ       ÿ
                         EVIDENCE
 2ÿ
 5

 7ÿ                                               ÿ!
                                                  of  Toxic"#$ÿSubstances
                                                                  %&'()*+$,(ÿControl,
                                                                                    -+)./0ÿ)the1,ÿ
 6
                                                  '*$23.&+4ÿ/level
                                                  background             ,5,/ÿfor.ÿarsenic
                                                                                     *.(,+#$ÿ#is(ÿ(several
                                                                                                      ,5,.*/ÿ
 8ÿ
 7                                                )#6,(ÿlower,
                                                  times     /7,.0ÿ+namely,
                                                                          *6,/80ÿ4121ÿ63       923:ÿMutch
                                                                                           mg/kg.    ;&)$1ÿ
 9ÿ                                               <,=.)0ÿ*at)ÿ87-13
                                                  Report,             >45ÿ?(Docket
                                                                             @$2,)ÿA     No.:ÿ903-204
                                                                                                  35>136ÿ
 8
                                                  B*3,ÿCID@ÿ#-.25426)
                                                  Page           DE12617Fÿ?(citing
                                                                                $#)#+3ÿG:   G.ÿ -1  ,.+ ÿetHIÿ
                                                                                                Chemoff
 9ÿ                                               KLM0ÿDept.
                                                  al..  @,=):ÿofÿ!Toxic  "#$ÿSubstances
                                                                                %&'()*+$,(ÿ-          +)./0ÿ
                                                                                                   Control,
43ÿ                                               @,),.6#+*)#+ÿofÿ*aÿSouthern
                                                  Determination                   %&)1,.+ÿCalifornia
                                                                                                 -*/#.+#*ÿ
10
                                                  <,3#+*/ÿN*
                                                  Regional             $23.&+4ÿO.
                                                                  Background               (,+#$ÿ
                                                                                       Arsenic
44ÿ
11                                                -+$,+).*)#+ÿin#+ÿ%Soil
                                                  Concentration                #/ÿ?(2008),
                                                                                       1339F0ÿat*)ÿ41).F:ÿThe
                                                                                                          !1,ÿ
41ÿ                                               P%Qÿfor.ÿ*arsenic
                                                  ESL             .(,+#$ÿ#in+ÿ(soil
                                                                                  #/ÿwas
                                                                                        7*(ÿexceeded
                                                                                              ,"$,,4,4ÿ*at)ÿ
12
                                                  (,5,.*/ÿ/locations
                                                  several        $*)#+(ÿ*at)ÿ)the1,ÿPatsouras
                                                                                         B*)(&.*(ÿ
45ÿ
13                                                B.=,.)8ÿfrom
                                                  Property         .6ÿ21ÿfeet,,)ÿ)toÿ5352ÿfeet
                                                                                              ,,)ÿ'bgs,
                                                                                                     3(0ÿ
46ÿ                                               71#$1ÿis#(ÿ#indicative
                                                  which           +4#$*)#5,ÿofÿrelease
                                                                                      .,/,*(,ÿofÿ*arsenic
                                                                                                       .(,+#$ÿ
14
                                                   .6ÿoperations
                                                  from     =,.*)#+(ÿon+ÿ)the    1,ÿProperty
                                                                                         B.=,.)8ÿ)toÿ)the
                                                                                                          1,ÿ
42ÿ
15                                                (&'(&.*$,:ÿ;&
                                                  subsurface.         Mutch)$1ÿ<,     =.)0ÿ*at)ÿ7-13.
                                                                                Report,          8>45:ÿ
47ÿ                                               N,$*&(,ÿofÿ)the
                                                  Because              1,ÿinadequacy
                                                                           #+*4,R&*$8ÿ*and      +4ÿ
16
                                                  (=*.(,+,((ÿofÿ)the
                                                  sparseness              1,ÿmonitoring
                                                                              6+#).#+3ÿ7,      well//ÿ
48ÿ
17                                                +,)7.2ÿ*at)ÿ)the1,ÿProperty,
                                                  network                  B.=,.)80ÿ*arsenic
                                                                                            .(,+#$ÿ
49ÿ                                               #6=*$)(ÿ)toÿ3groundwater
                                                  impacts              .&+47*),.ÿ6*      may 8ÿnot
                                                                                                 +)ÿ'be,ÿ
18

4ÿ
                                                  #4,+)##*'/,:ÿSId.T:ÿat*)ÿ7-14.
                                                  identifiable.                8>46:ÿÿ
                                                  %#/ÿ3gas*(ÿ$concentrations
                                                                  +$,+).*)#+(ÿin#+ÿexcess  ,"$,((ÿofÿ(soil
                                                                                                           #/ÿ
19

13ÿ
20
                                                  Soil
                                                  3*(ÿESL
                                                  gas    P%Qÿ5values
                                                                   */&,(ÿ7, were.,ÿ+noted
                                                                                       ),4ÿfor.ÿPCE
                                                                                                    B-Pÿ*and+4ÿ
14ÿ                                               !-P:ÿUSeeHHÿV*
                                                  TCE.                  /,+W&,/*ÿX=
                                                                   Valenzuela         Opp'n=Y+ÿDecl.,
                                                                                                @,$/:0ÿP" Ex.:
                                                                                                             ÿ
                                                  9,0
                                                    ÿ*at)ÿ982,10ÿ89-93
                                                                 9>5ÿ?(Envtl.
                                                                            P+5)/:ÿO&       4#)0ÿCInc.,
                                                                                                   +$:0ÿ
21

11ÿ
22
                                                  %&66*.8ÿofÿ%Site
                                                  Summary
                                                                                       Audit,
                                                                          #),ÿAssessments
                                                                              O((,((6,+)(ÿ(Mar.    ?;*.:ÿ
15ÿ
23                                                133F0ÿ*at)ÿ4114ÿ&Zÿ!*
                                                  2009),                      '/,(ÿ98,0ÿ9)Fÿ?(Docket
                                                                           Tables               @$2,)ÿA  No.:
                                                                                                              ÿ
16ÿ                                                 6>57F[ÿ;&
                                                  949-36);        Mutch )$1ÿ<,  =.)0ÿ*at)ÿTable
                                                                             Report,         !*'/,ÿ87-6>7ÿ
24
                                                  ?@$2,)ÿA
                                                  (Docket        No.:  ÿ903-204
                                                                          35>136ÿPage B*3,ÿCID@ÿ#-.25430-
                                                                                                   DE12653>
12ÿ
25                                                54F:ÿ%Sampling
                                                  31).      *6=/#+3ÿofÿ(soil  #/ÿvapor
                                                                                      5*=.ÿ(shows
                                                                                                17(ÿ*aÿ
17ÿ                                               =*)),.+ÿofÿ,elevated
                                                  pattern            /,5*),4ÿ$concentrations
                                                                                   +$,+).*)#+(ÿofÿ
26
                                                  soil            -P0ÿ*as(ÿ7,
                                                  (#/ÿ3gas*(ÿBPCE,          well //ÿ*as(ÿother
                                                                                            )1,.ÿ
18ÿ
27                                                $1/.#+*),4ÿVX-(
                                                  chlorinated         VOCsÿ    (such
                                                                                  &$1ÿ*as(ÿ!-Pÿ
                                                                                             TCE (a  ?*ÿ
19ÿ
28
                                                  4*&31),.ÿ=product
                                                  daughter          .4&$)ÿofÿPCE),
                                                                                   B-PF0ÿ)that1*)ÿ*are.,ÿ
                                               123ÿ
                                               250
 ghijÿlmnopqrpstoutpvwpxÿÿÿyzq{|j}~ÿmolÿÿuÿ
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 Case                                      Filed 05/02/22Page 25464ofof277
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                                  #•.32505
    ÿ
                                  #:33845



 3ÿ
 1

 1ÿ           OPPOSING  ÿPARTIES' ÿ
 2                  ÿ
                    ALLEGEDLY                                           ÿPLAINTIFFS'
                                                                       MOVING             ÿ
 4ÿ             ÿ
              UNCONTROVERTED                                    ÿÿ
                                                              RESPONSE                           ÿ
                                                                                    AND SUPPORTING
 3
            ÿ
            MATERIAL
 5ÿ SUPPORTING                   FACTSÿ     ÿ
                                            AND                                 ÿ
                                                                                EVIDENCE
 4            ÿ                 ÿ
                                   EVIDENCE
 2ÿ
 5

 6ÿ                                                        !"#$%&ÿin#'ÿ"aÿ(part
                                                           localized               ")*ÿof+ÿ*the,%ÿ-Patsouras
                                                                                                    "*./)".ÿ
 6
                                                           -)(%)*0ÿ1#
                                                           Property           *,ÿ,high
                                                                           with     #2,ÿ-PCE34ÿsoil
                                                                                                  .#ÿlevels,
                                                                                                        %5%.6ÿ
 7ÿ
 7                                                         .#2'#+0#'2ÿ"aÿ&definitive
                                                           signifying           %+#'#*#5%ÿonsite '.#*%ÿsource
                                                                                                        ./)!%ÿof+ÿ
 8ÿ                                                        *,%.%ÿ,hazardous
                                                           these        "$")&/.ÿ.substances.
                                                                                      /7.*"'!%.8ÿMutch 9/*!,ÿ
 8
                                                           :%()*6ÿ"at*ÿ77-17
                                                           Report,            ;37ÿ*toÿ77-18
                                                                                         ;38ÿ(Docket
                                                                                                <= !>%*ÿNo. ? 8ÿ
 9ÿ
 9                                                         94;15ÿ-Page
                                                           903-204           "2%ÿ@ID=ÿA#:25430-31).
                                                                                        B1254;43C8ÿÿ
3ÿ
10
                                                           D/)*,%)6ÿ*the,%ÿ.sole%ÿbasis
                                                           Further,                   7".#.ÿof+ÿ*this
                                                                                                    ,#.ÿ.statement
                                                                                                          *"*%E%'*ÿ
33ÿ                                                        #.ÿan"'ÿopinion
                                                           is          (#'#'ÿof+ÿ=)  Dr.8ÿKulla,
                                                                                          F/"6ÿ1,  whose .%ÿlack
                                                                                                                "!>ÿ
                                                           of+ÿ#information
                                                                 '+)E"*#'ÿ"about     7/*ÿ*the ,%ÿproperty
                                                                                                   ()(%)*0ÿ"and  '&ÿ
11

31ÿ
12
                                                           #*.ÿhistoric
                                                           its   ,#.*)#!ÿ/uses .%.ÿ!causes
                                                                                      "/.%.ÿher ,%)ÿopinions
                                                                                                      (#'#'.ÿ*toÿ
34ÿ                                                        7%ÿ+flawed
                                                           be     "1%&ÿ"and  '&ÿ/unreliable,
                                                                                    ')%#"7%6ÿ"as.ÿset.%*ÿout/*ÿin#'ÿ
                                                           -"#'*#++.Gÿresponse
                                                                             )%.('.%ÿto*ÿ=%        +%'&"'*.Gÿ
13

35ÿ
14
                                                           Plaintiffs'
                                                           :HI9Dÿ2544
                                                           RSUMF             55ÿ1,
                                                                                which
                                                                                                Defendants'
                                                                                     #!,ÿis#.ÿ#incorporated
                                                                                                '!)()"*%&ÿ
32ÿ
15                                                         ,%)%#'ÿ7by0ÿ)reference.
                                                           herein            %+%)%'!%8ÿ
36ÿ
16                                                         @EE"*%)#"ÿ7because
                                                           Immaterial          %!"/.%ÿ-Plaintiffs
                                                                                             "#'*#++.ÿ&doÿ'not*ÿ
37ÿ                                                        ,"5%ÿ*toÿ*trace
                                                           have           )"!%ÿ"releases"
                                                                                J)%%".%.Kÿor)ÿ"threatened
                                                                                                     J*,)%"*%'%&ÿ
17
                                                           )%%".%.Kÿof+ÿ,hazardous
                                                           releases"            "$")&/.ÿ.substances
                                                                                                 /7.*"'!%.ÿback 7"!>ÿ
38ÿ
18                                                         *ÿ"aÿ.specific
                                                           to       (%!#+#!ÿdefendant
                                                                               &%+%'&"'*ÿor)ÿ*toÿ"aÿspecific
                                                                                                          .(%!#+#!ÿ
39ÿ                                                        &%+%'&"'*G.ÿ(period
                                                           defendant's          %)#&ÿof+ÿownership
                                                                                                1'%).,#(ÿor)ÿ
19

1ÿ
20
                                                             (%)"*#'8ÿ
                                                           operation.

     LMNOÿD
13ÿ 547.
21             )Eÿ31994
             From     995ÿthrough
                            *,)/2,ÿ2010, 136ÿ"at*ÿ 547.    LMNOÿI'          &#.(/*%&8ÿÿ
                                                                       Undisputed.
     %".*ÿ3137
11ÿ least    47ÿsoil
                  .#ÿ.samples
                        "E(%.ÿwere  1%)%ÿ*taken
                                            ">%'ÿon'ÿ _`   Buta  ÿcseeddÿ-Plaintiffs'
                                                                           "#'*#++.Gÿ:%    .('.%ÿ*toÿRSUMF:HI9Dÿ
22
     *,%ÿ4"
    the  East.*ÿ-Parcel
                  ")!%ÿof+ÿ*the,%ÿPatsouras
                                    -"*./)".ÿ 544.         2558ÿ
                                                                                        Response
     -)(%)*08ÿÿ
14ÿ Property.
23

15ÿ Supporting
24     PQQRSTUVWÿX      UYZV[Z\ÿ
                     Evidence:                             ÿ
12ÿ Id.
25
     ]^8ÿ
16ÿ
26
     LMeOÿ-
17ÿ 548.       34ÿ"and
             PCE     '&ÿf34ÿ
                         TCE 1%       )%ÿdetected
                                   were                    LMeOÿ=#
                                          &%*%!*%&ÿ#in'ÿ 548.              .(/*%&ÿ"and
                                                                       Disputed       '&ÿ#immaterial.
                                                                                            EE"*%)#"8ÿÿÿ
      '0ÿ"aÿ!couple
                 /(%ÿof+ÿ.soil#ÿ.samples
                                    "E(%.ÿ"at*ÿvery
                                                5%)0ÿ
27

18ÿ only
28
     1ÿ!concentrations
    low      '!%'*)"*#'.ÿ#in'ÿthe   *,%ÿ3137 .#ÿ
                                          47ÿsoil
                                                        123ÿ
                                                        251
 abcdÿfghijkljmnionjpqjrÿÿÿstkuvdwxÿyzgifÿÿoÿ{|
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                                  #:33846



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 1ÿ         OPPOSINGÿPARTIES'
                              ÿ
 2              ÿ
                ALLEGEDLY                                  ÿPLAINTIFFS'
                                                          MOVING               ÿ
 4ÿ           ÿ
            UNCONTROVERTED                            ÿÿ
                                                    RESPONSE                          ÿ
                                                                        AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING            FACTSÿ      ÿ
                                       AND                         ÿ
                                                                   EVIDENCE
 4          ÿ             ÿ
                             EVIDENCE
 2ÿ
 5
     !"#$ÿ%taken
 6ÿ between
    samples    &$'ÿ(on'ÿthe
                        %)$ÿ*East%ÿ+Parcel
                                       ,-$#ÿ Supporting
                                                   233456789ÿ:         7;<8=<>ÿÿ
                                                                  Evidence:
     .$%/$$'ÿ1994
              3995ÿand
                     '0ÿ12010.
                            31ÿÿ
 6


 7ÿ                                              AB%-)ÿRebuttal
                                                 Mutch      C$.B%%#ÿC$        "(,%Dÿ§Eÿ43.113ÿF(Docket
                                                                         Report,                G(-&$%ÿ
      233456789ÿ:   7;<8=<>ÿ                    H(1ÿ9949-78
                                                         59I78ÿ+PageJ$ÿKIDGÿL#:30971-72).
                                                                                   M4973I71N1ÿ
 7

 8ÿ Supporting
 8
                 Evidence:                       No.

     ?@1ÿ
 9ÿ Id.                                          AB%-)ÿReport,
                                                 Mutch      C$"(,%Dÿat%ÿ§Eÿ77.2.31114ÿF(pp.
                                                                                         ""1ÿ77-8I8ÿto%(ÿ77­I
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                                                 35NÿF(Docket
                                                 14)   G(-&$%ÿH(  No.1   ÿ9903-204).
                                                                              4I15N1ÿÿÿ
                                                 Oÿstated
                                                       %%$0ÿPin'ÿ%the
                                                                   )$ÿresponses
                                                                         ,$"('$ÿto%(ÿCQ         RASÿ
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33ÿ
11
                                                 As
                                                 217Dÿ2531
                                                 527,     43ÿand
                                                               '0ÿ546,
                                                                   256Dÿtesting
                                                                                              RSUMF
                                                                             %$%P'Jÿ"performed
                                                                                           $,T(,!$0ÿat%ÿ
31ÿ                                              %)$ÿ+Patsouras
                                                 the      %(B,ÿProperty
                                                                    +,("$,%Uÿ/wasÿPinadequate
                                                                                             '0$VB%$ÿ
                                                   '0Dÿ#largely,
                                                           ,J$#UDÿ0didP0ÿnot
                                                                          '(%ÿ%test
                                                                                  $%ÿTfor(,ÿWXY
                                                                                             VOCsÿ      (,ÿ
12

34ÿ
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                                                 and,
                                                 )$Z[#$'%ÿ-chromium.
                                                 hexavalent       ),(!PB!1ÿSFor(,ÿsake     &$ÿ(ofTÿ
                                                                                                        or

35ÿ                                              .,$[P%UDÿ+Plaintiffs
                                                 brevity.     #P'%PTTÿincorporate
                                                                            P'-(,"(,%$ÿ.byUÿ
                                                 ,$T$,$'-$ÿ%their
                                                               )$P,ÿ,responses
                                                                        $"('$ÿ%to(ÿRSUMF  CQRASÿ
14

32ÿ
15
                                                 reference
                                                 217Dÿ2531
                                                 527,     43ÿand
                                                               '0ÿ546
                                                                   256ÿasÿ%though)(BJ)ÿset$%ÿforth
                                                                                                  T(,%)ÿ
36ÿ
16                                               TB##Uÿ)herein.
                                                 fully     $,$P'1ÿ
37ÿ
17                                               SB,%)$,Dÿ%the)$ÿsole
                                                 Further,          (#$ÿbasis
                                                                           .Pÿof(Tÿ%this
                                                                                         )Pÿstatement
                                                                                                %%$!$'%ÿ
38ÿ                                              Pÿan'ÿopinion
                                                 is      ("P'P('ÿ(ofTÿG, Dr.1 ÿKulla,
                                                                               \B##Dÿ/)        ($ÿ#lack-&ÿ
                                                                                           whose
18
                                                 (TÿPinformation
                                                 of   'T(,! %P('ÿabout   .(B%ÿ%the )$ÿproperty
                                                                                       ",("$,%Uÿand     '0ÿ
39ÿ
19                                               P%ÿhistoric
                                                 its )P%(,P-ÿBuses
                                                                  $ÿ-causes
                                                                            B$ÿher )$,ÿ(opinions
                                                                                             "P'P('ÿ%to(ÿ
1ÿ                                               .$ÿTflawed
                                                 be   #/$0ÿand  '0ÿBunreliable,
                                                                        ',$#P.#$Dÿasÿset    $%ÿ(outB%ÿinP'ÿ
20
                                                 +#P'%PTT]ÿresponse
                                                 Plaintiffs'   ,$"('$ÿto%(ÿG$         T$'0'%]ÿ
                                                                                    Defendants'
13ÿ
21                                               CQRASÿ2544
                                                 RSUMF         55ÿ/)
                                                                   which  P-)ÿisPÿPincorporated
                                                                                     '-(,"(,%$0ÿ
11ÿ
22                                               )$,$P'ÿ.byUÿ,reference.
                                                 herein        $T$,$'-$1ÿ
14ÿ
23                                               K!! %$,P#ÿ.because
                                                 Immaterial       $-B$ÿ+Plaintiffs
                                                                                  #P'%PTTÿ0do(ÿ'not(%ÿ
15ÿ                                              )[$ÿ%to(ÿ%trace
                                                 have        ,-$ÿ"releases"
                                                                   ^,$#$$_ÿor(,ÿ^"threatened
                                                                                            %),$%$'$0ÿ
24
                                                 ,$#$$_ÿof(Tÿ)hazardous
                                                 releases"           `,0(Bÿsubstances
                                                                                      B.%'-$ÿback    .-&ÿ
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25                                               %(ÿaÿspecific
                                                 to      "$-PTP-ÿdefendant
                                                                  0$T$'0'%ÿ(or,ÿ%to(ÿaÿspecific"$-PTP-ÿ
16ÿ                                              0$T$'0'%]ÿ"period
                                                 defendant's       $,P(0ÿ(ofTÿownership
                                                                                   (/'$,)P"ÿ(or,ÿ
26
                                                 ("$,%P('1ÿ
                                                 operation.
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 ghijÿlmnopqrpstoutpvwpxÿÿÿyzq{|j}~ÿmolÿÿuÿ
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 1

 1ÿ         OPPOSING    ÿPARTIES'
                                  ÿ
 2                  ÿ
                    ALLEGEDLY                                    ÿPLAINTIFFS'
                                                                MOVING              ÿ
 3ÿ           ÿ
            UNCONTROVERTED                                 ÿÿ
                                                         RESPONSE                          ÿ
                                                                              AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING                FACTSÿ      ÿ
                                          AND                              ÿ
                                                                           EVIDENCE
 4          ÿ                ÿ
                                EVIDENCE
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 5
     !"ÿ#$
 6ÿ 549.   The% ÿ&'   ()&*&ÿconcentration
                   maximum       +,-+%-./'.),-ÿ,of0ÿ 549.
                                                      !"ÿM)       5<*.%:ÿ'and
                                                                Disputed        -:ÿ)immaterial.
                                                                                      &&'.%/)';6ÿÿÿ
 6
     123ÿ4'
          was5ÿ0.51624ÿ&7   897ÿ'and
                                  -:ÿof,0ÿ#23ÿ
                                          TCE 4'
                                              was5 ÿ Supporting
                                         '&<;%5ÿ >??@ABCDEÿF                CGHDIHJÿÿ
    PCE                mg/kg
 7ÿ   617ÿ&7
 7 0.27      897ÿ)in-ÿ.the
          mg/kg         $%ÿ137
                             437ÿ5soil
                                   ,);ÿ5samples                           Evidence:
     .'9%-ÿon
 8ÿ taken  ,-ÿ.the$%ÿ3' 5.ÿ1Parcel
                     East     '/+%;ÿbetween
                                    =%.4%%-ÿ1994
                                              4995ÿ Mutch
                                                      N*.+$ÿRebuttal
                                                                  O%=*..';ÿO%      <,/.Pÿ§Qÿ33.164ÿR(Docket
                                                                                                      M,+9%.ÿ
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     '-
    and :ÿ
         1  4
         2010. 6ÿ
                ÿ                                     S,6ÿ9949-78
                                                      No.      59T78ÿ1Page
                                                                              Report,
                                                                           '7%ÿUIDMÿV#:30971-72).
                                                                                        W3974T71X6ÿ
       >??@ABCDEÿF     CGHDIHJÿ
 9

4ÿ Supporting        Evidence:
                                                      N*.+$ÿReport,
                                                      Mutch       O%<,/.Pÿ'at.ÿ§Qÿ77.2.3
                                                                                      6163ÿR(pp.
                                                                                              <<6ÿ77-8T8ÿto.,ÿ77­T
                                                      45XÿR(Docket
                                                               M,+9%.ÿS,  No.6ÿ9903-204).
                                                                                   3T15X6ÿÿÿ
10

11   KL6ÿ
44ÿ Id.                                               14)

41ÿ                                                   Y5ÿ5stated
                                                      As      .'.%:ÿ)in-ÿ.the
                                                                           $%ÿresponses
                                                                              /%5<,-5%5ÿto.,ÿOZ         [N\ÿ
                                                                                                    RSUMF
12
                                                      217Pÿ2531
                                                      527,      34ÿ'and
                                                                      -:ÿ546,
                                                                           256Pÿtesting
                                                                                  .%5.)-7ÿ<performed
                                                                                                %/0,/&%:ÿ'at.ÿ
43ÿ
13                                                    .$%ÿ1Patsouras
                                                      the      '.5,*/'5ÿProperty
                                                                            1/,<%/.]ÿ4'   was5  ÿ)inadequate
                                                                                                   -':%^*'.%ÿ
45ÿ                                                   '-:Pÿ;largely,
                                                      and,     '/7%;]Pÿ:did):ÿnot
                                                                               -,.ÿ.test
                                                                                       %5.ÿ0for,/ÿ_`25
                                                                                                   VOCsÿ     ,or/ÿ
14
                                                      $%('a';%-.ÿ+chromium.
                                                      hexavalent          $/,&)*&6ÿ\For,/ÿsake  5'9%ÿ,of0ÿ
42ÿ
15                                                    =/%a).]Pÿ1Plaintiffs
                                                      brevity.      ;')-.)005ÿincorporate
                                                                                 )-+,/<,/'.%ÿ=by]ÿ
46ÿ                                                   /%0%/%-+%ÿ.their
                                                      reference        $%)/ÿ/responses
                                                                              %5<,-5%5ÿ.to,ÿRSUMF  OZ[N\ÿ
16
                                                      217Pÿ2531
                                                      527,      34ÿ'and
                                                                      -:ÿ546
                                                                           256ÿas'5ÿ.though
                                                                                       $,*7$ÿ5set%.ÿforth
                                                                                                       0,/.$ÿ
47ÿ
17                                                    0*;;]ÿ$herein.
                                                      fully      %/%)-6ÿ
48ÿ
18
                                                      \*/.$%/Pÿ.the$%ÿ5sole
                                                      Further,             ,;%ÿbasis          $)5ÿ5statement
                                                                                ='5)5ÿof,0ÿ.this     .'.%&%-.ÿ
49ÿ                                                   )5ÿan'-ÿopinion
                                                      is       ,<)-),-ÿ,of0ÿM/Dr.6 ÿKulla,
                                                                                    b*;;'Pÿ4$   whose,5%ÿ;lack
                                                                                                            '+9ÿ
                                                      ,0ÿ)information
                                                            -0,/&'.),-ÿ'about =,*.ÿ.the $%ÿproperty
                                                                                            </,<%/.]ÿ'and    -:ÿ
19

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20
                                                      of
                                                      ).5ÿhistoric
                                                      its   $)5.,/)+ÿ*uses
                                                                         5%5ÿ+causes
                                                                                '*5%5ÿher $%/ÿ,opinions
                                                                                                   <)-),-5ÿ.to,ÿ
14ÿ                                                   =%ÿ0flawed
                                                      be     ;'4%:ÿ'and -:ÿ*unreliable,
                                                                              -/%;)'=;%Pÿ'as5ÿset  5%.ÿ,out*.ÿin)-ÿ
                                                      1;')-.)005cÿresponse
                                                                       /%5<,-5%ÿto.,ÿM%      0%-:'-.5cÿ
21

11ÿ
22
                                                      Plaintiffs'
                                                      OZ[N\ÿ2544
                                                      RSUMF           55ÿ4$
                                                                                         Defendants'
                                                                               )+$ÿis)5ÿ)incorporated
                                                                           which          -+,/<,/'.%:ÿ
13ÿ
23                                                    $%/%)-ÿ=by]ÿ/reference.
                                                      herein           %0%/%-+%6ÿ
15ÿ
24                                                    U&&'.%/)';ÿ=because
                                                      Immaterial          %+'*5%ÿ1Plaintiffs
                                                                                       ;')-.)005ÿ:do,ÿ-not,.ÿ
12ÿ                                                   $'a%ÿ.to,ÿ.trace
                                                      have         /'+%ÿ"releases"
                                                                           d/%;%'5%5eÿor,/ÿd"threatened
                                                                                                  .$/%'.%-%:ÿ
25

16ÿ                                                   /%;%'5%5eÿof,0ÿ$hazardous
                                                      releases"            'f'/:,*5ÿ5substances
                                                                                           *=5.'-+%5ÿback   ='+9ÿ
26                                                    .,ÿ'aÿ5specific
                                                      to       <%+)0)+ÿdefendant
                                                                          :%0%-:'-.ÿ,or/ÿ.to,ÿ'aÿspecific
                                                                                                     5<%+)0)+ÿ
17ÿ                                                   :%0%-:'-.c5ÿ<period
                                                      defendant's          %/),:ÿ,of0ÿownership
                                                                                        ,4-%/5$)<ÿ,or/ÿ
27

18ÿ
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                                                      ,<%/'.),-6ÿ
                                                      operation.

                                                   123ÿ
                                                   253
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 1

 1ÿ            OPPOSING    ÿPARTIES'
                                   ÿ
 2                  ÿ
                    ALLEGEDLY                                     ÿPLAINTIFFS'
                                                                 MOVING               ÿ
 5ÿ              ÿ
               UNCONTROVERTED                             ÿÿ
                                                        RESPONSE                            ÿ
                                                                              AND SUPPORTING
 3
             ÿ
             MATERIAL
 3ÿ SUPPORTING                 FACTSÿ    ÿ
                                         AND                               ÿ
                                                                           EVIDENCE
 4             ÿ              ÿ
                                 EVIDENCE
 2ÿ
 5
     !ÿ"#
 6ÿ 550.      Noÿ $chloroform
                    %&#'#(#')ÿor#'ÿ41,1-
                                       *4+            !ÿM0
                                                      550.           ,-79N/.,ÿ<butN/ÿ-immaterial.
                                                                 Undisputed                ))8/.'-8&=ÿÿ
 6
     ,-$%&#'#./%.0.ÿ1(1,1-DCE)
                            4*4+2345ÿ6.   '.ÿ Supporting
                                             /8:.0ÿ >??@ABCDEÿF              CGHDIHJÿÿ
    dichloroethene                      were
 7ÿ  ,./.$/.,ÿ-in0ÿ/the%.ÿ4137
 7 detected                 57ÿsoil
                               7#-&ÿ7samples
                                      8)9&.7ÿtaken                        Evidence:
     #0ÿ/the%.ÿ48
 8ÿ on           7/ÿ;Parcel
               East     8'$.&ÿbetween
                              <./6..0ÿ41994
                                         993ÿ8and
                                               0,ÿ OP ButQ ÿSseeTTÿ;Plaintiffs
                                                                     &8-0/-((7ÿ'responses
                                                                                    .79#07.7ÿ/to#ÿRSUMFUVMWXÿ
 8

 9ÿ
     1  4
    2010.    =ÿ
              ÿ                                       217*ÿ2531
                                                      527,       54ÿ8and
                                                                      0,ÿ546
                                                                           236ÿregarding
                                                                                   '.Y8',-0Yÿ/the%.ÿ
 9
      >??@ABCDEÿF         CGHDIHJÿ                   -08,.ZN8$[ÿ#of(ÿ/testing
                                                      inadequacy             .7/-0Yÿ(for#'ÿVOCs
                                                                                              \]37ÿ8at/ÿ/the%.ÿ
4ÿ Supporting
10
                      Evidence:
                                                      ;8/7#N'87ÿ;Property.
                                                      Patsouras         '#9.'/[=ÿÿ
11   KL=ÿ
44ÿ Id.                                               ^%.ÿ7sole
                                                      The     #&.ÿ<basis
                                                                      87-7ÿof#(ÿ/this     /8/.).0/ÿis-7ÿ8an0ÿ
                                                                                   %-7ÿ7statement
41ÿ                                                   #9-0-#0ÿ#of(ÿ2'
                                                      opinion           Dr.=ÿKulla,
                                                                             _N&&8*ÿ6%  whose#7.ÿlack
                                                                                                   &8$:ÿ#of(ÿ
                                                      -0(#')8/-#0ÿ8about   <#N/ÿ/the%.ÿ9property
                                                                                           '#9.'/[ÿ8and  0,ÿ-its/7ÿ
12

45ÿ
13
                                                      information
                                                      %-7/#'-$ÿNuses
                                                      historic       7.7ÿ$causes
                                                                            8N7.7ÿher %.'ÿ#opinions
                                                                                             9-0-#07ÿ/to#ÿbe<.ÿ
43ÿ                                                   (&86.,ÿ8and
                                                      flawed        0,ÿNunreliable,
                                                                          0'.&-8<&.*ÿ8as7ÿ7set./ÿout#N/ÿ-in0ÿ
                                                      ;&8-0/-((7`ÿresponse
                                                                       '.79#07.ÿ/to#ÿKekropia's
                                                                                          _.:'#9-8`7ÿ
14

42ÿ
15
                                                      Plaintiffs'
                                                      UVMWXÿ2544
                                                      RSUMF           33ÿ6%which-$%ÿis-7ÿ-incorporated
                                                                                           0$#'9#'8/.,ÿ
46ÿ
16                                                    %.'.-0ÿ<by[ÿ'reference.
                                                      herein           .(.'.0$.=ÿ
47ÿ
17                                                    WN/$%ÿU.
                                                      Mutch           <N//8&ÿU.
                                                                  Rebuttal           9#'/*ÿ§aÿ53.1=4ÿ1(Docket
                                                                               Report,                 2#$:./ÿ
48ÿ
18                                                    "#=ÿ9949-78
                                                      No.     39+78ÿ;Page  8Y.ÿbID2ÿc#:30971-72).
                                                                                         d5974+715=ÿ
49ÿ                                                   WN/$%ÿU.
                                                      Mutch           9#'/*ÿ8at/ÿa§ÿ77.2.3
                                                                  Report,              =1=5ÿ1(pp.
                                                                                              99=ÿ77-8+8ÿ/to#ÿ7­7+
                                                      435ÿ1(Docket
                                                              2#$:./ÿ"#   No.= ÿ9903-204).
                                                                                     5+135=ÿÿÿ
19

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                                                      14)

14ÿ                                                   ]//.0ÿ2.
                                                      Otten          $&=*ÿ4e
                                                                 Decl.,   Ex.= ÿbIÿ1(Covenant
                                                                                     3#f.080/ÿ8and    0,ÿ
21
                                                      40f-'#0).0/8&ÿU.
                                                      Environmental                7/'-$/-#0ÿ#on0ÿ;Property
                                                                              Restriction               '#9.'/[ÿ
11ÿ
22                                                    .e.$N/.,ÿgJuly
                                                      executed        N&[ÿ25,*ÿ2016)
                                                                                1465ÿ1(Docket
                                                                                            2#$:./ÿ"#   No.= ÿ
15ÿ                                                   954+9ÿ;Page
                                                      931-9        8Y.ÿbID#:26515)
                                                                          2cd162425ÿ(chloroform
                                                                                            1$%&#'#(#')ÿ
23

13ÿ
24
                                                      hijikjihÿmatjÿn15.3
                                                      detected            opqÿ|xg/L).
                                                                               rstuvpÿÿ
12ÿ                                                   b))8/.'-8&ÿ<because
                                                      Immaterial          .$8N7.ÿ;Plaintiffs
                                                                                        &8-0/-((7ÿ,do#ÿ0not#/ÿ
25
                                                      %8f.ÿ/to#ÿ/trace
                                                      have          '8$.ÿ"releases"
                                                                           w'.&.87.7xÿ#or'ÿ"threatened
                                                                                               w/%'.8/.0.,ÿ
16ÿ
26                                                    '.&.87.7xÿof#(ÿ%hazardous
                                                      releases"            8y8',#N7ÿ7substances
                                                                                            N<7/80$.7ÿ<back  8$:ÿ
17ÿ
27
                                                      /#ÿ8aÿ7specific
                                                      to      9.$-(-$ÿdefendant
                                                                          ,.(.0,80/ÿ#or'ÿ/to#ÿ8aÿspecific
                                                                                                      79.$-(-$ÿ
18ÿ
28
                                                   123ÿ
                                                   254
 bcdeÿghijklmknojpokqrksÿÿÿtulvwexyÿz{hjgÿÿpÿ|}
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                                                             nz~eÿnjgzgiÿÿÿceÿgpÿuÿg{{ÿÿÿceÿt
 Case                                      Filed 05/02/22Page 25868ofof
                                                           Page       277
                                                                        87 Page
                                                                           Page ID
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    ÿ
                                  #:33849



 3ÿ
 1

 1ÿ          OPPOSING    ÿPARTIES'
                                   ÿ
 2                  ÿ
                    ALLEGEDLY                                             ÿPLAINTIFFS'
                                                                         MOVING             ÿ
 4ÿ             ÿ
              UNCONTROVERTED                                          ÿÿ
                                                                    RESPONSE                      ÿ
                                                                                      AND SUPPORTING
 3
           ÿ
           MATERIAL
 5ÿ SUPPORTING                 FACTSÿ      ÿ
                                           AND                                   ÿ
                                                                                 EVIDENCE
 4           ÿ                ÿ
                                 EVIDENCE
 2ÿ
 5

 6ÿ                                                             !"#"$%&ÿ'period
                                                                defendant's        ()*ÿ*of!ÿownership
                                                                                                *+"(&,)'ÿ*or(ÿ
 6
                                                                *'(#$)*"-ÿ
                                                                operation.
 7ÿ
                                                                .//#$()#0ÿ1because2#3&ÿignores
                                                                                            )4"*(&ÿ(releases0#&&ÿ
 7

 8ÿ
 8
                                                                Immaterial
                                                                !from
                                                                  (*/ÿoperations
                                                                        *'(#$)*"&ÿat#$ÿthe$,ÿ5Patsouras
                                                                                                  #$&*3(#&ÿ
 9ÿ
 9                                                              5Property
                                                                   (*'($6ÿprior
                                                                             '()*(ÿ$to*ÿ1994.
                                                                                         3995-ÿ
3ÿ 551.
10
     7789ÿ:;<ÿ       / $#0&ÿ)in"ÿ&soils
             CAM metals             *)0&ÿwere
                                          + (ÿ 551.             7789ÿT)     &'3$ÿ#and
                                                                         Disputed        "ÿ)immaterial.
                                                                                              //#$()#0-ÿÿ
     +)$,)"ÿ1background
33ÿ within
11             #2=4(*3"ÿ0levels >0&ÿ!for*(ÿ(regional
                                                4)*"#0ÿ Supporting EFFGHIJKLÿM       JNOKPOQÿ
     &*)0&ÿ(i.e.,
31ÿ soils  ?)--@ÿwithin
                   +)$,)"ÿ$the,ÿ(range
                                  #"4ÿof*!ÿ                                      Evidence:
     2*"2"$(#$)*"&ÿnormally
                        "*(/#006ÿ!found
                                      *3"ÿ)in"ÿ Plaintiffs
J2
    concentrations
     "#$3(#0@ÿ3uncontaminated
34ÿ natural,     "2*"$#/)"#$ÿ&soil)                            50#)"$)!!&ÿ)incorporate
                                       *)0Aÿin)"ÿ#all00ÿ*of!ÿ response        "2*('*(#$ÿ1by6ÿreference
                                                                                                   (!("2ÿ$their     ,)(ÿ
13

     $,ÿ3137
           47ÿ&samples
                #/'0&ÿtaken$#="ÿon *"ÿ$the,ÿB#   &$ÿ forth      (&'*"&ÿ$to*ÿUV      W<Xÿ546
                                                                                RSUMF         256ÿas#&ÿ$though
                                                                                                          ,*34,ÿ&set$ÿ
35ÿ Parcel
J4  the
     5 #(2  0ÿ
             1  $ +
             between  " ÿ 39 9
                          1994 5ÿ# "
                                 and ÿ
                                      1
                                      2010,3
                                             East
                                               @ÿ
                                                +)
                                                with  $,  ÿ     !*($,ÿfully
                                                                        !3006ÿ,herein.
                                                                                 ()"-ÿÿÿ
32ÿ the
15   $,ÿexception
          C2'$)*"ÿ*of!ÿone *"ÿ2chromium
                                  ,(*/)3/ÿsample&#/'0ÿImmaterial.//#$()#0ÿ1because2#3&ÿ5Plaintiffs
                                                                                               0#)"$)!!&ÿdo*ÿ"not*$ÿ
36ÿ  &0)4,$
    slightly06ÿ#1  *
               above> ÿ 1 # 2= 4(*
                        background 3"  ÿ0 >
                                         levels 0
                                                & ÿ             ,#>ÿ$to*ÿ$trace
                                                                            (#2ÿ"releases"
                                                                                 Y(0#&&Zÿ*or(ÿ"threatened
                                                                                                      Y$,(#$"ÿ
16
     ?7 3-
         3
    (71.1.
37ÿ ground -ÿ/4  D
             mg/kg)=4Aÿ!* 3
                       found" ÿ#
                                at$ÿ
                                   $+*
                                   two   ÿ!
                                          feet$ ÿ
                                                1below0*  +ÿ    have
                                                                (0#&&Zÿof*!ÿ,hazardous
                                                                                  #[#(*3&ÿ&substances
                                                                                                  31&$#"2&ÿback    1#2=ÿ
17   4(*3"ÿ&surface
                3(!#2ÿ#and "ÿlead
                               0#ÿ!found
                                      *3"ÿ)in"ÿ&some  */ ÿtoreleases"
                                                                $*ÿ#aÿ&specific
                                                                        '2)!)2ÿdefendant
                                                                                 !"#"$ÿ*or(ÿ$to*ÿ#aÿspecific
                                                                                                            &'2)!)2ÿ
38ÿ
18   &$*2= ' )
    stockpiled0   ÿ
                   &*)0-
                   soil.ÿ ÿ                                     !"#"$%&ÿ'period
                                                                defendant's        ()*ÿ*of!ÿownership
                                                                                                *+"(&,)'ÿ*or(ÿ
       EFFGHIJKLÿM
39ÿ Supporting
19                       JNOKPOQÿ
                     Evidence:
                                                                *'(#$)*"-ÿ
                                                                operation.

1ÿ Id.
     RS-ÿ                                                       .//#$()#0ÿ1because
                                                                Immaterial        2#3&ÿ)ignores
                                                                                              4"*(&ÿ(releases
                                                                                                            0#&&ÿ
20

13ÿ                                                             !from
                                                                  (*/ÿoperations
                                                                        *'(#$)*"&ÿat#$ÿthe$,ÿ5Patsouras
                                                                                                  #$&*3(#&ÿ
21                                                              5Property
                                                                   (*'($6ÿprior
                                                                             '()*(ÿ$to*ÿ1994.
                                                                                         3995-ÿ
11ÿ
22
     77\9ÿ<
14ÿ 552.          $,60"ÿ2chloride
             Methylene        ,0*()ÿ?(8.27
                                          8-17ÿ 552.            77\9ÿT)     &'3$-ÿÿÿ
                                                                         Disputed.
23
     /4D=4A@ÿ"naphthalene
                  #',$,#0"ÿ?(4.31 5-43ÿ/4     D=4A@ÿ#and  "ÿSupporting
                                                          "ÿ EFFGHIJKLÿM             JNOKPOQÿÿ
    mg/kg),                              mg/kg),
     0#ÿ?(51,600
15ÿ lead
24          23@6 ÿ/4      D=4Aÿ+were(ÿfound
                     mg/kg)             !*3"ÿ)in"ÿ*one                          Evidence:
     &$*2=')0ÿ&soil
12ÿ stockpiled      *)0ÿsample,
                        &#/'0@ÿ#and  "ÿ$the
                                           ,ÿ                   <3$2,ÿRebuttal
                                                                          U 13$$#0ÿUReport,'*($@ÿ§]ÿ43.1-3ÿ?(Docket
                                                                                                             T*2=$ÿ
25
     &$*2= ' )
    stockpiled0   ÿ
                   &*)0
                   soilÿ, #
                         has&ÿ1
                              been "ÿ(  /*
                                     removed >    ÿ
                                                   !
                                                   from(* /ÿ    Mutch
                                                                ^*-ÿ9949-78
                                                                        59_78ÿ5Page
                                                                                 #4ÿ.IDTÿ̀a      4973_71A-ÿ
26   $,ÿ5Property.
16ÿ the    (*'($6-ÿÿ                                            No.                           #:30971-72).

17ÿ Supporting
       EFFGHIJKLÿM      JNOKPOQÿ                               <3$2,ÿReport,
                                                                Mutch     U '*($@ÿ#at$ÿ§]ÿ77.2.3
                                                                                              -1-4ÿ?(pp.
                                                                                                     ''-ÿ77-8_8ÿto$*ÿ77­_
                                                                35Aÿ?(Docket
                                                                       T*2=$ÿ^*  No.-  ÿ9903-204).
                                                                                           4_15A-ÿÿÿ
27
                     Evidence:
18ÿ
28
                                                                14)

                                                             122ÿ
                                                             255
 ]^_`ÿbcdefghfijekjflmfnÿÿÿopgqr`stÿuvcebÿÿkÿwx
 Cnse 2:14-cv-06456-GW-E
      2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                                        diỳzÿie{bu{bdÿÿÿ|^}`ÿbkuÿp~ÿbvvÿÿÿ|^}`ÿo
 Case                                     Filed 05/02/22Page 25969ofof
                                                          Page       277
                                                                       87 Page
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                                  #:32510
    ÿ
                                  #:33850



 4ÿ
 1

 1ÿ          OPPOSING     ÿPARTIES'
                                    ÿ
 2                 ÿ
                   ALLEGEDLY                                           ÿPLAINTIFFS'
                                                                      MOVING                ÿ
 5ÿ            ÿ
             UNCONTROVERTED                                    ÿÿ
                                                             RESPONSE                              ÿ
                                                                                     AND SUPPORTING
 3
            ÿ
            MATERIAL
 6ÿ SUPPORTING                  FACTSÿ    ÿ
                                          AND                                    ÿ
                                                                                 EVIDENCE
 4           ÿ                ÿ
                                  EVIDENCE
 2ÿ
 5
     !ÿ
 3ÿ Id.                                                    "#$%ÿa&ÿ'determination
                                                           Such         ()(*+,-&),.-ÿ,is/ÿ,impossible
                                                                                                    +0.//,12(ÿto).ÿ
 6
                                                           +&3(ÿ'due#(ÿ)to.ÿ)the
                                                           make                  %(ÿinadequate
                                                                                       ,-&'(4#&)(ÿ)testing
                                                                                                        (/),-5ÿ&and -'ÿ
 7ÿ
 7                                                         ,-6(/),5&),.-ÿ.of7ÿ%hazardous
                                                           investigation                &8&*'.#/ÿ/substances
                                                                                                       #1/)&-$(/ÿ
 8ÿ                                                        ,-ÿ)the%(ÿ/soil,
                                                           in          .,29ÿ&as/ÿset
                                                                                  /()ÿ.out#)ÿ,in-ÿPlaintiffs'
                                                                                                  :2&,-),77/;ÿ
 8
                                                           *(/0.-/(/ÿ)to.ÿ<(
                                                           responses                 3*.0,&;/ÿRSUMF
                                                                                 Kekropia's         =">?@ÿ2527,  179ÿ
 9ÿ
 9                                                         254ÿ&and
                                                           531      -'ÿ2546
                                                                          63ÿA%  which,$%ÿ&are*(ÿ,incorporated
                                                                                                   -$.*0.*&)('ÿ
4ÿ
10                                                         %(*(,-ÿ1byBÿ*reference.
                                                           herein            (7(*(-$(!ÿ
44ÿ                                                        C%(ÿ/sole
                                                           The      .2(ÿbasis
                                                                         1&/,/ÿ.of7ÿ)this%,/ÿstatement
                                                                                               /)&)(+(-)ÿ,is/ÿ&an-ÿ
                                                           .0,-,.-ÿof.7ÿD*   Dr.! ÿKulla,
                                                                                    <#22&9ÿA%       ./(ÿlack
                                                                                                        2&$3ÿ.of7ÿ
11

41ÿ
12
                                                           opinion
                                                           ,-7.*+&),.-ÿabout
                                                           information
                                                                                               whose
                                                                               &1.#)ÿ)the%(ÿ0property
                                                                                                  *.0(*)Bÿ&and
                                                                                                             -'ÿ,its)/ÿ
45ÿ                                                        %,/).*,$ÿ#uses
                                                           historic      /(/ÿ$causes
                                                                                  &#/(/ÿ%her(*ÿopinions
                                                                                                   .0,-,.-/ÿ)to.ÿ1be(ÿ
                                                           72&A('ÿ&and  -'ÿ#unreliable,
                                                                                -*(2,&12(9ÿ&as/ÿ/set()ÿout
                                                                                                         .#)ÿ,in-ÿ
13

46ÿ
14
                                                           flawed
                                                           :2&,-),77/;ÿresponse
                                                           Plaintiffs'      *(/0.-/(ÿto).ÿ<(         3*.0,&;/ÿ
                                                                                                 Kekropia's
42ÿ                                                        =">?@ÿ2544
                                                           RSUMF           66ÿA% which ,$%ÿis,/ÿ,incorporated
                                                                                                  -$.*0.*&)('ÿ
                                                           %(*(,-ÿ1byBÿ*reference.
                                                                             (7(*(-$(!ÿ
15

43ÿ
16
                                                           herein

47ÿ 553.
17   EEFGÿC%    (*(ÿ,is/ÿ-no.ÿ(evidence
             There              6,'(-$(ÿthat
                                         )%&)ÿ)the%(ÿ 553. EEFGÿD,       /0#)('!ÿÿÿ
                                                                      Disputed.
     6(*Bÿ2low
48ÿ very    .Aÿ$concentrations
                 .-$(-)*&),.-/ÿof.7ÿ:PCE, HI9ÿCHIÿ
                                                TCE
                                                             LMMNOPQRSÿT            QUVRWVXÿÿ
18
     .
    or*
49ÿ soilÿ
        . )%(
        other*ÿ%& 8& * '
               hazardous . # / ÿ/#1/)&- $(
                                substances/ ÿ7. #
                                             found -'ÿ
                                                     ,-
                                                     in ÿ  Supporting           Evidence:
19   /.,2ÿ%have
            &6(ÿ+, 5*&)('ÿ&at)ÿ2least
                migrated           (&/)ÿ35
                                        52ÿ7feet
                                             (()ÿ)to.ÿ Mutch
                                                           ?#)$%ÿReport,
                                                                       =(0.*)9ÿ&at)ÿ77-14 K46ÿto).ÿ77-17,
                                                                                                      K479ÿ77-23
                                                                                                             K15ÿto).ÿ
20   )%(ÿJ>K
1ÿ the   OU-2 1ÿ5groundwater.
                  *.#-'A&)(*!ÿÿ                            7K19ÿY(Docket
                                                           7-29      D.$3()ÿZ.    No.!  ÿ9903-204).
                                                                                              5K16[!ÿÿ
21     LMMNOPQRSÿT
14ÿ Supporting            QUVRWVXÿ
                    Evidence:
                                                           ?#)$%ÿ=(
                                                           Mutch          1#))&2ÿ=(
                                                                       Rebuttal            0.*)9ÿ&at)ÿ§§
                                                                                      Report,         \\ÿ53.2,
                                                                                                           !19ÿ53.3!5ÿ
11ÿ Id.
22   !ÿ                                                   YD.$3()ÿZ.
                                                           (Docket      No.!   ÿ9949-78).
                                                                                  69K78[!ÿ
15ÿ
23                                                         "#$%ÿ&aÿ'determination
                                                           Such         ()(*+,-&),.-ÿ,is/ÿimpossible
                                                                                                   ,+0.//,12(ÿ)to.ÿ
16ÿ                                                        +&3(ÿ'due
                                                           make        #(ÿto).ÿ)the%(ÿ,inadequate
                                                                                        -&'(4#&)(ÿtesting
                                                                                                       )(/),-5ÿ&and -'ÿ
24

12ÿ                                                        ,-6(/),5&),.-ÿ.of7ÿ%hazardous
                                                           investigation                &8&*'.#/ÿ/substances
                                                                                                       #1/)&-$(/ÿ
25                                                         ,-ÿ)the%(ÿsoil,
                                                           in        /.,29ÿ&as/ÿ/set()ÿout
                                                                                        .#)ÿ,in-ÿ:Plaintiffs'
                                                                                                    2&,-),77/;ÿ
13ÿ                                                        *(/0.-/(/ÿ)to.ÿ<(
                                                           responses                 3*.0,&;/ÿRSUMF
                                                                                Kekropia's          =">?@ÿ2527,  179ÿ
26

17ÿ                                                        254ÿ&and
                                                           531      -'ÿ2546
                                                                          63ÿA% which ,$%ÿ&are*(ÿ,incorporated
                                                                                                   -$.*0.*&)('ÿ
27                                                         %(*(,-ÿ1byBÿ*reference.
                                                           herein            (7(*(-$(!ÿ
18ÿ
28
                                                        123ÿ
                                                        256
   efghÿjklmnopnqrmsrntunvÿÿÿwxoyzh{|ÿ}~kmjÿÿsÿ
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 Case                                     Filed 05/02/22Page 26070ofof
                                                          Page         87 Page
                                                                     Til  Page ID
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                                  #:32511
      ÿ
                                  #:33851



  4ÿ
  1

  1ÿ          OPPOSING   ÿPARTIES'
                                     ÿ
  2                 ÿ
                    ALLEGEDLY                                     ÿPLAINTIFFS'
                                                                 MOVING              ÿ
  53ÿ           ÿ
              UNCONTROVERTED                                ÿÿ
                                                          RESPONSE                          ÿ
                                                                              AND SUPPORTING
            ÿ
            MATERIAL
  6ÿ SUPPORTING                  FACTSÿ     ÿ
                                            AND                            ÿ
                                                                          EVIDENCE
  4           ÿ                 ÿ
                                   EVIDENCE
  25ÿ
  7ÿ                                                   !"#$!%ÿ"the#$ÿ&sole
                                                       Further,           '($ÿ)basis
                                                                                  *&+&ÿof',ÿ"this
                                                                                               #+&ÿ&statement
                                                                                                      "*"$-$."ÿ
  6
                                                       +&ÿan*.ÿopinion
                                                       is       '/+.+'.ÿ'of,ÿ0!Dr.1 ÿKulla,
                                                                                     2 ((*%ÿ3#  whose'&$ÿ(lack
                                                                                                            *45ÿ
  3ÿ
  7                                                    ',ÿ+information
                                                       of    .,'!-*"+'.ÿ*about )'"ÿ"the  #$ÿproperty
                                                                                             /!'/$!"6ÿ*and   .7ÿ
  8ÿ                                                   +"&ÿhistoric
                                                       its   #+&"'!+4ÿuses
                                                                        &$&ÿ4causes
                                                                                 *&$&ÿher  #$!ÿ'opinions
                                                                                                  /+.+'.&ÿ"to'ÿ
  8
                                                       )$ÿ,flawed
                                                       be     (*3$7ÿ*and
                                                                       .7ÿunreliable,
                                                                              .!$(+*)($%ÿ*as&ÿset &$"ÿ'out"ÿin+.ÿ
  9ÿ
  9                                                    8(*+."+,,&9ÿresponse
                                                       Plaintiffs'   !$&/'.&$ÿto"'ÿ0$         ,$.7*."&9ÿ
                                                                                          Defendants'
4ÿ                                                     :;<=ÿ2544
                                                       RSUMF         66ÿ3# which+4#ÿis+&ÿ+incorporated
                                                                                           .4'!/'!*"$7ÿ
10

44ÿ
11
                                                       #$!$+.ÿ)by6ÿ!reference.
                                                       herein        $,$!$.4$1ÿ
       >>?@ÿA!
41ÿ 554.
12              '.73*"$!ÿ-'
              Groundwater             .+"'!+.Bÿ3*
                                 monitoring    was&
                                                  ÿ 554.
                                                       >>?@ÿ<.      7+&/"$7ÿ"that
                                                                 Undisputed         #*"ÿ&some
                                                                                            '-$ÿ
       /$!,'!-$7ÿ'on.ÿ"the
45ÿ performed           #$ÿProperty
                              8!'/$!"6ÿ,from
                                           !'-ÿ1995
                                               4992ÿ groundwater
                                                       B!'.73*"$!ÿ-'           .+"'!+.Bÿ3*
                                                                          monitoring         was&  ÿ/performed
                                                                                                      $!,'!-$7ÿ
       "#!'B#ÿ12013
      through      45ÿ,for'!ÿ/petroleum
                                $"!'($-ÿ               *"ÿthe
                                                       at  "#$ÿ8Patsouras
                                                                  *"&'!*&ÿ8Property
                                                                                 !'/$!"6ÿ,from !'-ÿ19954992ÿ
       #67!'4*!)'.&%ÿCDE&
4146ÿ hydrocarbons,     VOCs,%     ÿ*and
                                      .7ÿmetals.
                                         -$"*(&1ÿ through
                                                       "#!'B#ÿ12013   45ÿ,for'!ÿ/petroleum
                                                                                   $"!'($-ÿ
4152ÿ Supporting
         FGGHIJKLMÿN      KOPLQPRÿ                    #67!'4*!)'.&%ÿCDE&
                                                       hydrocarbons,        VOCsÿ       *and
                                                                                          .7ÿ-$    "*(&1ÿ
                                                                                               metals.
                     Evidence:                         0+&/"$7ÿ"that
                                                       Disputed      #*"ÿ+it"ÿwas
                                                                               3*&ÿadequate.
                                                                                      *7$U*"$1ÿÿ
47ÿ Id.ST1ÿ
16

4173ÿ                                                    FGGHIJKLMÿN
                                                       Supporting             KOPLQPRÿÿ
                                                                         Evidence:

48ÿ                                                    8(*+."+,,&ÿ+incorporate
                                                       Plaintiffs    .4'!/'!*"$ÿ"their    #$+!ÿresponses
                                                                                                !$&/'.&$&ÿ"to'ÿ
18
                                                       2$5!'/+*9&ÿ:;
                                                       Kekropia's      RSUMF<=ÿ527,   213%ÿ253154ÿ*and.7ÿ546
                                                                                                            267ÿ
4199ÿ                                                  #$!$+.ÿ)by6ÿ!reference.
                                                       herein        $,$!$.4$1ÿ
1ÿ
20                                                     = "4#ÿReport,
                                                       Mutch      :$/'!"%ÿ*at"ÿ37-14            V43%ÿ37-23
                                                                                   V46ÿto"'ÿ37-17,        V15ÿto"'ÿ
14ÿ
21                                                     3V19ÿW(Docket
                                                       7-29      0'45$"ÿX' No.1  ÿ9903-204).
                                                                                       5V16Y1ÿÿ
11ÿ
22                                                     = "4#ÿ:$
                                                       Mutch         )""*(ÿ:$
                                                                  Rebuttal          /'!"%ÿ*at"ÿ§§
                                                                               Report,          ZZÿ53.2,
                                                                                                       11%ÿ53.315ÿ
15ÿ
23
                                                       W0'45$"ÿX'
                                                       (Docket     No.1 ÿ9949-78).
                                                                           69V38Y1ÿ
16ÿ 555.
24
       >>>@ÿX'Noÿ/petroleum
                   $"!'($-ÿ#hydrocarbon
                                    67!'4*!)'.ÿ 555.   >>>@ÿ0+     &/"$71ÿÿÿ
                                                                 Disputed.
       4'-/'.7&ÿ#have
12ÿ compounds        *[$ÿ)been $$.ÿ,found
                                      '.7ÿin+.ÿ          FGGHIJKLMÿN         KOPLQPRÿÿ
       B!'.73*"$!ÿ)beneath
                        $.$*"#ÿ"the #$ÿProperty
                                        8!'/$!"6ÿ Supporting
25
                                                                         Evidence:
17ÿ groundwater
       $[$.ÿthough
            "#'B#ÿ/petroleum
                       $"!'($-ÿ#hydrocarbons
                                       67!'4*!)'.&ÿ Otten
                                                       D""$.ÿDecl.,
                                                                 0$4(1%ÿ\]
                                                                         Ex.1  ÿ^ÿ  W0'45$"ÿX'   No.1   ÿ9931-2
                                                                                                           54V1ÿ
26
      even
27     3$!$ÿ7detected
13ÿ were      $"$4"$7ÿ+in.ÿ8Property
                               !'/$!"6ÿsoil.
                                         &'+(1ÿ        8*B$ÿ_ID0ÿ̀1
                                                       Page           7119YÿW(Los
                                                                   #26229)
                                                                                 B (Docket
                                                                                   a'&ÿAngeles
                                                                                           b.B$($&ÿ
18ÿ
28                                                     :$B+'.*(ÿc*
                                                       Regional     Water "$!ÿdQuality
                                                                                    *(+"6ÿ^'     *!7ÿLetter
                                                                                             Board     a$""$!ÿ
                                                    123ÿ
                                                    257
    jklmÿopqrstusvwrxwsyzs{ÿÿÿ|}t~mÿproÿÿxÿqomÿvrooqÿÿÿkmÿowqÿ}ÿoÿÿÿkmÿ|
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed
                                  #•.32512
                                              04/29/21
                                           Filed 05/02/22Page 261
                                                           Page 71ofof277
                                                                       87 Page
                                                                          Page ID
                                                                                ID

       ÿ
                                  #:33852



   4ÿ
   1

   1ÿ            OPPOSING ÿPARTIES'
                                     ÿ
   2                   ÿ
                       ALLEGEDLY                                        ÿPLAINTIFFS'
                                                                       MOVING               ÿ
   53ÿ             ÿ
                 UNCONTROVERTED                                   ÿÿ
                                                                RESPONSE                           ÿ
                                                                                      AND SUPPORTING
               ÿ
               MATERIAL
   6ÿ SUPPORTING                 FACTSÿ      ÿ
                                             AND                                  ÿ
                                                                                  EVIDENCE
   4             ÿ              ÿ
                                    EVIDENCE
   25ÿ
           !"#$%&ÿ'
   7ÿ Supporting           $()%*)+ÿ
                        Evidence:                            /012.ÿ64,3ÿ12017)
                                                             (Jan.           484ÿat15ÿ41)4ÿ/("Historical
                                                                                             67895:;8<1=ÿuse   >9?ÿ@for:;ÿ
                                                             82A>95;81=ÿ1activities
                                                                              <58B858?9ÿ;resulted
                                                                                              ?9>=5?Aÿ8in2ÿ
 6


        ,-.ÿ
   8ÿ Id.
   1
                                                             industrial
                                                             A89<C1;D?9ÿof:@ÿE1
                                                             discharges                95?ÿ5to:ÿthe
                                                                                   waste         5C?ÿ9subsurface,
                                                                                                       >F9>;@1<?3ÿ
   3ÿ                                                        82<=>A82Dÿ5total
                                                             including        :51=ÿGpetroleum
                                                                                      ?5;:=?>Hÿhydrocarbons
                                                                                                     CIA;:<1;F:29ÿ
   8

   9ÿ
   9
                                                             /JK74L4.ÿ
                                                             (TPH)").

4ÿ 556.
10      MMNOÿJ:    =>?2?ÿ1and
                Toluene     2AÿPxylene
                                   I=?2?ÿwere
                                         E?;?ÿ 556.          MMNOÿT2       A89G>5?A.ÿÿÿ
                                                                       Undisputed.
        A?5?<5?Aÿ8in2ÿ:only
4^ 4^ ÿ detected        2=Iÿ5trace
                              ;1<?ÿamounts
                                    1H:>259ÿ(below
                                                 /F?=:Eÿ Supporting
                                                                !"#$%&ÿ'           $()%*)+ÿÿ
        5C?8;ÿ;respective
        their   ?9G?<58B?ÿQ1     P8H>Hÿ
                            Maximum                                              Evidence:
12      R:251H82125ÿLevels)
41ÿ Contaminant          S?B?=94ÿ:only
                                     2=Iÿin82ÿ:one2?ÿE? ==ÿ But
                                                     well
                                                             UVWÿYseeZZÿPlaintiffs'
                                                                          K=18258@@9[ÿresponses
                                                                                            ;?9G:29?9ÿto5:ÿ
45ÿ in82ÿ:  2?ÿ9sampling
           one    1HG=82Dÿ?episode.
                               G89:A?.ÿ                      \?];:G81[9ÿ^_
                                                             Kekropia's        RSUMFTQ`ÿ527,  2183ÿ253154ÿ1and2Aÿ546.
                                                                                                                   267.ÿÿ
14         !"#$%&ÿ'
46ÿ Supporting             $()%*)+ÿ
                        Evidence:
                                                             `>;5C?;3ÿ5theC?ÿ9sole
                                                             Further,             :=?ÿbasis
                                                                                        F1989ÿof:@ÿ5this
                                                                                                      C89ÿ9statement
                                                                                                             515?H?25ÿ
        ,-.ÿ
4152ÿ Id.                                                    89ÿ1an2ÿ:opinion
                                                             is        G828:2ÿ:of@ÿDr.a;.ÿ\>      ==13ÿEC
                                                                                             Kulla,    whose:9?ÿlack
                                                                                                                 =1<]ÿ
47ÿ                                                          :@ÿ8information
                                                             of   2@:;H158:2ÿabout   1F:>5ÿ5theC?ÿproperty
                                                                                                    G;:G?;5Iÿ1and   2Aÿ
16
                                                             859ÿChistoric
                                                             its    895:;8<ÿ>uses
                                                                                9?9ÿcauses
                                                                                      <1>9?9ÿCher?;ÿ:opinions
                                                                                                         G828:29ÿto5:ÿ
4178ÿ                                                        F?ÿ@flawed
                                                             be    =1E?Aÿ1and  2Aÿ>unreliable,
                                                                                      2;?=81F=?3ÿ1as9ÿset 9?5ÿ:out>5ÿin82ÿ
43ÿ                                                          K=18258@@9[ÿresponse
                                                             Plaintiffs'     ;?9G:29?ÿto5:ÿa?        @?2A1259[ÿ
                                                                                                 Defendants'
18
                                                             ^_TQ`ÿ2544
                                                             RSUMF           66ÿECwhich8<Cÿis89ÿ8incorporated
                                                                                                  2<:;G:;15?Aÿ
4199ÿ                                                        C?;?82ÿFbyIÿ;reference.
                                                             herein           ?@?;?2<?.ÿ
1ÿ MMbOÿc==ÿH?51=9ÿA?5?<5?Aÿ82ÿ
20
                                                             MMbOÿa8      9G>5?AÿFbut>5ÿimmaterial.
                                                                                            8HH15?;81=.ÿÿÿ
14ÿ 557.        All metals detected in
        D;:>2AE15?;ÿE?      ;?ÿFbelow
                                  ?=:Eÿtheir
                                        5C?8;ÿ
                                                             557.      Disputed

                                                                !"#$%&ÿ'           $()%*)+ÿÿ
21      groundwater      were
        ;?9G?<58B?ÿQRS
11ÿ respective       MCLs,  93ÿ8including
                                 2<=>A82Dÿ1arsenic
                                               ;9?28<ÿ Supporting                Evidence:
22
        12AÿChexavalent
        and
15ÿ exception  ?P1B1=?25ÿ<chromium,
                             C;:H8>H3ÿE8       5Cÿ5the
                                            with    C?ÿ Despite
                                                             a?9G85?ÿH8       28H1=ÿ8investigations
                                                                                         2B?958D158:29ÿ:on2ÿ5the     C?ÿ
23      ?P<?G58:2ÿ:of@ÿone
                        :2?ÿ9sample
                               1HG=?ÿof:@ÿ411.8
                                             4.3ÿ>ug/L
                                                     DdSÿ Patsouras      minimal
                                                             K159:>;19ÿKProperty,
                                                                               ;:G?;5I3ÿ5the  C?ÿdata
                                                                                                   A151ÿ5that
                                                                                                           C15ÿE1
                                                                                                                was9    ÿ
        C?P1B1=?25ÿ<chromium
16ÿ hexavalent          C;:H8>Hÿ/(slightly
                                     9=8DC5=Iÿabove1F:B?ÿ obtained
                                                             :F5182?Aÿ;reveals
                                                                             ?B?1=9ÿ5the C?ÿ?extent
                                                                                               P5?25ÿof:@ÿ
24
        5C?
        theÿ4
            10ÿ
12ÿ California). >DdSÿ
                 ug/L  < :29 ? ;B 1
                       conservative58B?ÿQRSÿ
                                        MCL >       9?A
                                                   usedÿF
                                                        byIÿ D;:>2AE15?;ÿ<contamination.
                                                                                   :251H82158:2.ÿQ>            5<Cÿ
25      R1=8@:;2814.ÿ                                        groundwater
                                                             ^?G:;53ÿ1at5ÿe§ÿ87.2.4
                                                             Report,              .1.6ÿ(pp.
                                                                                         /GG.ÿ87-14
                                                                                                          Mutch
                                                                                                   f46ÿ5to:ÿ87-17)
                                                                                                              f484ÿ
17ÿ Supporting
26
           !"#$%&ÿ'      $()%*)+ÿ                          /a:<]?5ÿg:
                                                             (Docket      No..  ÿ9903-204);
                                                                                     5f164hÿMutch Q>5<CÿRebuttal
                                                                                                             ^?F>551=ÿ
18ÿ
                        Evidence:
                                                             ^?G:;53ÿe§§eÿ53.2,
                                                             Report,            .13ÿ53.3.5ÿ(Docket
                                                                                           /a:<]?5ÿg:   No..  ÿ9949-
                                                                                                                 69f
27

13ÿ Id. ,-.ÿ                                                 834.ÿKPCE
                                                             78).     RiÿE1  was9 ÿ@found
                                                                                     :>2Aÿin82ÿH:     285:;82Dÿ
                                                                                                  monitoring
28                                                           E?==9ÿ8in2ÿ5theC?ÿBvicinity
                                                             wells                8<8285Iÿof:@ÿ5theC?ÿ<clarifiers.
                                                                                                        =1;8@8?;93ÿ
                                                           123ÿ
                                                           258
   TUVWÿYZ[\]^_]`a\ba]cd]eÿÿÿfg^hiWjkÿlwmZx\Yÿÿbÿno
 Cnse 2:14-cv-06456-GW-E
      2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed
                                                 [xpWqÿ̀\rYlrY[ÿÿÿsUtWÿYaYÿguÿYmmÿÿÿsUtWÿvf
                                             04/29/21
 Case                                     Filed 05/02/22Page 26272ofof
                                                          Page       277
                                                                       87 Page
                                                                          Page ID
                                                                                ID
                                  #:32513
      ÿ
                                  #:33853



  4ÿ
  1

  1ÿ          OPPOSINGÿPARTIES'
                            ÿ
  2               ÿ
                  ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                 MOVING              ÿ
  53ÿ           ÿ
              UNCONTROVERTED                               ÿÿ
                                                         RESPONSE                          ÿ
                                                                              AND SUPPORTING
            ÿ
            MATERIAL
  6ÿ SUPPORTING          FACTSÿ  ÿ
                                 AND                                      ÿ
                                                                          EVIDENCE
  4           ÿ       ÿ
                           EVIDENCE
  25ÿ
  7ÿ                                                  !"!ÿ#vadose
                                                    where          $%&'!ÿ(zone&)!ÿsoil
                                                                                    '&*+ÿ'samples
                                                                                            $,-+!'ÿ
  6
                                                     '&!%ÿ-penetration
                                                    showed           !)!."$.*&)ÿ&of/ÿ0PCE  12ÿto.&ÿ.the!ÿdepth
                                                                                                           %!-.ÿ
  8ÿ
  7                                                  &/ÿ.the!ÿ3groundwater
                                                    of             "&4)%$.!"ÿtable..$5+!6ÿ7Id.89ÿ$at.ÿ87-14
                                                                                                         ;46ÿ
  9ÿ                                                 < *'ÿ*indicates
                                                    This        )%*=$.!'ÿ$aÿ=contribution
                                                                                 &)."*54.*&)ÿof&/ÿ0PCE    12ÿ.to&ÿ
  8
                                                     3"&4)%$.!"ÿ/from
                                                    groundwater             "&,ÿthe.!ÿ0Patsouras
                                                                                           $.'&4"$'ÿ
  3ÿ
  9                                                  0"&-!".>6ÿ7Id.89ÿ?%
                                                    Property.                  %*.*&)$++>@ÿ'some
                                                                          Additionally,           &,!ÿhigher
                                                                                                           *3!"ÿ
4ÿ                                                   +!#!+'ÿof&/ÿhexavalent
                                                    levels            !A$#$+!).ÿ=chromium "&,*4,ÿwere  !"!ÿ
10
                                                     /&4)%ÿ*in)ÿBC;
                                                    found           MW-1,    4@ÿBC;
                                                                                 MW-1D, 4D@ÿand$)%ÿBC; MW-3   5ÿ*in)ÿ
44ÿ
11                                                   .!ÿ,*
                                                    the          %%+!ÿof&/ÿ.the!ÿ0Property
                                                            middle                 "&-!".>ÿnear)!$"ÿ.the!ÿ
41ÿ                                                  =+$"*/*!"'ÿ.than$)ÿ*in)ÿBC;
                                                    clarifiers                   MW-2,  1@ÿ!establishing
                                                                                              '.$5+*'*)3ÿ
12
                                                     "!+!$'!'ÿof&/ÿhexavalent
                                                    releases             !A$#$+!).ÿchromium
                                                                                         ="&,*4,ÿ/from     "&,ÿ
4135ÿ                                                .!ÿ=clarifiers,
                                                    the       +$"*/*!"'@ÿ"resulting
                                                                             !'4+.*)3ÿin*)ÿgroundwater
                                                                                              3"&4)%$.!"ÿ
4146ÿ                                                =&).$,*)$.*&)6ÿ7Id.89ÿ$at.ÿ87-14
                                                    contamination.                       ;46ÿ&Eÿ87-16.;476ÿ
                                                     <12@ÿ$aÿF"daughter"
                                                    TCE,            %$43.!"Gÿproduct
                                                                                   -"&%4=.ÿ&of/ÿ0PCE,   12@ÿis*'ÿ
4152ÿ                                                /&4)%ÿ*in)ÿ=concentrations
                                                    found             &)=!)."$.*&)'ÿhigher   *3!"ÿin*)ÿMW-BC;
47ÿ                                                  4ID,D@ÿBC;
                                                             MW-3,   5@ÿ$and
                                                                          )%ÿMW-4
                                                                               BC;6ÿ.than$)ÿ*in)ÿBC;   MW-2.   16ÿ
16
                                                    7Id.89ÿ$at.ÿ87-17.
                                                                  ;486ÿ1&    )=!)."$.*&)'ÿexceeding
                                                                        Concentrations          !A=!!%*)3ÿ
4178ÿ                                               3"&4)%$.!"ÿ2H
                                                    groundwater           ESLs I'ÿ!
                                                                                   were "!ÿ,!     $'4"!%ÿ/for&"ÿ
                                                                                            measured
49ÿ                                                 4@4;%*=+&"&!.!)!@ÿ=carbon
                                                    1,1-dichloroethene,                $"5&)ÿ
18
                                                    .!."$=+&"*%!@ÿchloroform,
                                                    tetrachloride,         =+&"&/&",@ÿ
4193ÿ                                               .!."$=+&"&!.!)!ÿ(PCE),
                                                    tetrachloroethene                         "$)';4@1;
                                                                                  J012K@ÿ.trans-1,2-
1ÿ                                                  %*=+&"&!.!)!@ÿ.trichloroethene
                                                    dichloroethene,             "*=+&"&!.!)!ÿJ(TCE),     <12K@ÿ
20

14ÿ
                                                    ="&,*4,ÿJ(total),
                                                    chromium            .&.$+K@ÿ=chromium
                                                                                      "&,*4,ÿVI,   LM@ÿ)nickel,
                                                                                                           *=N!+@ÿ
21                                                  $and
                                                       )%ÿ#vanadium.
                                                                $)$%*4,6ÿ7Id.89ÿÿ
11ÿ
22
                                                     O4".!"@ÿ.the!ÿ'sole
                                                    Further,              &+!ÿbasis
                                                                                 5$'*'ÿof&/ÿ.this*'ÿ'statement
                                                                                                      .$.!,!).ÿ
15ÿ                                                  *'ÿan$)ÿopinion
                                                    is         &-*)*&)ÿ&of/ÿD" Dr.6 ÿKulla,
                                                                                     P4++$@ÿwhose   &'!ÿ+lack
                                                                                                            $=Nÿ
                                                     &/ÿ*information
                                                            )/&",$.*&)ÿ$about  5&4.ÿ.the!ÿproperty
                                                                                            -"&-!".>ÿ$and   )%ÿ
23

16ÿ
24
                                                    of
                                                     *.'ÿhistoric
                                                    its      *'.&"*=ÿ4uses
                                                                         '!'ÿ=causes
                                                                                 $4'!'ÿher!"ÿ&opinions
                                                                                                  -*)*&)'ÿ.to&ÿ
12ÿ                                                  5!ÿ/flawed
                                                    be      +$!%ÿand $)%ÿ4unreliable,
                                                                              )"!+*$5+!@ÿ$as'ÿ'set!.ÿout&4.ÿ*in)ÿ
                                                     0+$*).*//'Qÿresponse
                                                                      "!'-&)'!ÿto.&ÿD!       /!)%$).'Qÿ
25

17ÿ
26
                                                    Plaintiffs'
                                                     RHSBOÿ2544
                                                    RSUMF             66ÿwhich
                                                                                         Defendants'
                                                                                *=ÿis*'ÿ*incorporated
                                                                                          )=&"-&"$.!%ÿ
18ÿ
27                                                     !"!*)ÿ5by>ÿ"reference.
                                                    herein             !/!"!)=!6ÿ
19ÿ
28
                                                 123ÿ
                                                 259
   bcdeÿghijklmknojpokqrksÿÿÿtulvwexyÿz{hjgÿÿpÿ|}
 Cnse 2:14-cv-06456-GW-E
      2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
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 Case                                     Filed 05/02/22Page 26373ofof
                                                          Page       277
                                                                       87 Page
                                                                          Page ID
                                                                                ID
                                  #:32514
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                                  #:33854



  4ÿ
  1

  1ÿ           OPPOSING   ÿPARTIES'
                                   ÿ
  2                   ÿ
                      ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                     MOVING                 ÿ
  53ÿ            ÿ
               UNCONTROVERTED                                  ÿÿ
                                                             RESPONSE                              ÿ
                                                                                     AND SUPPORTING
             ÿ
             MATERIAL
  6ÿ SUPPORTING                FACTSÿ       ÿ
                                            AND                                 ÿ
                                                                                EVIDENCE
  4            ÿ                ÿ
                                  EVIDENCE
  75ÿ
  2ÿ                                                       !"#$%!&ÿ'because
                                                          Immaterial           #(!)*#ÿ+,-+./ÿ
                                                                                            CERCLA %            01*#*ÿ
                                                                                                            imposes
  6
                                                          21ÿ3quantitative
                                                          no      )!2"%"!"%4#ÿ$requirement.
                                                                                      #3)%$# #2"5ÿ
  8ÿ
  7

       6678ÿ9:
  9ÿ 558.     The# ÿ0predominant
                      $#;1 %2!2"ÿ<=+ÿ YOG                 6678ÿI%
                                                          558.          *0)"#;ÿ!and
                                                                     Disputed           2;ÿ%immaterial.
                                                                                                    !"#$%!&5ÿÿÿ
       (12"! %2!2"*ÿfound
                        >1)2;ÿin%2ÿ"the:#ÿ=?@  1ÿ Supporting
  8

  9ÿ
                                            D$10#$"Cÿ JKKLMNOPQÿR                   OSTPUTVÿÿ
      contaminants                        OU-2
       A$1)2;B!"#$ÿ)underlying
      groundwater        2;#$&C%2Aÿ"the:#ÿProperty                             Evidence:
43ÿ at!"ÿ( 12(#2"$!"%12*ÿ!above
          concentrations      '14#ÿ"their
                                        :#%$ÿ              !"#$%!&ÿ'because   #(!)*#ÿ+,-+./ÿ               ;1#*ÿ2not1"ÿ
       $#*0 #("%4# ÿE+.
                    MCLs*   ÿB# $ #ÿ( ! $' 12ÿ
10
                                                          Immaterial                        CERCLA does
44ÿ tetrachloride
      respective
       "#"$!(:&1$%;#ÿF(CT),
                             were
                        +9GHÿDPCE,
                                     carbon
                                +,Hÿ!and 2;ÿTCE.
                                             9+,5ÿÿ impose%01*#ÿ!aÿ3quantitative
                                                                            )!2"%"!"%4#ÿrequirement.
                                                                                               $#3)%$# #2"5ÿÿÿ
       =":#$ÿ4volatiles,
41ÿ Other
12              1&!"%&#*Hÿ%including
                            2(&);%2Aÿchloroform
                                         (:&1$1>1$ ÿ MutchE)"(:ÿReport,
                                                                      -#01$"Hÿ!at"ÿ87-14  @46ÿto"1ÿ87-17,
                                                                                                       @48Hÿ87-23
                                                                                                               @15ÿto"1ÿ
4135ÿ  !2
      and ;ÿ4H4
            1,1@ I+,H
               -DCE,    ÿB# $
                         were#ÿ' # &
                                   1
                               below  Bÿ  ":#%$
                                          theirÿE+.
                                                MCLs.* 5
                                                       ÿ  8@1ÿF(Docket
                                                          7-29      I1(Y#"ÿZ1    No.5    ÿ903-204).
                                                                                           35@136G5ÿÿ
         JKKLMNOPQÿR
4146ÿ Supporting          OSTPUTVÿ
                       Evidence:                          E)"(:ÿ-#
                                                          Mutch          ')""!&ÿ-#
                                                                      Rebuttal             01$"Hÿ!at"ÿ§§
                                                                                      Report,          [[ÿ53.2,
                                                                                                             51Hÿ53.355ÿ
       WX5ÿ
4157ÿ Id.                                                 FI1(Y#"ÿZ1
                                                          (Docket       No.5  ÿ949-78).
                                                                                 6@89G5ÿ
42ÿ                                                       \)(:ÿ!aÿ;determination
                                                          Such         #"#$ %2!"%12ÿ%is*ÿimpossible%01**%'&#ÿ"to1ÿ
16

4178ÿ
                                                             !Y#ÿ;due
                                                          make        )#ÿto"1ÿ"the:#ÿ%inadequate
                                                                                        2!;#3)!"#ÿtesting
                                                                                                        "#*"%2Aÿ!and  2;ÿ
                                                          %24#*"%A!"%12ÿ1of>ÿ:hazardous
                                                          investigation                 !]!$;1)*ÿsubstances
                                                                                                       *)'*"!2(#*ÿ
49ÿ                                                       %2ÿ"the:#ÿsoil,
                                                          in         *1%&Hÿ!as*ÿ*set#"ÿout
                                                                                        1)"ÿ%in2ÿDPlaintiffs'
                                                                                                    &!%2"%>>*^ÿ
18

419ÿ                                                      $#*012*#*ÿ"to1ÿ_#
                                                          responses                  Y$10%!^*ÿRSUMF
                                                                               Kekropia's           -\?E`ÿ7527,    18Hÿ
                                                          754ÿ!and
                                                          531       2;ÿ7546
                                                                         62ÿB: which  %(:ÿ!are$#ÿ%incorporated
                                                                                                   2(1$01$!"#;ÿ
13ÿ
20                                                        :#$#%2ÿ'byCÿ$reference.
                                                          herein            #>#$#2(#5ÿ
14ÿ
21                                                        `)$":#$Hÿ"the:#ÿ*sole
                                                          Further,              1&#ÿbasis            ":%*ÿ*statement
                                                                                        '!*%*ÿ1of>ÿthis     "!"# #2"ÿ
11ÿ                                                       %*ÿ!an2ÿ1opinion
                                                          is         0%2%12ÿof1>ÿI$   Dr.5 ÿ_)
                                                                                            Kulla,&&!Hÿwhose
                                                                                                       B:1*#ÿ&lack!(Yÿ
22
                                                          1>ÿ%information
                                                          of   2>1$ !"%12ÿ!about      '1)"ÿ"the:#ÿproperty
                                                                                                    0$10#$"Cÿ!and  2;ÿ
15ÿ
23                                                        %"*ÿ:historic
                                                          its     %*"1$%(ÿ)uses
                                                                              *#*ÿ(causes
                                                                                        !)*#*ÿ:her#$ÿ1opinions
                                                                                                         0%2%12*ÿto"1ÿ
16ÿ                                                       '#ÿ>flawed
                                                          be    &!B#;ÿ!and   2;ÿ)unreliable,
                                                                                     2$#&%!'&#Hÿ!as*ÿset *#"ÿ1out)"ÿ%in2ÿ
24
                                                          D&!%2"%>>*^ÿresponse
                                                          Plaintiffs'     $#*012*#ÿ"to1ÿDefendants'
                                                                                                 I#>#2;!2"*^ÿ
17ÿ
25                                                        -\?E`ÿ7544
                                                          RSUMF           66ÿB: which  %(:ÿis%*ÿ%incorporated
                                                                                                  2(1$01$!"#;ÿ
12ÿ
26
                                                          :#$#%2ÿ'byCÿ$reference.
                                                          herein            #>#$#2(#5ÿÿÿ
18ÿ 559.
27
       66a8ÿ/ÿA*  %A2%>%(!2"ÿ&line
                 significant    %2#ÿ1of>ÿevidence
                                          #4%;#2(#ÿ%in2ÿ559.
                                                          66a8ÿ?2        ;%*0)"#;5ÿÿÿ
                                                                     Undisputed.
       #4!&)!"%2AÿB:
19ÿ evaluating
28                      #":#$ÿ!aÿ0property
                     whether       $10#$"Cÿis%*ÿ!aÿ
                                                       123ÿ
                                                       260
   bcdeÿghijklmknojpokqrksÿÿÿtulvwexyÿz{hjgÿÿpÿ|}
 Cnse 2:14-cv-06456-GW-E
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 Case                                      Filed 05/02/22Page 26474ofof277
                                                           Page         87 Page
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  1ÿ               OPPOSING   ÿPARTIES'
                                          ÿ
  2                       ÿ
                          ALLEGEDLY                                         ÿPLAINTIFFS'
                                                                           MOVING                ÿ
  43ÿ                ÿ
                   UNCONTROVERTED                                    ÿÿ
                                                                   RESPONSE                             ÿ
                                                                                          AND SUPPORTING

  5ÿ SUPPORTING  ÿ
                 MATERIAL            FACTSÿ       ÿ
                                                  AND                                ÿ
                                                                                     EVIDENCE
  4               ÿ                  ÿ
                                        EVIDENCE
  65ÿ
       !"#$ÿof%ÿ&hazardous
  2ÿ source              '('")!ÿsubstances
                                      !*+',#$ÿ+toÿ
  6
       -"!,).'+$"ÿ/isÿ'aÿcomparison
      groundwater                #01'"/,ÿof%ÿ+the      &$ÿ
       #,#$,+"'+/,ÿof%ÿ'aÿ#chemical
  7ÿ concentrations
  7                                   &$0/#'2ÿ/in,ÿ'an,ÿ
       !1-"')/$,+ÿwell
  8ÿ upgradient          .$22ÿ./
                               with +&ÿ+the
                                         &$ÿ
  8

  9ÿ
       #,#$,+"'+/,ÿin/,ÿ'an,ÿon-property
      concentrations                     ,31"1$"+4ÿ.$      225ÿ
                                                        well.

          67789:;<=ÿ>        ;?@<A@Bÿ
  9

3ÿ Supporting
10
                           Evidence:

33ÿ Id.
11     CD5ÿ
31ÿ 560.
12
       EFGHÿI&    The$ ÿ#concentrations
                            ,#$,+"'+/,ÿof%ÿcarbon#'"*,ÿ 560.    EFGHÿR/      1!+$)ÿ'and
                                                                           Disputed         ,)ÿ/immaterial.
                                                                                                  00'+$"/'25ÿÿÿ
       +$+"'#&2"/)$ÿJ(CT)
3134ÿ tetrachloride          KILÿ/in,ÿ.$   22ÿ!upgradient
                                                  1-"')/$,+ÿ Supporting
                                                       "$'+$"ÿ 67789:;<=ÿ>               ;?@<A@Bÿÿ
                                        wells
         %ÿ+the&$ÿMPatsouras
3145ÿ ofthan        '+!"'ÿProperty
                               M"1$"+4ÿ.$     were"$ÿ-greater                       Evidence:
       +&',ÿor"ÿsimilar
                     /0/2'"ÿ+toÿthe
                                  +&$ÿ#concentrations
                                           ,#$,+"'+/,ÿ/in,ÿ Immaterial
                                                                 S00'+$"/'2ÿ*because$#'!$ÿ/ignores
                                                                                                  -,"$ÿreleases
                                                                                                             "$2$'$ÿ
       .$22ÿon,ÿ+the&$ÿMProperty
3156ÿ wells                  "1$"+4ÿin/,ÿall'22ÿsamples
                                                  '012$ÿ/in,ÿ prior
                                                                 1"/"ÿ+toÿ120099ÿ'and   ,)ÿMPlaintiffs
                                                                                                2'/,+/%%ÿdo)ÿ,not+ÿ&have'T$ÿ
       +
32ÿ 2013,
      the&$ ÿ-  "  ! ,)
             groundwater.'  +$"ÿ ' 01
                                 sampling2/
                                          , - ÿ%"
                                               from0ÿ  1  9
                                                       2009­ 3   +ÿ+trace
                                                                      "'#$ÿ"releases"
                                                                             U"$2$'$Vÿor"ÿU"threatened
                                                                                                      +&"$'+$,$)ÿ
16
       134Nÿ$except O#$1+ÿ%for"ÿ'aÿsingle
                                     /,-2$ÿsample
                                             '012$ÿof%ÿ toreleases"
                                                                 "$2$'$Vÿof%ÿ&hazardous
                                                                                     '('")!ÿsubstances!*+',#$ÿback
                                                                                                                     *'#Wÿ
       355ÿ!ug/L
3177ÿ 10.4        -PQÿ/in,ÿ12013.
                              345ÿ                               +ÿ'aÿspecific
                                                                 to       1$#/%/#ÿdefendant
                                                                                   )$%$,)',+ÿor"ÿ+toÿ'aÿspecific
                                                                                                               1$#/%/#ÿ
38ÿ Supporting
18        67789:;<=ÿ>        ;?@<A@Bÿ                           )$%$,)',+Xÿ1period
                                                                 defendant's         $"/)ÿof%ÿownership.,$"&/1ÿor"ÿ
3199ÿ Id.
                           Evidence:
                                                                  1$"'+/,5ÿ
                                                                 operation.
       CD5ÿ                                                      Y!+#&ÿZ$      1"+Nÿ'at+ÿ77-14335ÿto+ÿ77-17,
                                                                                                           337Nÿ77-23
                                                                                                                  314ÿto+ÿ
1ÿ                                                               Mutch      Report,
20

13ÿ
21
                                                                 7319ÿJ(Docket
                                                                 7-29      R #W$+ÿ[No.5ÿ9903-204).4315L5ÿÿ
11ÿ                                                              Y!+#&ÿZ$
                                                                 Mutch         *!++'2ÿZ$
                                                                            Rebuttal          1"+Nÿ'at+ÿ§§
                                                                                           Report,         \\ÿ43.2,
                                                                                                                51Nÿ43.354ÿ
22
                                                                 JR #W$+ÿ[No.5ÿ9949-78).
                                                                 (Docket              59378L5ÿ
14ÿ
23

15ÿ                                                              ]!#&ÿ'aÿ)determination
                                                                 Such         $+$"0/,'+/,ÿ/isÿimpossible
                                                                                                        /01/*2$ÿ+toÿ
24                                                               0'W$ÿ)due
                                                                 make       !$ÿto+ÿ+the&$ÿ/inadequate
                                                                                            ,')$^!'+$ÿtesting
                                                                                                            +$+/,-ÿ'and ,)ÿ
16ÿ                                                              /,T$+/-'+/,ÿof%ÿ&hazardous
                                                                 investigation               '('")!ÿsubstances
                                                                                                           !*+',#$ÿ
25

12ÿ                                                              /,ÿ+the&$ÿsoil,
                                                                 in        /2Nÿ'asÿset$+ÿout!+ÿ/in,ÿMPlaintiffs'
                                                                                                         2'/,+/%%Xÿ
26                                                               "$1,$ÿ+toÿ_$
                                                                 responses                W"1/'XÿRSUMF
                                                                                    Kekropia's           Z]`Yaÿ6527,  17Nÿ
17ÿ                                                              643ÿ'and
                                                                 531      ,)ÿ6546
                                                                               52ÿ.&which  /#&ÿ'are"$ÿ/incorporated
                                                                                                        ,#"1"'+$)ÿ
27

18ÿ
28
                                                                 &$"$/,ÿ*by4ÿ"reference.
                                                                 herein          $%$"$,#$5ÿ
                                                              123ÿ
                                                              261
    cdefÿhijklmnlopkqplrsltÿÿÿuvmwxfyzÿ{|ikhÿÿqÿ}~
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 Case                                      Filed 05/02/22Page 26575ofof
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   1ÿ            OPPOSING   ÿPARTIES'
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   2                   ÿ
                       ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                      MOVING                  ÿ
   43ÿ             ÿ
                 UNCONTROVERTED                                  ÿÿ
                                                               RESPONSE                             ÿ
                                                                                      AND SUPPORTING
              ÿ
              MATERIAL
   5ÿ SUPPORTING                   FACTSÿ    ÿ
                                             AND                                 ÿ
                                                                                 EVIDENCE
   4            ÿ                ÿ
                                     EVIDENCE
   65ÿ
   2ÿ                                                       !"#$!%ÿ"the#$ÿ&sole
                                                            Further,             '($ÿbasis
                                                                                         )*&+&ÿof',ÿ"this
                                                                                                       #+&ÿ&statement
                                                                                                             "*"$-$."ÿ
   6
                                                            +&ÿan*.ÿopinion
                                                            is       '/+.+'.ÿ'of,ÿ0!   Dr.1  ÿKulla,
                                                                                              2 ((*%ÿ3#     '&$ÿ(lack
                                                                                                        whose      *45ÿ
   7ÿ
   7                                                        ',ÿ+information
                                                            of    .,'!-*"+'.ÿ*about    )'"ÿ"the #$ÿproperty
                                                                                                     /!'/$!"6ÿ*and  .7ÿ
   8ÿ                                                       +"&ÿhistoric
                                                            its   #+&"'!+4ÿuses&$&ÿ4causes
                                                                                         *&$&ÿher  #$!ÿ'opinions
                                                                                                          /+.+'.&ÿ"to'ÿ
   8
                                                            )$ÿ,flawed
                                                            be     (*3$7ÿ*and.7ÿunreliable,
                                                                                      .!$(+*)($%ÿ*as&ÿset &$"ÿ'out"ÿin+.ÿ
   9ÿ
   9                                                        8(*+."+,,&9ÿresponse
                                                            Plaintiffs'     !$&/'.&$ÿto"'ÿ0$          ,$.7*."&9ÿ
                                                                                                 Defendants'
3ÿ                                                          :;<=ÿ6544
                                                            RSUMF          55ÿ3# which  +4#ÿ+is&ÿincorporated
                                                                                                 +.4'!/'!*"$7ÿ
10

33ÿ
11
                                                            #$!$+.ÿ)by6ÿ!reference.
                                                            herein          $,$!$.4$1ÿÿÿ
31ÿ 561.
12      >?@AÿB# The$ÿ4concentrations
                       '.4$."!*"+'.&ÿ'of,ÿPCE 8CDÿ+in.ÿ 561.>?@Aÿ0+      &/"$7ÿ*and
                                                                      Disputed           .7ÿ+immaterial.
                                                                                               --*"$!+*(1ÿÿÿ
        3$((&ÿupgradient
                 /E!*7+$."ÿ'of,ÿ"the#$ÿPatsouras
                                       8*"&'!*&ÿ Supporting
3^ 4ÿ Property                                 &+-+(*!ÿ JKKLMNOPQÿR                  OSTPUTVÿÿ
       wells
        8!'/$!"6ÿ3$    !$ÿEgreater
                             !$*"$!ÿ"than
                                      #*.ÿ'or!ÿsimilar
 3
                   were                                                         Evidence:
3145ÿ to"'ÿ"#$ÿ4concentrations
           the   '.4$."!*"+'.&ÿin+.ÿ3$     ((&ÿ'on.ÿ"the
                                        wells         #$ÿ Immaterial
                                                            Y--*"$!+*(ÿ)because $4*&$ÿ+ignores E.'!$&ÿreleases
                                                                                                         !$($*&$&ÿ
        8 !'/$ !"
3156ÿ groundwater
       Property  6ÿ+.
                   in ÿ*((
                       allÿ &* -/
                           samples  (
                                    $&ÿ+.
                                       inÿ"#
                                          the$ÿ             /!+'!ÿ"to'ÿ120099ÿ*and .7ÿ8Plaintiffs
                                                                                             (*+."+,,&ÿdo7'ÿ.not'"ÿ#have
                                                                                                                       *Z$ÿ
        E!'.73*"$!ÿ&sampling
                          *-/(+.Eÿ,from!'-ÿ2009­
                                             1 9F prior     "'ÿ"trace
                                                                  !*4$ÿ"releases"
                                                                        [!$($*&$&\ÿor'!ÿ["threatened
                                                                                                 "#!$*"$.$7ÿ
16      134%ÿ$except
32ÿ 2013,        G4$/"ÿ,for'!ÿ*aÿ&single
                                   +.E($ÿsample
                                         &*-/($ÿ'of,ÿ toreleases"
                                                            !$($*&$&\ÿof',ÿ#hazardous
                                                                                 *]*!7'&ÿ&substances )&"*.4$&ÿback )*45ÿ
3177ÿ   38
       18.211ÿ E
             ug/LHIÿ+
                    in.ÿ1   3
                        2013. 4 1ÿ                          "'ÿ*aÿ&specific
                                                            to       /$4+,+4ÿdefendant
                                                                                7$,$.7*."ÿ'or!ÿ"to'ÿ*aÿspecific
                                                                                                             &/$4+,+4ÿ
          JKKLMNOPQÿR
38ÿ Supporting              OSTPUTVÿ                        7$,$.7*."9&ÿ/period
                                                            defendant's          $!+'7ÿ'of,ÿownership
                                                                                                '3.$!&#+/ÿ'or!ÿ
18                      Evidence:
                                                            '/$!*"+'.1ÿ
                                                            operation.
        WX1ÿ
3199ÿ Id.
                                                            = "4#ÿReport,
                                                            Mutch      :$/'!"%ÿ*at"ÿ77-14   F35ÿto"'ÿ77-17,
                                                                                                        F37%ÿ77-23
                                                                                                                F14ÿto"'ÿ
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20                                                          7F19ÿ^(Docket
                                                            7-29      0'45$"ÿ_'   No.1    ÿ9903-204).
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                                                            = "4#ÿ:$
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                                                                       Rebuttal              /'!"%ÿ*at"ÿ§§
                                                                                       Report,          aaÿ43.2,
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22                                                          ^0'45$"ÿ_'
                                                            (Docket      No.1  ÿ9949-78).
                                                                                  59F78`1ÿ
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23                                                          ;4#ÿ*aÿ7determination
                                                            Such         $"$!-+.*"+'.ÿ+is&ÿimpossible
                                                                                                    +-/'&&+)($ÿ"to'ÿ
15ÿ                                                         -*5$ÿ7due$ÿto"'ÿ"the#$ÿ+inadequate
                                                            make                         .*7$b*"$ÿtesting"$&"+.Eÿ*and  .7ÿ
24

16ÿ                                                         +.Z$&"+E*"+'.ÿ'of,ÿ#hazardous
                                                            investigation                *]*!7'&ÿsubstances
                                                                                                        &)&"*.4$&ÿ
25                                                          +.ÿ"the#$ÿsoil,
                                                            in        &'+(%ÿ*as&ÿ&set$"ÿout
                                                                                         '"ÿ+in.ÿ8Plaintiffs'
                                                                                                     (*+."+,,&9ÿ
12ÿ                                                         !$&/'.&$&ÿ"to'ÿ2$
                                                            responses                 5!'/+*9&ÿRSUMF
                                                                                Kekropia's           :;<=ÿ6527,    17%ÿ
26

17ÿ                                                         643ÿ*and
                                                            531      .7ÿ6546
                                                                          52ÿ3# which  +4#ÿ*are!$ÿ+incorporated
                                                                                                    .4'!/'!*"$7ÿ
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                                                            #$!$+.ÿ)by6ÿ!reference.
                                                            herein          $,$!$.4$1ÿ
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                                                         262
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 Case                                     Filed 05/02/22Page 26676ofof
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   1ÿ            OPPOSING   ÿPARTIES'
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   2                   ÿ
                       ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                      MOVING                  ÿ
   33ÿ             ÿ
                 UNCONTROVERTED                                  ÿÿ
                                                               RESPONSE                             ÿ
                                                                                      AND SUPPORTING
              ÿ
              MATERIAL
   5ÿ SUPPORTING                   FACTSÿ    ÿ
                                             AND                                 ÿ
                                                                                 EVIDENCE
   4            ÿ                ÿ
                                     EVIDENCE
   65ÿ
   2ÿ                                                       !"#$!%ÿ"the#$ÿ&sole
                                                            Further,             '($ÿbasis
                                                                                         )*&+&ÿof',ÿ"this
                                                                                                       #+&ÿ&statement
                                                                                                             "*"$-$."ÿ
   6
                                                            +&ÿan*.ÿopinion
                                                            is       '/+.+'.ÿ'of,ÿ0!   Dr.1  ÿKulla,
                                                                                              2 ((*%ÿ3#     '&$ÿ(lack
                                                                                                        whose      *45ÿ
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   7                                                        ',ÿ+information
                                                            of    .,'!-*"+'.ÿ*about    )'"ÿ"the #$ÿproperty
                                                                                                     /!'/$!"6ÿ*and  .7ÿ
   8ÿ                                                       +"&ÿhistoric
                                                            its   #+&"'!+4ÿuses&$&ÿ4causes
                                                                                         *&$&ÿher  #$!ÿ'opinions
                                                                                                          /+.+'.&ÿ"to'ÿ
   8
                                                            )$ÿ,flawed
                                                            be     (*3$7ÿ*and.7ÿunreliable,
                                                                                      .!$(+*)($%ÿ*as&ÿset &$"ÿ'out"ÿin+.ÿ
   9ÿ
   9                                                        8(*+."+,,&9ÿresponse
                                                            Plaintiffs'     !$&/'.&$ÿto"'ÿ0$          ,$.7*."&9ÿ
                                                                                                  Defendants'
4ÿ                                                          :;<=ÿ6544
                                                            RSUMF          55ÿ3# which  +4#ÿis+&ÿ+incorporated
                                                                                                   .4'!/'!*"$7ÿ
10

44ÿ
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                                                            #$!$+.ÿ)by6ÿ!reference.
                                                            herein          $,$!$.4$1ÿÿÿ
41ÿ 562.
12      >?@AÿB# The$ÿ4concentrations
                       '.4$."!*"+'.&ÿ'of,ÿTCE BCDÿ+in.ÿ 562.>?@Aÿ0+      &/"$7ÿ*and
                                                                      Disputed           .7ÿ+immaterial.
                                                                                               --*"$!+*(1ÿÿÿ
        3$((&ÿupgradient
                 /E!*7+$."ÿ'of,ÿ"the#$ÿPatsouras
                                       8*"&'!*&ÿ Supporting
4^ 3ÿ Property                                 &+-+(*!ÿ JKKLMNOPQÿR                  OSTPUTVÿÿ
       wells
        8!'/$!"6ÿ3$    !$ÿEgreater
                             !$*"$!ÿ"than
                                      #*.ÿ'or!ÿsimilar
 3
                   were                                                         Evidence:
4145ÿ to"'ÿ"#$ÿ4concentrations
           the   '.4$."!*"+'.&ÿin+.ÿ3$     ((&ÿ'on.ÿ"the
                                        wells         #$ÿ Immaterial
                                                            Y--*"$!+*(ÿ)because $4*&$ÿ+ignores E.'!$&ÿreleases
                                                                                                         !$($*&$&ÿ
        8 !'/$ !"
4156ÿ groundwater
       Property  6ÿ+.
                   in ÿ*((
                       allÿ &* -/
                           samples  (
                                    $&ÿ+.
                                       inÿ"#
                                          the$ÿ             /!+'!ÿ"to'ÿ120099ÿ*and .7ÿ8Plaintiffs
                                                                                             (*+."+,,&ÿdo7'ÿ.not'"ÿ#have
                                                                                                                       *Z$ÿ
        E!'.73*"$!ÿ&sampling
                          *-/(+.Eÿ,from!'-ÿ2009­
                                             1 9F prior     "'ÿ"trace
                                                                  !*4$ÿ"releases"
                                                                        [!$($*&$&\ÿor'!ÿ["threatened
                                                                                                  "#!$*"$.$7ÿ
16      143%ÿ$except
42ÿ 2013,        G4$/"ÿ,for'!ÿ*aÿ&single
                                   +.E($ÿsample
                                         &*-/($ÿ'of,ÿ toreleases"
                                                            !$($*&$&\ÿof',ÿ#hazardous
                                                                                 *]*!7'&ÿ&substances )&"*.4$&ÿback )*45ÿ
4177ÿ   14
       21.717ÿ E
             ug/LHIÿ+
                    in.ÿ1   4
                        2012. 1 1ÿ                          "'ÿ*aÿ&specific
                                                            to       /$4+,+4ÿdefendant
                                                                                7$,$.7*."ÿ'or!ÿ"to'ÿ*aÿspecific
                                                                                                             &/$4+,+4ÿ
          JKKLMNOPQÿR
48ÿ Supporting              OSTPUTVÿ                        7$,$.7*."9&ÿ/period
                                                            defendant's          $!+'7ÿ'of,ÿownership
                                                                                                '3.$!&#+/ÿ'or!ÿ
18                      Evidence:
                                                            '/$!*"+'.1ÿ
                                                            operation.
        WX1ÿ
4199ÿ Id.
                                                            = "4#ÿReport,
                                                            Mutch      :$/'!"%ÿ*at"ÿ77-14   F45ÿto"'ÿ77-17,
                                                                                                        F47%ÿ77-23
                                                                                                                F13ÿto"'ÿ
1ÿ
20                                                          7F19ÿ^(Docket
                                                            7-29      0'45$"ÿ_'   No.1    ÿ9903-204).
                                                                                               3F15`1ÿÿ
14ÿ
21
                                                            = "4#ÿ:$
                                                            Mutch         )""*(ÿ:$
                                                                       Rebuttal              /'!"%ÿ*at"ÿ§§
                                                                                       Report,          aaÿ33.2,
                                                                                                              11%ÿ33.313ÿ
11ÿ
22                                                          ^0'45$"ÿ_'
                                                            (Docket      No.1  ÿ9949-78).
                                                                                  59F78`1ÿ
13ÿ
23                                                          ;4#ÿ*aÿ7determination
                                                            Such         $"$!-+.*"+'.ÿ+is&ÿimpossible
                                                                                                    +-/'&&+)($ÿ"to'ÿ
15ÿ                                                         -*5$ÿ7due$ÿto"'ÿ"the#$ÿ+inadequate
                                                            make                         .*7$b*"$ÿtesting"$&"+.Eÿ*and  .7ÿ
24

16ÿ                                                         +.Z$&"+E*"+'.ÿ'of,ÿ#hazardous
                                                            investigation                *]*!7'&ÿsubstances
                                                                                                        &)&"*.4$&ÿ
25                                                          +.ÿ"the#$ÿsoil,
                                                            in        &'+(%ÿ*as&ÿ&set$"ÿout
                                                                                         '"ÿ+in.ÿ8Plaintiffs'
                                                                                                     (*+."+,,&9ÿ
12ÿ                                                         !$&/'.&$&ÿ"to'ÿ2$
                                                            responses                 5!'/+*9&ÿRSUMF
                                                                                Kekropia's           :;<=ÿ6527,    17%ÿ
26

17ÿ                                                         634ÿ*and
                                                            531      .7ÿ6546
                                                                          52ÿ3# which  +4#ÿ*are!$ÿ+incorporated
                                                                                                    .4'!/'!*"$7ÿ
27
                                                            #$!$+.ÿ)by6ÿ!reference.
                                                            herein          $,$!$.4$1ÿ
18ÿ
28
                                                         123ÿ
                                                         263
   cdefÿhijklmnlopkqplrsltÿÿÿuvmwxfyzÿ{|ikhÿÿqÿ}~
 Cnse 2:14-cv-06456-GW-E
      2:14-cv-06456-GW-E Document
                         Document 1067-1
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 Case                                      Filed 05/02/22Page 26777ofof
                                                           Page       277
                                                                        87 Page
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                                  #:33858



  4ÿ
  1

  1ÿ            OPPOSING   ÿPARTIES'
                                      ÿ
  2                    ÿ
                       ALLEGEDLY                                        ÿPLAINTIFFS'
                                                                       MOVING            ÿ
  53ÿ             ÿ
                UNCONTROVERTED                                    ÿÿ
                                                                RESPONSE                        ÿ
                                                                                  AND SUPPORTING
              ÿ
              MATERIAL
  3ÿ SUPPORTING                 FACTSÿ      ÿ
                                            AND                                 ÿ
                                                                                EVIDENCE
  4            ÿ                 ÿ
                                    EVIDENCE
  65ÿ
  2ÿ                                                         !"#$!%ÿ"the#$ÿ&sole
                                                             Further,          '($ÿbasis
                                                                                     )*&+&ÿof',ÿ"this
                                                                                                   #+&ÿ&statement
                                                                                                         "*"$-$."ÿ
  6
                                                             +&ÿan*.ÿopinion
                                                             is       '/+.+'.ÿ'of,ÿ0!
                                                                                   Dr.1 ÿKulla,
                                                                                         2 ((*%ÿ3#      '&$ÿ(lack
                                                                                                    whose     *45ÿ
  7ÿ
  7                                                          ',ÿ+information
                                                             of    .,'!-*"+'.ÿ*about
                                                                                   )'"ÿ"the #$ÿproperty
                                                                                                 /!'/$!"6ÿ*and .7ÿ
  8ÿ                                                         +"&ÿhistoric
                                                             its   #+&"'!+4ÿuses
                                                                              &$&ÿ4causes
                                                                                     *&$&ÿher  #$!ÿ'opinions
                                                                                                      /+.+'.&ÿ"to'ÿ
  8
                                                             )$ÿ,flawed
                                                             be     (*3$7ÿ*and
                                                                             .7ÿunreliable,
                                                                                   .!$(+*)($%ÿ*as&ÿset&$"ÿ'out"ÿin+.ÿ
  9ÿ
  9                                                          8(*+."+,,&9ÿresponse
                                                             Plaintiffs'    !$&/'.&$ÿto"'ÿ0$      ,$.7*."&9ÿ
                                                                                              Defendants'
4ÿ                                                           :;<=ÿ6544
                                                             RSUMF          33ÿ3#   +4#ÿis+&ÿ+incorporated
                                                                                which          .4'!/'!*"$7ÿ
10

44ÿ
11
                                                             #$!$+.ÿ)by6ÿ!reference.
                                                             herein         $,$!$.4$1ÿÿÿ
       >?@AÿB
41ÿ 563.
12              .ÿ2009,
               In  1 9%ÿa*ÿ&soil
                              '+(ÿgas
                                    C*&ÿDvapor
                                          */'!ÿ&survey
                                                   !D$6ÿ 563.>?@Aÿ<.       7+&/"$71ÿÿÿ
                                                                       Undisputed.
       3*&ÿ4conducted
4135ÿ the
      was     '.74"$7ÿ'on.ÿ"the#$ÿWest
                                     E$&"ÿ8Parcel
                                             *!4$(ÿof',ÿ
       "#$ÿ8Property
             !'/$!"6ÿ*at"ÿdepths
                           7$/"#&ÿ'of,ÿ65ÿ*and
                                            .7ÿ4156ÿ,feet
                                                      $$"ÿ
       )$('3ÿCground
4143ÿ below      !'.7ÿ&surface.
                            !,*4$1ÿÿ
4156ÿ Supporting
         FGGHIJKLMÿN      KOPLQPRÿ
                        Evidence:
42ÿ Id.
16
       ST1ÿ
4177ÿ
       >?UAÿV#
48ÿ 564.       The$ ÿ!results
                       $&("&ÿ'of,ÿ"the
                                    #$ÿ120099ÿsoil
                                              &'+(ÿCgas*&ÿ 564.
                                                             >?UAÿ0+      &/"$7ÿ*and
                                                                       Disputed      .7ÿ+immaterial.
                                                                                           --*"$!+*(1ÿÿÿ
18
       D*/'!ÿ&survey
                  !D$6ÿ&showed
                          #'3$7ÿonly'.(6ÿDvery
                                            $!6ÿ-+   .'!ÿ Supporting
4199ÿ vapor                                          *&%ÿ FGGHIJKLMÿN            KOPLQPRÿÿ
                                                 minor
       *-'."&ÿof',ÿ8PCE
      amounts           WXÿand
                            *.7ÿVWXÿ
                                   TCE +   .ÿsoil
                                          in &'+(ÿCgas,                       Evidence:
1ÿ with3+"#ÿthe
             "#$ÿ(lowest
                   '3$&"ÿ4concentrations
                            '.4$."!*"+'.&ÿ,found '.7ÿ Immaterial
                                                             B--*"$!+*(ÿ)because           C.'!$&ÿreleases
                                                                               $4*&$ÿ+ignores        !$($*&$&ÿ
20
       +.ÿ
14ÿ to"'ÿ#
      in  "#
          the$ÿ
              & # * (
                    (
              shallow' 3ÿ 6 Y
                            , ''
                          5-foot "ÿ &*-/  (
                                    samples$&ÿ!$ (*" +
                                              relativeD $ÿ   /!+'!ÿ"to'ÿ120099ÿ*and
                                                                                 .7ÿ8Plaintiffs
                                                                                        (*+."+,,&ÿ7do'ÿnot.'"ÿ#have
                                                                                                                *D$ÿ
21
            +C#$!ÿ4concentrations
          higher     '.4$."!*"+'.&ÿ+in.ÿthe"#$ÿ7deeper
                                                 $$/$!ÿ prior"'ÿ"trace
                                                                   !*4$ÿ"releases"
                                                                         Z!$($*&$&[ÿor'!ÿZ"threatened
                                                                                              "#!$*"$.$7ÿ
22     46Y,''"ÿ&samples.
11ÿ 15-foot        *-/($&1ÿÿ                                 to
                                                             !$($*&$&[ÿof',ÿ#hazardous
                                                             releases"          *\*!7'&ÿ&substances
                                                                                                  )&"*.4$&ÿback
                                                                                                              )*45ÿ
         FGGHIJKLMÿN
15ÿ Supporting             KOPLQPRÿ                          "'ÿ*aÿ&specific
                                                             to       /$4+,+4ÿdefendant
                                                                              7$,$.7*."ÿ'or!ÿ"to'ÿ*aÿspecific
                                                                                                         &/$4+,+4ÿ
                                                             7$,$.7*."9&ÿ/period$!+'7ÿ'of,ÿownership
                                                                                            '3.$!&#+/ÿ'or!ÿ
23                      Evidence:
13ÿ Id.
24
       ST1ÿ
                                                             defendant's
                                                             '/$!*"+'.1ÿ
                                                             operation.
16ÿ
25
                                                             = "4#ÿReport,
                                                             Mutch      :$/'!"%ÿ*at"ÿ77-17
                                                                                       Y47ÿto"'ÿ77-18
                                                                                                    Y48ÿ](Docket
                                                                                                           0'45$"ÿ
12ÿ
26                                                           ^'1ÿ9903-204
                                                             No.       5Y13ÿ8Page*C$ÿIDB0ÿ_#:25430-31).
                                                                                                1̀635Y54a1ÿÿ
17ÿ
27
                                                             ;4#ÿa*ÿ7determination
                                                             Such                                -/'&&+)($ÿto"'ÿ
                                                                          $"$!-+.*"+'.ÿ+is&ÿ+impossible
18ÿ
28                                                           -*5$ÿ7due$ÿ"to'ÿ"the
                                                             make               #$ÿinadequate
                                                                                    +.*7$b*"$ÿ"testing$&"+.Cÿ*and  .7ÿ
                                                          123ÿ
                                                          264
 bcdeÿghijklmknojpokqrksÿÿÿtulvwexyÿz{hjgÿÿpÿ|}   iz~eÿnjgzgiÿÿÿceÿgoÿuÿg{{ÿÿÿceÿt
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 26878ofof
                                                           Page      Til87 Page
                                                                           Page ID
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 4ÿ
 1

 1ÿ            OPPOSING   ÿPARTIES'
                                   ÿ
 2                   ÿ
                     ALLEGEDLY                                   ÿPLAINTIFFS'
                                                                MOVING                ÿ
 5ÿ              ÿ
               UNCONTROVERTED                               ÿÿ
                                                          RESPONSE                          ÿ
                                                                              AND SUPPORTING
 3
             ÿ
             MATERIAL
 6ÿ SUPPORTING                 FACTSÿ      ÿ
                                           AND                             ÿ
                                                                           EVIDENCE
 4             ÿ              ÿ
                                 EVIDENCE
 3ÿ
 5

 2ÿ                                                    !"#$%&$'ÿ'of(ÿ)hazardous
                                                       investigation             &*&+,'-#ÿ#substances
                                                                                                 -.#$&/"#ÿ
 6
                                                       ÿthe
                                                       in  $)"ÿ#soil,
                                                                 '01ÿ&as#ÿset
                                                                            #"$ÿ'out-$ÿinÿPlaintiffs'
                                                                                           20&$((#3ÿ
 7ÿ
 7                                                     +"#4'#"#ÿ$to'ÿ5"
                                                       responses              6+'4&3#ÿRSUMF
                                                                           Kekropia's        789:;ÿ3527,    171ÿ
 8ÿ                                                    354ÿ&and,ÿ3546
                                                       531           62ÿ<)     /)ÿ&are+"ÿincorporated
                                                                           which              /'+4'+&$",ÿ
 8

 9ÿ
                                                       )"+"ÿ.by=ÿ+reference.
                                                       herein         "("+"/">ÿÿ
                                                       ;-+$)"+1ÿ$the)"ÿ#sole
                                                                           '0"ÿbasis           )#ÿ#statement
                                                                                 .&##ÿof'(ÿ$this    $&$"?"$ÿ
 9

4ÿ
10
                                                       Further,
                                                       #ÿan&ÿopinion
                                                       is      '4'ÿ'of(ÿ@+   Dr.>  ÿKulla,
                                                                                      5-00&1ÿ<)     '#"ÿ0lack
                                                                                                whose      &/6ÿ
44ÿ                                                    '(ÿinformation
                                                       of     ('+?&$'ÿ&about  .'-$ÿ$the )"ÿproperty
                                                                                             4+'4"+$=ÿ&and,ÿ
                                                       $#ÿhistoric
                                                            )#$'+/ÿ-uses#"#ÿ/causes
                                                                                 &-#"#ÿher )"+ÿ'opinions
                                                                                                 4'#ÿ$to'ÿ
11

41ÿ
12
                                                       its
                                                       ."ÿ(flawed
                                                       be    0&<",ÿ&and,ÿ-unreliable,
                                                                                 +"0&.0"1ÿ&as#ÿset
                                                                                                  #"$ÿ'out-$ÿinÿ
45ÿ                                                    20&$((#3ÿresponse
                                                       Plaintiffs'    +"#4'#"ÿto$'ÿ5"         6+'4&3#ÿ
                                                                                          Kekropia's
                                                       789:;ÿ3544     66ÿ<)     /)ÿis#ÿincorporated
                                                                                             /'+4'+&$",ÿ
13

46ÿ
14
                                                       RSUMF               which
                                                       )"+"ÿ.by=ÿ+reference.
                                                       herein         "("+"/">ÿ
43ÿ
15
     ABACÿD)
42ÿ 565.      The"ÿ,data
                     &$&ÿindicate
                             ,/&$"ÿ$that
                                      )&$ÿPCE,
                                           2EF1ÿ 565.  ABACÿ@     #4-$",>ÿÿÿ
                                                                Disputed.
16
     DEF1ÿ&and,ÿ'other
                    $)"+ÿ?    '+ÿVOCs
                                  GHE#ÿ&are+"ÿ Supporting
47ÿ TCE,                                +'-,<&$"+ÿ JKKLMNOPQÿR               OSTPUTVÿÿ
                           minor
17   !'0&$0*%ÿ'off((ÿ$the
    volatilizing            )"ÿOU-2
                               H9I1ÿ%groundwater                          Evidence:
     40-?"ÿ,due-"ÿ$to'ÿan&ÿupward
48ÿ plume                   -4<&+,ÿ,diffusion
                                       ((-#'ÿ The    D)"ÿ#spatial      ,#$+.-$'ÿof'(ÿ$the
                                                               4&$&0ÿdistribution              )"ÿPCE
                                                                                                     2EFÿ&and,ÿ
18

49ÿ  4 + '/
    process "##ÿ%' ! "+
                governed  " ,ÿ
                             . =
                              byÿ;/6
                                 Fick's3#ÿ0&<>
                                          law.ÿÿ       DEFÿ#soil
                                                       TCE      '0ÿ%gas&#ÿcontamination,
                                                                           /'$&?&$'1ÿ&along        0'%ÿ< with$)ÿ
19
        JKKLMNOPQÿR
1ÿ Supporting             OSTPUTVÿ                     $)"ÿ#shallow
                                                       the    )&00'<ÿ#soil '0ÿcontamination,
                                                                               /'$&?&$'1ÿ
20
                      Evidence:
                                                       ,/&$"#ÿ$that
                                                       indicates     )&$ÿ$the)"ÿPCE
                                                                                  2EFÿ&and,ÿDEFÿTCE came/&?"ÿ
     FWX1ÿ12010,
14ÿ EAI,        41ÿ&at$ÿ17-18;
                        47I48YÿFZEx.>ÿ@ÿ
                                      D& and,ÿFZ
                                              Ex.>K (
                                                 ÿ5ÿ    +'?ÿreleases
                                                       from    +"0"&#"#ÿ'onÿ$the  )"ÿProperty
                                                                                       2+'4"+$=ÿ&and,ÿnot'$ÿ
11ÿ to$'ÿ$)"ÿDeclaration
              @"/0&+&$'ÿ'of(ÿG   /$'+ÿH$   $"ÿ (from  +'?ÿoff-gassing
                                                               '((I%&##%ÿ(from    +'?ÿ$the)"ÿ-underlying
                                                                                                  ,"+0=%ÿ
21
         the                     Victor   Otten
22                                                     %+'-,<&$"+>ÿ:-
                                                       groundwater.         Mutch$/)ÿ7"     4'+$1ÿ&at$ÿ7-14
                                                                                        Report,        7I46ÿ$to'ÿ
15ÿ                                                    7I47ÿ[(Docket
                                                       7-17     @'/6"$ÿ\'   No.>  ÿ9903-204
                                                                                       5I16ÿPage2&%"ÿXID@ÿ
23

16ÿ
24
                                                       ]^13617I5_>ÿ
                                                       #:25427-30).

     ABBCÿ`)
13ÿ 566.
25                0"ÿ"exceedances
              While      Z/"",&/"#ÿ'of(ÿ               ABBCÿ9
                                                       566.         ,#4-$",ÿ.but-$ÿimmaterial.
                                                                Undisputed                 ??&$"+&0>ÿÿ
     %+'-,<&$"+ÿ#screening
12ÿ the
    groundwater          /+""%ÿ0levels
                                    "!"0#ÿconfirm
                                            /'(+?ÿ Supporting
                                                         JKKLMNOPQÿR         OSTPUTVÿÿ
26
     $ )"
17ÿ at&$ÿ&
          ÿ
          4  +"#
               "
          presence/ " ÿ
                      '
                      of (ÿ
                           ?4 & /
                                 $"
                           impacted,  ÿ
                                      % +' -  ,<&$
                                       groundwater"+
                                                   ÿ                      Evidence:
         aÿ%given
             !"ÿ4property,
                    +'4"+$=1ÿthey
                               $)"=ÿ,do'ÿnot'$ÿ Mr.
27
                                                       :+>ÿ:-     $/)ÿ,did,ÿnot'$ÿ-use#"ÿ%groundwater
                                                              Mutch                         +'-,<&$"+ÿ
18ÿ
28                                                     F8a#ÿstanding
                                                       ESLs     #$&,%ÿ&alone  0'"ÿ$to'ÿdetermine
                                                                                            ,"$"+?"ÿ
                                                    123ÿ
                                                    265
 ijklÿnopqrstruvqwvrxyrzÿÿÿ{|s}~lÿoqnÿÿwÿ               nulÿuqnnpÿÿÿjlÿnvÿ|ÿnÿÿÿjlÿ{
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 26979ofof
                                                           Page      Til87 Page
                                                                           Page ID
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                                  #:33860



 3ÿ
 1

 1ÿ           OPPOSING      ÿPARTIES' ÿ
 2                     ÿ
                       ALLEGEDLY                                             ÿPLAINTIFFS'
                                                                            MOVING                ÿ
 4ÿ             ÿ
              UNCONTROVERTED                                           ÿÿ
                                                                     RESPONSE                         ÿ
                                                                                         AND SUPPORTING
 3
            ÿ
            MATERIAL
 5ÿ SUPPORTING                      FACTSÿ       ÿ
                                                 AND                                  ÿ
                                                                                      EVIDENCE
 4            ÿ              EVIDENCEÿ
 6ÿ
 5
     !""#$%&'ÿ"support
 2ÿ the
    necessarily          ())*$+ÿcontribution
                                    !*+$%,(+%*ÿfrom             F/+/$ÿ+the/ÿPatsouras
                                                      -$*.ÿ whether                  G#+"*($#"ÿGProperty
                                                                                                      $*)$+'ÿ
     +/ÿ*overlying
            0$&'%1ÿ)property.
                            $*)$+'2ÿÿ                             !*+$%,(+Hÿto+*ÿIJK           1ÿL$  *(HF#+$ÿ
 6
                                                                  contributed           OU-2       Groundwater
 7ÿ
 7
       3 4 45 6 789   : ÿ;  8< = 9 >=  ?ÿ                        !*+#.%#+%*2ÿ@(
                                                                  contamination.         Mutch  +!/ÿCReport,
                                                                                                        )*$+Dÿ#at+ÿ3-7,
                                                                                                                   4K7Dÿ77-K
 8ÿ  Supporting          Evidence:                                7Dÿ77-14
                                                                  7,   K35ÿ+to*ÿ77-17,
                                                                                   K37Dÿ7-26
                                                                                          7K12ÿ+to*ÿ77-27
                                                                                                        K17ÿ(Docket
                                                                                                             MN*!O+ÿ
 8
     @(+!/ÿExpert
 9ÿ Mutch
 9            AB)$+ÿCReport,   )*$+DÿE§ÿ43.2.2
                                             2121ÿ                P*2ÿ9903-204).
                                                                  No.        4K15Q2ÿÿÿÿÿ
3ÿ 567.
10
     RSTUÿV+  Atÿ +the/ÿGPatsouras
                           #+"*($#"ÿProperty,
                                          G$*)$+'Dÿ 567.          RSTUÿN%       ")(+Hÿ#as"ÿ(unsupported
                                                                            Disputed              "())*$+Hÿ,by'ÿthe +/ÿ
     F/+/$ÿ+there
33ÿ whether
11               /$ÿF#     was"  ÿ#any
                                    'ÿ)pure
                                           ($ÿphase
                                                 )/#"ÿ cited      !%+Hÿevidence.
                                                                            0%H!2ÿÿ
     GWADÿXWAD
             TCE,ÿ     #and
                         Hÿ*other
                               +/$ÿchlorinated
                                      !/&*$%#+Hÿ Supporting
31ÿ organic                                0"+%1#+Hÿ 34456789:ÿ;                       8<=9>=?ÿÿ
    PCE,
12
     *$1#%!ÿ!chemicals
                 /.%!#&"ÿF#       was"  ÿ%investigated                                Evidence:
     (. $*("ÿtimes
34ÿ numerous
13                   +%. "ÿ,by'ÿ+the/ÿconsultants
                                          !*"(&+#+"ÿand #HÿDisputed
                                                                  N%")(+Hÿ#as"ÿ(unsupported
                                                                                       "())*$+Hÿ,by'ÿthe   +/ÿ!cited
                                                                                                                   %+Hÿ
35ÿ  $  1 (&#+
    regulators* $"  ÿ# 
                     and H ÿ
                           
                           not*+ÿ -* (
                                  found H ÿ+*
                                            to ÿ  B%"+
                                                     2
                                                exist.ÿ             0%H!ÿHdue(ÿ+to*ÿinadequate
                                                                  evidence                %#Hd(#+ÿ+testing   "+%1ÿ#and
                                                                                                                      Hÿ
                                                                  %0"+%1#+%*ÿ*of-ÿ/hazardous
                                                                                            #e#$H*("ÿ"substances
                                                                                                           (,"+#!"ÿ
14
1 5    34456789:ÿ;
36ÿ Supporting               8<=9>=?ÿ
                         Evidence:                                investigation
                                                                  %ÿ+the/ÿ"soil,
                                                                  in         *%&Dÿ#as"ÿset
                                                                                       "+ÿ*out(+ÿ%inÿPlaintiffs'
                                                                                                      G&#%+%--"fÿ
     Y(&&#ÿAB
32ÿ Kulla        )$+ÿCReport,
             Expert           )*$+Dÿ#at+ÿpp.
                                           ))21-8,
                                               3K8DÿX#            $")*""ÿ+to*ÿYKekropia's
                                                        ,&"ÿ responses
                                                     Tables                              O$*)%#f"ÿRSUMFC\J@Zÿ6527,   17Dÿ
     3K6DÿZFigure
             %1($ÿ12-8A, K8VDÿAB Ex.2 ÿKYÿ+to*ÿthe
                                               +/ÿNDecl.          643ÿ#and
                                                        !&2ÿ*of-ÿ531       Hÿ6546
                                                                                 52ÿF/    %!/ÿ#are$ÿ%incorporated
                                                                                                      !*$)*$#+Hÿ
16

37ÿ 1-5,
17
     [%!+*$ÿI+
    Victor        +2ÿÿ
              Otten.                                              herein
                                                                                      which
                                                                  /$%ÿ,by'ÿ$reference.
                                                                                    -$!2ÿÿ
38ÿ
18
     Y(&&#ÿCRebuttal
    Kulla
39ÿ 12,          ,(++#&ÿAExpertB)$+ÿReport,                       N$2ÿY(
                                        C )*$+Dÿ#at+ÿ)pp.)2ÿ1­3K Dr.         &&#f"ÿ&lack
                                                                         Kulla's     #!Oÿof*-ÿ%information
                                                                                                  -*$.#+%*ÿ#about,*(+ÿ
19   31DÿAB
          Ex.2ÿ\Sÿto+*ÿ+the
                          /ÿDecl.
                              N !&2ÿ*of-ÿ[%    !+*$ÿI+
                                            Victor      +2ÿÿ the
                                                     Otten.       +/ÿ)property
                                                                          $*)$+'ÿ#and  Hÿits%+"ÿhistoric
                                                                                                  /%"+*$%!ÿ(uses
                                                                                                             ""ÿ!cause
                                                                                                                    #("ÿ
1ÿ Letter
     ]++$ÿ+to*ÿ]#      $$'ÿGPatsouras
                              #+"*($#"ÿof*-ÿYKekropia,
                                                    O$*)%#Dÿ her  /$ÿ*opinions
                                                                          )%%*"ÿ+to*ÿ,beÿflawed
                                                                                               -&#F Hÿ#andHÿ
20

     ^!2ÿ-from
13ÿ Inc.
                 Larry
            $*.ÿ+the /ÿAB       !(+%0ÿI-       -%!$ÿ*of-ÿ+the     ($&%#,&Dÿas#"ÿ"set+ÿ*out(+ÿin%ÿPlaintiffs'
                                                           /ÿ response
                                                                  unreliable,                         G&#%+%--"fÿ
21
     ]*  "ÿV  1   &   " ÿ
                          Executive
                          C   1%*   #& ÿ
                                        _#
                                           Officer
                                              +  $ÿ̀( # &%+' ÿ    $")*"ÿ+to*ÿYKekropia's
                                                                                        O$*)%#f"ÿRSUMFC\J@Zÿ6544,   55Dÿ
11ÿ Control
    Los    Angeles
     W*+$*&ÿa*
                          Regional
                      #$HDÿHdated
                                        Water
                               #+HÿJanuary
                                                  Quality
                                      b#(#$'ÿ54,Dÿ12017,         F/%!/ÿis%"ÿ%incorporated
                                                          37Dÿ which             !*$)*$#+Hÿ/herein    $%ÿ,by'ÿ
22

14ÿ (No
23
                Board,
     MP*ÿZFurther
             ($+/$ÿV!        +%*  ÿ& + +  $ÿ+* ÿY
                         Action letter to Kekropia, O$ * ) %#  D
                                                               ÿ  $  - $   
                                                                  reference. !  2ÿ
     !*!&(H%1ÿ+that
15ÿ complete
    concluding          /#+ÿ+the
                               /ÿcleanup
                                    !&#()ÿF#    was"ÿ Otten      I++ÿDecl.,
                                                                            N !&2DÿAB Ex.2ÿ]ÿ   MN*!O+ÿP*
                                                                                           L (Docket       No.2 ÿ9931-12
                                                                                                                   43K31ÿ
24
     !*.)&+ÿ+to*ÿ"assurec#""($ÿ)protection
                                      $*+!+%*ÿ*of-ÿ Page         G#1ÿ^IDNÿg#:26607)
                                                                                 h1227QÿM(RWQCB-LA,
                                                                                                C_`WaK]VDÿ]+          $2ÿ+to*ÿ
                                                                                                                    Ltr.
     /(.#ÿhealth
16ÿ human
25             /#&+/ÿ#and   HÿF#    +$"ÿ*of-ÿthe
                                 waters          +/ÿ\State
                                                       +#+ÿ Larry ]#$$'ÿGPatsouras
                                                                              #+"*($#"ÿM(Dec.
                                                                                           N !2ÿ31.,2Dÿ2008),
                                                                                                         1 8QDÿ#at+ÿ31)Qÿ
     #+ÿ#and
          Hÿnear#$ÿthe
12ÿ atuses.)           +/ÿ\Site
                              %+ÿ-for*$ÿ+their
                                           /%$ÿbeneficial
                                                 ,-%!%#&ÿ (stating
                                                                  M"+#+%1ÿ$releases
                                                                                 &#""ÿ*of-ÿchemicals
                                                                                                 !/.%!#&"ÿ-from$*.ÿ
26
     (""2QÿAB Ex.2 ÿaÿ
                     B to+*ÿ+the
                              /ÿDecl.
                                   N !&2ÿ*of-ÿ[%   !+*$ÿ industrial
                                                Victor            %H("+$%#&ÿ(uses ""ÿ#at+ÿ+the/ÿsite
                                                                                                   "%+ÿ/have
                                                                                                         #0ÿHdegraded
                                                                                                                   1$#HHÿ
     I++2ÿÿ
17ÿ Otten.
27                                                                +/ÿ1groundwater
                                                                  the     $*(HF#+$ÿdquality   (#&%+'ÿand
                                                                                                       #Hÿ,beneficial
                                                                                                                -%!%#&ÿ
18ÿ
28
                                                                  (""ÿ*of-ÿ+the
                                                                  uses         /ÿState's
                                                                                   \+#+f"ÿF#        +$"ÿ#and
                                                                                               waters     Hÿnoting
                                                                                                                *+%1ÿ
                                                                122ÿ
                                                                266
 [\]^ÿ̀abcdefdghcihdjkdlÿÿÿmneop^qrÿs~tac`ÿÿiÿuv                 `bw^xÿgcỳsỳbÿÿÿz\{^ÿ̀tgÿn|ÿ̀ttÿÿÿz\{^ÿ}m
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 27080ofof277
                                                           Page         87 Page
                                                                           Page ID
                                                                                ID
                                  #•.32521
    ÿ
                                  #:33861



 4ÿ
 1

 1ÿ            OPPOSING      ÿPARTIES' ÿ
 2                      ÿ
                        ALLEGEDLY                                               ÿPLAINTIFFS'
                                                                               MOVING                 ÿ
 5ÿ              ÿ
               UNCONTROVERTED                                            ÿÿ
                                                                       RESPONSE                            ÿ
                                                                                              AND SUPPORTING
 3
            ÿ
            MATERIAL
 6ÿ SUPPORTING                       FACTSÿ       ÿ
                                                  AND                                       ÿ
                                                                                           EVIDENCE
 4           ÿ                       ÿ
                                        EVIDENCE
 7ÿ
 5
     !"#ÿ$Iÿ%&
 2ÿ Phase             '()*&+#&,!-ÿSite
                 Environmental             .(,#ÿ                     2%0ÿJ2%ÿ
                                                                     PCE,     TCE !      &?ÿchromium
                                                                                        and   4)*+(3+ÿE#      were)#ÿ?detected
                                                                                                                         #,#4,#?ÿ
 6
     /""#""+#&,0ÿ/$
    Assessment,          AIG  1ÿ2*     &"3-,!&,"0ÿ$Inc.,
                                  Consultants,         &450ÿ in(&ÿsoils).
                                                                        "*(-"H5ÿÿ
 3
 7ÿ  63&#ÿ530,0ÿ41994,
    June              9960ÿat!,ÿ7p.5ÿ2216,
                                      11ÿ8ÿ20ÿEx.%95ÿ2ÿ
                                                      C,   to*ÿ Otten=,,#&ÿDecl.,
                                                                               :#4-50ÿ%9  Ex.5 ÿBÿ  D:*4O#,ÿS*   No.5 ÿ9931-2
                                                                                                                         54I1ÿ
 8   ,#ÿ:#
 8ÿ the  Decl. 4-5ÿ*of;ÿ<(  4,*)ÿ=,
                         Victor          ,#&5ÿ
                                     Otten.
                                                                     !A#ÿ$ID:ÿT#26229-30)
                                                                     Page
                                                                                                 B (Docket
                                                                                    12119I5HÿD(Los      N*"ÿ/&     A#-#"ÿ
                                                                                                              Angeles
     .*(-ÿ>#
 9ÿ Soil        +#?(!,(*&ÿ>#
           Remediation                 7*),ÿof*;ÿ@Findings
                                  Report           (&?(&A"ÿ Regional >#A(*&!-ÿU!    Water  ,#)ÿV3    !-(,CÿB*
                                                                                               Quality          !)?ÿLetter
                                                                                                            Board    N#,,#)ÿ
     ;*)ÿ%-
         Elÿ 1)   #4*0ÿ$Inc.,
                            &450ÿBiophysics
                                   B(*7C"(4"ÿ                        D6!&5ÿ64,0ÿ12017) 43Hÿat!,ÿ41-2)
                                                                                                   I1HÿD("Historical
                                                                                                         PW(",*)(4!-ÿSite .(,#ÿ
 9

4ÿ Environmental
10
    for      Greco,
     %&'()*&+#&,!-ÿ/"             "#""+#&,"0ÿ$Inc.,
                              Assessments,           &450ÿ use
                                                                     (Jan.
                                                                     3"#ÿ;for*)ÿ(industrial
                                                                                  &?3",)(!-ÿ!activities
                                                                                                    4,('(,(#"ÿ)resulted
                                                                                                                 #"3-,#?ÿin(&ÿ
     .#7,5ÿ414,60ÿ120062ÿD(It$,ÿis("ÿ4concluded
44ÿ Sept.                                                            ?("4!)A#"ÿof*;ÿE!
                                        *&4-3?#?ÿ,that!,ÿ&no*ÿ discharges                       ",#ÿ,to*ÿthe
                                                                                            waste         ,#ÿ"subsurface,
                                                                                                                3F"3);!4#0ÿ
     ,)#!,ÿ#exists
                9(","ÿ,to*ÿAgroundwater
                                )*3&?E!,#)ÿfrom   ;)*+ÿ including    (&4-3?(&Aÿ,total  *,!-ÿ7petroleum
                                                                                               #,)*-#3+ÿhydrocarbons
                                                                                                               C?)*4!)F*&"ÿ
11

41ÿ threat
12
     +#,!-"0ÿ"solvents
    metals,       *-'#&,"ÿ!and    &?ÿtotal
                                       ,*,!-ÿ7petroleum
                                                #,)*-#3+ÿ (TPH),     DJWH0ÿ'volatile
                                                                                   *-!,(-#ÿ*organic
                                                                                                 )A!&(4ÿcompounds
                                                                                                           4*+7*3&?"ÿ
      C?)*4!)F*&"0ÿFbased
45ÿ hydrocarbons,
13                             !"#?ÿ3upon 7*&ÿ,the#ÿ-low
                                                      *Eÿ (VDCs),    D<=2"H0ÿ!and    &?ÿ+#     ,!-"ÿ-listed
                                                                                            metals     (",#?ÿ(in&ÿTitle
                                                                                                                  J(,-#ÿ1221ÿ*of;ÿ
     -#'#-ÿ!and
46ÿ level      &?ÿ(isolated
                      "*-!,#?ÿ-low *Eÿ'volume
                                           *-3+#ÿof*;ÿ!all--ÿ the    ,#ÿ2!     -(;*)&(!ÿ2*
                                                                         California          Code ?#ÿ*of;ÿRegulations.
                                                                                                          >#A3-!,(*&"5ÿ
14
     7*,#&,(!--Cÿhazardous
    potentially          !G!)?*3"ÿ+!         ,#)(!-"ÿ
                                         materials                   .7#4(;(4!--C0ÿ,the#ÿE!
                                                                     Specifically,                   ",#"ÿ?discharged
                                                                                                 wastes      ("4!)A#?ÿ,to*ÿ
     (?#&,(;(#?ÿ(in&ÿ(initial
47ÿ identified            &(,(!-ÿ,testing
                                     #",(&AÿbyFCÿ%/$
                                                   EAIÿ     (in&ÿ the,#ÿ"subsurface
                                                                           3F"3);!4#ÿat!,ÿ,the#ÿ.Site    (,#ÿhas!"ÿFbeen
                                                                                                                     ##&ÿ
     49965Hÿ7pp.75ÿ41-7,I30ÿTables
                              J!F-#"ÿ1-3, 4I50ÿ%9
                                                Ex.5 ÿ1ÿ
                                                      G,             !""*4(!,#?ÿE(
                                                            *ÿ associated                  ,ÿ"storage
                                                                                                 ,*)!A#ÿ!and&?ÿ3use"#ÿof*;ÿ
15

42ÿ 1994.)
16
     ,#ÿ:#
    the  Decl. 4-5ÿof*;ÿ<(  4,*)ÿ=,
                        Victor           ,#&5ÿÿ
                                     Otten.
                                                           to
                                                                     petroleum
                                                                                       with
                                                                     7#,)*-#3+ÿ7products,)*?34,"0ÿ"solvents,
                                                                                                        *-'#&,"0ÿmetal
                                                                                                                    +#,!-ÿ
43ÿ Updated
     K7 ? ! ,#  ? ÿ.  (,#ÿ 2*   & 4 #7  ,3 !-ÿL*   ? #- ÿ! &  ? ÿ    7)*?34,ÿ+!
                                                                     product            &3;!4,3)(&AX;!F)(4!,(*&0ÿ!and
                                                                                  manufacturing/fabrication,                 &?ÿ
                                                                     3"#ÿ*of;ÿ+3    -,(7-#ÿclarifiers.")
                                                                                              4-!)(;(#)"5RHÿÿÿÿ
17
                   Site    Conceptual         Model      and
18   >#M3#",ÿ;for*)ÿN*
48ÿ Request             Low Eÿ>(     "Oÿ2-
                                  Risk       *"3)#0ÿ
                                          Closure,
                                                                     use       multiple

     %&'()*&+#&,!-ÿAudit,
49ÿ Environmental             /3?(,0ÿ$Inc.,&450ÿ6June
                                                  3&#ÿ16,420ÿ Mutch  L3,4ÿReport,
                                                                                >#7*),0ÿ37-23  I15ÿto,*ÿ37-29
                                                                                                           I19ÿD(Docket
                                                                                                                  :*4O#,ÿ
19
     140ÿD("Chlorinated
    2010,      P2 -*)(&!,#?ÿ4compounds  *+7*3&?"ÿ!are)#ÿ No.         S*5ÿ9903-204
                                                                                5I16ÿPage   !A#ÿ$ID:ÿ#:25435-42)
                                                                                                        TY17657I61Hÿ
     &*,ÿAgenerally
1ÿ not
20         #&#)!--Cÿ(identified
                            ?#&,(;(#?ÿin(&ÿsoil                      D?#"4)(F(&AÿPatsouras
                                               "*(-ÿ!at,ÿ,the#ÿ (describing                !,"*3)!"ÿProperty
                                                                                                          )*7#),Cÿ
     .(,#ÿFbut3,ÿ!are)#ÿpresent
14ÿ concentrations
    Site                7)#"#&,ÿ(in&ÿAground
                                           )*3&?ÿE!  water           4*&,)(F3,(*&ÿto,*ÿ=KI
                                                         ,#)ÿ!at,ÿ contribution               OU-2   1ÿ4contamination)
                                                                                                          *&,!+(&!,(*&Hÿ
21
     4*&4#&,)!,(*&"ÿthat
11ÿ the
                             ,!,ÿ!are)#ÿ4consistent
                                            *&"(",#&,ÿwith E(,ÿ MutchL3,4ÿRebuttal
                                                                                >#F3,,!-ÿ>#         7*),0ÿ!at,ÿ§§
                                                                                                               ZZÿ53.1,
                                                                                                                     540ÿ53.2,
                                                                                                                            510ÿ
22   ,#ÿ)regional
           #A(*&!-ÿ(impact+7!4,ÿto,*ÿAground
                                           )*3&?ÿE!      ,#)ÿ 3.3,
                                                     water
                                                                     5550ÿ53.4,
                                                                                               Report,
                                                                              560ÿ53.557ÿD(Docket
                                                                                           :*4O#,ÿNo.  S*5ÿ9949-78
                                                                                                               69I38ÿPage !A#ÿ
     D"##ÿ.Section
15ÿ (see    #4,(*&ÿ53.0).  5H5ÿ$In&ÿ%/$EAI's Q"ÿopinion
                                                *7(&(*&ÿ,the#ÿ ID    $:ÿT#:30971-77)
                                                                           Y5934I33HÿD(describing?#"4)(F(&Aÿhistoric
                                                                                                                   (",*)(4ÿ
23
     4 -* ) (
            &
    chlorinated
16ÿ ground     ! ,# ?  ÿ4*  +7
                        compounds* 3 & ?  "ÿ? #,# 4,
                                            detected# ? ÿ(
                                                         in&  ÿ      4*&,!+(&!,(*&ÿand       !&?ÿ4continuing
                                                                                                      *&,(&3(&Aÿ
24   A)*3&?ÿE!  water ,#)ÿ!at,ÿ,the#ÿ.Site
                                        (,#ÿare
                                            !)#ÿ&not*,ÿ,the#ÿ contamination
                                                                     *F-(A!,(*&"ÿ(imposed +7*"#?ÿFbyCÿ#environmental
                                                                                                            &'()*&+#&,!-ÿ
     )#"3-,ÿ*of;ÿ;former
17ÿ result          *)+#)ÿsite "(,#ÿ!activities."
                                        4,('(,(#"5Rÿat!,ÿ7pp.75ÿ obligations
                                                                     4*'#&!&,H5ÿ
25
     5I4
    3-15,
12ÿ the  7 0ÿ
            1
            21,4 0ÿJ!   F
                   Tables  -#" ÿ 4I
                                 1-73 ÿ! &
                                       and ?ÿ4
                                             10,0 ÿ
                                                  ÿ%9
                                                   Ex.  5ÿ:ÿ
                                                          D to  ,
                                                                *ÿ   covenant).
26   ,#ÿ:#
         Decl. 4-5ÿ*of;ÿ<(  4,*)ÿ=,
                         Victor          ,#&5ÿ
                                     Otten.
13ÿ Remedial
27
     >#+#?(!-ÿ/4          ,(*&ÿPlan,
                      Action        -!&0ÿ411630-11700
                                            425I443 ÿ
     B3)O#ÿ.Street,
18ÿ Burke
28               ,)##,0ÿ%&      '()*&+#&,!-ÿ/3
                           Environmental                ?(,0ÿ
                                                   Audit,
                                                                  123ÿ
                                                                  267
    hijkÿmnopqrsqtupvuqwxqyÿÿÿz{r|}k~ÿnpmÿÿvÿ             mmk ÿtpmmoÿÿÿikÿmoÿ{ÿmÿÿÿikÿz
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 27181ofof277
                                                          Page         87 Page
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                                  #\32S22
       ÿ
                                  #:33862



   4ÿ
   1

   1ÿ            OPPOSING      ÿPARTIES'
                                          ÿ
   2                   ÿ
                       ALLEGEDLY                                                ÿPLAINTIFFS'
                                                                               MOVING                ÿ
   5ÿ              ÿ
                 UNCONTROVERTED                                          ÿÿ
                                                                       RESPONSE                            ÿ
                                                                                             AND SUPPORTING
   3
               ÿ
               MATERIAL
   6ÿ SUPPORTING                      FACTSÿ       ÿ
                                                   AND                                   ÿ
                                                                                         EVIDENCE
   4             ÿ                   ÿ
                                         EVIDENCE
   7ÿ
   5
        !"#ÿ$June
   2ÿ ofInc.,   %&ÿ416,2#ÿ41997.,
                               998"#ÿEx.
                                       '("ÿ)ÿH to*+ÿ*the,&ÿDecl.
                                                            -&!."ÿ
        +/ÿ01  !*+2ÿ3*   *&"ÿ
 6
           Victor    Otten.
   8ÿ
   7
        4567ÿ8,
   3ÿ 568.          &2&ÿ1is9ÿno+ÿ&evidence
                There                 :1;&!&ÿthat *,<*ÿ*the,&ÿ 568. 4567ÿ`         ;19B%*&;ÿ*the,&ÿaquoted
                                                                               Undisputed                 %+*&;ÿtestimony
                                                                                                                     *&9*1A+?ÿ
        ;&=2&<9&2ÿ%used
                      9&;ÿ>by?ÿGlobe @.+>&ÿ<and;ÿ*the,&ÿ9steam
                                                            *&<Aÿis19ÿaccurate
                                                                       <!!%2<*&ÿ>but%*ÿA1       9!,<2<!*&21C&9ÿthe      *,&ÿ
   8

   9ÿ degreaser
   9
        !.&<1=ÿ+operations
        cleaning     B&2<*1+9ÿ%utilized *1.1C&;ÿ
                                                                                            mischaracterizes
                                                                    &:1;&!&ÿ<and;ÿ1immaterial.
                                                                    evidence               AA<*&21<."ÿ
        !,.+21<*&;ÿ+organic
4ÿ chlorinated
10                        2=<1!ÿ!compounds
                                        +AB+%;9ÿlike     .1D&ÿ Supporting
                                                                      JKKLMNOPQÿR           OSTPUTVÿÿ
        *&*2<!,.+2+&*,&&ÿE(PCE)
4^ 4^ ÿ trichloroethene
        tetrachloroethene            FG'Hÿ<and;ÿ                                        Evidence:
        *21!,.+2+&*,&&ÿE(TCE).   8G'H"ÿÿÿHowever,
                                             )+I&:&2#ÿ*the,&ÿ Pis.' F.9"bÿRFJN,
                                                                            cX$d#ÿ'(                 E;%9*21<.ÿY<
                                                                                            9"ÿ3857ÿ(Industrial            9*&ÿ
12      !+*&AB+2<&+%9ÿ&evidence
41ÿ contemporaneous                   :1;&!&ÿ1is9ÿ*to+ÿthe*,&ÿ Survey,
                                                                    W%2:&?#ÿ$Jun.
                                                                                       Exs.
                                                                                   %"ÿ419,9#ÿ1970)
                                                                                               498HÿE(Docket
                                                                                                           -+!D&*ÿd+
                                                                                                                       Waste
                                                                                                                        No."ÿ
45ÿ     ! + *2 <2
        contrary.? "ÿ                                               95^39H#ÿ9935ÿE(City
                                                                    903-89),             G1*?ÿ+of/ÿSanta
                                                                                                     W<*<ÿFe     X&ÿWSprings,
                                                                                                                       B21=9#ÿ
          JKKLMNOPQÿR
46ÿ Supporting                  OSTPUTVÿ                            ;%9*21<.ÿY<
                                                                    Industrial      Waste 9*&ÿ-1    9B+9<.ÿPermit
                                                                                                Disposal        F&2A1*ÿ
1 4                       Evidence:
                                                                    eBB.1!<*1+#ÿZ<
                                                                    Application,         May  ?ÿ18,1970)
                                                                                                 43#ÿ498HÿE(Docket  -+!D&*ÿ
47ÿ Ex.
15      '("ÿ'ÿ
             E*  +ÿOtten
                to  3**&ÿDecl.,-&!."#ÿBp."ÿ                         d+"ÿ9903-97);
                                                                    No.        5^98Hfÿ0<      .&C%&.<ÿ3B
                                                                                          Valenzuela         Opp'n Bbÿ-&    !."#ÿ
                                                                                                                        Decl.,
        F8WX 11194ÿE(City
42ÿ PTSF00022291                  G1*?ÿ+of/ÿWSanta
                                               <*<ÿFe  X&ÿ Exs.     '(9"ÿ38,#ÿ<at*ÿ2662ÿ(Environmental
                                                                                         E' :12+A&*<.ÿe%                ;1*#ÿ
                                                                                                                    Audit,
16
        WB21=9#ÿ41970.
        Springs,     98"ÿIndustrial
                               ;%9*21<.ÿY<  Waste 9*&ÿ Inc.,       !"#ÿWSupplemental
                                                                               %BB.&A&*<.ÿWSubsurface %>9%2/<!&ÿ
        W%2:&?ÿ/for+2ÿ@.
48ÿ Survey
17                    Globe +>&ÿ31  Oil.ÿTool
                                         8++.ÿG+ Co." ÿ$June        :&9*1=<*1+#ÿZ<
                                                         %&ÿ Investigation,                Mar. 2"ÿ53,1997,
                                                                                                      #ÿ4998#ÿ<at*ÿ3)5Hÿ
        49#ÿ498"Hÿ'(
43ÿ 19,1970.)         Ex."   ÿT8ÿ*to+ÿ3* *&ÿDecl.,
                                      Otten   -&!."#ÿZ%  Mutch      E-+!D&*ÿd+
                                                              *!,ÿ(Docket          No."ÿ9949-35),
                                                                                           69^57H#ÿ87,#ÿat<*ÿ750ÿ
18
        -&B"#ÿBp."ÿ8707,8#ÿ.Ins.9"ÿ15:18:
        Dep.,                      47[43[ÿ\"I'm                     E' :12+A&*<.ÿe%
                                              ]Aÿnot+*ÿ (Environmental                            ;1*#ÿInc.,!"#ÿWSubsurface
                                                                                              Audit,                 %>9%2/<!&ÿ
        9&&1=ÿ<any?ÿ1indication
49ÿ seeing
19                        ;1!<*1+ÿ*that   ,<*ÿthe
                                               *,&ÿ                 :&9*1=<*1+ÿReport,
                                                                    Investigation         c&B+2*#ÿ-&   Dec. !"ÿ18,
                                                                                                                 43#ÿ41995,
                                                                                                                        997#ÿ<at*ÿ
        ;&=2&<9&2ÿ+or2ÿ;degreasing
1ÿ degreaser                 &=2&<91=ÿ<activities
                                              !*1:1*1&9ÿ 12)        41HÿE(Docket
                                                                           -+!D&*ÿd+    No."  ÿ9949-34),
                                                                                                 69^56H#ÿ99ÿ<at*ÿ877-788^83ÿ
20
          &!&99<21.?ÿcontain
        necessarily    !+*<1ÿ!chlorinated
                                       ,.+21<*&;ÿ                   E' :12+A&*<.ÿe%
                                                                    (Environmental                 ;1*#ÿInc.,!"#ÿWSummary
                                                                                              Audit,                 %AA<2?ÿ
        9+.:&*9"ÿIÿdon't
14ÿ solvents.
21                    ;+]*ÿ^~^ÿI'm   ]Aÿnot+*ÿ9sure
                                                 %2&ÿI&weÿ   ,<;ÿ of+/ÿWSite
                                                             had          1*&ÿe9    9&99A&*9#ÿMar.
                                                                                Assessments,          Z<2"ÿ12009,9#ÿ<at*ÿ41-2)^1Hÿ
11ÿ that*,<*ÿ;definitive
               &/11*1:&ÿ1information."
                                 /+2A<*1+"_ÿ                        E-+!D&*ÿd+
                                                                    (Docket        No."ÿ9949-36),
                                                                                           69^52H#ÿ14,   46#ÿ<at*ÿ4140-142
                                                                                                                    6^461ÿ
22
                                                                    EY"ÿFPalley
                                                                            <..&?ÿ-&       B"ÿ20:9
                                                                                               1[9ÿ*to+ÿ121:5,
                                                                                                             4[7#ÿ269:19-23)
                                                                                                                       9[49^15Hÿ
                                                                                           69^64H"ÿÿ
                                                                    (W.               Dep.
15ÿ
23                                                                  E-+!D&*ÿd+
                                                                    (Docket        No."ÿ9949-41).
16ÿ
24                                                                  Z%*!,ÿc&
                                                                    Mutch           B+2*#ÿ<at*ÿ87-1^4ÿto*+ÿ87-8^3ÿE(Docket
                                                                                Report,                             -+!D&*ÿ
17ÿ                                                                 d+"ÿ9903-204);
                                                                    No.        5^16HfÿZ%    Mutch*!,ÿc&     >%**<.ÿReport,
                                                                                                         Rebuttal      c&B+2*#ÿ
25

12ÿ
26
                                                                    <*ÿg§ÿ53.4"6ÿE(Docket
                                                                    at             -+!D&*ÿNo.  d+"ÿ9949-78).
                                                                                                         69^83H"ÿÿ
18ÿ                                                                 AA<*&21<.ÿ>because
                                                                    Immaterial          &!<%9&ÿ*the   ,&ÿfact
                                                                                                          /<!*ÿ2rests
                                                                                                                    &9*9ÿ+onÿ<aÿ
27
                                                                    .&=<.ÿ<argument.
                                                                    legal      2=%A&*"ÿXFed.    &;"ÿR.c"ÿ':Evid.1;"ÿ8703.5"ÿ
13ÿ
28
                                                                 123ÿ
                                                                 268
 ijklÿnopqrstruvqwvrxyrzÿÿÿ{|s}~lÿoqnÿÿwÿ           nlÿuqnnpÿÿÿjlÿnnÿ|ÿnÿÿÿjlÿ{
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
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    ÿ
                                  #:33863



 4ÿ
 1

 1ÿ          OPPOSING        ÿPARTIES'
                                       ÿ
 2                     ÿ
                       ALLEGEDLY                                          ÿPLAINTIFFS'
                                                                         MOVING              ÿ
 5ÿ             ÿ
              UNCONTROVERTED                                       ÿÿ
                                                                 RESPONSE                         ÿ
                                                                                       AND SUPPORTING
 3
           ÿ
           MATERIAL
 6ÿ SUPPORTING                     FACTSÿ       ÿ
                                                AND                                ÿ
                                                                                   EVIDENCE
 4           ÿ              EVIDENCEÿ
 7ÿ
 5

 2ÿ                                                            !"#$%!&ÿ'because
                                                              Immaterial          #(!)*#ÿKekropia
                                                                                             +#,$-.%!ÿ!admits/ %"*ÿ%it"ÿ
 6
                                                              %*ÿ"the0#ÿ(current
                                                              is          )$$#1"ÿowner
                                                                                   -21#$ÿ-of3ÿ"the 0#ÿPatsouras
                                                                                                      4!"*-)$!*ÿ
 8ÿ
 7                                                            4$-.#$"56ÿ78
                                                              Property,           9:;ÿ533,56ÿand
                                                                              RSUMF             !1/ÿ4Plaintiffs
                                                                                                        &!%1"%33*ÿ/do-ÿ
 9ÿ                                                           1-"ÿhave
                                                              not     0!<#ÿ"to-ÿtrace
                                                                                "$!(#ÿ="releases"
                                                                                          $#&#!*#*>ÿor-$ÿ
 8
                                                              ="0$#!"#1#/ÿ$releases"
                                                              "threatened         #&#!*#*>ÿof-3ÿ0hazardous
                                                                                                     !?!$/-)*ÿ
 3ÿ
 9                                                            *)'*"!1(#*ÿ'back
                                                              substances         !(,ÿ"to-ÿ!aÿspecific
                                                                                              *.#(%3%(ÿ/defendant
                                                                                                             #3#1/!1"ÿ
4ÿ                                                            -$ÿ"to-ÿ!aÿ*specific
                                                              or           .#(%3%(ÿdefendant's
                                                                                       /#3#1/!1"@*ÿ.period#$%-/ÿ-of3ÿ
10

44ÿ
                                                              -21#$*0%.ÿ-or$ÿ-operation.
                                                              ownership             .#$!"%-1Aÿÿ
                                                              ;)$"0#$6ÿ+#                   / %"*ÿ0hazardous
                                                                                ,$-.%!ÿ!admits        !?!$/-)*ÿ
11

41ÿ
12
                                                              Further,
                                                              substances,
                                                                            Kekropia
                                                              *)'*"!1(#*6ÿ%including
                                                                                 1(&)/%1Bÿ4PCE    CDÿand
                                                                                                       !1/ÿECD6
                                                                                                              TCE,ÿ
45ÿ                                                           0!<#ÿ'been
                                                              have       ##1ÿ/detected
                                                                                #"#("#/ÿin%1ÿ*soils
                                                                                                 -%&*ÿ!at"ÿ"the
                                                                                                             0#ÿ
                                                              4!"*-)$!*ÿ4Property,
                                                                                $-.#$"56ÿ78      9:;ÿ34,  566ÿ!and 1/ÿ
13

46ÿ
14
                                                              Patsouras
                                                              0!?!$/-)*ÿ*substances,
                                                              hazardous
                                                                                             RSUMF
                                                                                )'*"!1(#*6ÿ%including
                                                                                                  1(&)/%1BÿPCE  4CDÿ
47ÿ                                                           !1/ÿECD6
                                                              and     TCE,ÿ   0have
                                                                                !<#ÿbeen
                                                                                       '##1ÿ/detected
                                                                                               #"#("#/ÿin%1ÿF9GOU-2   1ÿ
                                                              H$-)1/2!"#$ÿ'below      #&-2ÿor-$ÿdowngradient
                                                                                                 /-21B$!/%#1"ÿ-of3ÿ
15

42ÿ
16
                                                              Groundwater
                                                              "0#ÿ4Patsouras
                                                              the      !"*-)$!*ÿProperty,
                                                                                   4$-.#$"56ÿ78       9:;ÿ535.7Aÿÿÿÿÿ
                                                                                                   RSUMF
48ÿ
17
     IJKLÿE0
49ÿ 569.         #$#ÿ%is*ÿ1no-ÿ#evidence
             There                 <%/#1(#ÿthat"0!"ÿ"the0#ÿ 569.
                                                              IJKLÿ91        /%*.)"#/ÿ"the0#ÿbquoted
                                                                         Undisputed               )-"#/ÿtestimony
                                                                                                           "#*"%-15ÿ
18
     2!*"#ÿ-oil%&ÿpossessed
    waste
43ÿ Talco         .-**#**#/ÿby      '5ÿ4Pally
                                          !&&5ÿSupply
                                                8)..&5ÿ-or$ÿis%*ÿaccurate
                                                                  !(()$!"#ÿ'but)"ÿmischaracterizes
                                                                                        %*(0!$!("#$%?#*ÿthe    "0#ÿ
19   E!&(-ÿ(contained
              -1"!%1#/ÿ(chlorinated
                                 0&-$%1!"#/ÿorganic
                                                -$B!1%(ÿ evidence
                                                              #<%/#1(#ÿ!and    1/ÿ%immaterial.
                                                                                          !"#$%!&Aÿ
     (- .-)1/*ÿlike
1ÿ compounds           &%,#ÿ"tetrachloroethene
                                #"$!(0&-$-#"0#1#ÿ Supporting    OPPQRSTUVÿW           TXYUZY[ÿÿ
20

14ÿ  M4 CDN
    (PCE)    ÿ
             ! 1
             and /   ÿ
                     " $%(  0&- $ -#
                      trichloroethene"
                                     0 # 1  #ÿMECDN
                                              (TCE).  A  ÿ
                                                         ÿÿ                      Evidence:
21
       OPPQRSTUVÿW
11ÿ Supporting               TXYUZY[ÿ                         4&*A@ÿRFJN,
                                                              Pis.'    7;cd6ÿD\  Exs.*Aÿ9857ÿ(Industrial
                                                                                             M1/)*"$%!&ÿe!   Waste *"#ÿ
22
                        Evidence:
                                                              8)$<#56ÿcJun.
                                                              Survey,        )1Aÿ419,36ÿ1970)
                                                                                        438NÿM(Docket
                                                                                                   _-(,#"ÿd-  No.A   ÿ
     :)"(0ÿExpert
15ÿ Mutch     D\.#$"ÿ7#         .-$"6ÿ!at"ÿ]§7-4.
                            Report,          8G6AÿMr.         35G93N6ÿ3935ÿM(City
                                                  :$Aÿ 903-89),                   C%"5ÿ-of3ÿSanta
                                                                                              8!1"!ÿFe;#ÿ8Springs,
                                                                                                              .$%1B*6ÿ
23
     :)"(06ÿ-opines
16ÿ Mutch,       .%1#*ÿon-1ÿthe  "0#ÿ.presence                1/)*"$%!&ÿe!
                                       $#*#1(#ÿof-3ÿ Industrial               Waste*"#ÿ_%   *.-*!&ÿPermit
                                                                                         Disposal     4#$ %"ÿ
24   (0&-$%1!"#/ÿ-organic
    chlorinated          $B!1%(ÿ(compounds                    ^..&%(!"%-16ÿ:!
                                     - .-)1/*ÿin%1ÿ Application,                  May   5ÿ18,1970)
                                                                                          496ÿ438NÿM(Docket
                                                                                                          _-(,#"ÿ
     2!*"#ÿ-oil%&ÿon-1ÿ"the0#ÿ4Patsouras
17ÿ waste                        !"*-)$!*ÿProperty
                                             4$-.#$"5ÿ No.    d-Aÿ3903-97),
                                                                          5G38N6ÿ3921ÿM(Los
                                                                                         f-*ÿ^1     B#&#*ÿC-
                                                                                               Angeles       County)1"5ÿ
25
     )*%1Bÿ-only
12ÿ citation
    using     1&5ÿ!aÿgeneral
                         B#1#$!&ÿ41984396ÿD4 EPA ^ÿ           ;%$#ÿ_#
                                                              Fire         .!$"#1"ÿ:#
                                                                       Department               -$!1/) ÿre$#ÿ
                                                                                         Memorandum
26   (%"!"%-1ÿrather
                $!"0#$ÿ"than 0!1ÿ!any
                                    15ÿ#evidence
                                           <%/#1(#ÿ Palley    4!&&#5ÿ4Property
                                                                            $-.#$"5ÿM(Jan.
                                                                                        c!1Aÿ1996))
                                                                                               4332NNÿM(Docket
                                                                                                           _-(,#"ÿ
     $#&!"%1Bÿ"to-ÿ"the
18ÿ relating          0#ÿPatsouras
                            4!"*-)$!*ÿProperty
                                           4$-.#$"5ÿ No.      d-Aÿ3903-96)5G32NÿM(concluding
                                                                                   (-1(&)/%1BÿgFC@   VOC's*    ÿin%1ÿ
27
     %"*#&3AÿD\
19ÿ Dep.,
    itself.  Ex.A ÿEÿ   "-ÿF"
                     T to       "#1ÿ_#
                            Otten         (&A6ÿMutch
                                     Decl.,    :)"(0ÿ eastern #!*"#$1ÿ.portion
                                                                             -$"%-1ÿ-of3ÿ.property
                                                                                            $-.#$"5ÿextend
                                                                                                       #\"#1/ÿ"to-ÿ
28
     _#.A6ÿ.p.Aÿ8713,
                  456ÿIns.&1*Aÿ15:18:
                                474̀9ÿ̀"Q: =aÿ̀_%
                                                Did/ÿ5you-)ÿ groundwater;
                                                              B$-)1/2!"#$hÿ(clarifier &!$%3%#$ÿ%is*ÿcontaminated
                                                                                                    (-1"! %1!"#/ÿ
                                                            123ÿ
                                                            269
 UVWXÿZ[\]^_`^ab]cb^de^fÿÿÿgh_ijXklÿmyn[v]Zÿÿcÿop   Z]qXrÿa]sZmsZ\ÿÿÿtVuXÿZnvÿhwÿZnnÿÿÿtVuXÿxg
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed  04/29/21
                                          Filed 05/02/22Page 27383ofof277
                                                          Page         87 Page
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                                  #:33864



 4ÿ
 1

 1ÿ          OPPOSING   ÿPARTIES'
                                 ÿ
 2                 ÿ
                   ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                  MOVING                ÿ
 5ÿ             ÿ
             UNCONTROVERTED                                 ÿÿ
                                                          RESPONSE             AND SUPPORTING ÿ
 3
            ÿ
            MATERIAL
 6ÿ SUPPORTING               FACTSÿ     ÿ
                                        AND                                  ÿ
                                                                             EVIDENCE
 4           ÿ              ÿ
                                EVIDENCE
 7ÿ
 5
     !"#$ÿ%the$ÿ$historic
 8ÿ toresearch        &!%'&#ÿ'operational
                                ("%&')"*ÿdata+"%"ÿ to%'ÿ9groundwater
                                                             ':)+0"%ÿ0&      with%$ÿVOC's);
                                                                                         ;<=>!?@ÿ
     %'ÿ"assess
          !!!!ÿ%the
                 $ÿcomposition
                    #',('!&%&')ÿof'-ÿ."    *#'/!ÿ Valenzuela
                                                       ;"*)A:*"ÿ<(            (>)ÿBDecl., #*7CÿDE     !7ÿ98,Cÿat"%ÿ8668ÿ
 6
                                         Talco's                          Opp'n                 Exs.
 2
 7ÿ  0"!%ÿ'oil?
    waste     &*1ÿ23
                  A:ÿI4ÿ+don't
                          ')/%ÿbelieve
                               5*&6ÿ0weÿ$had   "+ÿ (Environmental
                                                       FD)6&'), )%"*ÿ2:             +&%Cÿ4Inc.,
                                                                                Audit,        )#7Cÿ
     %$ÿ&information
 9ÿ the    )-',"%&')ÿ%to'ÿbe5ÿ"able
                                 5*ÿ%to'ÿdo
                                         +'ÿ%that."
                                              $"%78ÿ Supplemental
                                                       G:((*, )%"*ÿGSubsurface :5!:-"#ÿ4Investigation,
                                                                                                    )6!%&9"%&')Cÿ
 8
                                                       H"7ÿ53,Cÿ41997,2Cÿat"%ÿ3)5?ÿF(Docket
                                                       Mar.                             B'#I%ÿJ'     No.7  ÿ949- 6K
 9ÿ                                                    57?Cÿ27,Cÿ"at%ÿ7503ÿF(Environmental
                                                       35),                  D)6&'), )%"*ÿAudit,      2:+&%Cÿ
43ÿ                                                    4)#7CÿGSubsurface
                                                       Inc.,      :5!:-"#ÿ4Investigation
                                                                                  )6!%&9"%&')ÿLReport,        ('%Cÿ
10
                                                       B #7ÿ418,9Cÿ41995,7Cÿ"at%ÿ412)1?ÿF(Docket
                                                       Dec.                                 B'#I%ÿJ'     No.7    ÿ949­
                                                                                                                    6K
44ÿ
11                                                     56?Cÿ9ÿ"at%ÿ277-78
                                                       34),            2K29ÿF(Environmental
                                                                                D)6&'), )%"*ÿAudit,       2:+&%Cÿ
41ÿ                                                    4)#7CÿGSummary
                                                       Inc.,      :,,"Mÿ'of-ÿGSite    &%ÿAssessments,
                                                                                            2!!!!, )%!Cÿ
12
                                                       H"7ÿ12009,
                                                       Mar.       33Cÿ"at%ÿ41-2)
                                                                              K1?ÿ(Docket
                                                                                    FB'#I%ÿJ'        No.7 ÿ949­
                                                                                                              6K
45ÿ
13                                                     58?Cÿ414,6Cÿ"at%ÿ140-142
                                                       36),             463K461ÿF(W.    N7ÿOPalley
                                                                                                "**MÿDep. B (7ÿ
46ÿ                                                    133ÿ%to'ÿ121:5,
                                                                     437Cÿ869:19-23)
                                                                               34K15?ÿ(Docket FB'#I%ÿJ'      No.7    ÿ
                                                         6K64?7ÿÿ
14                                                     20:9
                                                       949-41).
47ÿ
                                                       H:%#$ÿLReport,  ('%Cÿ"at%ÿ27-1K4ÿto%'ÿ27-8K9ÿF(Docket
                                                                                                       B'#I%ÿ
15

48ÿ
16
                                                       Mutch
                                                       J'7ÿ903-204);
                                                       No.      35K136?@ÿH:   Mutch%#$ÿLRebuttal
                                                                                               5:%%"*ÿReport,
                                                                                                          L ('%Cÿ
42ÿ
17                                                     "%ÿP§ÿ53.476ÿ(Docket
                                                       at           FB'#I%ÿJ'    No.7   ÿ949-78).
                                                                                            6K29?7ÿÿ
49ÿ
18                                                     4,,"%&"*ÿ5because
                                                       Immaterial            #":!ÿ%the   $ÿ-fact
                                                                                               "#%ÿrests
                                                                                                      !%!ÿ'on)ÿ"aÿ
4ÿ
19                                                     *9"*ÿ"argument.
                                                       legal      9:, )%7ÿQFed.+7ÿL7    R.ÿ  D6&+7ÿ2703.
                                                                                              Evid.        357ÿ
13ÿ                                                    4,,"%&"*ÿ5because
                                                       Immaterial            #":!ÿKekropia
                                                                                        R I'(&"ÿ"admits  +,&%!ÿ&it%ÿ
                                                       &!ÿ%the
                                                            $ÿcurrent
                                                                 #:)%ÿ'owner0)ÿ'of-ÿthe   %$ÿOPatsouras
                                                                                                      "%!':"!ÿ
20

14ÿ
21
                                                       is
                                                       O'(%MCÿLG
                                                       Property,       RSUMFSHQÿ533,5Cÿ"and   )+ÿPlaintiffs
                                                                                                    O*"&)%&--!ÿ+do'ÿ
11ÿ                                                    )'%ÿ$have
                                                       not     "6ÿ%to'ÿtrace
                                                                          %"#ÿT"releases"
                                                                                   *"!!8ÿor'ÿ
                                                       T%$"%)+ÿreleases"   *"!!8ÿof'-ÿ$hazardous
                                                                                                "A"+':!ÿ
22

15ÿ
23
                                                       "threatened
                                                       !:5!%")#!ÿ5back
                                                       substances          "#Iÿ%to'ÿ"aÿspecific
                                                                                         !(#&-&#ÿ+defendant-)+")%ÿ
16ÿ
24                                                     'ÿ%to'ÿ"aÿspecific
                                                       or          !(#&-&#ÿ+defendant's
                                                                                   -)+")%>!ÿ(period     &'+ÿof'-ÿ
17ÿ
25
                                                       '0)!$&(ÿ'orÿ'operation.
                                                       ownership              ("%&')7ÿÿ
18ÿ                                                    Q:%$CÿRKekropia
                                                       Further,           I'(&"ÿ"admits
                                                                                       +,&%!ÿ$hazardous
                                                                                                    "A"+':!ÿ
26

12ÿ                                                    !:5!%")#!Cÿ&including
                                                       substances,         )#*:+&)9ÿOPCE     =Dÿand ")+ÿ.=DC
                                                                                                           TCE,ÿ
27                                                     $"6ÿ5been)ÿ+detected
                                                       have                 %#%+ÿin&)ÿ!soils '&*!ÿ"at%ÿ%the
                                                                                                         $ÿ
19ÿ
28                                                     O"%!':"!ÿOProperty,
                                                       Patsouras          '(%MCÿLG    RSUMFSHQÿ34,   56Cÿ"and  )+ÿ
                                                    123ÿ
                                                    270
    hijkÿmnopqrsqtupvuqwxqyÿÿÿz{r|}k~ÿnpmÿÿvÿ               mvk ÿtpmmoÿÿÿikÿmpÿ{ÿmÿÿÿikÿz
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 27484ofof277
                                                           Page         87 Page
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       ÿ
                                  #:33865



   3ÿ
   1

   1ÿ           OPPOSING      ÿPARTIES'
                                          ÿ
   2                   ÿ
                       ALLEGEDLY                                                ÿPLAINTIFFS'
                                                                               MOVING               ÿ
   4ÿ             ÿ
                UNCONTROVERTED                                            ÿÿ
                                                                        RESPONSE                          ÿ
                                                                                              AND SUPPORTING
   3
              ÿ
              MATERIAL
   5ÿ SUPPORTING                    FACTSÿ         ÿ
                                                   AND                                   ÿ
                                                                                         EVIDENCE
   4            ÿ                    ÿ
                                        EVIDENCE
   6ÿ
   5

   7ÿ                                                                 !"#$%&ÿ&substances,
                                                                      hazardous        %'&()*+&,ÿ-including
                                                                                                         )*.%#-)/ÿPCE  012ÿ
   6
                                                                       )#ÿ312,
                                                                      and   TCE,ÿ    have
                                                                                        4+ÿbeen
                                                                                             '++)ÿ#detected
                                                                                                       +(+*(+#ÿin-)ÿ567
                                                                                                                      OU-2    1ÿ
   2ÿ
   7                                                                  8"$%)#9 (+"ÿ'below
                                                                      Groundwater            +.$9ÿor$"ÿdowngradient
                                                                                                         #$9)/"#-+)(ÿ$of:ÿ
   8ÿ
   8                                                                  (+ÿ0Patsouras
                                                                      the      (&$%"&ÿProperty,
                                                                                          0"$;+"(<,ÿ=>       6?@ÿ435.6Aÿÿÿÿÿ
                                                                                                         RSUMF

   9ÿ 570.
   9
        BCDEÿ3     +"+ÿ-is&ÿ)no$ÿ+evidence
                There               4-#+)*+ÿthat  ((ÿ(the+ÿ 570.    BCDEÿ6)       #-&;%(+#ÿ(the+ÿ̀%
                                                                               Undisputed                  $(+#ÿtestimony
                                                                                                        quoted   (+&(-F$)<ÿ
        *."-:-+"&ÿ$on)ÿ(the+ÿ0Patsouras
3ÿ clarifiers
10                                 (&$%"&ÿcontained
                                               *$)(-)+#ÿ is-&ÿaccurate    **%"(+ÿ'but%(ÿF-      &*"*(+"-!+&ÿthe
                                                                                             mischaracterizes         (+ÿ
        *.$"-)(+#ÿ$organic
3^ 3^ ÿ chlorinated      "/)-*ÿ*compounds
                                       $F;$%)#&ÿlike    .-G+ÿ evidence+4-#+)*+ÿand    )#ÿ-immaterial.
                                                                                           FF (+"-.Aÿ
        (+("*.$"$+(+)+ÿH(PCE)
        tetrachloroethene          012Iÿand   )#ÿ                       JKKLMNOPQÿR          OSTPUTVÿÿ
12      ("-*.$"$+(+)+ÿH(TCE).
31ÿ trichloroethene             312IAÿÿÿÿ                             Supporting        Evidence:

          JKKLMNOPQÿR
34ÿ Supporting                OSTPUTVÿ                                0.&AaÿRFJN,
                                                                      Pis.'  =@bc,ÿ2W   Exs.        H_)#%&("-.ÿdWaste
                                                                                           &Aÿ8856ÿ(Industrial              &(+ÿ
                        Evidence:
                                                                      >%"4+<,ÿbJun. %)Aÿ319,9,ÿ1970)
                                                                                               392IÿH(Docket
                                                                                                          X$*G+(ÿc$   No.A   ÿ
13

35ÿ Ex.
14
        2WAÿ3ÿ ($ÿ5(
             T to     (+)ÿX+
                   Otten         *.A,ÿ?%
                             Decl.,     Mutch(*ÿDep.,
                                                                      Survey,
                                                                      94789I,ÿ9934ÿH(City
                                                   X+;A,ÿ;p.Aÿ 903-89),                  1-(<ÿ$of:ÿSanta
                                                                                                     >)(ÿFe   @+ÿ>Springs,
                                                                                                                    ;"-)/&,ÿ
36ÿ 715,
15      236,ÿ.Ins.
               )&Aÿ316:18:
                     7Y38Yÿ"Q. Z[Aÿ\)And   #ÿ#did-#ÿthe
                                                    (+ÿ Industrial   _)#%&("-.ÿdWaste   &(+ÿX-    &;$&.ÿPermit
                                                                                                Disposal     0+"F-(ÿ
        -&($"-*.ÿ$operational
37ÿ historical        ;+"(-$).ÿdata     #(ÿ<you   $%ÿ                 \;;.-*(-$),ÿ?May<ÿ18,1970)
                                                                      Application,               38,ÿ392IÿH(Docket
                                                                                                                 X$*G+(ÿ
16
        "+4-+9+#ÿ:for$"ÿ;purposes
        reviewed             %";$&+&ÿ$of:ÿ<your$%"ÿreport
                                                      "+;$"(ÿ No.     c$Aÿ9903-97),
                                                                                4792I,ÿ9921ÿH((Los
                                                                                                He$&ÿ\)     /+.+&ÿ1$
                                                                                                        Angeles     County %)(<ÿ
        -#+)(-:<ÿ9
32ÿ identify
17                 what(  ÿ&substances
                             %'&()*+&ÿthe    (+ÿ*clarifiers
                                                     ."-:-+"&ÿ Fire   @-"+ÿX+    ;"(F+)(ÿMemorandum
                                                                            Department          ?+F$")#%Fÿ"re+ÿ
        *$)(-)+#]^ÿId.
38ÿ contained?"         _#Aÿat(ÿ?% Mutch(*ÿDep.,
                                              X+;A,ÿ;p.Aÿ2716,        0..+<ÿ0Property
                                                            37,ÿ Palley           "$;+"(<ÿH(Jan.
                                                                                               b)Aÿ1996))
                                                                                                      3997IIÿH(Docket
                                                                                                                 X$*G+(ÿ
18
        .)&Aÿ2:6:
        Ins. 1Y7Yÿ"A.
                   Z\Aÿ5)
                        Only   .<ÿ7~7ÿI_ÿ(think
                                           -)Gÿ$only                 c$Aÿ9903-96)
                                                    ).<ÿin-)ÿ(the+ÿNo.         4797IÿH(concluding
                                                                                         *$)*.%#-)/ÿf51a    VOC's&    ÿin-)ÿ
        /+)+".ÿ&sense
39ÿ general
19                 +)&+ÿ(that(ÿit-(ÿ9$
                                      would%.#ÿhave 4+ÿ eastern      +&(+")ÿ;portion
                                                                                   $"(-$)ÿ$of:ÿ;property
                                                                                                   "$;+"(<ÿextend
                                                                                                              +W(+)#ÿ(to$ÿ
        -)*.%#+#ÿ9wastewater
1ÿ included            &(+9 (+"ÿ:from,   "$F,ÿ<you $%ÿGknow,          /"$%)#9 (+"gÿ*clarifier
                                                         )$9,ÿ groundwater;                  ."-:-+"ÿ-is&ÿcontaminated
                                                                                                           *$)(F-)(+#ÿ
20
        (+&+ÿ*cleaning
        these   .+)-)/ÿ$operations
                               ;+"(-$)&ÿthat  ((ÿ9+     "+ÿ to($ÿ/groundwater
                                                      were                 "$%)#9 (+"ÿ9-         (ÿf51a
                                                                                              with   VOC's);  &Igÿ
        /$-)/ÿ$on,),ÿwhich
13ÿ going
21                   9-*ÿmay  F <ÿ$or"ÿFmay<ÿ)not$(ÿhave            f .+)!%+.ÿ5;
                                                         4+ÿ Valenzuela                   ;a)ÿX+
                                                                                       Opp'n           *.A,ÿ2W
                                                                                                  Decl.,       &Aÿ88,,ÿat(ÿ7667ÿ
                                                                                                            Exs.
        -)*.%#+#ÿ*chlorinated
11ÿ included         .$"-)(+#ÿ&solvents."
                                         $.4+)(&A^ÿ                   H2)4-"$)F+)(.ÿ\%
                                                                      (Environmental               #-(,ÿ_Inc.,
                                                                                               Audit,     )*A,ÿ
22
                                                                      >%;;.+F+)(.ÿ>Subsurface
                                                                      Supplemental            %'&%":*+ÿ_Investigation,
                                                                                                              )4+&(-/(-$),ÿ
14ÿ
23                                                                    ? "Aÿ43,,ÿ31997,
                                                                      Mar.         992,ÿat(ÿ3)4IÿH(Docket
                                                                                                    X$*G+(ÿc$  No.A ÿ949­
                                                                                                                      9597
15ÿ                                                                   46I,ÿ27,,ÿat(ÿ650ÿ(Environmental
                                                                      35),              H2)4-"$)F+)(.ÿ\%             #-(,ÿ
                                                                                                                Audit,
24
                                                                      _)*A,ÿ>Subsurface
                                                                      Inc.,    %'&%":*+ÿ_Investigation
                                                                                                )4+&(-/(-$)ÿ=+         ;$"(,ÿ
                                                                                                                   Report,
16ÿ
25                                                                    X+*Aÿ318,8,ÿ31995,
                                                                      Dec.            996,ÿat(ÿ312)1IÿH(Docket
                                                                                                        X$*G+(ÿc$ No.A    ÿ9949­
                                                                                                                             597
17ÿ                                                                   45I,ÿ99ÿat(ÿ277-78
                                                                      34),           2728ÿH(Environmental
                                                                                               2)4-"$)F+)(.ÿ\%      Audit,  #-(,ÿ
26
                                                                      Inc.,    %FF "<ÿ$of:ÿSite
                                                                      _)*A,ÿ>Summary             >-(+ÿ\&    &+&&F+)(&,ÿ
                                                                                                        Assessments,
12ÿ
27                                                                    ? "Aÿ12009,9,ÿat(ÿ31-2)
                                                                      Mar.                   71Iÿ(Docket
                                                                                                  HX$*G+(ÿc$   No.Aÿ9949­
                                                                                                                       597
18ÿ
28
                                                                      47I,ÿ314,5,ÿat(ÿ140-142
                                                                      36),            357351ÿH(W.   dAÿ0Palley
                                                                                                             ..+<ÿDep.
                                                                                                                   X+;Aÿ
                                                                   123ÿ
                                                                   271
 bcdeÿghijklmknojpokqrksÿÿÿtulvwexyÿz{hjgÿÿpÿ|}    go~eÿnjgzgiÿÿÿceÿg{pÿuÿg{{ÿÿÿceÿt
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 27585ofof277
                                                           Page         87 Page
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    ÿ
                                  #:33866



 3ÿ
 1

 1ÿ         OPPOSING     ÿPARTIES'
                                   ÿ
 2                ÿ
                  ALLEGEDLY                                       ÿPLAINTIFFS'
                                                                 MOVING            ÿ
 4ÿ           ÿ
            UNCONTROVERTED                                  ÿÿ
                                                          RESPONSE                      ÿ
                                                                            AND SUPPORTING
 3
          ÿ
          MATERIAL
 5ÿ SUPPORTING                 FACTSÿ    ÿ
                                         AND                              ÿ
                                                                          EVIDENCE
 4          ÿ                ÿ
                                 EVIDENCE
 6ÿ
 5

 7ÿ                                                    19ÿto!ÿ121:5,
                                                                    36"ÿ769:19-23)
                                                                           939#14$ÿ(Docket
                                                                                        %&!'()ÿ*!    No.+ ÿ
                                                       959#53$+ÿÿ
 6                                                     20:9
                                                       949-41).
 2ÿ
                                                       ,-'.ÿReport,
                                                                  /)0!1"ÿ2atÿ27-1#3ÿto!ÿ27-8#8ÿ%(Docket
                                                                                                 &!'()ÿ
 7

 8ÿ
 8
                                                       Mutch
                                                       *!+ÿ9903-204);
                                                       No.        4#15$3ÿMutch
                                                                           ,-'.ÿ/)       4-25ÿReport,
                                                                                      Rebuttal     /)0!1"ÿ
 9ÿ
 9                                                     2ÿ6§ÿ43.4+5ÿ(Docket
                                                       at          %&!'()ÿ*! No.+  ÿ9949-78).
                                                                                      59#28$+ÿÿ
3ÿ
10                                                     7882)1925ÿ4because
                                                       Immaterial        )'2-:)ÿthe .)ÿfact
                                                                                        ;2'ÿ1rests
                                                                                                 )::ÿ!on<ÿ2aÿ
33ÿ
11                                                     5)=25ÿ2argument.
                                                       legal     1=-8)<+ÿ>Fed.)?+ÿ/+ R.ÿ@A9?+ÿ2703.4+ÿ
                                                                                        Evid.

31ÿ                                                    7882)1925ÿ4because
                                                       Immaterial        )'2-:)ÿKekropia
                                                                                  B)(1!092ÿ2admits ?89:ÿ9itÿ
                                                       9:ÿthe.)ÿ'current
                                                                  -11)<ÿowner
                                                                          !C<)1ÿ!of;ÿthe.)ÿPatsouras
                                                                                              D2:!-12:ÿ
12

34ÿ
13
                                                       is
                                                       D1!0)1E"ÿ/F
                                                       Property,         G,>ÿ433,4"ÿand
                                                                     RSUMF            2<?ÿDPlaintiffs
                                                                                                529<9;;:ÿ?do!ÿ
35ÿ                                                    <!ÿhave
                                                       not    .2A)ÿto!ÿtrace
                                                                        12')ÿH"releases"
                                                                               1)5)2:):Iÿor!1ÿ
                                                       H.1)2)<)?ÿ1releases"
                                                                         )5)2:):Iÿof!;ÿ.hazardous
                                                                                          2J21?!-:ÿ
14

36ÿ
15
                                                       "threatened
                                                       :-4:2<'):ÿ4back
                                                       substances       2'(ÿto!ÿ2aÿspecific
                                                                                    :0)'9;9'ÿ?defendant
                                                                                                   );)<?2<ÿ
37ÿ                                                    !1ÿto!ÿ2aÿ:specific
                                                       or          0)'9;9'ÿdefendant's
                                                                            ?);)<?2<K:ÿ0period   )19!?ÿ!of;ÿ
                                                       !C<)1:.90ÿ!or1ÿ!operation.
                                                                           0)129!<+ÿÿ
16

32ÿ
17
                                                       ownership

38ÿ                                                    >-1.)1"ÿB)
                                                       Further,        (1!092ÿ2admits
                                                                    Kekropia      ?89:ÿ.hazardous
                                                                                              2J21?!-:ÿ
18
                                                       :-4:2<'):"ÿ9including
                                                       substances,      <'5-?9<=ÿDPCE  L@ÿand 2<?ÿML@"
                                                                                                    TCE,ÿ
39ÿ
19                                                     .2A)ÿ4been
                                                       have      ))<ÿ?detected
                                                                       ))')?ÿin9<ÿ:soils
                                                                                       !95:ÿ2atÿthe.)ÿ
1ÿ                                                     D2:!-12:ÿDProperty,
                                                       Patsouras       1!0)1E"ÿ/F RSUMFG,>ÿ34,   45"ÿ2and
                                                                                                       <?ÿ
20
                                                       .2J21?!-:ÿ:substances,
                                                       hazardous       -4:2<'):"ÿ9including
                                                                                       <'5-?9<=ÿPCE  DL@ÿ
13ÿ
21                                                     2<?ÿML@"
                                                       and    TCE,ÿ  .have
                                                                       2A)ÿbeen
                                                                            4))<ÿ?detected
                                                                                      ))')?ÿin9<ÿNG# OU-2  1ÿ
11ÿ                                                    O1!-<?C2)1ÿ4below
                                                       Groundwater         )5!Cÿor!1ÿdowngradient
                                                                                       ?!C<=12?9)<ÿ!of;ÿ
22

14ÿ
23
                                                        .)ÿDPatsouras
                                                       the     2:!-12:ÿProperty,
                                                                          D1!0)1E"ÿ/F  RSUMF G,>ÿ435.6+ÿÿÿÿÿ
     PQRSÿM.
15ÿ 571.
24             )1)ÿ9is:ÿ<no!ÿ)evidence
           There               A9?)<')ÿthat
                                         .2ÿthe.)ÿ 571.PQRSÿG<      ?9:0-)?ÿthe.)ÿTquoted
                                                                 Undisputed            -!)?ÿtestimony
                                                                                                  ):98!<Eÿ
     :)28ÿ'cleaning
16ÿ steam    5)2<9<=ÿprocess
                         01!')::ÿ-used        D255Eÿ is9:ÿaccurate
                                     :)?ÿ4byEÿPally       2''-12)ÿ4but-ÿincomplete
                                                                           9<'!805))ÿ2and      <?ÿ
25
     F-005Eÿ'contained
    Supply     !<29<)?ÿ'chlorinated
                               .5!19<2)?ÿorganic       9882)1925+ÿ
                                           !1=2<9'ÿ immaterial.
     '!80!-<?:ÿlike
17ÿ compounds     59()ÿtetrachloroethene
                            )12'.5!1!).)<)ÿ Supporting
                                        ML@$+ÿÿ UVVWXYZ[\ÿ]                Z^_[`_aÿÿ
26
     %DL@$ÿ2and
12ÿ (PCE)
27
              <?ÿtrichloroethene
                  19'.5!1!).)<)ÿ%(TCE).                                 Evidence:

18ÿ
28
                                                    121ÿ
                                                    272
 fghiÿklmnopqorsntsouvowÿÿÿxypz{i|}ÿ~lnkÿÿtÿ             kiÿrnk~kmÿÿÿgiÿksÿyÿkÿÿÿgiÿx
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
                                           Filed 05/02/22Page 27686ofof277
                                                           Page         87 Page
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    ÿ
                                  #:33867



 4ÿ
 1

 1ÿ           OPPOSING      ÿPARTIES'
                                        ÿ
 2                    ÿ
                      ALLEGEDLY                                              ÿPLAINTIFFS'
                                                                            MOVING                ÿ
 3ÿ             ÿ
              UNCONTROVERTED                                          ÿÿ
                                                                    RESPONSE                            ÿ
                                                                                          AND SUPPORTING
 3
            ÿ
            MATERIAL
 5ÿ SUPPORTING                    FACTSÿ         ÿ
                                                 AND                                  ÿ
                                                                                      EVIDENCE
 4            ÿ             EVIDENCE ÿ
 6ÿ
 5
        !"#$%&ÿ'
 7ÿ Supporting              $()%*)+ÿ
                       Evidence:                                 H7E.\ÿRFJN,
                                                                 Pis.'    ]^_Z8ÿ,-  Exs.E.ÿ8856ÿ̀(Industrial
                                                                                                    Q4B:E0DAF7ÿXF   Waste   E03ÿ
                                                                 I:DT3C8ÿ_Jun.  :4.ÿ419,98ÿ1970)
                                                                                           492aÿ̀(Docket516[30ÿZ1     No..   ÿ
 6


     ,-.ÿ/ÿ
 2ÿ Ex.
 7           01ÿ20
          T to       034ÿ53
                 Otten          67.8ÿ9:
                           Decl.,    Mutch  06;ÿDep.,
                                                 53<.8ÿ<p..ÿ Survey,
                                                                 93=89a8ÿ9933ÿ̀(City KA0Cÿ1ofGÿSanta
                                                                                                   IF40FÿFe   ^3ÿISprings,
                                                                                                                    <DA4NE8ÿ
     2
 8ÿ the 9
     709, 8ÿ44 =4
            11-14:5 >ÿ?
                      "Q@ÿ  5A
                             DidB ÿC 1
                                   your : D ÿD3E3 F
                                             researchD6;ÿ1
                                                         ofGÿ    903-89),
                                                                 Q4B:E0DAF7ÿXF        E03ÿ5A     E<1EF7ÿPermit
                                                                                                             H3DMA0ÿ
 8
     0;3ÿ;historic
           AE01DA6ÿoperational
                      1<3DF0A14F7ÿBdata     F0FÿGfor1DÿPalley
                                                       HF773Cÿ Industrial
                                                                 P<<7A6F0A148ÿ9F
                                                                                 Waste      Disposal
                                                                                           Cÿ18,1970)
                                                                                              488ÿ492aÿ̀(Docket  516[30ÿ
     I:<<7CÿAindicate
 9ÿ Supply      4BA6F03ÿ0that  ;F0ÿchlorinated
                                    6;71DA4F03BÿJ2KE   VOCsÿNo.
                                                                 Application,
                                                                 Z1.ÿ9903-97),
                                                                                     May
                                                                             3=92a8ÿ9921ÿ̀(Los
                                                                                             b1EÿP4       N373EÿK1        :40Cÿ
     L3  D3ÿ: E3 B ÿA4 ÿ0; 3 ÿ E03 FMÿ   6 73 F4 A4  N ÿ
 9                                                                                                   Angeles       County
4ÿ process?
     were   used
     <D163EEOÿPÿ AIQ
                    in  the
                       ÿdon't
                               steam
                        B14R0ÿSbelieve
                                        cleaning
                                   37A3T3ÿso, E18ÿ4no."
                                                      1.Uÿÿÿ Fire^AD3ÿ53      <FD0M340ÿMemorandum
                                                                          Department        93M1DF4B:MÿDre3ÿ
10
                                                                 HF773CÿHProperty
                                                                 Palley        D1<3D0Cÿ̀(Jan.
                                                                                           _F4.ÿ1996))
                                                                                                    4997aaÿ̀(Docket
                                                                                                                  516[30ÿ
44ÿ Ex.
11
     ,-  .ÿ
          /ÿ 01ÿ 20  03 4 ÿ53   6 7
                                  .8ÿ9:     06 ;ÿ53   < .
                                                        8ÿ<
                                                          p..
                                                            ÿ    Z1.ÿ9903-96)
                                                                 No.         3=97aÿ̀(concluding
                                                                                      61467:BA4NÿJ2K\      VOC'sE     ÿinA4ÿ
          T to   Otten     Decl.,
     241>45=14Vÿ2712:24-713:1:
41ÿ 712:14-21;
                                     Mutch
                        41>15=243>4>ÿ?"Q@ÿMr.
                                                 Dep.,
                                                                 3FE03D4ÿ<portion
                                                   9D.ÿ groundwater;
                                                                 eastern        1D0A14ÿ1ofGÿ<property
                                                                                                 D1<3D0Cÿextend
                                                                                                              3-034Bÿ0to1ÿ
12
     9:06;8ÿQI'mRMÿNgoing
                        1A4Nÿto01ÿ0tryDCÿ0to1ÿphrase
                                              <;DFE3ÿMC  myÿ
                                                                 ND1:4BLF03DVÿ6clarifier 7FDAGA3DÿAisEÿcontaminated
                                                                                                         6140FMA4F03Bÿ
43ÿ question
j3  Mutch,
     W :3 E0A14 ÿF
                 aÿ 7A0 073 ÿB AGG3 D3  4 0 7C8ÿS 3  6F: E3ÿ     01ÿNgroundwater
                                                                 to      D1:4BLF03DÿLA    with0;ÿJ2K\
                                                                                                   VOC's);    EaVÿ
                    little
     C1:RD3ÿ4not10ÿFanswering
45ÿ you're
                             differently,
                      4EL3DA4NÿMC    myÿ
                                                because
                                                                 JF734c:37Fÿ2<
                                             W:3E0A14.ÿ Valenzuela                 Opp'n<\4ÿ53 Decl.,67.8ÿ,-
                                                                                                           Exs.E.ÿ88,8ÿatF0ÿ7667ÿ
14
     PEAB3ÿGfrom
              D1MÿyourC1:DÿNgeneral
                                             question.
                                 343DF7ÿEsuspicions              `,4TAD14M340F7ÿP:
                                              :E<A6A14Eÿ (Environmental                        BA08ÿQInc.,
                                                                                           Audit,       46.8ÿ
46ÿ Aside
15
     F S1 :0ÿL;  F 0ÿ LF
                      wasE  ÿB 1 4 3ÿB  : D A4 Nÿ0;  F 0
                                                       ÿ3DF 8
                                                            ÿ    I:<<73M340F7ÿISubsurface
                                                                 Supplemental             :SE:DGF63ÿQInvestigation,
                                                                                                              4T3E0ANF0A148ÿ
     about   what
     MCÿWquestion
47ÿ my
                             done
            :3E0A14ÿAis:E>ÿWhat
                                     during
                             X;F0ÿ3evidence,
                                                 that   era,
                                        TAB34638ÿAifGÿFany,      9FD.ÿ33,8ÿ41997,
                                                           4C8ÿ Mar.            9928ÿatF0ÿ3)3aÿ̀(Docket
                                                                                                  516[30ÿZ1    No.. ÿ949-
                                                                                                                      959=
16
     BABÿCyou
            1:ÿGfind
                 A4Bÿ0that
                         ;F0ÿcontradicts
                               6140DFBA60Eÿthe   0;3ÿ 35),       36a8ÿ27,8ÿFat0ÿ650ÿ̀(Environmental
                                                                                      ,4TAD14M340F7ÿAudit,       P:BA08ÿ
42ÿ did
17
     E0F 03M3  4 0Eÿ MF   B 3 ÿS CÿH   F773  CÿI : <  <7Cÿ       Q46.8ÿISubsurface
                                                                 Inc.,      :SE:DGF63ÿQInvestigation
                                                                                             4T3E0ANF0A14ÿ]3           <1D08ÿ
                                                                                                                   Report,
    statements
     FS1:0ÿwhat
48ÿ about
                     made
             L;F0ÿ0they
                               by
                       ;3Cÿ:used
                                   Palley
                                E3BÿinA4ÿ0their
                                               Supply
                                            ;3ADÿEsteam
                                                     03FMÿ Dec.  536.ÿ418,88ÿ41995,
                                                                                  9968ÿFat0ÿ412)1aÿ̀(Docket
                                                                                                      516[30ÿZ1   No..    ÿ9949­
                                                                                                                             59=
18
     673F4A4Nÿ1operation?
                   <3DF0A14OÿÿTHE   /Y,ÿXQ        /Z,II>ÿ 34),   35a8ÿ99ÿFat0ÿ277-78
                                                                                 2=28ÿ̀(Environmental
                                                                                          ,4TAD14M340F7ÿAudit,      P:BA08ÿ
49ÿ cleaning
19
    IQÿB 14 R
            0ÿS 37 A3 T 3 ÿ0; 3 D3 ÿ
                                   AE  ÿF 4 C
                                              WITNESS:
                                              ÿ3T AB  346 3ÿ     Q46.8ÿISummary
                                                                 Inc.,      :MMFDCÿ1ofGÿISite    A03ÿAssessments,
                                                                                                      PEE3EEM340E8ÿ
1ÿ G
       don't
      D1Mÿ1978
              believe      there
            4928ÿasFEÿ0to1ÿthe
                                   is   any
                             0;3ÿ6contents
                                               evidence
                                    140340Eÿof1Gÿ                9FD.ÿ12009,98ÿFat0ÿ41-2)
                                                                 Mar.                    =1aÿ̀(Docket
                                                                                                 516[30ÿZ1     No..ÿ9949­
                                                                                                                       59=
20   from
     BAGG3D340ÿ6cleaning
14ÿ different      73F4A4NÿMF        03DAF7Eÿthat
                                                0;F0ÿHPalley     37a8ÿ414,58ÿFat0ÿ140-142
                                                         F773Cÿ36),               45=451ÿ̀(W.      X.ÿHPalley
                                                                                                           F773CÿDep.
                                                                                                                   53<.ÿ
21
     I :< < 7CÿLF
               wasE  ÿ: E A4 N  .
                                ÿ
                                 materials
                                 ÿÿ                              1>9ÿ0to1ÿ121:5,4>68ÿ769:19-23)
                                                                                       9>49=13aÿ̀(Docket 516[30ÿZ1    No..    ÿ
                                                                 959=54a.ÿÿ
                                                                 20:9
    Supply            using.
11ÿ                                                              949-41).
     ,-.ÿ/ÿ  01ÿ20   034ÿ53     67.8ÿ9:     06;ÿDep.,
                                                 53<.8ÿ<p..ÿ Mutch
22

13ÿ Ex.
23
          T to
     2438ÿQIns.
                 Otten
             4E.ÿ33-7:
                   =2>ÿ"Q
                           Decl.,
                         ?@ÿ5A
                                     Mutch
                                   Bÿyour
                                       C1:DÿDresearch
                                                3E3FD6;ÿ1ofGÿ No.9:06;ÿ]3        <1D08ÿFat0ÿ27-1=4ÿto01ÿ27-8=8ÿ̀(Docket
                                                                             Report,                             516[30ÿ
                                                  4BA6F03ÿ atZ1       .ÿ9903-204);
                                                                             3=15aVÿ9:        06;ÿ]3     S:00F7ÿReport,
                                                                                                                   ]3<1D08ÿ
     713,                       Did
24   0;3ÿ;historic
15ÿ the    AE01DA6ÿoperational
                      1<3DF0A14F7ÿBdata     F0FÿAindicate        F0ÿd§ÿ33.4.5ÿ̀(Docket
                                                                                        Mutch
                                                                                516[30ÿZ1  No..
                                                                                                      Rebuttal
                                                                                                  ÿ9949-78).
                                                                                                      59=28a.ÿÿ
     0; F0ÿ
16ÿ organic
    that   /F 76
           Talco 1 ÿ: E
                    used3B  ÿF 4
                             anyC ÿ6 ;  7
                                        1  D A
                                   chlorinated4F 03  Bÿ
25
     1DNF4A6ÿEsolvents
                 17T340EÿFat0ÿthe 0;3ÿ<property
                                          D1<3D0CÿBduring
                                                        :DA4NÿImmaterial
                                                                 QMMF03DAF7ÿSbecause36F:E3ÿ0the    ;3ÿfact
                                                                                                       GF60ÿDrests
                                                                                                                 3E0Eÿ1on4ÿFaÿ
     A0Eÿtenure?
17ÿ its
26       034:D3OÿPÿ AIQ   ÿdon't
                           B14R0ÿDrecall
                                     36F77ÿ6coming
                                                1MA4Nÿto01ÿ legal73NF7ÿFargument.
                                                                            DN:M340.ÿ^Fed.   3B.ÿ]. R.ÿ ,TAB.ÿ2703.3.ÿ
12ÿ  0;
    thatF0ÿ61 46 7: E
           conclusion.A1 4 . ÿQ
                              IÿB 14
                                don'tR 0ÿ0;  A
                                         think4[ ÿE  1
                                                  so.".Uÿ                                               Evid.
27
                                                                 QMMF03DAF7ÿSbecause
                                                                 Immaterial         36F:E3ÿKekropia
                                                                                                  e3[D1<AFÿFadmits BMA0EÿAit0ÿ
18ÿ
28                                                               AEÿ0the;3ÿ6current
                                                                 is          :DD340ÿowner
                                                                                      1L43Dÿ1ofGÿ0the   ;3ÿPatsouras
                                                                                                              HF0E1:DFEÿ
                                                              123ÿ
                                                              273
 QRSTÿVWXYZ[\Z]^Y_^Z`aZbÿÿÿcd[efTghÿitjWuYVÿÿ_ÿkl
                                               VvmTnÿ]YoVioVXÿÿÿpRqTÿVjjÿdrÿVjjÿÿÿpRqTÿsc
 Cnse 2:14-cv-06456-GW-E
 Case 2:14-cv-06456-GW-E Document
                         Document 1067-1
                                  974 Filed   04/29/21
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 1ÿ         OPPOSING    ÿPARTIES'
                                 ÿ
 2               ÿ
                 ALLEGEDLY                                  ÿPLAINTIFFS'
                                                           MOVING             ÿ
 5ÿ           ÿ
            UNCONTROVERTED                            ÿÿ
                                                    RESPONSE                       ÿ
                                                                       AND SUPPORTING
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          ÿ
          MATERIAL
 3ÿ SUPPORTING               FACTSÿ ÿ
                                    AND                             ÿ
                                                                    EVIDENCE
 4          ÿ            ÿ
                               EVIDENCE
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 7ÿ                                               !"#$%&ÿ'(
                                                  Property,         )*+ÿ533,5&ÿand
                                                                RSUMF             ,-.ÿPlaintiffs
                                                                                          /,0-$0112ÿ.do!ÿ
 6
                                                  -!$ÿhave
                                                  not  3,4#ÿ$to!ÿtrace
                                                                  $,5#ÿ6"releases"
                                                                            #/#,2#27ÿor!ÿ
 2ÿ
 7                                                6$3#,$#-#.ÿreleases"
                                                  "threatened       #/#,2#27ÿof!1ÿ3hazardous
                                                                                       ,8,.!92ÿ
 8ÿ                                               29:2$,-5#2ÿ:back
                                                  substances       ,5;ÿ$to!ÿ,aÿspecific
                                                                               2"#50105ÿ.defendant
                                                                                              #1#-.,-$ÿ
 8
                                                  !ÿ$to!ÿ,aÿ2specific
                                                  or          "#50105ÿdefendant's
                                                                       .#1#-.,-$<2ÿ"period #0!.ÿ!of1ÿ
 9ÿ
 9                                                !=-#230"ÿ!orÿ!operation.
                                                  ownership           "#,$0!->ÿÿ
4ÿ
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                                                  +9$3#&ÿ?#
                                                  Further,        ;!"0,ÿ,admits
                                                               Kekropia      .@0$2ÿ3hazardous
                                                                                         ,8,.!92ÿ
44ÿ                                               29:2$,-5#2&ÿ0including
                                                  substances,      -5/9.0-AÿPCE     BCÿand
                                                                                         ,-.ÿDBC&
                                                                                               TCE,ÿ
                                                  3,4#ÿ:been##-ÿ.detected
                                                                  #$#5$#.ÿin0-ÿ2soils
                                                                                  !0/2ÿ,at$ÿ$the
                                                                                              3#ÿ
11

41ÿ
12
                                                  have
                                                  ,$2!9,2ÿProperty,
                                                  Patsouras        !"#$%&ÿ'(      )*+ÿ34,
                                                                              RSUMF        53&ÿ,and
                                                                                                 -.ÿ
45ÿ                                               3,8,.!92ÿ2substances,
                                                  hazardous       9:2$,-5#2&ÿ0including
                                                                                     -5/9.0-AÿPCE
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14
                                                  and
                                                  G!9-.=,$#ÿ:below
                                                  Groundwater         #/!=ÿor!ÿdowngradient
                                                                                                OU-2
                                                                                     .!=-A,.0#-$ÿ!of1ÿ
46ÿ
15                                                $3#ÿPatsouras
                                                  the    ,$2!9,2ÿProperty,
                                                                        !"#$%&ÿRSUMF '()*+ÿ535.6>ÿÿÿÿÿ
47ÿ ÿ
16
    H,$#.IÿJ"
42ÿ Dated:      0/ÿ129,9&ÿ12021
            April            14ÿ                  K,$3!"ÿG
                                                  Lathrop     GPM *ÿKK
                                                                     LLPÿ
17
    ÿ                                             ÿ
48ÿ
18                                                L%IÿM
                                                  By:       2MÿN,
                                                           /s/     -5%ÿ(Sher
                                                               Nancy      3#ÿB! Cohen 3#-ÿ ÿ
49ÿ                                               ÿ Nancy  N,-5%ÿ(Sher3#ÿB!Cohen3#-ÿ
19
                                                  ÿ Ronald '!-,/.ÿJ> A.ÿ O,   /#-89#/,ÿ
                                                                         Valenzuela
1ÿ
20                                                ÿ Attorneys
                                                           J$$!-#%2ÿfor 1!ÿPlaintiffs
                                                                                /,0-$0112ÿ
14ÿ                                               ÿ ArconicJ5!-05ÿPInc.-5>ÿ#et$ÿal.,/>ÿ
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